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                                       EXHIBIT 1

                                  Proposed Interim Order




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                           IN THE UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF DELAWARE

In re:                                                        )        Chapter 11
                                                              )
RTI HOLDING COMPANY, LLC,1                                    )        Case No. 20-12456
                                                              )
                                   Debtors.                   )        (Joint Administration Requested)

           INTERIM ORDER (I) AUTHORIZING DEBTORS TO (A) OBTAIN
         POSTPETITION FINANCING PURSUANT TO 11 U.S.C. §§ 105, 361, 362,
            364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1), AND 364(e) AND (B) USE
         CASH COLLATERAL PURSUANT TO 11 U.S.C. § 363, (II) GRANTING
          ADEQUATE PROTECTION PURSUANT TO 11 U.S.C. §§ 361, 362, 363,
                 AND 364, AND (III) SCHEDULING FINAL HEARING

         Upon the Motion of Debtors For Entry Of Interim And Final Orders (I) Authorizing

Debtors To (A) Obtain Postpetition Financing Pursuant To 11 U.S.C. §§ 105, 361, 362,

364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1), And 364(e) And (B) Use Cash Collateral Pursuant To

11 U.S.C. § 363, (II) Granting Adequate Protection Pursuant To 11 U.S.C. §§ 361, 362, 363,

And 364, And (III) Scheduling Final Hearing (the “Motion”),2 seeking entry of (i) an interim

order (this “Interim Order”); (ii) a final order (the “Final Order”); and (iii) requesting related

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  The Debtors in these chapter 11 cases and the last four digits of each Debtor’s U.S. tax identification number are
as follows: RTI Holding Company, LLC (4966); Ruby Tuesday, Inc. (5239); Ruby Tuesday, LLC (1391); RTBD,
LLC (6505); RT of Carroll County, LLC (8836); RT Denver Franchise, L.P. (2621); RT Detroit Franchise, LLC
(8738); RT Distributing, LLC (6096); RT Finance, LLC (7242); RT FL Gift Cards, Inc. (2189); RT Florida Equity,
LLC (7159); RT Franchise Acquisition, LLC (1438); RT of Fruitland, Inc. (1103); RT Indianapolis Franchise, LLC
(6016); RT Jonesboro Club (2726); RT KCMO Franchise, LLC (7020); RT Kentucky Restaurant Holdings, LLC
(7435); RT Las Vegas Franchise, LLC (4969); RT Long Island Franchise, LLC (4072); RT of Maryland, LLC
(7395); RT Michiana Franchise, LLC (8739); RT Michigan Franchise, LLC (8760); RT Minneapolis Franchise,
LLC (2746); RT Minneapolis Holdings, LLC (7189); RT New England Franchise, LLC (4970); RT New Hampshire
Restaurant Holdings, LLC (7438); RT New York Franchise, LLC (1154); RT Omaha Franchise, LLC (7442); RT
Omaha Holdings, LLC (8647); RT One Percent Holdings, LLC (6689); RT One Percent Holdings II, LLC (2817);
RT Orlando Franchise, LP (5105); RT Restaurant Services, LLC (7283); RT South Florida Franchise, LP (3535);
RT Southwest Franchise, LLC (9715); RT St. Louis Franchise, LLC (6010); RT Tampa Franchise, LP (5290); RT
Western Missouri Franchise, LLC (6082); RT West Palm Beach Franchise, LP (0359); RTTA, LP (0035); RTT
Texas, Inc. (2461); RTTT, LLC (9194); Ruby Tuesday of Allegany County, Inc. (8011); Ruby Tuesday of Bryant,
Inc. (6703); Ruby Tuesday of Columbia, Inc. (4091); Ruby Tuesday of Frederick, Inc. (4249); Ruby Tuesday of
Linthicum, Inc. (8716); Ruby Tuesday of Marley Station, Inc. (1641); Ruby Tuesday of Pocomoke City, Inc. (0472);
Ruby Tuesday of Russellville, Inc. (1601); and Ruby Tuesday of Salisbury, Inc. (5432). The Debtors’ mailing
address is 333 East Broadway Ave., Maryville, TN 37804.
2
  Unless otherwise defined, capitalized terms used herein shall have the meanings ascribed to them in the DIP
Credit Agreement (as defined below).


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relief (collectively, the “Requested Relief”) and the Debtors’ having requested on the record at

the interim hearing on the Motion (the “Interim Hearing”) that the Court enter an Interim Order,

inter alia:

        (a)     authorizing Ruby Tuesday, Inc. (“RTI”) and its affiliated debtors (collectively, the

“Debtors”) to obtain secured postpetition financing on a superpriority basis pursuant to the terms

and conditions of that certain “Debtor-in-Possession Credit and Guaranty Agreement,” in

substantially the form attached hereto (without exhibits or schedules) as Exhibit A (as the same

may be amended, supplemented, restated or otherwise modified from time to time in accordance

with its terms, the “DIP Credit Agreement”), by and among RTI and certain subsidiaries of RTI,

as Borrowers, RTI Holding Company, LLC (“Holdings”), as Borrower Representative and a

Guarantor, certain other subsidiaries of Holdings, each as a Guarantor, Goldman Sachs Specialty

Lending Group, L.P. (“GSSLG”), as Administrative Agent and Collateral Agent (in such

capacities, the “DIP Agent”), Goldman Sachs Bank USA (“GS Bank”), as issuer of the Existing

Letters of Credit (“Issuing Bank”), and each Lender party thereto (together with Issuing Bank,

collectively, the “DIP Lenders”, and together with DIP Agent, collectively, the “DIP Secured

Parties”), in an aggregate principal amount not to exceed $18,500,000, consisting of a term loan

facility in the aggregate principal amount of $18,500,000 (the “DIP Facility”, and any draws on

the DIP Facility, the “DIP Loans”), of which $12,600,000 will be available immediately upon

entry of this Interim Order. Such DIP Facility includes (i) a $9,600,000 sub-facility to be used

solely for the reimbursement of any draws made under the Existing Letters of Credit, which sub-

facility shall account for $9,600,000 of the total amount that will be available immediately upon

entry of this Interim Order and which Existing Letters of Credit, upon entry of this Interim

Order, shall be treated as having been issued under the DIP Credit Agreement and shall

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constitute part of the Credit Extensions and Obligations and be entitled to all of the benefits and

security of the DIP Loan Documents, the DIP Collateral (as defined below) and this Interim

Order, in each case as provided in the DIP Loan Documents (as defined below) and this Interim

Order and (ii) a roll-up of Term Loans (as defined in the Pre-Petition Credit Agreement (as

defined below)) in the aggregate principal amount of $2,000,000 extended to the Credit Parties

by the DIP Lenders on the Seventh Amendment Effective Date plus all accrued and unpaid

interest and fees related thereto as of the entry of the Final Order (which accrued and unpaid

interest and fees are equal to not less than $11,681.11 as of the Petition Date (as defined below)),

which Term Loans and accrued and unpaid interest and fees shall, upon entry of the Final Order,

be treated as having been issued under the DIP Credit Agreement, constitute part of the Credit

Extensions and Obligations and be entitled to all of the benefits and security of the DIP Loan

Documents, the DIP Collateral and the Final Order, in each case as provided in the DIP Loan

Documents and the Final Order;

        (b)     authorizing the Debtors to execute the DIP Credit Agreement and all other

documents, agreements and instruments delivered pursuant thereto or executed or filed in

connection therewith, all as may be reasonably requested by the DIP Agent (as the same may be

amended, restated, supplemented or otherwise modified from time to time in accordance with

their respective terms, and, collectively with the DIP Credit Agreement, the “DIP Loan

Documents”);

        (c)     authorizing the Debtors to use the proceeds from the DIP Facility as permitted in

the DIP Loan Documents and in accordance with this Interim Order, the Final Order, and the

DIP Budget (as defined below);



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           (d)      granting to the DIP Agent, for itself and for the benefit of the DIP Lenders, first

priority security interests in and liens on all assets that constitute the DIP Collateral (as defined

below) to secure the DIP Facility and all obligations owing and outstanding thereunder and under

the DIP Loan Documents, as applicable, this Interim Order, and the Final Order, as applicable

(collectively, and including all “Obligations” as described in the DIP Credit Agreement, the

“DIP Obligations”), which shall rank senior in priority to all other liens other than Permitted

Priority Liens (as defined below) (other than the Pre-Petition Liens) as described herein and

payment of the Carve-Out (as defined below);

           (d)      granting superpriority administrative expense claims against each Debtor’s estate

to the DIP Agent and the DIP Lenders with respect to the DIP Obligations in accordance with

Section 364(c)(1) of the Bankruptcy Code over any and all administrative expenses of any kind

or nature subject and subordinate only to the payment of the Carve-Out;

           (e)      authorizing the Debtors to use Cash Collateral (as defined below);

           (f)      authorizing the Debtors to grant adequate protection to the Pre-Petition Agent (as

defined below) on behalf of the Pre-Petition Secured Parties3 (as defined below) to the extent of

any diminution in value of their interest in the Pre-Petition Collateral (as defined below) and

subject to the Carve-Out;

           (g)      vacating and modifying the automatic stay pursuant to Section 362 of the

Bankruptcy Code (the “Automatic Stay”) to the extent necessary to implement and effectuate the

terms and provisions of the Interim Order, the Final Order and the DIP Loan Documents;




3
    As of the Petition Date, the Pre-Petition Secured Parties are the same parties as the DIP Secured Parties.
                                                            4

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         (h)      waiving any applicable stay with respect to the effectiveness and enforceability of

the Interim Order (including under Rule 6004 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”));

         (i)      scheduling a hearing (the “Final Hearing”), pursuant to Bankruptcy Rule

4001(c)(2), to consider final approval of the DIP Facility, use of Cash Collateral and other

Requested Relief pursuant to a proposed final order, as set forth in the Motion and the DIP Loan

Documents filed with this Court;

         and the interim hearing on the Requested Relief (the “Interim Hearing”) having been held

on October 8, 2020; and upon all of the pleadings filed with the Court and the evidence proffered

or adduced at the Interim Hearing; and the Court having heard and resolved or overruled any and

all objections to the Requested Relief; and it appearing that the Requested Relief is in the best

interests of the Debtors, their estates, and creditors; and upon the record herein; and after due

deliberation thereon, and good and sufficient cause appearing therefor:

         IT IS HEREBY FOUND AND DETERMINED THAT:4

         A.       Petition Date. On October 7, 2020 (the “Petition Date”), the Debtors commenced

their chapter 11 cases (these “Chapter 11 Cases”) by filing voluntary petitions for relief under

chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States

Bankruptcy Court for the District of Delaware (the “Court”). The Debtors are operating their

businesses and managing their affairs as debtors in possession pursuant to sections 1107(a) and

1108 of the Bankruptcy Code. As of the date hereof, no trustee, examiner or official committee

of creditors holding unsecured claims (a “Creditors’ Committee”) has been appointed in any of

these Chapter 11 Cases.

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  Findings of fact shall be construed as conclusions of law, and conclusions of law shall be construed as findings of
fact, as applicable, pursuant to Bankruptcy Rule 7052.
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        B.       Jurisdiction; Venue. The Court has jurisdiction over these Chapter 11 Cases, the

parties and the Debtors’ property pursuant to 28 U.S.C. § 1334. This is a core proceeding

pursuant to 28 U.S.C. §157(b)(2)(D). The Court is a proper venue of these Chapter 11 Cases and

the Requested Relief under 28 U.S.C. §§ 1408 and 1409.

        C.       Notice. Proper, timely, adequate and sufficient notice under the circumstances of

the Motion and the Interim Hearing has been provided in accordance with the Bankruptcy Code,

Bankruptcy Rules 2002, 4001(b), (c), and (d), and 9014, and the local rules for the United States

Bankruptcy Court for the District of Delaware (the “Local Rules”), and no other or further notice

of the Motion with respect to the relief requested at the Interim Hearing or the entry of this

Interim Order shall be required.

        D.       Debtors’ Acknowledgments and Stipulations.               The Debtors acknowledge,

represent, stipulate, and agree, subject to the terms and provisions of Paragraph 15 below:

                 (i)       Pre-Petition Obligations. Pursuant to that certain “Credit and Guaranty

Agreement,” dated as of December 21, 2017 (as has been amended, restated or modified from

time to time prior to the Petition Date, the “Pre-Petition Credit Agreement”, and together with all

agreements, documents, notes, mortgages, security agreements, pledges, guarantees,

subordination agreements, instruments, amendments, and any other agreements delivered

pursuant thereto or in connection therewith, the “Pre-Petition Credit Agreement Documents”),

among (a) RTI and certain subsidiaries of RTI, as borrowers (in such capacity, the “Pre-Petition

Borrowers”), (b) Holdings, as borrower representative (in such capacity, the “Pre-Petition

Borrower Representative”), together with certain subsidiaries of RTI as guarantors (collectively,

the “Pre-Petition Guarantors”), (c) GSSLG, as administrative agent, collateral agent, and

syndication agent (in such capacities, the “Pre-Petition Agent”), (d) GS Bank, as issuing bank

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(the “Pre-Petition Issuing Bank”), and (e) each lender party thereto (together with Pre-Petition

Issuing Bank, collectively, the “Pre-Petition Lenders”, and together with the Pre-Petition Agent,

collectively, the “Pre-Petition Secured Parties”), the Pre-Petition Lenders provided term loan

commitments, revolving loan commitments and other financial accommodations to, or for the

benefit of, the Pre-Petition Borrowers and the Pre-Petition Guarantors (such loans and financial

accommodations, the “Pre-Petition Loans”, and such facility, the “Pre-Petition Facility”). As of

the Petition Date, the Debtors were jointly and severally indebted to the Pre-Petition Secured

Parties in the aggregate principal amount of $37,856,513.21, consisting of (a) $26,304,679.21 in

the aggregate principal amount of Term Loans (as defined in the Pre-Petition Credit Agreement),

(b) $2,000,000.00 in the aggregate principal amount of Revolving Loans (as defined in the Pre-

Petition Credit Agreement), and (c) $9,551,834.00 in the aggregate principal amount of Existing

Letters of Credit (as defined in the Pre-Petition Credit Agreement) (collectively, together with

accrued and unpaid interest with respect thereto and any additional fees, costs, expenses

(including any attorneys’, financial advisors’, and other professionals’ fees and expenses),

reimbursement obligations, indemnification obligations, contingent obligations, make-whole

premiums, call premiums, yield maintenance premiums, and other charges of whatever nature,

whether or not contingent, whenever arising, due, or owing that would constitute Obligations (as

defined in the Pre-Petition Credit Agreement) owing under or in connection with the Pre-Petition

Credit Agreement Documents, the “Pre-Petition Obligations”), which Pre-Petition Obligations

have been guaranteed on a joint and several basis by each of the Pre-Petition Borrowers and the

Pre-Petition Guarantors.

                 (ii)      Pre-Petition Credit Agreement Liens and Collateral. As more fully set

forth in the Pre-Petition Credit Agreement Documents, the Pre-Petition Obligations are secured

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by first priority liens on and security interests in the “Collateral” under and as defined in the Pre-

Petition Credit Agreement Documents (collectively, the “Pre-Petition Liens”) in substantially all

of the Debtors’ assets to the extent set forth in the Pre-Petition Credit Documents (the “Pre-

Petition Collateral”).

                 (iii)     Validity, Perfection and Priority of Pre-Petition Liens and Pre-Petition

Obligations. The Debtors represent, acknowledge and agree that, as of the Petition Date, (a) the

Pre-Petition Liens constitute valid, binding, enforceable, and perfected liens with priority over

any and all other liens (other than Pre-Petition Permitted Prior Liens, as defined below) and the

Debtors shall not raise or join any challenge or defense, including, without limitation,

respectively, avoidance, reductions, recharacterization, subordination (whether equitable,

contractual, or otherwise), claims, counterclaims, cross-claims, offsets, recoupments, objections,

defenses, or any other challenges under the Bankruptcy Code or any applicable law or regulation

by any person or entity; (b) the Pre-Petition Liens were senior in priority over any and all other

liens on the Pre-Petition Collateral, subject only to liens senior by operation of law or permitted

by the Pre-Petition Credit Agreement Documents, and solely to the extent any such liens were

valid, properly perfected, non-avoidable and senior in priority to the Pre-Petition Liens as of the

Petition Date (the “Pre-Petition Permitted Prior Liens”); (c) the Pre-Petition Obligations are

unconditionally owing by the Debtors and constitute legal, valid, binding, and non-avoidable

obligations of the Debtors enforceable in accordance with the terms of the applicable Pre-Petition

Credit Agreement Documents; (d) no offsets, recoupments, challenges, objections, defenses,

claims, or counterclaims of any kind or nature to any of the Pre-Petition Obligations exist, and no

portion of the Pre-Petition Obligations is subject to any challenge or defense including, without

limitation, avoidance, disallowance, reductions, set-off, offset, disgorgement, recharacterization,

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subordination (whether equitable, contractual or otherwise), counterclaims, cross-claims,

defenses or any other challenges pursuant to the Bankruptcy Code or any applicable law or

regulation; (e) the Debtors shall not raise or join in any assertion of any claims, objections,

challenges, causes of action, and/or choses in action, including without limitation, avoidance

claims under Chapter 5 of the Bankruptcy Code or applicable state law equivalents or actions for

recovery or disgorgement, against any of the Pre-Petition Secured Parties, or any of their

respective affiliates, agents, attorneys, advisors, professionals, officers, directors, and employees

arising out of, based upon or related to the Pre-Petition Facility; and (f) the Debtors have waived,

discharged, and released any right to challenge any of the Pre-Petition Obligations, the priority of

the Pre-Petition Obligations, and the validity, extent, and priority of the Pre-Petition Liens.

                 (iv)      No Control. None of the Pre-Petition Secured Parties or the DIP Secured

Parties controls the Debtors or their operations, has authority to determine the manner in which

any of the Debtors’ operations are conducted or is a control person or insider of the Debtors or

any of their affiliates by virtue of any of the actions taken with respect to, in connection with,

related to, or arising from this Interim Order, the DIP Facility, the DIP Loan Documents, the Pre-

Petition Facility, and/or the Pre-Petition Credit Agreement Documents.

                 (v)       Payments in Respect of Pre-Petition Obligations. Any payments made on

account of the Pre-Petition Obligations prior to the Petition Date were (a) payments out of the

Pre-Petition Collateral, and/or (b) made in the ordinary course of business, and did not diminish

any property otherwise available for distribution to unsecured creditors;

                 (vi)      Cash Collateral. All of the Debtors’ cash, including the cash in their

deposit accounts, wherever located, whether as original collateral or proceeds of other Pre-



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Petition Collateral, other than cash held in Excluded Accounts (as defined in the Pre-Petition

Credit Agreement) constitutes Cash Collateral securing the Pre-Petition Obligations;

                 (vii)     Necessary Approvals. Upon approval of this Interim Order by the Court,

the Debtors have obtained all authorizations, consents and approvals required to be obtained

from, and have made all filings with and given all notices required to be given to, all federal,

state and local governmental agencies, authorities and instrumentalities in connection with the

execution, delivery, validity and enforceability of the DIP Loan Documents to which any Debtor

is a party and the use of Cash Collateral as provided herein;

                 (viii) DIP Liens and Obligations. (a) Until such time as all DIP Obligations are

indefeasibly paid in full in cash, the Debtors shall not in any way prime or seek to prime (or

otherwise cause to be subordinated in any way) the liens and security interests provided to the

DIP Secured Parties by offering a subsequent lender or any party-in-interest a superior or pari

passu lien or claim pursuant to section 364(d) of the Bankruptcy Code, or otherwise, except with

respect to (I) the Permitted Priority Liens (other than the Pre-Petition Liens) as described herein

and (II) prior payment of the Carve-Out; and (b) until such time as all DIP Obligations are

indefeasibly paid in full in cash, the Debtors shall not in any way or at any time permit to exist

an administrative expense claim against the Debtors of any kind or nature whatsoever, including,

without limitation, claims for any administrative expenses of the kind specified in, or arising or

ordered under sections 105, 326, 328, 503(b), 506(c), 507(a), 507(b), 546(c), 552(b), 726, 1113

and 1114 of the Bankruptcy Code, that is superior to or pari passu with the DIP Superpriority

Claim (as defined below) provided herein, except with respect to prior payment of the Carve-

Out;



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                 (ix)      the Debtors have requested that the Pre-Petition Secured Parties consent

to, among other things, (a) the Debtors’ use of Cash Collateral securing the Pre-Petition

Obligations and the other Pre-Petition Collateral, (b) the incurrence of the DIP Obligations by

the Credit Parties and the Credit Parties’ guarantees of the DIP Obligations under the DIP Loan

Documents and (c) the Debtors’ granting of the priming DIP Liens (as defined below) in

connection therewith. The Pre-Petition Agent and Pre-Petition Lenders are entitled, pursuant to

sections 361, 363(e), and 364(d)(l) of the Bankruptcy Code, to adequate protection of their

respective interests in the Pre-Petition Collateral, including the Cash Collateral securing the Pre-

Petition Obligations (x) in exchange for their consent to allow the Debtors’ use of such Pre-

Petition Collateral, including the Cash Collateral securing the Pre-Petition Obligations, and (y)

for any diminution resulting from the sale, lease or use by the Debtors (or other decline in value)

of Cash Collateral securing the Pre-Petition Obligations and any other Pre-Petition Collateral, the

priming of the Pre-Petition Liens by the DIP Agent and DIP Lenders pursuant to this Interim

Order, the imposition of the automatic stay pursuant to section 362 of the Bankruptcy Code, or

otherwise.

        E.       Cash Collateral. For purposes of this Interim Order, the term “Cash Collateral”

shall mean and include all “cash collateral,” as defined in section 363 of the Bankruptcy Code, in

or on which the DIP Agent or the Pre-Petition Agent have, for the benefit of the DIP Lenders or

the Pre-Petition Lenders, respectively, a lien, security interest or other interest (including,

without limitation, any adequate protection liens or security interests) whether existing on the

Petition Date, arising pursuant to this Interim Order or otherwise and shall include, without

limitation:



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        (i)       all cash proceeds arising from the collection, sale, lease or other disposition, use

or conversion of any real or personal property, including insurance policies, in or on which the

DIP Lenders or the Pre-Petition Lenders have a lien or a replacement lien (if any), whether as

part of the DIP Collateral or the Pre-Petition Collateral or pursuant to an order of the Court or

applicable law or otherwise, and whether such property has been converted to cash, existed as of

the commencement of these Chapter 11 Cases, or arose or was generated thereafter;

        (ii)      all of the respective deposits, refund claims and rights in retainers of the Debtors

on which the DIP Secured Parties or the Pre-Petition Secured Parties hold a lien or replacement

lien (if any), whether as part of the DIP Collateral or the Pre-Petition Collateral or pursuant to an

order of the Court or applicable law or otherwise; and

        (iii)     the proceeds of any sale of DIP Collateral or Pre-Petition Collateral, including

any Asset Sales.

                  F.       Adequate Protection. Each of the Pre-Petition Secured Parties is entitled,

pursuant to sections 361, 363(e), and 364(d)(1) of the Bankruptcy Code, to adequate protection

of their respective interests in the Pre-Petition Collateral, including the Cash Collateral securing

the Pre-Petition Obligations, in exchange for the Debtors’ use of such Pre-Petition Collateral, to

the extent of any diminution in value of the Pre-Petition Collateral including, without limitation,

any diminution in value resulting from the sale, lease, or use by the Debtors (or other decline in

value) of Cash Collateral securing the Pre-Petition Obligations and any other Pre-Petition

Collateral, the priming of the Pre-Petition Liens of the Pre-Petition Agent on and in the Pre-

Petition Collateral, for itself and for the benefit of the Pre-Petition Lenders, by the DIP Agent or

the DIP Lenders, and the imposition of the automatic stay pursuant to section 362 of the

Bankruptcy Code.

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                 G.        Roll-Up. Subject to (i) the entry of this Interim Order, the Existing Letters

of Credit shall be deemed issued under the DIP Credit Agreement, and any reimbursement

obligations in connection with any draws of such Existing Letters of Credit shall constitute DIP

Obligations and (ii) the entry of the Final Order, Term Loans (as defined in the Pre-Petition

Credit Agreement) in an aggregate principal amount of $2,000,000 extended to the Credit Parties

by the DIP Lenders on the Seventh Amendment Effective Date plus all accrued and unpaid

interest and fees related thereto as of the entry of the Final Order shall be converted into DIP

Obligations. Such conversion or deemed issuance (collectively, the “DIP Roll-Up Obligations”)

shall be authorized as compensation for, in consideration for, and not as payments under,

adequate protection for or otherwise on account of, any Pre-Petition Obligations. The Pre-

Petition Secured Parties would not otherwise consent to the use of their Cash Collateral securing

the Pre-Petition Obligations or the subordination of their liens to the DIP Liens, and the DIP

Lenders would not be willing to provide the DIP Loans or extend credit to the Debtors thereunder

without the inclusion of the DIP Roll-Up Obligations in the DIP Obligations.

                 H.        Purpose and Necessity of Financing. The Debtors require the financing

described in the Requested Relief (i) for working capital and general corporate purposes of the

Credit Parties, (ii) to pay fees and expenses incurred by the DIP Secured Parties in connection

with the DIP Loan Documents as provided therein, (iii) to make adequate protection payments to

the Pre-Petition Lenders as provided in this Interim Order, (iv) to pay restructuring costs and

Professional Fees of the Borrowers and Guarantors relating solely to these Chapter 11 Cases, and

(v) for other purposes as provided in and subject to the terms of the DIP Credit Agreement, and

in all cases, subject to compliance with the DIP Budget (and Permitted Variances). If the

Debtors do not obtain authorization to borrow under the DIP Credit Agreement, they will suffer

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immediate and irreparable harm. The Debtors are unable to obtain adequate unsecured credit

allowable as an administrative expense under section 503 of the Bankruptcy Code, or other

sufficient financing under sections 364(c) or (d) of the Bankruptcy Code, on more favorable

terms than those set forth in the DIP Loan Documents, based on the totality of the circumstances.

A loan facility in the amount provided by the DIP Loan Documents is not available to the

Debtors without granting the DIP Agent, for the benefit of the DIP Lenders, superpriority claims,

liens, and security interests, pursuant to sections 364(c)(1), 364(c)(2), 364(c)(3), and 364(d) of

the Bankruptcy Code, as provided in this Interim Order and the DIP Loan Documents. After

considering all alternatives, the Debtors have concluded, in the exercise of their sound business

judgment, that the DIP Facility represents the best financing available to them at this time.

        I.       Good Cause Shown. Good cause has been shown for entry of this Interim Order.

The ability of the Debtors to obtain sufficient working capital and liquidity under the DIP Loan

Documents is vital to the Debtors’ estates and creditors. The liquidity to be provided under the

DIP Loan Documents will enable the Debtors to continue to operate their businesses in the

ordinary course and preserve the value of the Debtors’ assets. Among other things, entry of this

Interim Order is necessary to maximize the value of the Debtors’ assets and to avoid immediate

and irreparable harm to the Debtors and their estates, and, accordingly, is in the best interests of

the Debtors, their estates and their creditors.       The terms of the DIP Facility are fair and

reasonable, reflect each Debtor’s exercise of its respective business judgment, and are supported

by reasonably equivalent value and fair consideration.

        J.       Sections 506(c) And 552(b) Waivers. In light of (i) the DIP Agent’s and the DIP

Lenders’ agreement to permit their DIP Liens and DIP Superpriority Claim (as defined below) to

be subject to prior payment of the Carve-Out, and in exchange for and as a material inducement

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to the DIP Agent and DIP Lenders to agree to provide the DIP Facility and (ii) the Pre-Petition

Agent’s and the Pre-Petition Lenders’ agreement to permit their Pre-Petition Liens, Replacement

Liens (as defined below) and Adequate Protection Superpriority Claim (as defined below) to be

subject to prior payment of the Carve-Out, the DIP Liens, and the DIP Superpriority Claim and

to permit the use of their Cash Collateral securing the Pre-Petition Obligations for payments

made in accordance with the DIP Budget (subject to the Permitted Variances) and the terms of

this Interim Order, the DIP Agent, the DIP Lenders, the Pre-Petition Agent and the Pre-Petition

Lenders are each entitled to (a) subject to entry of the Final Order, a waiver of any “equities of

the case” claims under section 552(b) of the Bankruptcy Code and (b) subject to entry of the

Final Order, a waiver of the provisions of section 506(c) of the Bankruptcy Code.

        K.       Good Faith.    The terms of the DIP Loan Documents, including, without

limitation, the interest rates and fees applicable, and intangible factors relevant thereto, are more

favorable to the Debtors than any available from alternative sources. Based upon the record

before the Court, the DIP Loan Documents have been negotiated in good faith and at arm’s-

length among the Debtors, the DIP Lenders and the DIP Agent. Any DIP Loans and other

financial accommodations made to the Debtors by the DIP Agent and the DIP Lenders pursuant

to the DIP Loan Documents and this Interim Order shall be deemed to have been extended by the

DIP Agent and the DIP Lenders in good faith, as that term is used in section 364(e) of the

Bankruptcy Code, and the DIP Agent and the DIP Lenders shall be entitled to all protections

afforded thereby.

        L.       Fair Consideration and Reasonably Equivalent Value. Each of the Debtors has

received and will receive fair and reasonable consideration in exchange for access to the DIP

Loans and all other financial accommodations provided under the DIP Loan Documents and this

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Interim Order. The terms of the DIP Loan Documents are fair and reasonable, reflect the

Debtors’ exercise of prudent business judgment consistent with their fiduciary duties and are

supported by reasonably equivalent value and fair consideration.

        M.        Immediate Entry of Interim Order. The Debtors have requested immediate entry

of this Interim Order pursuant to Bankruptcy Rule 4001(c)(2). The permission granted herein to

enter into the DIP Loan Documents and to obtain funds thereunder is necessary to avoid

immediate and irreparable harm to the Debtors. This Court concludes that entry of this Interim

Order is in the best interests of the Debtors’ respective estates and creditors as its implementation

will, among other things, allow for access to the financing necessary for the continued flow of

supplies and services to the Debtors necessary to sustain the operation of the Debtors’ existing

businesses and further enhance the Debtors’ prospects for a successful reorganization or sale of

substantially all of their assets. Based upon the foregoing findings, acknowledgements and

conclusions, and upon the record made before this Court at the Interim Hearing, and good and

sufficient cause appearing therefor;

        IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

        1.        Motion Approved. The Motion is granted on an interim basis as set forth herein,

and the Debtors’ incurrence of the DIP Facility and use of Cash Collateral on an interim basis is

authorized, subject to the terms of this Interim Order.

        2.        Objections Overruled. Any objections, reservations of rights or other statements

with respect to the Motion and entry of the Interim Order, to the extent not withdrawn or

resolved, are overruled on the merits. This Interim Order shall become effective immediately

upon its entry.




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    AUTHORIZATION FOR DIP FINANCING AND USE OF CASH COLLATERAL

        3.       Authorization For DIP Financing And Use of Cash Collateral Pursuant to DIP

Budget.

        (a)      The Debtors are hereby authorized, on an interim basis, to incur DIP Obligations

immediately subject to the terms of this Interim Order, the DIP Budget (subject to the Permitted

Variances) and the DIP Loan Documents, in the aggregate principal amount of up to

$12,600,000 (inclusive of the Existing Letters of Credit) (the “Maximum Interim Borrowing”).

The Maximum Interim Borrowing includes up to $3,000,000 of new money advances.                The

Borrowers are hereby authorized to borrow money pursuant to the DIP Credit Agreement, and

each Guarantor under the DIP Credit Agreement is hereby authorized to provide a guaranty of

payment in respect of the Debtors’ obligations with respect to such borrowings, subject to any

limitations on borrowing under the DIP Loan Documents, including working capital and general

corporate requirements of the Debtors, bankruptcy-related costs and expenses, reimbursement

obligations with respect to the Existing Letters of Credit and any other amounts required or

allowed to be paid in accordance with this Interim Order, but only as and to the extent authorized

by the DIP Budget (subject to the Permitted Variances) and the DIP Loan Documents.

        (b)      Prior to the Maturity Date, the Debtors are authorized to use Cash Collateral

subject to and in accordance with the terms, conditions, and limitations set forth in this Interim

Order, the DIP Budget (subject to the Permitted Variances) and the DIP Loan Documents,

without further approval by the Court, including, for avoidance of doubt, and consistent with the

DIP Loan Documents, the use of cash proceeds from any Assets Sales for repayment of the Pre-

Petition Obligations, and following repayment of the Pre-Petition Obligations in full in cash,

repayment of the DIP Obligations.

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        (c)      The Debtors have delivered to the DIP Agent a rolling cash forecast, in Microsoft

Excel format, in form, scope and substance satisfactory to the DIP Lenders, for a period of

thirteen (13) weeks beginning on the Petition Date and updated every four (4) weeks thereafter in

accordance with the terms of the DIP Credit Agreement, setting forth projected cash flows and

disbursements, a copy of which is attached hereto as Exhibit B (the “DIP Budget”). The DIP

Budget shall at all times be in form and substance acceptable to the DIP Agent and the DIP

Lenders and approved in writing by each, in their respective sole discretion, in accordance with

the DIP Credit Agreement. The Debtors shall provide updates to the DIP Budget at least once

every four (4) weeks and other financial reporting with respect to the Debtors, in accordance

with the terms of the DIP Loan Documents. Funds borrowed under the DIP Credit Agreement

and Cash Collateral used under this Interim Order, as well as other cash held by the Debtors,

shall be used by the Debtors in accordance with the DIP Budget (subject to the Permitted

Variances), the DIP Loan Documents and this Interim Order. The consent of the DIP Lenders to

any DIP Budget shall not be construed as a commitment to provide DIP Loans or to permit the

use of Cash Collateral (subject to the Carve-Out) after the occurrence of the Maturity Date,

regardless of whether the aggregate funds shown on the DIP Budget have been expended.

        (d)      Any amendments, supplements or modifications to the DIP Budget must be

consented to in writing by the Requisite Lenders, in their sole discretion in accordance with the

DIP Credit Agreement, prior to the implementation thereof and shall not require further notice,

hearing, or court order; provided, however, that the Debtors will provide written notice of any

such amendment, supplement or modification to the Creditors’ Committee.

        (e)      The DIP Secured Parties (i) may assume the Debtors will comply with the DIP

Budget (subject to the Permitted Variances), (ii) shall have no duty to monitor such compliance

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and (iii) shall not be obligated to pay (directly or indirectly from the DIP Collateral or Pre-

Petition Collateral) any unpaid expenses incurred or authorized to be incurred pursuant to any

DIP Budget. All advances and extensions of credit shall be based upon the terms and conditions

of the DIP Loan Documents, as the same may be adjusted from time to time.

        (f)      [Reserved].

        (g)      Notwithstanding anything in this Interim Order to the contrary, the DIP Loan

Documents shall expire, and the DIP Loans made pursuant to this Interim Order and the DIP

Loan Documents will mature, and together with all interest thereon and any other obligations

accruing under the DIP Loan Documents, will become due and payable (unless such obligations

become due and payable earlier pursuant to the terms of the DIP Loan Documents and this

Interim Order by way of acceleration or otherwise) on the Maturity Date.

        4.       Authority to Execute and Deliver Necessary Documents.

        (a)      Each of the Debtors is authorized to negotiate, prepare, enter into, and deliver the

DIP Loan Documents, in each case including any amendments thereto. Each of the Debtors is

further authorized to negotiate, prepare, enter into and deliver any UCC financing statements,

pledge and security agreements, mortgages or deeds of trust, or similar documents or agreements

encumbering all of the DIP Collateral and securing all of the Debtors’ obligations under the DIP

Loan Documents, each as may be reasonably requested by the DIP Secured Parties.

        (b)      Each of the Debtors is further authorized to (i) perform all of its obligations under

the DIP Loan Documents, and such other agreements as may be required by the DIP Loan

Documents to give effect to the terms of the financing provided for therein and in this Interim

Order, and (ii) perform all acts required under the DIP Loan Documents and this Interim Order.



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        5.       Pre-Petition Obligations Roll-Up. Subject to and effective upon entry of this

Interim Order, the DIP Liens shall secure the DIP Roll-Up Obligations with respect to the

Existing Letters of Credit, including the reimbursement obligations with respect thereto, which

shall be deemed to be incurred by the Debtors under the DIP Loan Documents and subject to the

terms and conditions set forth in the DIP Loan Documents.

        6.       Valid and Binding Obligations. All obligations under the DIP Loan Documents

shall constitute valid, binding, and nonavoidable obligations of each of the Debtors, enforceable

against each of them and each of their successors and assigns, in accordance with their terms and

the terms of this Interim Order, and no obligation, payment, transfer, or grant of a lien or security

interest under the DIP Loan Documents or this Interim Order shall be stayed, restrained,

voidable, or recoverable under the Bankruptcy Code or under any applicable law (including,

without limitation, under section 502(d) of the Bankruptcy Code) or subject to any avoidance,

reduction, set off, offset, recharacterization, subordination (whether equitable, contractual, or

otherwise), counterclaims, cross-claims, defenses, or any other challenges under the Bankruptcy

Code or any applicable law or regulation by any person or entity.

        7.       Authorization for Payment of DIP Financing Fees and Expenses. All fees paid

and payable, and all costs and/or expenses reimbursed or reimbursable (including, costs and

expenses referred to in the DIP Loan Documents and the DIP Agent’s and DIP Lenders’

attorneys’ fees and expenses), under the DIP Loan Documents, by the Debtors to the DIP

Secured Parties are hereby approved and shall not be subject to disgorgement by any party for

any reason. Subject to the notice provision below, the Debtors are hereby authorized to pay all

such fees, costs and expenses in accordance with the terms of the DIP Loan Documents and this

Interim Order, without any requirement that the Debtors, the DIP Agent, the DIP Lenders or any

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of their respective counsel file any further application or other pleading, notice, or document

with the Court for approval or payment of such fees, costs, or expenses. Subject to the notice

provision below, the Debtors agree to pay promptly (without further order of or application to the

Court) (a) all of the DIP Agent’s actual and reasonable costs and expenses of preparation of the

DIP Loan Documents and any consents, amendments, waivers, or other modifications thereto;

(b) all the reasonable fees, expenses and disbursements of counsel to the DIP Agent and DIP

Lenders (including for avoidance of doubt, Issuing Bank) in connection with the negotiation,

preparation, execution, and administration of the DIP Loan Documents and any consents,

amendments, waivers or other modifications thereto and any other documents or matters

requested by any Borrower or Guarantor; (c) all the actual costs and reasonable expenses of

creating and perfecting Liens in favor of DIP Agent, for the benefit of the DIP Secured Parties,

including filing and recording fees, expenses and Taxes, stamp or documentary Taxes, search

fees, title insurance premiums, and reasonable fees, expenses and disbursements of counsel to

DIP Agent; (d) all of the DIP Agent’s actual costs and reasonable fees, expenses for and

disbursements of any of DIP Agent’s, auditors, accountants, consultants or appraisers whether

internal or external, and all reasonable attorneys’ fees (including allocated costs of internal

counsel and expenses and disbursements of outside counsel) incurred by DIP Agent; (e) all of the

actual costs and reasonable expenses (including the reasonable fees, expenses, and disbursements

of any appraisers, consultants, advisors and agents employed or retained by DIP Agent and its

counsel) in connection with the custody or preservation of any of the DIP Collateral; (f) all of the

other actual and reasonable costs and expenses incurred by the DIP Agent and/or DIP Lenders in

connection with the negotiation, preparation and execution of the DIP Loan Documents and any

consents, amendments, waivers or other modifications thereto and the transactions contemplated

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thereby; (g) after the occurrence of a Default or an Event of Default, all costs and expenses,

including reasonable attorneys’ fees (including allocated costs of internal counsel) and costs of

settlement, incurred by DIP Agent and/or DIP Lenders in enforcing any DIP Obligations of or in

collecting any payments due from any Credit Party under the DIP Loan Documents by reason of

such Default or Event of Default (including in connection with the sale of, collection from, or

other realization upon any of the DIP Collateral or the enforcement of the Guaranty) or in

connection with any refinancing or restructuring of the credit arrangements provided thereunder

in the nature of a “work out” or pursuant to any insolvency or bankruptcy cases or proceedings

(including these Chapter 11 Cases); and (h) any other fees or expenses as required by the DIP

Loan Documents. Subject to the notice provision below, the foregoing fees, costs, and expenses

of the DIP Agent and the DIP Lenders authorized by this Interim Order, whether incurred prior

to or after the Petition Date, including, without limitation, all fees referred to in the DIP Loan

Documents, shall be deemed fully earned, non-refundable and irrevocable as of the date of this

Interim Order. None of the DIP Agent’s or DIP Lenders’ attorneys, financial advisors and

accountants’ fees and disbursements shall be subject to the prior approval of this Court or the

guidelines of the Office of the United States Trustee for this region (the “U.S. Trustee”), and no

recipient of any such payment shall be required to file with respect thereto any interim or final

fee application with this Court. Any such fees, costs and expenses shall be evidenced by a

summary invoice (redacted, as necessary, to protect any applicable privilege) and delivered to

the Debtors, the U.S. Trustee, and any Creditors’ Committee. The U.S. Trustee and any

Creditors’ Committee shall have ten (10) business days from the date of such delivery within

which to object in writing to such payment. Following the expiration of such period, the

applicable counsel shall notify the Debtors in writing of the expiration of such period and the

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absence of any objection by the U.S. Trustee or any Creditors’ Committee, and the Debtors shall

pay such invoice within five (5) business days of such written notice, without the need for further

application to or order of the Court. In the event that, within such period, the U.S. Trustee or any

Creditors’ Committee raises an objection to a particular invoice, the applicable counsel shall

notify the Debtors in writing of the objection and the Debtors shall pay the fees and expenses not

subject to the objection within five (5) business days of such written notice, without the need for

further application to or order of the Court.

         8.       Amendments, Consents, Waivers, and Modifications.                        The Debtors, with the

express written consent of the DIP Agent and Requisite Lenders (or all affected DIP Lenders, as

required in accordance with the DIP Credit Agreement) in accordance with the DIP Credit

Agreement, may enter into any non-material amendments, consents, waivers, or modifications to

the DIP Loan Documents without the need for further notice and hearing or any order of this

Court.

                          DIP LIENS AND DIP SUPERPRIORITY CLAIMS

         9.       DIP Liens

         (a)      To secure the DIP Obligations, the DIP Agent is hereby granted for the benefit of

the DIP Secured Parties (i) pursuant to section 364(c)(2), a perfected first-priority lien on the DIP

Collateral (as defined below) to the extent that such DIP Collateral was not subject to Permitted

Priority Liens5; (ii) pursuant to section 364(c)(3), a perfected lien on the DIP Collateral junior to

any Permitted Priority Liens (other than the Pre-Petition Liens) on such DIP Collateral, and (iii)

pursuant to section 364(d) of the Bankruptcy Code, a perfected first-priority, priming and senior


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 “Permitted Priority Liens” means valid, enforceable, non-avoidable and perfected liens in existence on the Petition
Date (including valid liens in existence on the Petition Date that are perfected after the Petition Date as permitted by
§ 546(b) of the Bankruptcy Code).
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security interest and lien on the DIP Collateral subject to any Permitted Priority Liens (other than

the Pre-Petition Liens), in each case subject to the Carve-Out ((i)-(iii) collectively, the “DIP

Liens”).

        (b)      The DIP Liens shall attach to all of the property, assets or interests in property or

assets of each Debtor, and all “property of the estate” (within the meaning of the Bankruptcy

Code) of each Debtor, of any kind or nature whatsoever, real or personal, tangible or intangible

or mixed, now existing or hereafter acquired or created, including, without limitation, all of each

Debtor’s now owned or hereafter acquired right, title, and interest in and to: (v) all of the

property, assets or interests in property or assets of each Debtor and all “property of the estate”

(other than the DIP Collateral Excluded Accounts (as defined in the Pledge and Security

Agreement)), including, without limitation, the Pre-Petition Collateral, all leases (to the extent

not included in the Pre-Petition Collateral) and, to the extent any property, assets or interests of

any Debtor are excluded from the DIP Collateral, such as certain liquor licenses or leases that

restrict the grant of a security interest or lien in such assets, the proceeds of such property, assets

or interests; (w) the proceeds and products, whether tangible or intangible, of any of the

foregoing, including proceeds of insurance covering any or all of the foregoing, and any money

or other tangible or intangible property resulting from the sale, exchange, collection or other

disposition of any of the foregoing, or any portion thereof or interest therein, and the proceeds

thereof; (x) all other property and assets (other than the DIP Collateral Excluded Accounts (as

defined in the Pledge and Security Agreement)) including, without limitation, Cash Collateral

and all cash and non-cash proceeds, rents, products, substitutions, accessions, offspring and

profits of any of the collateral described above; (y) avoidance actions under chapter 5 of the

Bankruptcy Code or applicable state law (“Avoidance Actions”, and the proceeds thereof,

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“Avoidance Actions Proceeds”); and (z) a pledge of 100% of the Capital Stock of each Debtor’s

respective Subsidiaries, (collectively with (v)-(y), the “DIP Collateral”); subject only to (i) the

Permitted Priority Liens (other than the Pre-Petition Liens), and (ii) prior payment of the Carve-

Out. Notwithstanding the foregoing, Avoidance Actions and Avoidance Actions Proceeds shall

not constitute DIP Collateral until after the entry of the Final Order.

        (c)      The DIP Liens shall be effective immediately upon the entry of this Interim Order

and shall not at any time be made subject or subordinated to, or made pari passu with, any other

lien, security interest or claim existing as of the Petition Date, or created under sections 363 or

364(d) of the Bankruptcy Code or otherwise, other than (i) the Permitted Priority Liens (other

than the Pre-Petition Liens) as provided herein; and (ii) prior payment of the Carve-Out.

        (d)      The DIP Liens shall be and hereby are deemed fully perfected liens and security

interests, effective and perfected upon the date of this Interim Order, without the necessity of

execution by the Debtors of mortgages, security agreements, pledge agreements, financing

agreements, financing statements or any other agreements or instruments, such that no additional

actions need be taken by the DIP Agent or the DIP Lenders to perfect such interests.

        (e)      Those certain control agreements (collectively, the “Control Agreements”),

entered into by and among RTI, certain other Pre-Petition Borrowers or Pre-Petition Guarantors

(in each case, to the extent such Pre-Petition Borrowers or Pre-Petition Guarantors are party

thereto), the Pre-Petition Agent and the applicable Bank (as defined in the proposed order

attached as Exhibit A to the Motion of Debtors for Order under Sections 105, 345, 363, 364, 503,

1107 and 1108 of the Bankruptcy Code Authorizing (I) Maintenance of Existing Bank Accounts;

(II) Continuance of Existing Cash Management System, Bank Accounts, Checks and Related

Forms; (III) Continued Performance of Intercompany Transactions; (IV) Limited Waiver of

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Section 345(b) Deposit and Investment Requirements and (V) Granting Related Relief (the “Cash

Management Motion”) and as listed in Exhibit B to the Cash Management Motion), shall inure to

the benefit of the DIP Agent and the DIP Lenders. Each Bank shall comply with instructions

given to it by the DIP Agent (including at the direction of the Requisite Lenders in accordance

with the DIP Credit Agreement), without the further consent of any other party to the applicable

Control Agreement. This Interim Order hereby amends each Control Agreement so that, until

such time as the applicable Bank receives written notice from the DIP Agent (including at the

direction of the Requisite Lenders in accordance with the DIP Credit Agreement), each reference

to “Lender,” “Collateral Agent” or “Secured Party” in the applicable Control Agreement is

replaced by the DIP Agent.

        10.      DIP Lenders’ Superpriority Claim. The DIP Agent, for the benefit of the DIP

Secured Parties, is hereby granted an allowed superpriority administrative expense claim (the

“DIP Superpriority Claim”) pursuant to section 364(c)(1) of the Bankruptcy Code in each of the

Debtors’ Chapter 11 Cases and in any successor case(s) under the Bankruptcy Code (including

any case or cases under chapter 7 of the Bankruptcy Code, the “Successor Case(s)”) for all DIP

Obligations, having priority over any and all other claims against the Debtors, now existing or

hereafter arising, of any kind whatsoever, including, without limitation, all administrative

expenses of the kinds specified in or arising or ordered under sections 105(a), 326, 328, 330,

331, 503(a), 503(b), 506(c), 507(a), 507(b), 546(c), 546(d), 726, 1113, and 1114 and any other

provision of the Bankruptcy Code or otherwise, whether or not such expenses or claims may

become secured by a judgment lien or other non-consensual lien, levy or attachment, which

allowed DIP Superpriority Claim shall be payable from and have recourse to all pre- and

postpetition property of the Debtors, including all cash and cash equivalents, and all proceeds

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thereof including, without limitation but subject to entry of a Final Order, any Avoidance

Actions and Avoidance Actions Proceeds.          The DIP Superpriority Claim granted in this

paragraph shall be subject and subordinate in priority of payment only to prior payment of the

Carve-Out. Except as referenced in this Interim Order, no other superpriority claims shall be

granted or allowed in these Chapter 11 Cases or in any Successor Case(s).                The DIP

Superpriority Claim shall be senior in all respects to any superpriority claims granted in these

Chapter 11 Cases including, without limitation, on account of any break-up fee or expense

reimbursement that may be granted by the Court in connection with any sale of the Debtors’

assets and the Adequate Protection Superpriority Claim.

        11.      Survival of DIP Liens and DIP Superpriority Claim.         The DIP Liens, DIP

Superpriority Claim and other rights and remedies granted under this Interim Order to the DIP

Agent, for the benefit of itself and the DIP Lenders, shall continue in this and any Successor

Case(s) and shall be valid and enforceable against any trustee appointed in any or all of the

Debtors’ Chapter 11 Cases and/or upon the dismissal of any or all of the Debtors’ Chapter 11

Cases or any Successor Case(s) and such liens and security interests shall maintain their priority

as provided in this Interim Order until all the DIP Obligations have been indefeasibly paid in full

in cash and the DIP Lenders’ commitments have been terminated in accordance with the DIP

Loan Documents.

          ADEQUATE PROTECTION FOR PRE-PETITION COLLATERAL USE

        12.      Adequate Protection for Pre-Petition Secured Parties. As adequate protection for

any diminution in the value of the Pre-Petition Collateral resulting from the incurrence of the

DIP Obligations, the use of Cash Collateral securing the Pre-Petition Obligations, the granting of

DIP Liens and the agreement of the Pre-Petition Secured Parties to subordinate their right to

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receive payment from the proceeds of Pre-Petition Collateral to the prior payment of the Carve-

Out (collectively, the “Diminution Claim”), the Pre-Petition Agent (on behalf of the Pre-Petition

Lenders) is hereby granted (in each case subject to the DIP Liens, the DIP Superpriority Claim

and prior payment of the Carve-Out) the following adequate protection:

        (a)      Adequate Protection Liens.     Subject to Paragraph 15 hereof, to secure the

Diminution Claim, the Pre-Petition Agent, for itself and for the benefit of the Pre-Petition

Lenders, is hereby granted (effective and perfected upon the date of this Interim Order and

without the necessity of execution by the Debtors of mortgages, security agreements, pledge

agreements, financing statements and/or other agreements or instruments) valid, perfected,

postpetition security interests and liens (the “Replacement Liens”) in and on all of the Pre-

Petition Collateral, provided, however, that the Replacement Liens shall only be and remain

subject and subordinate to (i) the DIP Liens and/or payment of any DIP Obligations on account

thereof, (ii) the Permitted Priority Liens (other than the Pre-Petition Liens), and (iii) prior

payment of the Carve-Out.

                   (b) Adequate Protection Superpriority Claims. Subject to Paragraph 15

  hereof, as further adequate protection for and solely to the extent of the Diminution Claim, the

  Pre-Petition Agent, for itself and for the benefit of the Pre-Petition Lenders, is hereby granted

  a superpriority claim with priority over all administrative expense claims and unsecured claims

  against the Debtors or their estates, now existing or hereafter arising, of any kind or nature

  whatsoever, including, without limitation, administrative expenses of the kind specified in or

  ordered pursuant to sections 105, 326, 328, 503(b), 506(c), 507(a), 507(b), 546(c), 552(b),

  726, 1113 and 1114 and any other provision of the Bankruptcy Code (the “Adequate

  Protection Superpriority Claim”), which allowed Adequate Protection Superpriority Claim

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  shall be payable from and have recourse to all pre- and postpetition property of the Debtors,

  including all cash and cash equivalents, and all proceeds thereof including without limitation,

  but subject to and upon entry of the Final Order (and excluding avoidance actions against any

  of the Pre-Petition Secured Parties, in their capacities as such), any Avoidance Actions and

  Avoidance Actions Proceeds. The Adequate Protection Superpriority Claim shall be

  subordinate and subject only to the DIP Superpriority Claim and prior payment of the Carve-

  Out.

         (c)     Pre-Petition Secured Parties’ Legal Fees and Expenses. The Pre-Petition Secured

Parties shall each receive from the Debtors payment of all reasonable and documented

outstanding fees and expenses (the “Pre-Petition Fee Payments”), including, but not limited to,

fees and expenses of legal counsel, incurred by the Pre-Petition Secured Parties, to the extent

provided for under the Pre-Petition Credit Agreement. The prior or simultaneous payment of all

invoiced and outstanding Pre-Petition Fee Payments as of the Petition Date shall be a condition

to funding of any portion of the DIP Loans. The Pre-Petition Fee Payments are hereby approved

and shall not be subject to disgorgement by any party for any reason.

         (d)     As additional adequate protection, the Pre-Petition Secured Parties shall be

entitled to (i) cash payment of post-petition interest on the Pre-Petition Obligations as such

interest becomes due and payable at the applicable non-default rate thereunder and (ii) the

additional benefits set forth in this Interim Order, including Paragraphs 14 (Restrictions on Use

of Funds); 15 (Challenge Period); 17 (Estate Release); 19 (Section 506(c) Waiver Upon Entry of

Final Order); 20 (No Marshaling); 21 (Equities of the Case Waiver Upon Entry of Final Order);

and 35 (Sale/Conversion/Dismissal) hereof.



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        (e)      Consent to Priming and Adequate Protection. The Pre-Petition Secured Parties

consent to the Debtors’ use of Cash Collateral securing the Pre-Petition Obligations and the

priming provided for herein; provided, however, that such consent to the priming, the use of

Cash Collateral securing the Pre-Petition Obligations and the sufficiency of the adequate

protection provided for herein is expressly conditioned upon the entry of this Interim Order

relating to the DIP Loan Documents and DIP Loans set forth herein, and such consent shall not

be deemed to extend to any replacement or other debtor in possession financing other than the

DIP Loans provided under the DIP Loan Documents; provided, further, that such consent shall

be of no force and effect in the event this Interim Order is not entered and the DIP Loan

Documents and DIP Loans as set forth herein are not approved.

                      CARVE-OUT; RESTRICTIONS ON USE OF FUNDS

        13.      Carve-Out.

                   (a) The DIP Liens, the DIP Superpriority Claim, the Replacement Liens and

  the Adequate Protection Superpriority Claims shall be subject and subordinate only to prior

  payment of: (i) fees payable to the United States Trustee pursuant to 28 U.S.C. § 1930(a)(6) or

  to the Clerk of the Court (the “Case Administration Fees”), (ii) unpaid professional fees and

  expenses payable to any legal or financial advisors retained by the Debtors (the “Debtors’

  Professional Fees”) or any Creditors’ Committee (the “Committee’s Professional Fees”, and

  together with the Debtors’ Professional Fees, the “Professional Fees”) that are incurred or

  accrued prior to the date on which the DIP Agent provides written notice to the Debtors and

  the Creditors’ Committee of the occurrence of either an Event of Default or the Maturity Date

  (such notice, the “Carve-Out Trigger Notice”, and the date of a delivery of such notice to the

  Debtors and the Creditors’ Committee (if any), the “Carve-Out Trigger Date”), but solely if, as

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  and to the extent such Professional Fees (whenever incurred prior to the Carve-Out Trigger

  Date) are or have been provided for in, and are consistent with, the DIP Budget (subject to the

  Permitted Variances) and are ultimately allowed by the Court pursuant to section 330 of the

  Bankruptcy Code, including upon being earned and payable, any success fees and expenses

  payable to any investment bank of the Debtors per the terms of its engagement letter approved

  by the Requisite Lenders and any order of the Court approving such engagement and (iii)

  unpaid (x) Debtors’ Professional Fees incurred or accrued on or after the Carve-Out Trigger

  Date in an aggregate amount not to exceed $100,000 and (y) Committee’s Professional Fees

  incurred or accrued on or after the Carve-Out Trigger Date in an aggregate amount not to

  exceed $25,000, in each case under clauses (x) and (y) to the extent allowed at any time,

  whether by interim order, procedural order or otherwise (clauses (i), (ii) and (iii), collectively,

  the “Carve-Out”, and clause (iii) alone, the “Capped Carve-Out”). Subject to the immediately

  preceding sentence, so long as the Carve-Out Trigger Date has not occurred, the Debtors shall

  be permitted to pay Case Administration Fees and Professional Fees allowed and payable

  under Bankruptcy Code sections 330, 331, and 503, as provided in the DIP Loan Documents

  and the DIP Budget (subject to the Permitted Variances). Any payment of Carve-Out

  expenses incurred after the occurrence of the Carve-Out Trigger Date, including any payment

  of Professional Fees, shall permanently reduce the Capped Carve-Out on a dollar-for-dollar

  basis. Without limiting the generality of the foregoing, the Carve-Out shall not include, apply

  to or be available for any success fee or similar payment to any professionals or other persons,

  including, without limitation, any such fee payable in connection with a restructuring or asset

  disposition with respect to any of the Debtors or otherwise unless otherwise agreed to in



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  writing by the DIP Agent and the Requisite Lenders (or all affected Lenders, as applicable) in

  accordance with the DIP Credit Agreement.

                   (b) Prior to the Carve-Out Trigger Date: (i) an amount sufficient to pay the

  Professional Fees set forth in clause (a)(ii) above (excluding any success fees) may be funded

  by the Debtors on a weekly basis into a trust account held by the Debtors’ general bankruptcy

  counsel (the “Professional Fee Trust Account”) in the amount specified under the DIP Budget

  (without taking into consideration any Permitted Variances) for such week (the “Professional

  Fee Trust Weekly Amounts”), (ii) the Debtors shall be permitted to borrow under the DIP

  Credit Agreement to fund the Professional Fee Trust Weekly Amounts and (iii) the Debtors

  shall pay all Professional Fees allowed by the Court first from the Professional Fee Trust

  Account. Following the Carve-Out Trigger Date, the Debtors shall be permitted to borrow

  under the DIP Credit Agreement to fund the Professional Fee Trust Account for all unpaid

  Professional Fees set forth in clauses (a)(ii) and (a)(iii) above, to the extent not previously

  funded. Any excess amounts remaining in the Professional Fee Trust Account after payment

  of the Professional Fees shall be refunded to the Debtors and shall remain DIP Collateral.

        (c)      Nothing contained in this Interim Order shall be construed: (i) to exempt those

persons hereafter receiving interim compensation payments or reimbursement of expenses

pursuant to any such Court-approved procedure from the applicable provisions of bankruptcy

law, including the requirements that such compensation or reimbursement be allowed on a final

basis after the filing of appropriate fee applications, and, if applicable, any subsequent order of

this Court requiring that such payments be disgorged, and/or (ii) as consent to the allowance of

any fees and expenses referred to above, and shall not affect any right of the DIP Agent or the

DIP Lenders to object to the reasonableness of such amounts.

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        14.      Restrictions on Use of Funds. Notwithstanding anything in this Interim Order or

the DIP Loan Documents to the contrary, no proceeds of the DIP Facility, any DIP Collateral or

Pre-Petition Collateral (including, without limitation, Cash Collateral) or any portion of the

Carve-Out may be used in any manner to (a) request authorization to obtain postpetition loans or

other financial accommodations pursuant to section 364(c) or (d) of the Bankruptcy Code or

otherwise, other than from the DIP Agent or DIP Lenders, unless the proceeds of such loans or

accommodations are or will be sufficient, and will be used, to indefeasibly pay in full in cash all

DIP Obligations, the Pre-Petition Obligations and the adequate protection obligations set forth in

Paragraph 12 hereof, (b) pay any amount for any use not provided for under Section 2.5 of the

DIP Credit Agreement and as set forth in the DIP Budget (subject to the Permitted Variances),

(c) investigate (except as set forth in Paragraph 15 below), assert, join, commence, support or

prosecute any cause of action or claim, counter-claim, action, proceeding, application, motion,

objection, defense or other contested matter seeking any order, judgment, determination or

similar relief against the DIP Agent, the DIP Lenders, the Pre-Petition Agent or the Pre-Petition

Lenders (in their respective capacities as such) or any of their respective Related Parties (in their

respective capacities as such), with respect to any transaction, occurrence, omission, or action

related to the DIP Liens, the DIP Obligations, the Pre-Petition Liens or the Pre-Petition

Obligations, including, without limitation, (i) any Avoidance Actions or other actions arising

under chapter 5 of the Bankruptcy Code; (ii) any action relating to any act or omission related to,

or aspect of, the relationship between or among any of the DIP Agent, the DIP Lenders, the Pre-

Petition Agent or the Pre-Petition Lenders (in their respective capacities as such), on the one

hand, and the Debtors or any of their affiliates, on the other; (iii) any action with respect to the

validity and extent of the DIP Obligations or the Pre-Petition Obligations or the validity,

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perfection, extent, enforceability and/or priority of the DIP Liens, the Pre-Petition Liens or the

Replacement Liens; (iv) any action seeking to invalidate, set aside, avoid or subordinate, in

whole or in part, the DIP Liens, the Pre-Petition Liens or the Replacement Liens; or (v) any

action that has the effect of preventing, hindering or delaying, whether directly or indirectly, the

DIP Agent, the DIP Lenders, the Pre-Petition Agent or the Pre-Petition Lenders in respect of the

enforcement of their liens and security interests in the DIP Collateral, Cash Collateral or the Pre-

Petition Collateral; (d) pay any Claim of a Creditor (as such terms are defined in the Bankruptcy

Code) without the prior written consent of the DIP Agent and the Requisite Lenders in

accordance with the DIP Credit Agreement (or all affected Lenders to the extent required by the

DIP Credit Agreement) unless otherwise approved by the Court; and/or (e) use or seek to use

Cash Collateral or sell or otherwise dispose of DIP Collateral, unless otherwise permitted hereby

or by the DIP Loan Documents, without the consent of the DIP Agent and the Requisite Lenders

in accordance with the DIP Credit Agreement (or all affected Lenders to the extent required by

the DIP Credit Agreement). Notwithstanding the foregoing, up to $25,000 in the aggregate of

proceeds of the DIP Loans, Cash Collateral and Carve-Out (collectively) may be used by a

Creditors’ Committee to investigate (but not to commence or pursue any litigation, objection, or

challenge to) the Pre-Petition Obligations, the Pre-Petition Liens and/or claims against the

Releases prior to the Challenge Period Termination Date (as each is defined below).

        15.      Reservation of Certain Third Party Rights and Bar of Challenges and Claims.

        (a)      The Debtors’ acknowledgements, agreements and stipulations set forth in

Paragraph D above (the “Debtors’ Stipulations”) shall be binding upon the Debtors upon entry of

this Interim Order; provided, however, that the Debtors shall be permitted to share information

with the Creditors’ Committee upon a request therefor by the Creditors’ Committee in

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connection with the investigation of claims against the Releases and shall be permitted to use the

proceeds of the DIP Loans, the DIP Collateral and the Cash Collateral to pay any Debtors’

Professional Fees incurred in connection therewith. The Debtors’ Stipulations shall be binding

upon each other party in interest, including the Creditors’ Committee, if any, unless such

Creditors’ Committee or any other party in interest having standing other than the Debtors (or if

these Chapter 11 Cases are converted to cases under chapter 7 prior to the expiration of the

Challenge Period (as defined below), the chapter 7 trustee in such Successor Case(s)), first,

commences, by the earlier of (x) with respect to any Creditors’ Committee, the date that is sixty

(60) calendar days from the formation of any Creditors’ Committee, and (y) with respect to other

parties in interest with requisite standing other than the Debtors or any Creditors’ Committee,

seventy-five (75) calendar days following the date of entry of the Interim Order (such time

period established by the earlier of clauses (x) and (y), the “Challenge Period,” and the date that

is the next calendar day after the termination of the Challenge Period in the event that either (i)

no Challenge (as defined below) is properly raised during the Challenge Period or (ii) such

Challenge is fully and finally adjudicated, shall be referred to as the “Challenge Period

Termination Date”), (A) a contested matter, adversary proceeding, or other action or “claim” (as

defined in the Bankruptcy Code) challenging or otherwise objecting to the admissions,

stipulations, findings or releases included in the Debtors’ Stipulations or (B) a contested matter,

adversary proceeding, or other action against any or all of the Pre-Petition Agent or the Pre-

Petition Secured Parties in connection with or related to the Pre-Petition Obligations or the

actions or inactions of the Pre-Petition Agent or the Pre-Petition Secured Parties arising out of or

related to the Pre-Petition Obligations or otherwise, including, without limitation, any claim

against the Pre-Petition Agent or any or all of the Pre-Petition Secured Parties in the nature of a

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“lender liability” cause of action, setoff, counterclaim or defense to the Pre-Petition Obligations

(including, but not limited to, those under sections 506, 544, 547, 548, 549, 550, and/or 552 of

the Bankruptcy Code (in each case including a contested matter, adversary proceeding, or other

action or “claim” brought derivatively on behalf of one or more Debtors’ estates but excluding,

solely for the purpose of this Interim Order, those under section 506(c) of the Bankruptcy Code)

((A) and (B) collectively, the “Challenges” and, each individually, a “Challenge”), and second,

obtains a final, non-appealable order in favor of such party in interest sustaining any such

Challenge in any such timely-filed contested matter, adversary proceeding, or other action.

                   (b) Upon the Challenge Period Termination Date and for all purposes in these

  Chapter 11 Cases and any Successor Case(s), (i) all payments made to or for the benefit of the

  Pre-Petition Agent or the Pre-Petition Lenders pursuant to, or otherwise authorized by, this

  Interim Order or otherwise (whether made prior to, on, or after the Petition Date) shall be

  indefeasible and not be subject to counterclaim, set-off, subordination, recharacterization,

  defense, or avoidance, (ii) any and all such Challenges by any party in interest shall be deemed

  to be forever released, waived and barred, (iii) the Pre-Petition Obligations shall be deemed to

  be a fully allowed and fully secured claim within the meaning of section 506 of the

  Bankruptcy Code, and (iv) the Debtors’ Stipulations in Paragraph D hereof and the releases in

  Paragraph 17 hereof shall be binding on all parties in interest, including any Creditors’

  Committee as if such parties had made such Debtors’ Stipulations.

        16.      Prohibition on Granting of Additional Liens and Interests. No liens, claims,

interests or priority status, other than the Carve-Out or Permitted Priority Liens, if any, having a

lien or administrative priority superior to, pari passu with, or junior to that of the DIP Liens, the

DIP Superpriority Claim, the Adequate Protection Superpriority Claims or the Replacement

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Liens granted by this Interim Order, shall be granted while any portion of the DIP Obligations

remain outstanding, or any commitment under the DIP Loan Documents remains in effect,

without the prior written consent of the DIP Agent and the Requisite Lenders in accordance with

the DIP Credit Agreement (or all affected Lenders to the extent required by the DIP Credit

Agreement).

        17.      Release.   The release, discharge, waivers, settlements, compromises and

agreements set forth in this Paragraph 17 shall be deemed effective upon entry of the Interim

Order, and subject only to the rights set forth in Paragraph 15 above. The Debtors forever and

irrevocably (a) release, discharge, and acquit the DIP Agent, the DIP Lenders, the Pre-Petition

Agent and the Pre-Petition Lenders (in their respective capacities as such), and each of their

respective former, current or future officers, employees, directors, agents, representatives,

owners, members, partners, financial advisors, legal advisors, shareholders, managers,

consultants, accountants, attorneys, affiliates and successors and predecessors in interest (in their

respective capacities as such) (collectively, the “Releases”) of and from any and all claims,

demands, liabilities, responsibilities, disputes, remedies, causes of action, indebtedness and

obligations, of every type, including, without limitation, any claims arising from any actions

relating to any aspect of the relationship among the DIP Agent, the DIP Lenders, the Pre-Petition

Lenders or the Pre-Petition Agent (in their respective capacities as such) and the Debtors and

their affiliates including any equitable subordination or recharacterization claims or defenses,

with respect to or relating to the DIP Obligations, the DIP Liens, the DIP Loan Documents, the

Pre-Petition Obligations, the Pre-Petition Liens, the Pre-Petition Credit Agreement Documents,

the Debtors’ attempts to restructure the Pre-Petition Obligations, any and all claims and causes of

action arising under title 11 of the United States Code and any and all claims regarding the

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validity, priority, perfection, or avoidability of the liens or secured claims of the DIP Secured

Parties and the Pre-Petition Secured Parties; and (b) waive any and all defenses (including,

without limitation, offsets and counterclaims of any nature or kind) as to the validity, perfection,

priority, enforceability and non-avoidability of the DIP Obligations, the DIP Liens, the Pre-

Petition Obligations and the Pre-Petition Liens.

                     REMEDIES; MODIFICATION OF AUTOMATIC STAY

        18.      Remedies and Stay Modification.

        (a)      The automatic stay provisions of section 362 of the Bankruptcy Code are, to the

extent applicable, vacated and modified without further application or motion to, or order from,

the Court, to the extent necessary so as to permit the following, and neither section 105 of the

Bankruptcy Code nor any other provision of the Bankruptcy Code or applicable law shall be

utilized to prohibit the exercise, enjoyment and enforcement of any of such rights, benefits,

privileges and remedies regardless of any change in circumstances (whether or not foreseeable):

               (i)         Whether or not a Default or an Event of Default under the DIP Loan

Documents or a default by any of the Debtors of any of their obligations under this Interim Order

has occurred, (A) to require all cash, checks or other collections or proceeds from DIP Collateral

received by any of the Debtors to be deposited in accordance with the requirements of the DIP

Loan Documents, and to apply any amounts so deposited and other amounts paid to or received

by the DIP Agent and the DIP Lenders under the DIP Loan Documents in accordance with any

requirements of the DIP Loan Documents, (B) the right to file or record any financing

statements, mortgages or other instruments or other documents to evidence the security interests

in and liens upon the DIP Collateral, (C) the right to charge and collect any interest, fees, costs

and other expenses accruing at any time under the DIP Loan Documents as provided therein, and

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(D) the right to give the Debtors any notice provided for in any of the DIP Loan Documents or

this Interim Order.

               (ii)        Subject to subparagraph (a)(iv) below, the automatic stay provisions of

section 362 of the Bankruptcy Code are vacated and modified without the need for further Court

order to permit the DIP Agent, for itself and on behalf of the DIP Lenders, upon the occurrence

and during the continuance of an Event of Default, and without any interference from the

Debtors or any other party in interest but subject to five (5) business days’ prior written notice

(which may be delivered by electronic mail) (the “Remedies Notice Period”) to the Debtors, their

counsel, counsel to any Creditors’ Committee and the U.S. Trustee, to exercise all rights and

remedies provided for in the DIP Loan Documents, this Interim Order or under other applicable

bankruptcy and non-bankruptcy law including, without limitation, the right to (A) cease making

DIP Loans and/or suspend or terminate the commitments under the DIP Loan Documents; (B)

declare all DIP Obligations immediately due and payable; (C) take any actions reasonably

calculated to preserve or safeguard the DIP Collateral or to prepare the DIP Collateral for sale;

(D) foreclose or otherwise enforce the DIP Liens on any or all of the DIP Collateral; (E) set off

any amounts held as Cash Collateral (including, without limitation, in any Cash Collateral

account held for the benefit of the DIP Agent and DIP Lenders); and/or (F) exercise any other

default-related rights and remedies under the under the DIP Loan Documents or this Interim

Order. The Remedies Notice Period shall run concurrently with any notice period provided for

under the DIP Loan Documents.

               (iii)       Upon the occurrence of an Event of Default or a default by any of the

Debtors of any of their obligations under this Interim Order, and without being subject to the

Remedies Notice Period, (A) the DIP Agent, for itself and the benefit of the DIP Lenders, may

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immediately charge interest at the default rate set forth in the DIP Loan Documents and (B)

twenty-four (24) hours after the DIP Agent delivers a notice of an Event of Default to the

Borrower Representative, the DIP Agent shall, subject to the Carve-Out, have no further

obligation to permit the continued use of Cash Collateral.

               (iv)        The automatic stay of section 362(a) of the Bankruptcy Code, to the extent

applicable, shall be deemed terminated without the necessity of any further action by the Court in

the event that the Debtors, the Creditors’ Committee, if any, and/or the U.S. Trustee have not

obtained an order from this Court to the contrary prior to the expiration of the Remedies Notice

Period.

               (v)         If the DIP Lenders are entitled, and have elected in accordance with the

provisions hereof, to direct the DIP Agent to enforce the DIP Liens or exercise any other default-

related remedies following expiration of the Remedies Notice Period, the Debtors shall cooperate

with the DIP Agent and the DIP Lenders in connection with such enforcement by, among other

things, (A) providing at all reasonable times access to the Debtors’ premises to representatives or

agents of the DIP Agent or the DIP Lenders (including any collateral liquidator or consultant),

(B) providing the DIP Agent and the DIP Lenders and their representatives or agents, at all

reasonable times access to the Debtors’ books and records and any information or documents

requested by the DIP Agent or the DIP Lenders or their respective representatives, (C)

performing all other obligations set forth in the DIP Loan Documents, and (D) taking reasonable

steps to safeguard and protect the DIP Collateral, and the Debtors shall not otherwise interfere

with or actively encourage others to interfere with the DIP Agent’s or the DIP Lenders’

enforcement of rights.



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               (vi)        Upon the occurrence and during the continuance of a Default or an Event

of Default under the DIP Loan Documents, a violation of the terms of or an event of default

under this Interim Order or occurrence of the Maturity Date, the DIP Agent, at the direction of

the Requisite Lenders in accordance with the DIP Credit Agreement (or all affected Lenders to

the extent required by the DIP Credit Agreement), shall have no further obligation to provide

financing under the DIP Loan Documents.

               (vii)       This Court shall retain exclusive jurisdiction to hear and resolve any

disputes and enter any orders required by the provisions of this Interim Order and relating to the

application, re-imposition or continuance of the automatic stay of section 362(a) of the

Bankruptcy Code or other injunctive relief requested.

                                         MISCELLANEOUS

        19.      Limitation on Section 506(c) Claims. Subject to entry of the Final Order and as

additional adequate protection for the use of Cash Collateral, no costs or expenses of

administration which have been or may be incurred in these Chapter 11 Cases or any Successor

Case(s) at any time shall be surcharged against, and no person may seek to surcharge any costs

or expenses of administration against, the DIP Secured Parties, the Pre-Petition Secured Parties

or any of their respective claims, the Carve-Out, the DIP Collateral or the Pre-Petition Collateral,

pursuant to sections 105 or 506(c) of the Bankruptcy Code or otherwise, without the prior written

consent, as applicable, of the DIP Agent and the Requisite Lenders in accordance with the DIP

Credit Agreement (or all affected Lenders to the extent required by the DIP Credit Agreement).

No action, inaction, or acquiescence by the DIP Secured Parties or the Pre-Petition Secured

Parties shall be deemed to be or shall be considered evidence of any alleged consent to a




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surcharge against the DIP Secured Parties, the Pre-Petition Secured Parties, any of their

respective claims, the Carve-Out, the DIP Collateral or the Pre-Petition Collateral.

        20.      No Marshaling. The DIP Secured Parties and the Pre-Petition Secured Parties

shall not be subject to the equitable doctrine of “marshaling” or any other similar doctrine with

respect to any of the DIP Collateral or the Pre-Petition Collateral.         Without limiting the

generality of the immediately preceding sentence, no party shall be entitled, directly or

indirectly, to direct the exercise of remedies or seek (whether by order of this Court or otherwise)

to marshal or otherwise control the disposition of the DIP Collateral after an Event of Default

under the DIP Loan Documents or termination or breach under the DIP Loan Documents.

        21.      Equities of the Case Waiver Upon Entry of Final Order. The DIP Agent, the DIP

Secured Parties and the Pre-Petition Secured Parties shall each be entitled to all of the rights and

benefits of section 552(b) of the Bankruptcy Code, and no person may assert an “equities of the

case” claim under section 552(b) of the Bankruptcy Code against the DIP Secured Parties or the

Pre-Petition Secured Parties with respect to proceeds, product, offspring or profits of any of the

DIP Collateral or the Pre-Petition Collateral.

        22.      Additional Perfection Measures. The DIP Liens and the Replacement Liens shall

be perfected by operation of law immediately upon entry of this Interim Order. None of the

Debtors, the DIP Secured Parties or the Pre-Petition Secured Parties shall be required to enter

into or obtain landlord waivers, mortgagee waivers, bailee waivers, warehouseman waivers or

any other waiver or consent, or to file or record financing statements, mortgages, deeds of trust,

leasehold mortgages, notices of lien or similar instruments in any jurisdiction (including,

trademark, copyright, trade name or patent assignment filings with the United States Patent and

Trademark Office, Copyright Office or any similar agency with respect to intellectual property or

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filings with any other federal agencies/authorities), or obtain consents from any licensor or

similarly situated party-in-interest, or take any other action in order to validate and to perfect the

DIP Liens or the Replacement Liens.

                (a)        If the DIP Agent (including at the direction of the Requisite Lenders in

accordance with the DIP Credit Agreement (or all affected Lenders to the extent required by the

DIP Credit Agreement)), chooses to take any action to obtain consents from any landlord,

licensor or other party in interest, to file mortgages, financing statements, notices of lien or

similar instruments or to otherwise record or perfect such security interests and liens, the DIP

Agent is hereby authorized, but not directed, to take such action or to request that the Debtors

take such action on its behalf (and the Debtors are hereby authorized and directed to take such

action), and no defect in any such act shall affect or impair the validity, perfection and

enforceability of the liens granted hereunder.

         (b)     In lieu of obtaining such consents or filing any such mortgages, financing

statements, notices of lien or similar instruments, the DIP Agent may choose to file a true and

complete copy of this Interim Order in any place at which any such instruments would or could

be filed, together with a description of the Collateral, and such filing by the DIP Agent shall have

the same effect as if such mortgages, deeds of trust, financing statements, notices of lien or

similar instruments had been filed or recorded at the time and on the date of entry of this Interim

Order.

         23.     Application of Collateral Proceeds. To the extent required by this Interim Order

and the DIP Loan Documents, after an Event of Default, the Debtors are hereby authorized and

directed to remit to the DIP Agent, subject to the payment of or reserve for the Carve-Out and

allowed claims secured by Permitted Priority Liens (other than the Pre-Petition Liens) as

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described herein, one-hundred percent (100%) of all collections on, and proceeds of, the DIP

Collateral, and the automatic stay provisions of section 362 of the Bankruptcy Code are hereby

modified to permit the DIP Agent or the DIP Lenders to retain and apply all collections,

remittances, and proceeds of the DIP Collateral in accordance with the DIP Loan Documents. In

furtherance of the foregoing:

        (a)      all cash, securities, investment property and other items of any Debtor deposited

with any bank or other financial institution, other than the DIP Collateral Excluded Accounts (as

defined in the Pledge and Security Agreement), shall be subject to a perfected, first priority

security interest in favor of the DIP Agent (or its designee);

        (b)      upon the occurrence of the Maturity Date and the expiration of the Remedies

Notice Period, each bank or other financial institution with an account of any Debtor, other than

the DIP Collateral Excluded Accounts (as defined in the Pledge and Security Agreement), is

hereby authorized and instructed to (i) comply at all times with any instructions originated by the

DIP Agent (or its designee) to such bank or financial institution directing the disposition of cash,

securities, investment property and other items from time to time credited to such account,

without further consent of any Debtor, including, without limitation, any instruction to send to

the DIP Agent (or its designee) by wire transfer (to such account as the DIP Agent (or its

designee) shall specify, or in such other manner as the DIP Agent (or its designee) shall direct)

all such cash, securities, investment property and other items held by it and (ii) subject to entry

of the Final Order, waive any right of set off, banker’s lien or other similar lien, security interest

or encumbrance as against the DIP Agent (or its designee);

        (c)      any deposit account control agreement executed and delivered by any bank or

other financial institution, any Debtor and the DIP Agent in connection with the DIP Loan

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Documents shall establish control in favor of the DIP Agent of any and all accounts subject

thereto and any and all cash, securities, investment property and other items of any Debtor

deposited therein to secure the DIP Obligations; and

        (d)      any deposit account control agreement executed and delivered by any bank or

other financial institution, any Debtor and the Pre-Petition Agent prior to the Petition Date in

connection with the Pre-Petition Credit Agreement Documents shall establish co-control in favor

of the DIP Agent of any and all accounts subject thereto and any and all cash, securities,

investment property and other items of any Debtor deposited therein to secure the DIP

Obligations (provided that primary control rights shall vest in the DIP Agent), and all rights

thereunder in favor of the Pre-Petition Agent shall inure also to the benefit of, and shall be

exercisable exclusively by, the DIP Agent, until all of the DIP Obligations have been

indefeasibly paid in full in cash, at which time exclusive control shall automatically revert to the

Pre-Petition Agent.

        24.      Access to Collateral. Notwithstanding anything contained herein to the contrary,

and without limiting any other rights or remedies of the DIP Agent or the DIP Lenders contained

in this Interim Order or the DIP Loan Documents, or otherwise available at law or in equity, and

subject to the terms of the DIP Loan Documents, upon five (5) business days’ written notice to

the landlord, lienholder, licensor or other third party owner of any leased or licensed premises or

intellectual property that an Event of Default under the DIP Loan Documents, or a default by any

of the Debtors of any of their obligations under this Interim Order, has occurred and is

continuing or that the Maturity Date has occurred, the DIP Agent (including at the direction of

the Requisite Lenders in accordance with the DIP Credit Agreement (or all affected Lenders to

the extent required by the DIP Credit Agreement)), (i) may, unless otherwise provided in any

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separate agreement by and between the applicable landlord or licensor and the DIP Agent or the

Pre-Petition Agent (the terms of which shall be reasonably acceptable to the parties thereto),

enter upon any leased or licensed premises of any of the Debtors for the purpose of exercising

any remedy with respect to DIP Collateral located thereon and (ii) shall be entitled to all of the

Debtors’ rights and privileges as lessee or licensee under the applicable lease or license and to

use any and all trademarks, trade names, copyrights, licenses, patents or any other similar assets

of the Debtors, which are owned by or subject to a lien of any third party and which are used by

the Debtors in their businesses, in either the case of subparagraph (i) or (ii) of this paragraph,

without interference from lienholders, landlords or licensors thereunder, subject to such

lienholders’, landlords’, or licensors’ rights under applicable law, provided, however, that the

DIP Lenders shall pay only base rent payable during the period of such occupancy or use by the

DIP Agent calculated on a per diem basis. Nothing herein shall require the Debtors, the DIP

Agent or the DIP Lenders to assume any lease or license under section 365(a) of the Bankruptcy

Code as a precondition to the rights afforded to the DIP Agent and the DIP Lenders in this

paragraph.

        25.      [Reserved].

        26.      Delivery of Documentation. The Debtors (and/or their legal or financial advisors)

shall deliver to the DIP Agent, counsel to the DIP Lenders, and, after the Maturity Date and the

repayment of the DIP Obligations in full in cash, counsel to the Pre-Petition Lenders, all

financial reports, budgets, forecasts, and all other legal or financial documentation, pleadings

and/or filings that are either (i) required to be provided (by the Debtors and/or their legal or

financial advisors) to the DIP Agent and/or the DIP Lenders pursuant to the DIP Loan

Documents or the Pre-Petition Agent, as the case may be, or (ii) reasonably requested by the DIP

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Agent and/or the DIP Lenders (or their legal and financial advisors) or by the Pre-Petition Agent

and/or the Pre-Petition Lenders (or their advisors), as the case may be.

        27.      Access to Books and Records. The Debtors (and/or their legal and financial

advisors) will (a) keep proper books, records and accounts in accordance with GAAP in which

full, true, and correct entries shall be made of all dealings and transactions in relation to their

business and activities, (b) cooperate, consult with and provide to the DIP Secured Parties all

such information as required or allowed under the DIP Loan Documents or the provisions of this

Interim Order or that is afforded to the Creditors’ Committee and/or the Creditors’ Committee’s

respective legal or financial advisors, (c) permit, consistent with the DIP Loan Documents,

representatives of the DIP Secured Parties to visit and inspect any of their respective properties,

to examine and make abstracts or copies from any of their respective books and records, to

conduct a collateral audit and analysis of their respective inventory and accounts, to tour the

Debtors’ business premises and other properties, and to discuss, and provide advice with respect

to, their respective affairs, finances, properties, business operations and accounts with their

respective officers, employees and independent public accountants as often as may reasonably be

desired, and (d) permit, consistent with the DIP Loan Documents, representatives of the DIP

Secured Parties to consult with and advise the Debtors’ management on matters concerning the

general status of the Debtors’ business, financial condition and operations.

        28.      Lenders Not Responsible Persons. In (a) making the decision to make the DIP

Loans; (b) administering the DIP Loans; (c) extending other financial accommodations to the

Debtors under the DIP Loan Documents; (d) making the decision to make the loans and financial

accommodations under the Pre-Petition Credit Agreement Documents; (e) administering the

loans and financial accommodations extended under the Pre-Petition Credit Agreement

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Documents; (f) extending other financial accommodations to the Debtors under the Pre-Petition

Credit Agreement Documents; and (g) making the decision to collect the indebtedness and

obligations of the Debtors, none of the DIP Secured Parties or the Pre-Petition Secured Parties

shall be considered to (x) owe any fiduciary obligation to the Debtors or any other party with

respect to their exercise of any consent rights afforded them under the DIP Loan Documents or

this Interim Order or (y) be exercising control over any operations of the Debtors or acting in any

way as a responsible person, or as an owner or operator under any applicable law.

        29.      Successors and Assigns. The DIP Loan Documents and the provisions of this

Interim Order shall be binding upon the Debtors, the DIP Agent, the DIP Lenders, the Pre-

Petition Agent, the Pre-Petition Lenders and each of their respective successors and assigns, and

shall inure to the benefit of the Debtors, the DIP Agent, the DIP Lenders, the Pre-Petition Agent,

the Pre-Petition Lenders and each of their respective successors and assigns including, without

limitation, any trustee, examiner with expanded powers, responsible officer, estate administrator

or representative or similar person appointed in a case for any Debtor under any chapter of the

Bankruptcy Code. The terms and provisions of this Interim Order shall also be binding on all of

the Debtors’ creditors, equity holders and all other parties in interest, including, but not limited to

a trustee appointed under chapter 7 or chapter 11 of the Bankruptcy Code.

        30.      Debtors Will Not Challenge Credit Bid Rights. Without prejudice to any rights or

claims reserved pursuant to Paragraph 15 hereof as to any party in interest other than the Debtors

(and subject to the limitations therein), no Debtor shall object to any DIP Lender credit bidding

up to the full amount of its outstanding DIP Obligations or, subject to entry of the Final Order,

any Pre-Petition Lender credit bidding up to the full amount of its outstanding Pre-Petition

Obligations, in each case including, without limitation, any accrued interest and expenses, in any

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sale of any DIP Collateral whether such sale is effectuated through section 363 of the

Bankruptcy Code in a Chapter 11 or Chapter 7 proceeding, under section 1129 in a Chapter 11

proceeding, by a Chapter 7 trustee in a Chapter 7 proceeding or otherwise. The DIP Lenders and

Pre-Petition Lenders expressly reserve the right to credit bid up to the full amount of their

outstanding DIP Obligations or Pre-Petition Obligations, including, without limitation, all

principal, interest, fees, expenses, call premiums, yield maintenance premiums and other fees

and charges; provided, however, that the Debtors expressly preserve their rights to contest the

allowance of any call premium and yield maintenance premium under the Pre-Petition Credit

Agreement.

        31.      Binding Nature of Agreement. Each of the DIP Loan Documents to which any of

the Debtors are or will become a party shall constitute legal, valid and binding obligations of the

Debtors party thereto, enforceable in accordance with their terms. The DIP Loan Documents

have been or will be properly executed and delivered to the DIP Agent or the DIP Lenders by the

Debtors, no later than one business day after entry of this Interim Order. Unless otherwise

consented to in writing, the rights, remedies, powers, privileges, liens and priorities of the DIP

Agent, the DIP Lenders, the Pre-Petition Agent, and the Pre-Petition Lenders provided for in this

Interim Order, the DIP Loan Documents or otherwise shall not be modified, altered or impaired

in any manner by any subsequent order (including a confirmation or sale order), by any plan of

reorganization or liquidation in these Chapter 11 Cases, by the dismissal or conversion of these

Chapter 11 Cases or in any subsequent case under the Bankruptcy Code.

        32.      Subsequent Reversal or Modification. This Interim Order is entered pursuant to

section 364 of the Bankruptcy Code, and Bankruptcy Rules 4001(b) and (c), granting the DIP

Lenders all protections afforded by section 364(e) of the Bankruptcy Code. If any or all of the

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provisions of this Interim Order are hereafter reversed, modified, vacated or stayed, that action

will not affect (a) the validity of any obligation, indebtedness or liability incurred hereunder by

any of the Debtors to the DIP Agent, the DIP Lenders, the Pre-Petition Agent and the Pre-

Petition Lenders, prior to the date of receipt by the DIP Agent and the Pre-Petition Agent of

written notice of the effective date of such action or (b) the validity and enforceability of any lien

or priority authorized or created under this Interim Order or pursuant to the DIP Loan

Documents. Notwithstanding any such reversal, stay, modification or vacatur, any postpetition

indebtedness, obligation or liability incurred by any of the Debtors to the DIP Agent, the DIP

Lenders, the Pre-Petition Agent and the Pre-Petition Lenders prior to written notice to the DIP

Agent and the Pre-Petition Agent of the effective date of such action, shall be governed in all

respects by the original provisions of this Interim Order, and the DIP Agent, the DIP Lenders,

the Pre-Petition Agent and the Pre-Petition Lenders, shall be entitled to all the rights, remedies,

privileges and benefits granted herein and in the DIP Loan Documents with respect to all such

indebtedness, obligations or liability.

        33.      Collateral Rights. If any party who holds a lien or security interest in DIP

Collateral or Pre-Petition Collateral that is junior and/or subordinate to the DIP Liens, the

Replacement Liens or the Pre-Petition Liens in such DIP Collateral or Pre-Petition Collateral

receives or is paid the proceeds of such DIP Collateral or Pre-Petition Collateral prior to the

indefeasible payment in full in cash and the complete satisfaction of (a) all DIP Obligations

under the DIP Loan Documents and termination of the commitment in accordance with the DIP

Loan Documents and (b) the Pre-Petition Obligations under the Pre-Petition Credit Agreement

Documents, such junior or subordinate lienholder shall be deemed to have received, and shall

hold, the proceeds of any such DIP Collateral or Pre-Petition Collateral in trust for the DIP

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Lenders and the Pre-Petition Lenders and shall immediately turn over such proceeds for

application by the DIP Agent and the Pre-Petition Agent to repay the DIP Obligations and the

Pre-Petition Obligations in accordance with the DIP Loan Documents, the Pre-Petition Credit

Agreement Documents and this Interim Order until indefeasibly paid in full in cash.

        34.      No Waiver. This Interim Order shall not be construed in any way as a waiver or

relinquishment of any rights that the DIP Agent, DIP Lenders, Pre-Petition Agent or Pre-Petition

Lenders may have to bring or be heard on any matter brought before this Court.

        35.      Sale/Conversion/Dismissal. If an order dismissing or converting any of these

Chapter 11 Cases under sections 305 or 1112 of the Bankruptcy Code or otherwise, or appointing

a chapter 11 trustee or a responsible officer or examiner with expanded powers, is at any time

entered, such order shall provide that (a) the DIP Liens, the DIP Superpriority Claim, the

Replacement Liens and the Adequate Protection Superpriority Claims granted hereunder and in

the DIP Loan Documents shall continue in full force and effect, remain binding on all parties-in-

interest, and maintain their priorities as provided in this Interim Order and the DIP Loan

Documents until all DIP Obligations are indefeasibly paid in full in cash and completely satisfied

and the commitments under the DIP Loan Documents are terminated in accordance with the DIP

Loan Documents and (b) this Court shall retain jurisdiction, notwithstanding such dismissal, for

purposes of enforcing the DIP Liens, the DIP Superpriority Claim, the Replacement Liens and

the adequate protection obligations set forth in Paragraph 12 hereof.

        36.      Limits on Lenders’ Liability. Nothing in this Interim Order or in any of the DIP

Loan Documents, the Pre-Petition Credit Agreement Documents or any other documents related

thereto shall in any way be construed or interpreted to impose or allow the imposition upon the

DIP Secured Parties, or, subject to Paragraph 15 of this Interim Order, the Pre-Petition Secured

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Parties, of any liability for any claims arising from any and all activities by the Debtors or any of

their subsidiaries or affiliates in the operation of their businesses or in connection with their

restructuring efforts.

        37.      Priority of Terms. To the extent of any conflict between or among (a) the express

terms or provisions of any of the DIP Loan Documents, the Motion, the Requested Relief, any

other order of this Court or any other agreements, on the one hand, and (b) the terms and

provisions of this Interim Order, on the other hand, unless such term or provision herein is

phrased in terms of “as defined in” “as set forth in” or “as more fully described in” the DIP Loan

Documents (or words of similar import), the terms and provisions of this Interim Order shall

govern.

        38.      No Third Party Beneficiary. Except as explicitly set forth herein, no rights are

created hereunder for the benefit of any third party, any creditor or any direct, indirect or

incidental beneficiary.

        39.      Survival. Except as otherwise provided herein, (a) the protections afforded under

this Interim Order, and any actions taken pursuant thereto, shall survive the entry of an order (i)

dismissing any of these Chapter 11 Cases or (ii) converting any of these Chapter 11 Cases into a

case pursuant to chapter 7 of the Bankruptcy Code, and (b) the DIP Liens, the Replacement

Liens, the DIP Superpriority Claim and the Adequate Protection Superpriority Claim shall

continue in these Chapter 11 Cases, in any such successor case or after any such dismissal.

Except as otherwise provided herein, the DIP Liens, the Replacement Liens, the DIP

Superpriority Claim and the Adequate Protection Superpriority Claim shall maintain their

priorities as provided in this Interim Order, the Final Order and the DIP Loan Documents, and

not be modified, altered or impaired in any way by any other financing, extension of credit,

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incurrence of indebtedness (except with respect to any additional financing to be provided by the

DIP Agent or the DIP Lenders in accordance with the Final Order), or any conversion of any of

these Chapter 11 Cases into a case pursuant to chapter 7 of the Bankruptcy Code or dismissal of

any of these Chapter 11 Cases or by any other act or omission until (i) all DIP Obligations are

indefeasibly paid in full in cash and completely satisfied and the commitments under the DIP

Loan Documents are terminated in accordance therewith, and (ii) the Pre-Petition Obligations

have been or are deemed to have been satisfied in accordance with the Bankruptcy Code.

        40.      Adequate Notice/Scheduling of Final Hearing. The notice given by the Debtors

of the Interim Hearing was given in accordance with Bankruptcy Rules and the Local Rules,

such notice was sufficient under the particular circumstances and no other or further notice of the

request for relief granted at the Interim Hearing is required. The Debtors shall promptly mail

copies of this Interim Order and notice of the Final Hearing to any known party affected by the

terms of this Interim Order and/or Final Order and any other party requesting notice after the

entry of this Interim Order. Any objection to the relief sought at the Final Hearing shall be made

in writing setting forth with particularity the grounds thereof, and filed with the Court and served

so as to be actually received no later than seven (7) days prior to the Final Hearing at 4:00 p.m.

(Eastern) by the following: (a) proposed counsel to the Debtors, Pachulski Stang Ziehl & Jones

LLP, 10100 Santa Monica Blvd. 13th Foor, Los Angeles, CA 90067-4003 (Attn.: Richard

Pachulski and Malhar S. Pagay); (b) counsel to GSSLG and GS Bank, (i) Cleary Gottlieb Steen

& Hamilton LLP, One Liberty Plaza, New York, NY 10006 (Attn: Sean O’Neal and Jane

VanLare); and (ii) Hunton Andrews Kurth LLP, Bank of America Plaza, Suite 4100, 600

Peachtree Street, N.E., Atlanta, GA 30308-2216 (Attn: Greta T. Griffith); (c) counsel to TCW

Direct Lending LLC, TCW Skyline Lending, L.P., and TCW Brazos Fund LLC, Paul Hastings

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LLP, 515 South Flower Street, Twenty-Fifth Floor, Los Angeles, CA 90071 (Attn: Justin

Rawlins); (d) each Bank identified on Exhibit B attached to the Cash Management Motion, at the

“Bank Name and Address” set forth therein; (e) the Office of the United States Trustee, 844

King Street, Suite 2207, Wilmington, DE 19801; and (f) any Creditors’ Committee appointed in

these cases. The Court shall conduct a Final Hearing on the Requested Relief commencing on

[___,] 2020 at [__________] (Eastern).

        41.      Immediate Binding Effect; Entry of Interim Order. This Interim Order shall be

valid and fully effective immediately upon entry, notwithstanding the possible application of

Bankruptcy Rules 6004(h), 7062, and 9014, or otherwise, and the Clerk of the Court is hereby

directed to enter this Interim Order on the Court’s docket in these Chapter 11 Cases.

        42.      Proofs of Claim. Notwithstanding any order of this Court to the contrary, the Pre-

Petition Agent, Pre-Petition Lenders, DIP Agent and DIP Lenders hereby are relieved of any

obligation or requirement to file proofs of claim in these Chapter 11 Cases with respect to any

Pre-Petition Obligations or DIP Obligations and any other claims or liens granted hereunder or

created hereby. The Debtors’ Stipulations shall be deemed to constitute a timely filed proof of

claim for the Pre-Petition Agent and the Pre-Petition Lenders upon approval of this Interim

Order, and the Pre-Petition Agent and the Pre-Petition Lenders shall be treated under section

502(a) of the Bankruptcy Code as if they each have filed a proof of claim. Notwithstanding the

foregoing, the Pre-Petition Agent and the Pre-Petition Lenders are hereby authorized and

entitled, in their discretion, but not required, to file (and amend and/or supplement, as they see

fit) a proof of claim and/or aggregate proofs of claim in each of these Chapter 11 Cases or

Successor Case(s) for any claim allowed herein.



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        43.      Retention of Jurisdiction. This Court shall retain exclusive jurisdiction over all

matters pertaining to the implementation, interpretation and enforcement of this Interim Order.



Dated: Wilmington, Delaware
       ____________, 2020



                                       __________________________________________
                                              UNITED STATES BANKRUPTCY JUDGE




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                                     EXHIBIT A

                             DIP CREDIT AGREEMENT
                            (without exhibits or schedules)

                                    [see attached]




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                                                                           EXECUTION VERSION




                                  DEBTOR-IN-POSSESSION
                             CREDIT AND GUARANTY AGREEMENT

                                       dated as of [________], 2020

                                                  among

                                  RUBY TUESDAY, INC.,
               as a Chapter 11 Debtor and Debtor-in-Possession and a Borrower,

                   CERTAIN SUBSIDIARIES OF RUBY TUESDAY, INC.
                        PARTY HERETO FROM TIME TO TIME,
          each as a Chapter 11 Debtor and Debtor-in-Possession and as a Borrower,

                          RTI HOLDING COMPANY, LLC,
as a Chapter 11 Debtor and Debtor-in-Possession, Holdings and Borrower Representative,

                           CERTAIN OTHER CREDIT PARTIES
                        PARTY HERETO FROM TIME TO TIME,
          each as a Chapter 11 Debtor and Debtor-in-Possession and as a Guarantor,

                  THE LENDERS PARTY HERETO FROM TIME TO TIME,
                                   as Lenders,

                                                   and

                  GOLDMAN SACHS SPECIALTY LENDING GROUP, L.P.,
                      as Administrative Agent and Collateral Agent.



                              $18,500,000 Senior Secured Credit Facility




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          DEBTOR-IN-POSSESSION CREDIT AND GUARANTY AGREEMENT

       This DEBTOR-IN-POSSESSION CREDIT AND GUARANTY AGREEMENT, dated
as of [________], 2020, is entered into by and among RUBY TUESDAY, INC., a Georgia
corporation (“RTI”), as a Borrower, CERTAIN SUBSIDIARIES OF RTI PARTY HERETO
FROM TIME TO TIME, as Borrowers, RTI HOLDING COMPANY, LLC, a Delaware
limited liability company (“Holdings”), as Borrower Representative, HOLDINGS AND
CERTAIN SUBSIDIARIES OF RTI, as Guarantors, each such Borrower and Guarantor as a
Chapter 11 Debtor and Debtor-in-Possession, the Lenders party hereto from time to time,
GOLDMAN SACHS SPECIALTY LENDING GROUP, L.P. (“GSSLG”), as administrative
agent (“Administrative Agent”) and collateral agent (“Collateral Agent”), and GOLDMAN
SACHS BANK USA (“GS Bank”), as the issuer of the Existing Letters of Credit (“Issuing
Bank”).

                                               RECITALS:

       WHEREAS, capitalized terms used in the Preamble and these Recitals and not otherwise
defined shall have the respective meanings set forth for such terms in Section 1.1;

        WHEREAS, on October 7, 2020 (the “Petition Date”), Borrowers and Guarantors filed
voluntary petitions and initiated proceedings under Chapter 11 of the Bankruptcy Code
(collectively, the “Cases”) with the United States Bankruptcy Court for the District of Delaware
(the “Bankruptcy Court”), and have continued in possession of their respective assets and in the
management of their respective businesses pursuant to Sections 1107 and 1108 of the Bankruptcy
Code;

        WHEREAS, Borrowers and Guarantors are party to (i) that certain Credit and Guaranty
Agreement, dated as of December 21, 2017 (as amended, modified or supplemented from time to
time prior to the Petition Date, the “Pre-Petition Credit Agreement”), among Borrowers,
Guarantors, the lenders party thereto (collectively, the “Pre-Petition Lenders”), GS Bank, as
Issuing Bank (as defined therein) and GSSLG, as administrative agent and collateral agent (in such
capacities, the “Pre-Petition Agent”), pursuant to which Borrowers and Guarantors executed and
delivered various Credit Documents, as defined therein (collectively with the Pre-Petition Credit
Agreement, the “Pre-Petition Credit Documents”) which, among other things, guaranteed and
secured the obligations of all of the Borrowers and Guarantors under the Pre-Petition Credit
Agreement, and (ii) that certain Restructuring Support Agreement, dated as of [_____], 2020 (the
“RSA”), among Borrowers, Guarantors, the Pre-Petition Lenders and the Pre-Petition Agent;

         WHEREAS, in accordance with the terms of the RSA and the terms hereof, the Pre-
Petition Lenders have agreed to extend a debtor-in-possession, super-priority, senior secured credit
facility to Borrowers, in an aggregate principal amount not to exceed $18,500,000, consisting of a
$18,500,000 aggregate principal amount of Term Loans (including a $9,600,000 sub-facility to be
used solely for the reimbursement to Issuing Bank for any draws under the Existing Letters of
Credit), the proceeds of which will be used in accordance with the Budget or to so reimburse
Issuing Bank;




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       WHEREAS, on the Seventh Amendment Effective Date, certain loans were advanced to
the Credit Parties, which loans shall be “rolled up” and deemed to have been issued under this
Agreement on the Closing Date in accordance with the terms hereof; and

        WHEREAS, in connection therewith, (i) each Borrower has agreed to secure all of its
respective Obligations by granting to Collateral Agent, for the benefit of Secured Parties, a First
Priority Lien on substantially all of its respective assets, including a pledge of 100% of the Capital
Stock of each of its respective Subsidiaries, and (ii) each Guarantor has agreed to guarantee the
Obligations of the other Credit Parties and to secure all of its respective Obligations by granting
to Collateral Agent, for the benefit of Secured Parties, a First Priority Lien on substantially all of
its respective assets, including a pledge of 100% of the Capital Stock of each of its respective
Subsidiaries (including, with respect to Holdings, RTI);

       NOW, THEREFORE, in consideration of the premises and the agreements, provisions
and covenants herein contained, the parties hereto agree as follows:

SECTION 1. DEFINITIONS AND INTERPRETATION

      1.1.   Definitions. The following terms used herein, including in the Preamble, Recitals,
Appendices, Schedules and Exhibits, shall have the following meanings:

                 “13-Week Forecast” as defined in Section 5.1(k).

                “Adjusted LIBOR Rate” means, for any Interest Rate Determination Date with
respect to an Interest Period for a LIBOR Rate Loan, the rate equal to the greater of (x) 1.00% per
annum, and (y) the rate per annum obtained by dividing (a) (i) the rate per annum equal to the rate
determined by Administrative Agent to be the London interbank offered rate administered by the
ICE Benchmark Administration (or any other Person that takes over the administration of that rate)
for deposits (for delivery on the first day of such period) with a term equivalent to such period in
Dollars displayed on the ICE LIBOR USD page of the Reuters Screen (or any replacement Reuters
page that displays such rate) or on the appropriate page of any other information service that
publishes that rate from time to time in place of Reuters, determined as of approximately 11:00
a.m. (London, England time) on such Interest Rate Determination Date, or (ii) in the event the rate
referenced in the preceding clause (i) is not available, the rate per annum equal to the offered
quotation rate to first class banks in the London interbank market by JPMorgan Chase Bank, N.A.)
for deposits (for delivery on the first day of the relevant period) with a term equivalent to such
period in Dollars, determined as of approximately 11:00 a.m. (London, England time) on such
Interest Rate Determination Date, by (b) an amount equal to (i) one, minus (ii) the Applicable
Reserve Requirement.

                 “Administrative Agent” as defined in the Preamble.

                “Adverse Proceeding” means any action, suit, proceeding (whether
administrative, judicial or otherwise), governmental investigation or arbitration (whether or not
purportedly on behalf of any Credit Party or any of its Subsidiaries) at law or in equity, or before
or by any Governmental Authority, domestic or foreign (including any Environmental Claims),
whether pending or, to the knowledge of any Credit Party or any of its Subsidiaries, threatened
against or affecting any Credit Party or any of its Subsidiaries or any property of any Credit Party
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or any of its Subsidiaries, excluding the Cases (but including, for the avoidance of doubt, any such
action, suit, proceeding, governmental investigation or arbitration arising after the Petition Date,
as well as any adversary proceedings or other actions in the Cases).

                 “Affected Lender” as defined in Section 2.17(b).

                 “Affected Loans” as defined in Section 2.17(b).

                “Affiliate” means, as applied to any Person, any other Person directly or indirectly
controlling, controlled by, or under common control with such Person, including the possession,
directly or indirectly, of the power to vote, appoint directors (or similar governing body), direct or
cause the direction of the management and policies of such Person, whether through voting
Securities, or by contract or otherwise. For the purposes of this definition, “control” (including,
with correlative meanings, the terms “controlling,” “controlled by” and “under common control
with”), as applied to any Person, means the possession, directly or indirectly, of the power to vote
5% or more of the Securities having ordinary voting power for the election of directors (or similar
governing body) of such Person.

                 “Agent” means each of Administrative Agent and Collateral Agent.

                 “Aggregate Amounts Due” as defined in Section 2.16.

                 “Aggregate Payments” as defined in Section 7.2.

                “Agreement” means this Debtor-in-Possession Credit and Guaranty Agreement,
dated as of the Closing Date, as amended, restated, supplemented or otherwise modified from time
to time.

                 “Allocable Amount” as defined in Section 11.7.

                “Anti-Corruption Laws” means any requirement of law related to bribery or anti-
corruption, including the United States Foreign Corrupt Practices Act of 1977, as now and
hereafter in effect, or any successor statute.

                “Anti-Terrorism Law” means any requirement of law related to money
laundering or financing terrorism, including the Patriot Act, the Currency and Foreign
Transactions Reporting Act (also known as the “Bank Secrecy Act,” 31 U.S.C. §§5311-5330 and
12 U.S.C. §§1818(s), 1820(b) and 1951-1959), the Trading With the Enemy Act (50 U.S.C. §1 et
seq., as amended), Executive Order 13224 (effective September 24, 2001) and each of the foreign
assets control regulations of the United States Treasury Department (31 C.F.R., Subtitle B, Chapter
V, as amended), in each case, as now and hereafter in effect, or any successor statutes.

              “Applicable Margin” means (a) with respect to Loans that are LIBOR Rate
Loans, a percentage, per annum, equal to 10.00% and (b) with respect to Loans that are Base Rate
Loans, a percentage, per annum, equal to 9.00%.

              “Applicable Reserve Requirement” means, at any time, for any LIBOR Rate
Loan, the maximum rate, expressed as a decimal, at which reserves (including any basic marginal,
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special, supplemental, emergency or other reserves) are required to be maintained with respect
thereto against “Eurocurrency liabilities” (as defined in Regulation D of the Board of Governors
of the Federal Reserve System, as in effect from time to time) under regulations issued from time
to time by the Board of Governors of the Federal Reserve System or other applicable banking
regulator. Without limiting the effect of the foregoing, the Applicable Reserve Requirement shall
reflect any other reserves required to be maintained by such member banks with respect to (a) any
category of liabilities which includes deposits by reference to which the applicable Adjusted
LIBOR Rate or any other interest rate of a Loan is to be determined or (b) any category of
extensions of credit or other assets which include LIBOR Rate Loans. A LIBOR Rate Loan shall
be deemed to constitute Eurocurrency liabilities and as such shall be deemed subject to reserve
requirements without benefits of credit for proration, exceptions or offsets that may be available
from time to time to the applicable Lender. The rate of interest on LIBOR Rate Loans shall be
adjusted automatically on and as of the effective date of any change in the Applicable Reserve
Requirement.

                 “Approved Electronic Communication” as defined in Section 10.1(b).

               “Asset Sale” means a sale, lease or sublease (as lessor or sublessor), sale and
leaseback, assignment, conveyance, transfer, license or other disposition to, or any exchange of
property with, any Person (other than another Credit Party which is not Holdings), in one
transaction or a series of transactions, of all or any part of any Credit Party’s or any of its
Subsidiaries’ businesses, assets or properties of any kind, whether real, personal, or mixed and
whether tangible or intangible, whether now owned or hereafter acquired, including the Capital
Stock of any Credit Party or any of its Subsidiaries, other than inventory sold or leased in the
ordinary course of business. For purposes of clarification, “Asset Sale” shall include (a) the sale
or other disposition for value of any contracts (including, for the avoidance of doubt, any
assignment(s) or potential assignment(s) of any applicable purchase options and similar rights by
the Credit Parties under any leases or similar agreements), and (b) the early termination or
modification of any contract resulting in the receipt by any Credit Party or any of its Subsidiaries
of a Cash payment or other consideration in exchange for such event (other than payments in the
ordinary course for accrued and unpaid amounts due through the date of termination or
modification).

                “Assignment Agreement” means an assignment and assumption agreement
substantially in the form of Exhibit D, with such amendments or modifications as may be approved
by Administrative Agent.

                “Authorized Officer” means, as applied to any Person, any individual holding the
position of chairman of the board (if an officer), chief executive officer, president or one of its vice
presidents (or the equivalent thereof), and such Person’s chief financial officer or treasurer.

                 “Avoidance Actions” as defined in Section 2.25.

                 “Bankruptcy Court” as defined in the Recitals hereto.

              “Bankruptcy Code” means Title 11 of the United States Code entitled
“Bankruptcy,” as now and hereafter in effect, or any successor statute.

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                “Bankruptcy Plan” means a chapter 11 plan of reorganization or liquidation for
the Credit Parties that is prepared and distributed in accordance with the Bankruptcy Code,
provides for the indefeasible payment in full in Cash of all of the Obligations, in any case,
consistent in all respects with the terms of the RSA and otherwise in form and substance reasonably
satisfactory to Administrative Agent and Lenders (including with respect to the treatment of any
outstanding Pre-Petition Obligations).

               “Base Rate” means, for any day, a rate per annum equal to the greatest of (a) the
Prime Rate in effect on such day, (b) the Federal Funds Effective Rate in effect on such day, plus
0.50%, and (c) 4.00% per annum. Any change in the Base Rate due to a change in the Prime Rate
or the Federal Funds Effective Rate shall be effective on the effective day of such change in the
Prime Rate or the Federal Funds Effective Rate, respectively.

               “Base Rate Loan” means a Loan bearing interest at a rate determined by reference
to the Base Rate.

                 “Beneficiary” means each Agent, Issuing Bank and Lender.

                 “Blocked Person” as defined in Section 4.26.

                “Borrower” means RTI and each Subsidiary of RTI indicated on the signature
pages hereto as a “Borrower.” For the avoidance of doubt, the term “Borrower” shall also include
any entity joined as a Borrower to this Agreement and the other Credit Documents after the Closing
Date pursuant to Section 5.10.

               “Borrower Representative” means Holdings, as Borrower Representative
pursuant to Section 2.23.

                “Budget” means a rolling cash forecast, in Microsoft Excel format, in form, scope
and substance satisfactory to Lenders, for a period of thirteen (13) weeks, beginning on the Petition
Date and updated at least once every four (4) weeks thereafter in accordance with the terms hereof,
setting forth projected cash flows and disbursements; provided, (i) a cash forecast substantially in
the form, scope and substance as attached hereto as Exhibit F shall be deemed satisfactory to
Lenders and (ii) any updated budget proposed by the Credit Parties shall not replace the then
existing Budget except to the extent approved by Administrative Agent and the Lenders in their
sole discretion.

                “Business Day” means (a) any day excluding Saturday, Sunday and any day which
is a legal holiday under the laws of the State of New York or the State of Texas or is a day on
which banking institutions located in either such state are authorized or required by law or other
governmental action to close, and (b) with respect to all notices, determinations, fundings and
payments in connection with the Adjusted LIBOR Rate or any LIBOR Rate Loans, any day which
is a Business Day described in clause (a) of this definition and which is also a day for trading by
and between banks in Dollar deposits in the London interbank market.

               “Capital Lease” means, as applied to any Person, any lease of any property
(whether real, personal or mixed) by that Person (a) as lessee that, in conformity with GAAP, is
or should be accounted for as a capital lease on the balance sheet of that Person or (b) as lessee
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which is a transaction of a type commonly known as a “synthetic lease” (i.e., a transaction that is
treated as an operating lease for accounting purposes but with respect to which payments of rent
are intended to be treated as payments of principal and interest on a loan for federal income Tax
purposes).

                “Capital Stock” means any and all shares, interests, participations or other
equivalents (however designated) of capital stock of a corporation, any and all equivalent
ownership interests in a Person (other than a corporation), including partnership interests and
membership interests, and any and all warrants, rights or options to purchase or other arrangements
or rights to acquire any of the foregoing.

               “Carve-Out” as defined in the Interim Order or, following entry of the Final Order,
the Final Order.

                 “Cases” as defined in the Recitals hereto.

               “Cash” means money, currency or a credit balance in any demand or Deposit
Account; provided, however, notwithstanding anything to the contrary contained herein, for
purposes of calculating compliance with the requirements of Sections 3 and 6 “Cash” shall
exclude any amounts that would not be considered “cash” under GAAP or “cash” as recorded on
the books of the Credit Parties.

               “Cash Collateral” as defined in the Interim Order or, following entry of the Final
Order, the Final Order.

                 “Cash Equivalents” means, as at any date of determination, (a) marketable
securities (i) issued or directly and unconditionally guaranteed as to interest and principal by the
United States government or (ii) issued by any agency of the United States the obligations of which
are backed by the full faith and credit of the United States, in each case maturing within one (1)
year after such date; (b) marketable direct obligations issued by any state of the United States or
any political subdivision of any such state or any public instrumentality thereof, in each case
maturing within one (1) year after such date and having, at the time of the acquisition thereof, a
rating of at least A-1 from S&P or at least P-1 from Moody’s; (c) commercial paper maturing no
more than one (1) year from the date of creation thereof and having, at the time of the acquisition
thereof, a rating of at least A-1 from S&P or at least P-1 from Moody’s; (d) certificates of deposit
or bankers’ acceptances maturing within one (1) year after such date and issued or accepted by
any Lender or by any commercial bank organized under the laws of the United States or any state
thereof or the District of Columbia that (i) is at least “adequately capitalized” (as defined in the
regulations of its primary federal banking regulator) and (ii) has Tier 1 capital (as defined in such
regulations) of not less than $100,000,000; and (e) shares of any money market mutual fund that
(i) has substantially all of its assets invested continuously in the types of investments referred to
in clauses (a) and (b) of this definition, (ii) has net assets of not less than $500,000,000 and (iii) has
the highest rating obtainable from either S&P or Moody’s.

              “Certificate Regarding Non-Bank Status” means a certificate of an applicable
Lender substantially in the form of Exhibit E, with such amendments or modifications as may be
approved by Administrative Agent.

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                 “Change of Control” means, at any time, (a) Sponsor shall cease to beneficially
own and control, directly or indirectly, at least 75% on a fully diluted basis of the economic and
voting interests in the voting Capital Stock of Holdings; (b) any Person or “group” (within the
meaning of Rules 13d-3 and 13d-5 under the Exchange Act) other than Sponsor, SFI or Co-Invest
(in the case of each of SFI and Co-Invest, solely with respect to the Capital Stock owned by such
Person on the Closing Date, or Capital Stock issued to SFI upon conversion of the Capital Stock
of Holdings owned by SFI as of the Closing Date) (i) shall have acquired beneficial ownership of
15% or more on a fully diluted basis of the voting and/or economic interest in the Capital Stock of
Holdings or (ii) shall have obtained the power (whether or not exercised) to appoint, replace or
remove the manager of Holdings; (c) Sponsor’s Management Advisor shall cease to be the
manager of Holdings; (d) Aziz Hashim shall cease to exert exclusive management control over
Sponsor’s Management Advisor; (e) Holdings shall cease to beneficially own and control 100%
on a fully diluted basis of the economic and voting interest in the Capital Stock of RTI; (f) (i) the
board of directors of RTI shall cease to consist of 5 directors, (ii) at least two of the members of
the board of directors of RTI cease to be independent directors, (iii) either of the independent
directors appointed to the board of directors of RTI prior to the Petition Date shall fail to serve in
such capacity for any reason whatsoever, unless a replacement satisfactory to the Requisite
Lenders is appointed within 10 Business Days, or (iv) the affirmative vote of at least 1 independent
director shall cease to be required for decisions regarding restructuring, executive compensation
or transactions with Affiliates; or (g) RTI shall cease to beneficially own and control, directly or
indirectly, (i) 100% on a fully diluted basis of the economic and voting interest in the Capital Stock
of any of its Subsidiaries (other than the Maryland Liquor Subsidiaries) and (ii) the economic and
voting interest in the Capital Stock of the Maryland Liquor Subsidiaries as disclosed on Schedule
4.2; provided, nothing in this clause (g) is intended to limit any action expressly permitted by this
Agreement.

                 “Closing Date” means [_________], 2020.

              “Closing Date Certificate” means a certificate of an Authorized Officer of
Holdings substantially in the form of Exhibit G.

                 “Co-Invest” means NRD RT Holdings LLC, a Delaware limited liability company.

               “Collateral” means, collectively, all of the real, personal and mixed property
(including Capital Stock) of the Credit Parties in which Liens are granted or purported to be granted
pursuant to the Collateral Documents, the Interim Order or the Final Order as security for the
Obligations.

                 “Collateral Agent” as defined in the Preamble.

               “Collateral Assignment of Contracts” means that certain Collateral Assignment
of Contracts, dated as of the Closing Date, with respect to the collateral assignment of the Liquor
Subsidiary Contracts related to the use of liquor licenses in the operation of Restaurant(s) in
Maryland.

              “Collateral Document” means any of the Pledge and Security Agreement, any
control agreements with respect to the Controlled Accounts, the Mortgages, each Collateral

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Assignment of Contracts and all other instruments, documents and agreements delivered by any
Credit Party pursuant to this Agreement or any of the other Credit Documents in order to grant or
purport to grant to Collateral Agent, for the benefit of Secured Parties, a Lien on any real, personal
or mixed property of that Credit Party as security for the Obligations.

                 “Commitment” means any Term Loan Commitment.

               “Committee” means any official committee of unsecured creditors appointed
pursuant Section 1102 of the Bankruptcy Code in the Cases.

                “Commodity Exchange Act” means the Commodity Exchange Act (7 U.S.C. § 1
et seq.), as amended from time to time, and any successor statute.

                “Compliance Certificate” means a certificate of the chief financial officer of
Borrower Representative (or other senior executive officer of Borrower Representative or RTI
who has financial expertise and is familiar with the terms and conditions of this Agreement and
the financial statements and financial condition of Holdings and its Subsidiaries) substantially in
the form of Exhibit C.

                “Consolidated Capital Expenditures” means, for any period, the aggregate of all
expenditures of Holdings and its Subsidiaries during such period determined on a consolidated
basis that, in accordance with GAAP, are or should be included in “purchase of property and
equipment or which should otherwise be capitalized” or similar items reflected in the consolidated
statement of cash flows of Holdings and its Subsidiaries.

               “Contractual Obligation” means, as applied to any Person, any provision of any
Security issued by that Person or of any indenture, mortgage, deed of trust, contract, undertaking,
agreement or other instrument to which that Person is a party or by which it or any of its properties
is bound or to which it or any of its properties is subject.

                 “Contributing Guarantors” as defined in Section 7.2.

                “Controlled Account” means a Deposit Account or a securities account of a Credit
Party which is subject to the control of Collateral Agent, for the benefit of the Secured Parties, in
accordance with the terms of the Pledge and Security Agreement, the terms hereof and the terms
of a satisfactory control agreement (including, for the avoidance of doubt, in reliance on Section
9.9).

                “Controlled Entity” means any Credit Party’s Controlled Affiliates. As used in
this definition, “Controlled” means the possession, directly or indirectly, of the power to direct
or cause the direction of the management and policies of a Person, whether through the ownership
of voting Securities, by contract or otherwise.

               “Conversion/Continuation Date” means the effective date of a continuation or
conversion, as the case may be, as set forth in the applicable Conversion/Continuation Notice.

                “Conversion/Continuation Notice” means a conversion/continuation notice
substantially in the form of Exhibit A–2.
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              “Counterpart Agreement” means a counterpart agreement substantially in the
form of Exhibit H delivered by Borrower Representative and each New Subsidiary pursuant to
Section 5.10.

                 “Credit Date” means the date of a Credit Extension.

               “Credit Document” means any of this Agreement, the Notes, if any, the Collateral
Documents, the Orders, the Closing Date Certificate, any documents or certificates executed by a
Credit Party in favor of Issuing Bank relating to the Existing Letters of Credit and all other
documents, instruments or agreements executed and delivered by a Credit Party or any other
Person for the benefit of any Agent, Issuing Bank or any Lender in connection herewith.

               “Credit Extension” means the making of a Loan or the deemed issuance of each
Existing Letter of Credit hereunder on or after the Closing Date.

                 “Credit Party” means each Borrower and each Guarantor.

                 “Current Rate” as defined in Section 2.7(a).

              “Default” means a condition or event that, after notice or lapse of time or both,
would constitute an Event of Default.

               “Default Excess” means, with respect to any Defaulting Lender, the excess, if any,
of such Defaulting Lender’s Pro Rata Share of the aggregate outstanding principal amount of
Loans of all Lenders (calculated as if all Defaulting Lenders (other than such Defaulting Lender)
had funded all of their respective Defaulted Loans) over the aggregate outstanding principal
amount of all Loans of such Defaulting Lender.

                “Default Period” means, with respect to any Defaulting Lender, the period
commencing on the date of the applicable Funding Default, violation of Section 9.5(c) or other
circumstances set forth in Section 2.21, and ending on the earliest of the following dates: (a) the
date on which all Commitments are cancelled or terminated and/or the Obligations are declared or
become immediately due and payable; (b) the date on which (i) the Default Excess with respect to
such Defaulting Lender shall have been reduced to zero (whether by the funding by such
Defaulting Lender of any Defaulted Loans of such Defaulting Lender or by the non-pro rata
application of any voluntary or mandatory prepayments of the Loans in accordance with the terms
of Section 2.12 or Section 2.13 or by a combination thereof) and (ii) such Defaulting Lender shall
have delivered to Borrower Representative and Administrative Agent a written reaffirmation of its
intention to honor its obligations hereunder with respect to its Commitments; (c) the date on which
Borrower Representative, Administrative Agent and the Requisite Lenders waive all Funding
Defaults of such Defaulting Lender in writing; and (d) the date on which Administrative Agent
shall have waived all violations of Section 9.5(c) by such Defaulting Lender in writing.

                 “Default Rate” means any interest payable pursuant to Section 2.9.

                 “Defaulted Loan” as defined in Section 2.21.

                 “Defaulting Lender” as defined in Section 2.21.
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              “Deposit Account” means a demand, time, savings, passbook or like account with
a bank, savings and loan association, credit union or like organization, other than an account
evidenced by a negotiable certificate of deposit.

             “DIP Facility” means the credit facility contemplated in this Agreement and other
Credit Documents.

                 “Dollars” and the sign “$” mean the lawful money of the United States.

               “Domestic Subsidiary” means any Subsidiary of Holdings formed or organized
under the laws of the United States, any state thereof or the District of Columbia.

                “Eligible Assignee” means (a) any Lender, any Affiliate (other than a natural
person) of a Lender or any Related Fund of a Lender; and (b) (i) any commercial bank, finance
company, insurance company, or other financial institution or fund that is engaged in making,
purchasing, or otherwise investing in commercial loans in the ordinary course of its business and
(ii) any other Person (other than a natural Person), in each case, approved by Administrative Agent
and the Requisite Lenders (in each case, as such approval shall not be unreasonably withheld,
conditioned or delayed); provided, (A) neither (I) Holdings nor any Affiliate of Holdings, nor
(II) Sponsor nor any Affiliate of Sponsor (including, for the avoidance of doubt, SFI, Co-Invest
and their respective Affiliates), nor (III) any Defaulting Lender shall, in any event, be an Eligible
Assignee, and (B) no Person owning or controlling any trade debt or Indebtedness of any Credit
Party other than the Obligations or any Capital Stock of any Credit Party other than, in the case of
GSSLG or TCW and their respective Affiliates and Related Funds, pursuant to the Warrants, in
any case, unless approved by Administrative Agent, shall, in any event, be an Eligible Assignee.

               “Employee Benefit Plan” means any “employee benefit plan” as defined in
Section 3(3) of ERISA which is (or within the previous six (6) years was) sponsored, maintained
or contributed to by, or required to be contributed by, any Credit Party, any of its Subsidiaries or,
with respect to any such plan that is subject to Title IV of ERISA or Sections 412 and 430 of the
Internal Revenue Code, any of their respective ERISA Affiliates.

                “Environmental Claim” means any investigation, notice, notice of violation,
claim, action, suit, proceeding, demand, abatement order or other order or directive (conditional
or otherwise), by any Governmental Authority or any other Person, arising (a) pursuant to or in
connection with any actual or alleged violation of any Environmental Law; (b) in connection with
any Hazardous Material or any actual or alleged Hazardous Materials Activity; or (c) in connection
with any actual or alleged damage, injury, threat or harm to health, safety, natural resources or the
environment.

                “Environmental Laws” means any and all foreign or domestic, federal or state (or
any subdivision of either of them), statutes, ordinances, orders, rules, regulations, judgments,
Governmental Authorizations, or any other requirements of Governmental Authorities relating to
(a) environmental matters, including those relating to any Hazardous Materials Activity; (b) the
generation, use, storage, transportation or disposal of Hazardous Materials; or (c) occupational
safety and health, industrial hygiene, land use or the protection of human, plant or animal health
or welfare, in any manner applicable to any Credit Party or any of its Subsidiaries or any Facility.

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             “ERISA” means the Employee Retirement Income Security Act of 1974, as
amended from time to time, and any successor thereto.

                “ERISA Affiliate” means, as applied to any Person, (a) any corporation which is
a member of a controlled group of corporations within the meaning of Section 414(b) of the
Internal Revenue Code of which that Person is a member; (b) any trade or business (whether or
not incorporated) which is a member of a group of trades or businesses under common control
within the meaning of Section 414(c) of the Internal Revenue Code of which that Person is a
member; and (c) solely for purposes of provisions relating to Section 412 of the Internal Revenue
Code, any member of an affiliated service group within the meaning of Section 414(m) or (o) of
the Internal Revenue Code of which that Person, any corporation described in clause (a) of this
definition or any trade or business described in clause (b) of this definition is a member. Any
former ERISA Affiliate of any Credit Party or any of its Subsidiaries shall continue to be
considered an ERISA Affiliate of such Credit Party or any such Subsidiary within the meaning of
this definition with respect to the period such entity was an ERISA Affiliate of such Credit Party
or such Subsidiary and with respect to liabilities arising after such period for which such Credit
Party or such Subsidiary could be liable under the Internal Revenue Code or ERISA.

                “ERISA Event” means (a) a “reportable event” within the meaning of Section
4043 of ERISA and the regulations issued thereunder with respect to any Pension Plan (excluding
those for which the provision for thirty (30) days’ notice to the PBGC has been waived by
regulation); (b) the failure to meet the minimum funding standard of Section 412 of the Internal
Revenue Code with respect to any Pension Plan (whether or not waived in accordance with Section
412(c) of the Internal Revenue Code) or the failure to make by its due date a required installment
under Section 430(j) of the Internal Revenue Code with respect to any Pension Plan or the failure
to make any required contribution to a Multiemployer Plan; (c) the provision by the administrator
of any Pension Plan pursuant to Section 4041(a)(2) of ERISA of a notice of intent to terminate
such plan in a distress termination described in Section 4041(c) of ERISA; (d) the withdrawal by
any Credit Party or any of its Subsidiaries or any of their respective ERISA Affiliates from any
Pension Plan with two or more contributing sponsors or the termination of any such Pension Plan
resulting in material liability to any Credit Party or any of its Subsidiaries or any of their respective
ERISA Affiliates pursuant to Section 4063 or 4064 of ERISA; (e) the institution by the PBGC of
proceedings to terminate any Pension Plan or to appoint a trustee to administer any Pension Plan;
(f) the imposition of liability on any Credit Party or any of its Subsidiaries or any of their respective
ERISA Affiliates pursuant to Section 4062(e) or 4069 of ERISA or by reason of the application of
Section 4212(c) of ERISA; (g) the withdrawal of any Credit Party or any of its Subsidiaries or any
of their respective ERISA Affiliates in a complete or partial withdrawal (within the meaning of
Sections 4203 and 4205 of ERISA) from any Multiemployer Plan if there is any potential liability
therefor, or the receipt by any Credit Party or any of its Subsidiaries or any of their respective
ERISA Affiliates of notice from any Multiemployer Plan that it is in reorganization or insolvency
pursuant to Section 4241 or 4245 of ERISA, or that it intends to terminate or has terminated under
Section 4041A or 4042 of ERISA; (h) the occurrence of an act or omission which could reasonably
be expected to give rise to the imposition on any Credit Party, any of its Subsidiaries or any of
their respective ERISA Affiliates of material fines, penalties, Taxes or related charges under
Chapter 43 of the Internal Revenue Code or under Section 409, Section 502(c), (i) or (l), or Section
4071 of ERISA in respect of any Employee Benefit Plan; (i) the assertion of a claim (other than
routine claims for benefits) against any Employee Benefit Plan other than a Multiemployer Plan
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or the assets thereof, or against any Credit Party, any of its Subsidiaries or any of their respective
ERISA Affiliates in connection with any Employee Benefit Plan, which could reasonably be
expected to result in a material liability to a Credit Party; (j) receipt from the Internal Revenue
Service of notice of the failure of any Pension Plan (or any other Employee Benefit Plan intended
to be qualified under Section 401(a) of the Internal Revenue Code) to qualify under Section 401(a)
of the Internal Revenue Code, or the failure of any trust forming part of any Pension Plan to qualify
for exemption from taxation under Section 501(a) of the Internal Revenue Code; or (k) the
imposition of a Lien pursuant to Section 430(k) of the Internal Revenue Code or pursuant to
Section 303(k) of ERISA with respect to any Pension Plan.

                 “Event of Default” means each of the conditions or events set forth in Section 8.1.

               “Exchange Act” means the Securities Exchange Act of 1934, as amended from
time to time, and any successor statute.

                 “Excluded Account” as defined in the Pre-Petition Credit Agreement.

                 “Excluded Swap Obligation” means, with respect to any Guarantor, (a) as it
relates to all or a portion of the Guaranty of such Guarantor, any Swap Obligation if, and to the
extent that, such Swap Obligation (or any Guaranty thereof) is or would otherwise become illegal
or unlawful under the Commodity Exchange Act or any rule, regulation or order of the Commodity
Futures Trading Commission (or the application or official interpretation of any thereof) by virtue
of such Guarantor’s failure for any reason to constitute an “eligible contract participant” as defined
in the Commodity Exchange Act and the regulations thereunder at the time the Guaranty of such
Guarantor becomes effective with respect to such Swap Obligation; or (b) as it relates to all or a
portion of the grant by such Guarantor of a security interest, any Swap Obligation if, and to the
extent that, such Swap Obligation (or such security interest in respect thereof) is or would
otherwise become illegal or unlawful under the Commodity Exchange Act or any rule, regulation
or order of the Commodity Futures Trading Commission (or the application or official
interpretation of any thereof) by virtue of such Guarantor’s failure for any reason to constitute an
“eligible contract participant” as defined in the Commodity Exchange Act and the regulations
thereunder at the time the security interest of such Guarantor becomes effective with respect to
such Swap Obligation.

                “Excluded Taxes” means (a) any Tax on the overall net income of a Lender or any
Affiliate thereof; (b) any Taxes associated with or arising out of FATCA (for purposes of this
definition, “FATCA” means Section 1471 through 1474 of the Internal Revenue Code, as of the
date of this Agreement (or any amended or successor version that is substantively comparable and
not materially more onerous to comply with), any current or future regulations or official
interpretations thereof and any agreements entered into pursuant to Section 1471(b)(1) of the
Internal Revenue Code); (c) in the case of a Non-US Lender, any Taxes that Borrowers are not
required to pay in accordance with the express provisions of Section 2.19(c); and (d) in the case of
a Non-US Lender, any Taxes associated with or arising out of the failure of such Lender or an
Affiliate thereof to issue a valid IRS Form W-9 to any Borrower, which such Lender or Affiliate
thereof is legally eligible and required to provide.



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               “Existing Letters of Credit” means those letters of credit issued and outstanding
as of the Closing Date, as the same are deemed to be issued under Section 2.3 and are listed on
Schedule 1.1(a).

               “Facility” means any real property (including all buildings, fixtures or other
improvements located thereon) now, hereafter or heretofore owned, leased, operated or used by
any Credit Party or any of its Subsidiaries or any of their respective predecessors or Affiliates.

                 “Fair Share” as defined in Section 7.2.

                 “Fair Share Contribution Amount” as defined in Section 7.2.

               “Federal Funds Effective Rate” means for any day, the rate per annum
(expressed, as a decimal, rounded upwards, if necessary, to the next higher 1/100 of 1%) equal to
the weighted average of the rates on overnight federal funds transactions with members of the
Federal Reserve System arranged by federal funds brokers on such day, as published by the Federal
Reserve Bank of New York on the Business Day next succeeding such day; provided, (a) if such
day is not a Business Day, the Federal Funds Effective Rate for such day shall be such rate on such
transactions on the next preceding Business Day as so published on the next succeeding Business
Day and (b) if no such rate is so published on such next succeeding Business Day, the Federal
Funds Effective Rate for such day shall be the average rate charged to GSSLG or any other Lender
selected by Administrative Agent on such day on such transactions as determined by
Administrative Agent.

               “Final Order” means a final order of the Bankruptcy Court, that, without
limitation, approves the DIP Facility and grants the Liens and security interests contained herein
and therein, which order is not stayed, and is consented to by the Requisite Lenders and the
Requisite Lenders under the Pre-Petition Credit Agreement, in each case, in their respective
reasonable discretion.

                “Financial Officer Certification” means, with respect to the financial statements
for which such certification is required, the certification of the chief financial officer of Borrower
Representative (or other senior executive officer of Borrower Representative or RTI who has
financial expertise and is familiar with the terms and conditions of this Agreement and the financial
statements and financial condition of Holdings and its Subsidiaries) that such financial statements
fairly present, in all material respects, the financial condition of Holdings and its Subsidiaries as
at the dates indicated and the results of their operations and their cash flows for the periods
indicated, subject to changes resulting from audit and normal year-end adjustments.

               “First Priority” means, with respect to any Lien created or purported to be created
in any Collateral pursuant to any Collateral Document, the Interim Order or the Final Order, that
such Lien is the only Lien to which such Collateral is subject, other than any Permitted Lien.

              “Fiscal Month” means the consecutive five (5) week periods in the case of fiscal
months one (1), four (4), seven (7) and ten (10) (and in the case solely of Fiscal Year 2022, fiscal
month twelve (12)) beginning on the first Wednesday closest to June 1, September 1, December 1
and March 1, respectively, and the consecutive four (4) week periods in the case of all other Fiscal

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Months, conforming to a 5-4-4 fiscal calendar as adopted by the Credit Parties and in effect as of
the Closing Date.

               “Fiscal Quarter” means a consecutive three Fiscal Month period ending on the
first Tuesday closest to September 1, December 1, March 1 and June 1 in the cases of Fiscal
Quarters one (1), two (2), three (3) and four (4), respectively.

               “Fiscal Year” means a consecutive fifty-three week period ending on the first
Tuesday closest to June 1 in calendar year 2017 and 2022, and a consecutive fifty-two week period
ending on the first Tuesday closest to June 1 in each other calendar year.

               “Flood Hazard Property” means any Real Estate Asset subject to a Mortgage in
favor of Collateral Agent, for the benefit of the Secured Parties, and located in an area designated
by the Federal Emergency Management Agency as having special flood or mud slide hazards.

              “Food Safety Laws” means all requirements of law or Governmental
Authorization relating to food and related products, including the Federal Food, Drug and
Cosmetic Act, the Food Security Act of 1985, the Federal Trade Commission Act, the Fair
Packaging and Labeling Act, the Consumer Product Safety Commission Act, the Poison
Prevention Packaging Act, the Food Safety Modernization Act, 21 CFR § Part 111, and any other
applicable comparable U.S. State statutes and all regulations promulgated under each of the
foregoing.

                 “Foreign Subsidiary” means any Subsidiary of Holdings that is not a Domestic
Subsidiary.

               “Franchise Agreements” means (a) all franchise agreements and other similar
agreements entered into by RTI or any other Credit Party, as the franchisor, and a third party
franchisee, and (b) all development agreements, entered into by RTI or any other Credit Party, as
any of the same may from time to time be amended, restated, supplemented or otherwise modified
from time to time.

                 “Funding Default” as defined in Section 2.21.

                 “Funding Guarantors” as defined in Section 7.2.

                 “Funding Notice” means a notice substantially in the form of Exhibit A-1.

               “GAAP” means, subject to the limitations on the application thereof set forth in
Section 1.2, United States generally accepted accounting principles in effect as of the date of
determination thereof.

               “Governmental Acts” means any act or omission, whether rightful or wrongful,
of any present or future de jure or de facto Governmental Authority.

                “Governmental Authority” means the government of the United States or any
other nation, or of any political subdivision thereof, whether state or local, and any agency,
authority, instrumentality, regulatory body, court (including the Bankruptcy Court), central bank
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or other entity exercising executive, legislative, judicial, taxing, regulatory or administrative
powers or functions of or pertaining to government (including any supra-national bodies such as
the European Union or the European Central Bank).

               “Governmental Authorization” means any permit, license, authorization, plan,
directive, consent order or consent decree of or from any Governmental Authority, including each
of the Orders.

                 “Grantor” as defined in the Pledge and Security Agreement.

                 “GS Bank” as defined in the Preamble.

                 “GSSLG” as defined in the Preamble.

                 “Guaranteed Obligations” as defined in Section 7.1.

                “Guarantor” means Holdings, Borrowers (solely with respect to the Obligations
of the Subsidiaries of Holdings (other than Borrowers)) and each other Subsidiary of Holdings
(other than the Wicomico County Subsidiaries).

                 “Guarantor Payment” as defined in Section 11.7.

                 “Guarantor Subsidiary” means each Guarantor other than Holdings.

                 “Guaranty” means the guaranty of each Guarantor set forth in Section 7.

               “Hazardous Materials” means any chemical, material or substance, exposure to
which is prohibited, limited or regulated under any Environmental Law, including hazardous or
toxic substances and petroleum in any form.

                “Hazardous Materials Activity” means any past, current, proposed or threatened
activity, event or occurrence involving any Hazardous Materials, including the use, manufacture,
possession, storage, holding, presence, existence, location, Release, threatened Release, discharge,
placement, generation, transportation, processing, construction, treatment, abatement, removal,
remediation, disposal, disposition or handling of any Hazardous Materials, and any corrective
action or response action with respect to any of the foregoing.

                “Highest Lawful Rate” means the maximum lawful interest rate, if any, that at
any time or from time to time may be contracted for, charged, or received under the laws applicable
to any Lender which are presently in effect or, to the extent allowed by law, under such applicable
laws which may hereafter be in effect and which allow a higher maximum nonusurious interest
rate than applicable laws now allow.

               “Historical Financial Statements” means, as of the Closing Date, the most recent
financial statements of Holdings and its Subsidiaries delivered to the Pre-Petition Lenders under
Section 5.1(a) and Section 5.1(b) of the Pre-Petition Credit Agreement.

                 “Holdings” as defined in the Preamble.

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                “Indebtedness” as applied to any Person, means, without duplication, (a) all
indebtedness for borrowed money; (b) that portion of obligations with respect to Capital Leases
that is properly classified as a liability on a balance sheet in conformity with GAAP; (c) notes
payable and drafts accepted representing extensions of credit whether or not representing
obligations for borrowed money; (d) any obligation owed for all or any part of the deferred
purchase price of property or services (excluding any such obligations incurred under ERISA); (e)
all indebtedness secured by any Lien on any property or asset owned or held by that Person
regardless of whether the indebtedness secured thereby shall have been assumed by that Person or
is nonrecourse to the credit of that Person; (f) the face amount of any letter of credit (including any
Existing Letter of Credit) issued for the account of that Person or as to which that Person is
otherwise liable for reimbursement of drawings; (g) the direct or indirect guaranty, endorsement
(otherwise than for collection or deposit in the ordinary course of business), co-making,
discounting with recourse or sale with recourse by such Person of the obligation of another; (h)
any obligation of such Person the primary purpose or intent of which is to provide assurance to an
obligee that the obligation of the obligor thereof will be paid or discharged, or any agreement
relating thereto will be complied with, or the holders thereof will be protected (in whole or in part)
against loss in respect thereof; (i) any liability of such Person for an obligation of another through
any agreement (contingent or otherwise) (x) to purchase, repurchase or otherwise acquire such
obligation or any security therefor, or to provide funds for the payment or discharge of such
obligation (whether in the form of loans, advances, stock purchases, capital contributions or
otherwise) or (y) to maintain the solvency or any balance sheet item, level of income or financial
condition of another if, in the case of any agreement described under clause (x) or (y) of this clause
(i), the primary purpose or intent thereof is as described in clause (h) of this definition; and (j) all
obligations of such Person in respect of any exchange traded or over the counter derivative
transaction, whether entered into for hedging or speculative purposes.

                “Indemnified Liabilities” means, collectively, any and all liabilities, obligations,
losses, damages (including natural resource damages), penalties, claims (including Environmental
Claims), costs (including the costs of any investigation, study, sampling, testing, abatement,
cleanup, removal, remediation or other response action necessary to remove, remediate, clean up
or abate any Hazardous Materials Activity), expenses and disbursements of any kind or nature
whatsoever (including Taxes), the reasonable fees and disbursements of counsel for Indemnitees
in connection with any investigative, administrative or judicial proceeding commenced or
threatened by any Person, whether or not any such Indemnitee shall be designated as a party or a
potential party thereto, and any fees or expenses incurred by Indemnitees in enforcing this
indemnity), whether direct, indirect or consequential and whether based on any federal, state or
foreign laws, statutes, rules or regulations (including securities and commercial laws, statutes,
rules or regulations and Environmental Laws), on common law or equitable cause or on contract
or otherwise, that may be imposed on, incurred by, or asserted against any such Indemnitee, in any
manner relating to or arising out of (a) this Agreement or any of the other Credit Documents or the
transactions contemplated hereby or thereby (including the Lenders’ agreement to make Credit
Extensions or the use or intended use of the proceeds thereof, or any enforcement of any of the
Credit Documents (including any sale of, collection from, or other realization upon any of the
Collateral or the enforcement of the Guaranty)); or (b) any Environmental Claim or any Hazardous
Materials Activity relating to or arising from, directly or indirectly, any past or present activity,
operation, land ownership, or practice of any Credit Party or any of its Subsidiaries.

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                 “Indemnitee” as defined in Section 10.3.

                 “Indemnitee Agent Party” as defined in Section 9.6.

                 “Intellectual Property” as defined in the Pledge and Security Agreement.

               “Interest Payment Date” means with respect to (a) any Base Rate Loan, (i) the
last day of each Fiscal Month commencing on the first such date to occur after the Closing Date
and (ii) the Maturity Date; and (b) any LIBOR Rate Loan, (i) the last day of each Interest Period
applicable to such Loan and (ii) the Maturity Date.

                 “Interest Period” means, in connection with a LIBOR Rate Loan, an interest
period of one month, as selected by Borrower Representative in the applicable Notice, (a) initially,
commencing on the Credit Date or Conversion/Continuation Date thereof, as the case may be; and
(b) thereafter, commencing on the day on which the immediately preceding Interest Period expires;
provided, (i) if an Interest Period would otherwise expire on a day that is not a Business Day, such
Interest Period shall expire on the next succeeding Business Day unless no further Business Day
occurs in such month, in which case such Interest Period shall expire on the immediately preceding
Business Day; (ii) any Interest Period that begins on the last Business Day of a calendar month (or
on a day for which there is no numerically corresponding day in the calendar month at the end of
such Interest Period) shall, subject to clause (iii) of this definition, end on the last Business Day of
a calendar month; and (iii) no Interest Period with respect to the Loans or any portion thereof shall
extend beyond the Maturity Date.

                 “Interest Rate Determination Date” means, with respect to any Interest Period,
the date that is two (2) Business Days prior to the first day of such Interest Period.

                “Interim Order” means an emergency order approved by the Bankruptcy Court
entered prior to the date of the Final Order that permits borrowing under the DIP Facility, which
Interim Order is in form and substance reasonably satisfactory to the Requisite Lenders and the
Requisite Lenders under the Pre-Petition Credit Agreement.

                “Internal Revenue Code” means the Internal Revenue Code of 1986, as amended
to the date hereof and from time to time hereafter, and any successor statute.

               “Investment” means (a) any direct or indirect purchase or other acquisition by
Holdings or any of its Subsidiaries of, or of a beneficial interest in, any of the Securities of any
other Person; (b) any direct or indirect redemption, retirement, purchase or other acquisition for
value, by any Subsidiary of Holdings from any Person, of any Capital Stock of such Person; and
(c) any direct or indirect loan, advance (other than advances to employees for moving,
entertainment and travel expenses, drawing accounts and similar expenditures in the ordinary
course of business) or capital contributions by Holdings or any of its Subsidiaries to any other
Person, including all Indebtedness and accounts receivable from that other Person that are not
current assets or did not arise from sales to that other Person in the ordinary course of business.
The amount of any Investment shall be the original cost of such Investment, plus the cost of all
additions thereto, without any adjustments for increases or decreases in value, or write-ups,
write-downs or write-offs with respect to such Investment.

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                 “Issuing Bank” as defined in the Preamble.

               “Joint Venture” means a joint venture, partnership or other similar arrangement,
whether in corporate, partnership or other legal form; provided, in no event shall any corporate
Subsidiary of any Person be considered to be a Joint Venture to which such Person is a party.

              “Lender” means each financial institution listed on the signature pages hereto as a
Lender and any other Person that becomes a party hereto pursuant to an Assignment Agreement.

                 “Letter of Credit Cash Collateralization” means (a) providing cash collateral
(pursuant to documentation reasonably satisfactory to the Issuing Bank, including provisions that
specify that all commissions, fees, charges and expenses provided for in this Agreement (including
any fronting fees) will continue to accrue while the Existing Letters of Credit are outstanding) to
be held by the Issuing Bank and given to secure that portion of the Obligations related to
outstanding Existing Letters of Credit, in an amount equal to 105.0% of the then applicable Letter
of Credit Usage, (b) delivering to the Issuing Bank documentation executed by all beneficiaries
under the Existing Letters of Credit, in form and substance reasonably satisfactory to the Issuing
Bank, terminating all of such beneficiaries’ rights under the Existing Letters of Credit, or (c)
providing to the Issuing Bank a standby letter of credit, in form and substance reasonably
satisfactory to the Issuing Bank, from a commercial bank acceptable to the Issuing Bank (in its
sole discretion) naming Issuing Bank as the beneficiary thereof, for the purpose of securing that
portion of the Obligations related to outstanding Existing Letters of Credit, in an amount equal to
105.0% of the then applicable Letter of Credit Usage (it being understood that all commissions,
fees, charges and expenses provided for in this Agreement (including any fronting fees) will
continue to accrue while the Existing Letters of Credit are outstanding and that any such amounts
that accrue must be additional amounts that can be drawn under any such standby letter of credit).

                “Letter of Credit Fees” means the fees payable to the Lenders and Issuing Bank,
as the case may be, in connection with the Existing Letters of Credit, as set forth in Section
2.10(a)(ii) and Section 2.10(b).

               “Letter of Credit Usage” means, as at any date of determination, the sum of (a)
the maximum aggregate amount which is, or at any time thereafter may become, available for
drawing under all Existing Letters of Credit then outstanding, and (b) the aggregate amount of all
drawings under Existing Letters of Credit honored by Issuing Bank and not theretofore reimbursed
by or on behalf of Borrowers.

                “LIBOR Rate Loan” means a Loan bearing interest at a rate determined by
reference to the Adjusted LIBOR Rate.

                “Lien” means (a) any lien, mortgage, pledge, assignment, security interest, right of
set off, charge or encumbrance of any kind (including any agreement to give any of the foregoing,
any conditional sale or other title retention agreement, and any lease in the nature thereof) and any
option, trust or other preferential arrangement having the practical effect of any of the foregoing,
and (b) in the case of Securities, any purchase option, call or similar right of a third party with
respect to such Securities.


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               “Liquor Subsidiary Contracts” means all management agreements, option
agreements, voting proxies, indemnification agreements and other agreements entered into by any
Credit Party and/or any Subsidiary of a Credit Party (or a shareholder thereof) related to the use of
liquor licenses in the operation of a Restaurant or group of Restaurants, as any of the same may
from time to time be amended, restated, supplemented or otherwise modified from time to time in
accordance with the terms hereof.

                 “Loan” means a Term Loan.

              “Margin Stock” as defined in Regulation U of the Board of Governors of the
Federal Reserve System, as in effect from time to time.

                “Maryland Liquor Subsidiaries” means (a) (i) Ruby Tuesday of Allegany
County, Inc., a Maryland corporation, (ii) Ruby Tuesday of Columbia, Inc., a Maryland
corporation, (iii) Ruby Tuesday of Linthicum, Inc., a Maryland corporation, (iv) Ruby Tuesday of
Marley Station, Inc., a Maryland corporation, (v) Ruby Tuesday of Frederick, Inc., a Maryland
corporation, (vi) Ruby Tuesday of Pocomoke City, Inc., a Maryland corporation, (vii) RT of
Maryland, LLC, a Maryland limited liability company, and (viii) RT of Carroll County, LLC, a
Maryland limited liability company, and (b) the Wicomico County Subsidiaries.

                “Material Adverse Effect” means a material adverse effect on and/or material
adverse developments arising after the commencement of the Cases with respect to (i) the business
operations, properties, assets, condition (financial or otherwise) or prospects of Holdings and its
Subsidiaries taken as a whole; (ii) the ability of any Credit Party to fully and timely perform its
Obligations; (iii) the legality, validity, binding effect, or enforceability against a Credit Party of a
Credit Document to which it is a party; or (iv) the rights, remedies and benefits available to, or
conferred upon, any Agent and any Lender or any Secured Party under any Credit Document;
provided, that the filing and administration of the Cases shall not constitute a Material Adverse
Effect.

                “Material Contract” means (a) that certain Master Distribution Agreement by and
between RTI and Performance Food Group, dated November 15, 2006, as in effect on the Closing
Date, together with any amendments, renewals or replacements thereof in accordance with the
terms hereof, (b) any master lease or similar agreement which relates to thirty (30) or more
restaurant locations of the Credit Parties, together with any renewals or replacements thereof, and
(c) any individual or related series of Franchise Agreements which relate to thirty (30) or more
restaurant locations of the Credit Parties, together with any amendments, renewals or replacements
thereof in accordance with the terms hereof.

               “Maturity Date” means the earliest to occur of: (a) the date which is thirty (30)
days after the Outside Date (as defined in the RSA) or such later date as agreed to by
Administrative Agent and Lenders in accordance with the RSA; (b) acceleration of the Obligations
due to the occurrence of an Event of Default in accordance with Section 8.1; (c) the effective date
of a confirmed plan of reorganization or liquidation that provides for payment in full in Cash of
all Obligations owing under the DIP Facility and the Pre-Petition Obligations in accordance with
the RSA or is otherwise acceptable to Lenders in their respective reasonable discretion; (d) the
date which is the closing date of any sale of all or substantially all of the Credit Parties’ assets;

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(e) the entry of an order by the Bankruptcy Court granting relief from the automatic stay permitting
foreclosure of any assets of any Credit Party or Credit Parties, in any case, in excess of $250,000
in the aggregate; or (f) the date on which (i) any of the Cases shall be dismissed or converted to a
case under Chapter 7 of the Bankruptcy Code, (ii) a trustee under Chapter 11 of the Bankruptcy
Code shall be appointed in any of the Cases, or (iii) an examiner having enlarged powers relating
to the operation of the business of any Borrower or any Guarantor (beyond those set forth under
Section 1106(a)(3) and (4) of the Bankruptcy Code) under Section 1106(b) of the Bankruptcy Code
shall be appointed.

                 “Moody’s” means Moody’s Investor Services, Inc. and any successor thereto.

              “Mortgage” means a mortgage, deed of trust, deed to secure debt or similar
agreement in form and substance reasonably satisfactory to Collateral Agent evidencing the Lien
in favor of Collateral Agent on a Real Estate Asset, as amended, restated, supplemented or
otherwise modified from time to time.

                 “Mortgage Deliverables” means, with respect to any particular Real Estate Asset:

               (a)     fully-executed and notarized Mortgages, in proper form for recording in all
appropriate places in all applicable jurisdictions with respect to such Real Estate Asset;

              (b)      the payment of all fees and Taxes (including mortgage recording, stamp and
intangible Taxes) related to the filing and/or recording of any Mortgage Deliverable;

                (c)   evidence of flood insurance with respect to each Flood Hazard Property that
is located in a community that participates in the National Flood Insurance Program, in each case
in compliance with any applicable regulations of the Board of Governors of the Federal Reserve
System, in form and substance reasonably satisfactory to Collateral Agent;

              (d)    any information reasonably requested by Administrative Agent regarding
environmental matters relating to such Real Estate Asset; and

              (e)     such other agreements or instruments as may reasonably be requested by
Collateral Agent in connection therewith.

             “Multiemployer Plan” means any Employee Benefit Plan which is a
“multiemployer plan” as defined in Section 3(37) of ERISA.

                “Net Asset Sale Proceeds” means, with respect to any Asset Sale, an amount equal
to: (a) gross Cash payments received by any Credit Party or any of its Subsidiaries from such
Asset Sale, minus (b) (i) all associated costs incurred in connection with such Asset Sale, including
legal, underwriting discounts, brokerage fees and commissions with respect to such Asset Sale, in
any case, to the extent the same constitute a Valid Expense, (ii) payment of the outstanding
principal amount of, premium or penalty, if any, and interest on any Permitted Debt (other than
the Loans) that is secured by a Permitted Lien on the Capital Stock or assets in question and that
is required to be repaid under the terms thereof as a result of such Asset Sale, and (iii) Cash Taxes
directly owed or owing with respect to such Asset Sale after factoring all actual and expected
deductions available on a consolidated basis and based on the reasonable good faith determination
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of the Credit Parties. For the avoidance of doubt, the term “Net Asset Sale Proceeds” is not
intended to include, and shall not include, either (x) on-going royalty payments, franchise fees or
license fees received in the ordinary course of business by a Credit Party pursuant to a Franchise
Agreement or license agreement, or (y) on-going rent payments received in the ordinary course of
business by a Credit Party pursuant to any lease or sublease under which RTI or any of its
Subsidiaries is the lessor or sub-lessor.

                “Net Insurance/Condemnation Proceeds” means an amount equal to: (a) any
gross Cash payments or proceeds received by any Credit Party or any of its Subsidiaries (i) under
any casualty insurance policies (excluding any business interruption or life insurance policies held
in trust for the exclusive benefit of pension plan participant obligations) or (ii) as a result of the
taking of any assets of any Credit Party by any Person pursuant to the power of eminent domain,
condemnation or otherwise, or pursuant to a sale of any such assets to a purchaser with such power
under threat of such a taking; minus (b) all associated costs incurred in connection with the
adjustment or settlement of any claims of any Credit Party in respect thereof, including (i) legal,
underwriting discounts, brokerage fees and commissions in connection with the adjustment or
settlement of any claims of any Credit Party in respect thereof, in any case, to the extent the same
constitute a Valid Expense, (ii) payment of the outstanding principal amount of, premium or
penalty, if any, and interest on any Permitted Debt (other than the Loans) that is secured by a
Permitted Lien on the Capital Stock or assets in question and that is required to be repaid under
the terms thereof in connection with the adjustment or settlement of any claims of any Credit Party
in respect thereof, and (iii) Cash Taxes directly owed or owing in connection with the adjustment
or settlement of any claims of any Credit Party in respect thereof after factoring all actual and
expected deductions available on a consolidated basis and based on the reasonable good faith
determination of the Credit Parties.

                 “New Subsidiary” as defined in the definition of “New Subsidiary Deliverables.”

              “New Subsidiary Deliverables” means, with respect to any Subsidiary required to
be joined under Section 5.10 (each, a “New Subsidiary”):

             (a)          each of the deliverables described in Section 3.1(b) with respect to such
New Subsidiary;

                (b)     in order to create in favor of Collateral Agent, for the benefit of Secured
Parties, a valid, perfected First Priority security interest in the personal property Collateral of such
New Subsidiary, each of the following:

                        (i)   evidence satisfactory to Collateral Agent of the compliance by such
        New Subsidiary and each Credit Party of its obligations under the Pledge and Security
        Agreement and the other Collateral Documents (including their obligations to authorize or
        execute, as the case may be, and deliver UCC financing statements, originals of securities,
        instruments and chattel paper and any agreements governing deposit and/or securities
        accounts as provided therein);

                      (ii)    (A) the results of a recent search, by a Person satisfactory to
        Collateral Agent, of all effective UCC financing statements (or equivalent filings) made

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        with respect to any personal or mixed property of such New Subsidiary in the appropriate
        jurisdictions (as determined by Collateral Agent), together with copies of all such filings
        disclosed by such search, and (B) UCC termination statements (or similar documents) duly
        executed by all applicable Persons for filing in all applicable jurisdictions as may be
        necessary to terminate any effective UCC financing statements (or equivalent filings)
        disclosed in such search (other than any such financing statements in respect of Permitted
        Liens); and

                       (iii) evidence that each applicable Person shall have, as applicable (x)
        taken or caused to be taken any other action, executed and delivered or caused to be
        executed and delivered any other agreement, document and instrument in accordance with
        Section 5.11, and (y) made or caused to be made any other filing and recording (other than
        as set forth herein) reasonably required by Collateral Agent in accordance with the
        applicable Collateral Documents;

                 (c)      [Intentionally Reserved.];

               (d)     Collateral Agent shall have received a certificate from the Credit Parties’
insurance broker or other evidence satisfactory to it that all insurance required to be maintained
pursuant to Section 5.5 is in full force and effect, together with endorsements naming the Collateral
Agent, for the benefit of Secured Parties, as additional insured and loss payee thereunder to the
extent required under Section 5.5, in each case, with respect to such New Subsidiary; and

                 (e)      supplements to Schedules 4.1 and 4.2 reflecting such New Subsidiary.

                 “Non-US Lender” as defined in Section 2.19(c).

                 “Note” means a Term Loan Note.

             “Notice” means,                as   the   context   requires,   a   Funding   Notice   or   a
Conversion/Continuation Notice.

               “Obligations” means all obligations of every nature of each Credit Party from time
to time owed to the Agents (including former Agents) or any of them and the Lenders or any of
them, under any Credit Document, whether for principal, interest, all reimbursement obligations
with respect to the Existing Letters of Credit, fees, expenses, indemnification or otherwise.
“Obligations” shall not include Excluded Swap Obligations. For the avoidance of doubt, any
reference herein or in any other Credit Document to the satisfaction, repayment, or payment in full
of the Obligations (or words of like import) shall include (i) all costs and expenses payable by the
Credit Parties to Issuing Bank pursuant to the Credit Documents and that have accrued and are
unpaid regardless of whether demand has been made therefor, and (ii) in the case of contingent
reimbursement obligations with respect to Existing Letters of Credit, providing Letter of Credit
Cash Collateralization with respect thereto.

                 “Obligee Guarantor” as defined in Section 7.7.

              “Operating Report” means, for any applicable period with respect to Holdings
and its Subsidiaries, a report containing commentary, summaries and reports by management
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pertaining to the material aspects of: same-store-sales, traffic and average ticket metrics, general
and administrative headcount by function, Restaurant beginning and ending unit counts with
reconciliations from units closed and refranchised in such period, changes to senior executive
management, progress of cost savings and other strategic initiatives, in all respects in form and
substance reasonably satisfactory to Administrative Agent.

                  “Orders” means, collectively, the Interim Order and the Final Order.

                 “Organizational Documents” means (a) with respect to any corporation, its
certificate or articles of incorporation or organization, as amended, its bylaws, as amended and any
stockholders’ or similar agreements, as amended; (b) with respect to any limited partnership, its
certificate of limited partnership, as amended, and its partnership agreement, as amended; (c) with
respect to any general partnership, its partnership agreement, as amended; and (d) with respect to
any limited liability company, its articles of organization, as amended, and its operating agreement,
as amended. In the event any term or condition of this Agreement or any other Credit Document
requires any Organizational Document to be certified by a secretary of state or similar
governmental official, the reference to any such “Organizational Document” shall only be to a
document of a type customarily certified by such governmental official.

                  “Participant Register” as defined in Section 10.6(h).

              “Patriot Act” means Uniting and Strengthening America by Providing
Appropriate Tools Required to Intercept and Obstruct Terrorism (USA Patriot Act of 2001).

                  “PBGC” means the Pension Benefit Guaranty Corporation or any successor
thereto.

               “Pension Plan” means any Employee Benefit Plan, other than a Multiemployer
Plan, which is subject to Section 412 or 430 of the Internal Revenue Code or Title IV of ERISA.

                  “Permitted Debt” means the Indebtedness of the Credit Parties permitted pursuant
to Section 6.1.

               “Permitted Investments” means the Investments of the Credit Parties permitted
pursuant to Section 6.7.

                  “Permitted Liens” means each of the Liens permitted pursuant to Section 6.2.

               “Permitted Priority Liens” means valid, enforceable, non-avoidable and perfected
Liens in existence on the Petition Date (including valid Liens in existence on the Petition Date that
are perfected after the Petition Date as permitted by § 546(b) of the Bankruptcy Code).

              “Permitted Variances” means, as of each Variance Report Date, total aggregate
disbursements (i) for the weekly period ending on the applicable Variance Report Date, of not
more than 125.0% of the total aggregate disbursement amounts set forth for such weekly period in
the Budget, or (ii) on a cumulative basis for the period commencing on the Petition Date and
ending on the applicable Variance Report Date, of not more than 115.0% of the total aggregate
disbursement amounts set forth for such period in the Budget.
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                “Person” means and includes natural persons, corporations, limited partnerships,
general partnerships, limited liability companies, limited liability partnerships, joint stock
companies, Joint Ventures, associations, companies, trusts, banks, trust companies, land trusts,
business trusts or other organizations, whether or not legal entities, and Governmental Authorities.

                “Personal Information” means any information relating to an identified or
identifiable individual, to the extent regulated under laws applicable to the Credit Parties and their
Subsidiaries, including name; postal address; email address or other online contact information
(such as an online user ID); telephone number; date of birth; social security number (or its
equivalent); driver’s license number (or other government-issued identification number);
employee identification number; electronic signature; account information (including financial
account information); payment card data (including primary account number, expiration date,
service code, magnetic stripe data or equivalent on a chip, CAV2/CVC2/CVV2/CID and PIN
number); place of birth; education or academic record; resume or other job applicant information;
access code, password, security question and answer; shared secret or security token used for
authentication; credit report information; birth or marriage certificate; medical information; health
insurance information; biometric data; regardless of the media in which it is contained. For the
avoidance of doubt, as used in this Agreement, the term “Personal Information” shall not include
anonymous, aggregated or de-identified information.

                 “Petition Date” as defined in the Recitals hereto.

              “Pledge and Security Agreement” means that certain Pledge and Security
Agreement, dated as of the Closing Date, by and among the Credit Parties and Collateral Agent,
as amended, restated, supplemented or otherwise modified from time to time.

                 “Pre-Petition Agent” as defined in the Recitals hereto.

                “Pre-Petition Collateral” means, collectively, the “Collateral” (as defined in the
Pre-Petition Credit Agreement) in existence on the Petition Date and all products and proceeds
thereof, in any case, securing the Pre-Petition Obligations.

                 “Pre-Petition Credit Agreement” as defined in the Recitals hereto.

                 “Pre-Petition Credit Documents” as defined in the Recitals hereto.

                 “Pre-Petition Lenders” as defined in the Recitals hereto.

             “Pre-Petition Obligations” means all “Obligations”, as defined in the Pre-Petition
Credit Agreement.

               “Pre-Petition Security Interests” means the Liens on and security interests in the
Pre-Petition Collateral securing the Pre-Petition Obligations.

               “Prime Rate” means the rate of interest quoted in The Wall Street Journal, “Money
Rates” section as the prime rate (currently defined as the base rate on corporate loans posted by at
least 70% of the ten (10) largest United States banks), as in effect from time to time. The Prime
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Rate is a reference rate and does not necessarily represent the lowest or best rate actually charged
to any customer. Any Agent or Lender may make commercial loans or other loans at rates of
interest at, above or below the Prime Rate.

                 “Primed Liens” as defined in Section 2.25.

               “Principal Office” means, for each of Administrative Agent and Issuing Bank,
such Person’s “Principal Office” as set forth on Appendix B, or such other office as such Person
may from time to time designate in writing to Borrower Representative, Administrative Agent and
each Lender; provided, however, for the purpose of making any payment on the Obligations or
any other amount due hereunder or any other Credit Document, the Principal Office of
Administrative Agent shall be 200 West Street, New York, New York 10282 (or such other
location within the City and State of New York as Administrative Agent may from time to time
designate in writing to Borrower Representative and each Lender).

                “Pro Rata Share” means, with respect to all payments, computations and other
matters relating to the Term Loan of any Lender, the percentage obtained by dividing (i) the Term
Loan Exposure of that Lender, by (ii) the aggregate Term Loan Exposure of all Lenders.

                 “Professional Fees” means the fees and reimbursable expenses of Professional
Persons.

              “Professional Person” means a Person who is an attorney, financial advisor,
accountant, appraiser, monitor, auctioneer or other professional Person and who is retained, with
Bankruptcy Court approval, by (a) the Credit Parties pursuant to any one or more of Sections 327,
328(a) and 363 of the Bankruptcy Code or (b) the Committee pursuant to Section 1103(a) of the
Bankruptcy Code.

                “Qualified ECP Guarantor” means, in respect of any Swap Obligation, each
Credit Party that has total assets exceeding $10,000,000 at the time the relevant Guaranty or grant
of the relevant security interest becomes effective with respect to such Swap Obligation or such
other Person as constitutes an “eligible contract participant” under the Commodity Exchange Act
or any regulations promulgated thereunder and can cause another Person to qualify as an “eligible
contract participant” at such time by entering into a keepwell under Section 1a(18)(A)(v)(II) of the
Commodity Exchange Act.

               “Real Estate Asset” means, at any time of determination, any interest (fee,
leasehold, license or otherwise) then owned or otherwise held by any Credit Party in any real
property.

                 “Register” as defined in Section 2.6(b).

                 “Reimbursement Date” as defined in Section 2.3(d).

                “Related Fund” means, with respect to any Lender that is an investment fund,
(a) any other investment fund that invests in commercial loans and that is managed or advised by
the same investment advisor as such Lender or by an Affiliate of such investment advisor

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and (b) any finance company, insurance company or other financial institution which temporarily
warehouses loans for any Lender or any Person described in clause (a) of this definition.

                “Related Parties” means any of the officers, directors, employees, agents,
attorneys, representatives, subsidiaries, Affiliates or shareholders of a Person.

                “Release” means any release, spill, emission, leaking, pumping, pouring, injection,
escaping, deposit, disposal, discharge, dispersal, dumping, leaching or migration of any Hazardous
Material into the indoor or outdoor environment (including the abandonment or disposal of any
barrels, containers or other closed receptacles containing any Hazardous Material), including the
movement of any Hazardous Material through the air, soil, surface water or groundwater.

                 “Replacement Lender” as defined in Section 2.22.

               “Replacement Liens” as defined in the Interim Order or, following entry of the
Final Order, the Final Order.

               “Requisite Lenders” means one or more Lenders representing more than 50% of
the aggregate Term Loan Exposure of all Lenders; provided, however, in the event any Lender (or
group of Affiliated Lenders) holds more than 35% of the total Commitments and/or Loans, the
vote of such Lender (or group of Affiliated Lenders) shall be required for Requisite Lenders (but
only for so long as such threshold is satisfied).

                 “Restaurant” means a Ruby Tuesday restaurant owned and operated by a Credit
Party.

               “Restricted Junior Payments” means (a) any direct or indirect dividend or other
distribution on account of any Capital Stock of any Credit Party; (b) any direct or indirect
redemption, retirement, sinking fund or similar payment, purchase or other acquisition of any
shares of Capital Stock of any Credit Party; (c) any payment made to retire or obtain surrender of
any outstanding warrants, options or other rights to acquire shares of any Credit Party; (d)
management, consulting or similar fees (including, for clarity, board of director fees and expenses)
paid or payable to Sponsor or its Affiliates, including, for the avoidance of doubt, SFI, Co-Invest,
Restaurant Management Services, LLC, NRD Capital Management, LLC, Sponsor’s Management
Advisor and their respective Affiliates (which, for clarity, shall not include non-bonus
compensation or benefits paid in the ordinary course of business consistent with past practices);
and (e) any payment or prepayment of principal, premium, interest, fee, or redemption, repurchase,
retirement, defeasance, sinking fund or similar payment with respect to Subordinated
Indebtedness.

                 “RSA” as defined in the Recitals hereto.

             “RT Lodge” means the event facility and restaurant operated by RTI commonly
known as “RT Lodge” and located at 1406 Wilkinson Pike, Maryville, Tennessee.

                 “RTI” as defined in the Preamble hereto.


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              “S&P” means Standard & Poor’s Ratings Group, a division of The McGraw Hill
Corporation, and any successor thereto.

             “Sanctioned Country” means, at any time, a country, territory or region that is, or
whose government is, the subject or target of any Sanctions.

                “Sanctioned Person” means, at any time, any Person with whom dealings are
restricted or prohibited under Sanctions, including (a) any Person listed in any Sanctions-related
list of designated Persons maintained by the United States (including by OFAC, the United States
Department of the Treasury, or the United States Department of State), or by the United Nations
Security Council, the European Union or any EU member state, Her Majesty’s Treasury of the
United Kingdom or any other relevant sanctions authority; (b) any Person located, operating,
organized or resident in a Sanctioned Country; or (c) any Person owned or controlled, directly or
indirectly, by any such Person described in clause (a) or (b) of this definition.

               “Sanctions” means sanctions or trade embargoes enacted, imposed, administered
or enforced from time to time by (a) the United States government, including those administered
by the United States Department of the Treasury’s Office of Foreign Assets Control (OFAC),
United States Department of State, or United States Department of Commerce; (b) the United
Nations Security Council, the European Union or any of its member states, Her Majesty’s Treasury
of the United Kingdom; (c) Canada (or any provincial government); or (d) any other relevant
sanctions authority.

                 “SBA” means the Small Business Act (Public Law 85-536, as amended).

              “Secured Parties” means each Agent, Lender and Issuing Bank and shall include,
all former Agents, Lenders and Issuing Banks to the extent that any Obligations owing to such
Persons were incurred while such Persons were Agents, Lenders or Issuing Banks and such
Obligations have not been indefeasibly paid or satisfied in full in Cash.

                 “Securities” means any stock, shares, partnership interests, voting trust
certificates, certificates of interest or participation in any profit-sharing agreement or arrangement,
options, warrants, bonds, debentures, notes, or other evidences of indebtedness, secured or
unsecured, convertible, subordinated or otherwise, or in general any instruments commonly known
as “securities” or any certificates of interest, shares or participations in temporary or interim
certificates for the purchase or acquisition of, or any right to subscribe to, purchase or acquire, any
of the foregoing.

              “Securities Act” means the Securities Act of 1933, as amended from time to time,
and any successor statute.

               “Seventh Amendment” means that certain Seventh Amendment to Credit and
Guaranty Agreement, dated as of the Seventh Amendment Effective Date, by and among Holdings,
the other Credit Parties party thereto, Pre-Petition Agent and the Pre-Petition Lenders party thereto.

                 “Seventh Amendment Effective Date” means September 22, 2020.


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               “SFI” means Strategic Financial Intermediation II LLC, a Delaware limited
liability company.

                 “Sponsor” means NRD Partners II, L.P., a Delaware limited partnership.

              “Sponsor’s Management Advisor” means NRD Capital Management II, LLC, a
Delaware limited liability company, the management advisor of Sponsor.

                “Subordinated Indebtedness” means any Indebtedness or other obligations of
Holdings or any of its Subsidiaries which is subordinated to the Obligations as to right and time of
payment and as to other rights and remedies thereunder and having such other terms as are, in each
case, satisfactory to Administrative Agent.

                “Subsidiary” means, with respect to any Person, any corporation, partnership,
limited liability company, association, joint venture or other business entity of which more than
50% of the total voting power of shares of Capital Stock entitled (without regard to the occurrence
of any contingency) to vote in the election of the Person or Persons (whether directors, managers,
trustees or other Persons performing similar functions) having the power to direct or cause the
direction of the management and policies thereof is at the time owned or controlled, directly or
indirectly, by that Person or one or more of the other Subsidiaries of that Person or a combination
thereof; provided, in determining the percentage of ownership interests of any Person controlled
by another Person, no ownership interest in the nature of a “qualifying share” of the former Person
shall be deemed to be outstanding.

                 “Superpriority Claim” as defined in Section 2.25.

             “Swap Obligation” means, with respect to any Guarantor, any obligation to pay
or perform under any agreement, contract or transaction that constitutes a “swap” within the
meaning of Section 1a(47) of the Commodity Exchange Act.

                “Tax” means any present or future tax, levy, impost, duty, assessment, charge, fee,
deduction or withholding of any nature and whatever called, by whomsoever, on whomsoever and
wherever imposed, levied, collected, withheld or assessed; provided, “Tax on the overall net
income” of a Person shall be construed as a reference to a tax imposed by the jurisdiction in which
that Person is organized or in which that Person’s applicable principal office (and/or, in the case
of a Lender, its lending office) is located or in which that Person (and/or, in the case of a Lender,
its lending office) is deemed to be doing business on all or part of the net income, profits or gains
(whether worldwide, or only insofar as such income, profits or gains are considered to arise in or
to relate to a particular jurisdiction, or otherwise) of that Person (and/or, in the case of a Lender,
its applicable lending office).

              “TCW” means, individually and collectively, TCW Direct Lending LLC, a
Delaware limited liability company, TCW Skyline Lending, L.P., a Delaware limited partnership,
and TCW Brazos Fund LLC, a Delaware limited liability company.

                “Term Loan” means a term loan made by a Lender to Borrowers pursuant to
Section 2.1(a), Section 2.1(c) or Section 2.1(d).

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               “Term Loan Commitment” means the commitment of a Lender to make or
otherwise fund Term Loans and to acquire participations in Existing Letters of Credit and “Term
Loan Commitments” means such commitments of all Lenders in the aggregate. The amount of
each Lender’s Term Loan Commitment, if any, is set forth on Appendix A or in the applicable
Assignment Agreement, subject to any adjustment or reduction pursuant to the terms and
conditions hereof. The aggregate amount of the Term Loan Commitments as of the Closing Date
is $18,500,000.

                 “Term Loan Exposure” means, with respect to any Lender, as of any date of
determination, (a) prior to the termination of the Term Loan Commitments, that Lender’s Term
Loan Commitment plus the outstanding principal amount of the Term Loans of such Lender; and
(b) after the termination of the Term Loan Commitments, (i) the sum of the aggregate outstanding
principal amount of the Term Loans of such Lender; (ii) in the case of Issuing Bank, the aggregate
Letter of Credit Usage in respect of all Existing Letters of Credit (net of any participations by
Lenders in such Existing Letters of Credit), and (iii) the aggregate amount of all participations by
that Lender in any outstanding Existing Letters of Credit or any unreimbursed drawing under any
Existing Letter of Credit.

             “Term Loan Note” means a promissory note evidencing a Term Loan
Commitment and/or Term Loans in the form of Exhibit B, as amended, restated, supplemented or
otherwise modified from time to time.

                 “Terminated Lender” as defined in Section 2.21.

                 “Topping Bid” means the highest and best bid (or bids) submitted by one or more
third parties, other than the Secured Parties; provided, that such bid (or bids) must provide for Cash
deposits of no less than 10.0% of the purchase price and provide for Cash consideration at closing
that is sufficient to pay all Obligations and all Pre-Petition Obligations in full in Cash on the
applicable closing date.

                 “Trade Announcements” as defined in Section 10.17.

                 “Type of Loan” means a Base Rate Loan or a LIBOR Rate Loan.

                “UCC” means the Uniform Commercial Code as in effect from time to time in the
State of New York or, when the context implies, the Uniform Commercial Code as in effect from
time to time in any other applicable jurisdiction.

                 “United States” means the United States of America.

               “Valid Expense” means an expense that is reasonably documented, factually
supportable, actually incurred (as determined in accordance with GAAP), and paid or payable to
Persons who are not Affiliates of Holdings and its Subsidiaries.

                “Variance Report Date” means, for each week (ending on Tuesday), the date
which is on or before the second Business Day of such week (Thursday or the following Business
Day if such Thursday is not a Business Day); provided, that the first Variance Report Date shall
not occur until after the second Tuesday following the Petition Date.
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                 “Warrant” as defined in the Pre-Petition Credit Agreement.

             “Wicomico County Subsidiaries” means each of RT of Fruitland, Inc., a
Maryland corporation, and Ruby Tuesday of Salisbury, Inc., a Maryland corporation.

        1.2. Accounting Terms. Except as otherwise expressly provided herein, all accounting
terms not otherwise defined herein shall have the meanings assigned to them in conformity with
GAAP. Financial statements and other information required to be delivered by Borrower
Representative to Administrative Agent and the Lenders pursuant to Sections 5.1(a) and 5.1(b)
shall be prepared in accordance with GAAP as in effect at the time of such preparation (and
delivered together with the reconciliation statements provided for in Section 5.1(e), if applicable).
Subject to the foregoing, calculations in connection with the definitions, covenants and other
provisions hereof shall utilize accounting principles and policies in conformity with those used to
prepare the Historical Financial Statements.

        1.3.    Interpretation, etc. Any of the terms defined herein may, unless the context
otherwise requires, be used in the singular or the plural, depending on the reference. References
herein to the “Preamble” or any “Recital,” “Section,” “Appendix,” “Schedule” or “Exhibit” shall
be to the preamble or a recital, a section, an appendix, a schedule or an exhibit, as the case may
be, hereof unless otherwise specifically provided. The use herein of the word “include” or
“including,” when following any general statement, term or matter, shall not be construed to limit
such statement, term or matter to the specific items or matters set forth immediately following such
word or to similar items or matters, whether or not no limiting language (such as “without
limitation” or “but not limited to” or words of similar import) is used with reference thereto, but
rather shall be deemed to refer to all other items or matters that fall within the broadest possible
scope of such general statement, term or matter. Any reference to any law, statute, rule or
regulation of any Governmental Authority shall be deemed to refer to such law, statute, rule or
regulation, as amended, renewed, extended or replaced from time to time.

SECTION 2. LOANS AND EXISTING LETTERS OF CREDIT

        2.1.     Term Loans.

               (a)      Term Loan Commitments. Prior to the Maturity Date, subject to the terms
and conditions hereof and for the limited purposes set forth herein, each Lender severally agrees
to make Term Loans to Borrowers upon request of Borrowers in an aggregate amount up to but
not exceeding such Lender’s Term Loan Commitment; provided, (i) no Term Loan shall exceed
the remaining Term Loan Commitment of such Lender, and (ii) all Term Loans made under this
Section 2.1(a) at the request of Borrowers shall not exceed $6,900,000 in any event. Any amount
borrowed under this Section 2.1(a) and subsequently repaid or prepaid may not be re-borrowed.
Subject to Sections 2.11(a), 2.12 and 2.13 all amounts owed under this Section 2.1(a) with respect
to the Term Loans shall be paid in full in Cash no later than the Maturity Date. Each Lender’s
Term Loan Commitment shall (x) automatically and permanently be reduced by the amount of
each Term Loan made under this Section 2.1(a) and (y) terminate immediately and without further
action by any Person on the Maturity Date. For the avoidance of doubt, the initial Term Loans
made under this Section 2.1(a) shall be net funded of those amounts due and owing under Section
3.1(o).

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                 (b)      Borrowing Mechanics for Term Loans.

                        (i)     Whenever Borrowers desire that the Lenders make Term Loans
        under Section 2.1(a), Borrower Representative shall deliver to Administrative Agent a duly
        executed Funding Notice no later than 12:00 p.m. (New York City time) at least three
        Business Days in advance of the proposed Credit Date in the case of a LIBOR Rate Loan,
        and at least one Business Day in advance of the proposed Credit Date in the case of a Base
        Rate Loan. Except as otherwise provided herein, a Funding Notice for a Term Loan, as
        applicable, that is a LIBOR Rate Loan shall be irrevocable on and after the related Interest
        Rate Determination Date, and Borrowers shall be bound to make a borrowing in
        accordance therewith. Promptly upon receipt by Administrative Agent of such Funding
        Notice, Administrative Agent shall notify each Lender of the proposed borrowing.

                        (ii)   Each Lender shall make its Term Loan available to Administrative
        Agent not later than 2:00 p.m. (New York City time) on the applicable Credit Date, by wire
        transfer of same day funds in Dollars, at Administrative Agent’s Principal Office. Upon
        satisfaction or waiver of the conditions precedent specified herein, Administrative Agent
        shall make the proceeds of the Term Loans available to Borrowers on the applicable Credit
        Date by causing an amount of same day funds in Dollars equal to the proceeds of all such
        Loans received by Administrative Agent from Lenders to be credited to the account of
        Borrower Representative at Administrative Agent’s Principal Office or to such other
        account as may be designated in writing to Administrative Agent by Borrower
        Representative.

                       (iii) Term Loans under Section 2.1(a) (a) shall be made in an aggregate
        minimum amount of $1,000,000 and integral multiples of $100,000 in excess of that
        amount (or, as applicable, the amount of the remaining unused Term Loan Commitments
        available to be borrowed under this Section 2.1(a)), and (b) may not be requested more
        than twice per calendar month.

               (c)    Term Loans in respect of Existing Letters of Credit. In addition to the
foregoing, Term Loans in an amount not to exceed $9,600,000 shall be solely made in the manner
and at the times set forth in Section 2.3. Any amount borrowed under this Section 2.1(c) and
subsequently repaid or prepaid may not be re-borrowed. Subject to Sections 2.11(a), 2.12 and 2.13
all amounts owed under this Section 2.1(c) with respect to the Term Loans shall be paid in full in
Cash no later than the Maturity Date. Each Lender’s Term Loan Commitment shall (x)
automatically and permanently be reduced by the amount of each Term Loan made under this
Section 2.1(c) and (y) terminate immediately and without further action by any Person on the
Maturity Date.

                (d)     Term Loans in respect of the Indebtedness incurred on the Seventh
Amendment Effective Date. In addition to the foregoing, in accordance with the RSA and subject
to the terms and conditions hereof, the Indebtedness in an aggregate principal amount of
$2,000,000 incurred by the Borrowers on the Seventh Amendment Effective Date in accordance
with the Seventh Amendment, plus all accrued and unpaid interest and fees related thereto as of
the entry of the Final Order, shall be “rolled up” and deemed to be incurred on the date of the entry
of the Final Order as Term Loans and shall, as of such date, constitute Term Loans and Obligations
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incurred under this Agreement without further action by any Person. The amount borrowed under
this Section 2.1(d) on the Closing Date and subsequently repaid or prepaid may not be re-
borrowed. Subject to Sections 2.11(a), 2.12 and 2.13, all amounts owed under this Section 2.1(d)
with respect to the Term Loans shall be paid in full in Cash no later than the Maturity Date. Each
Lender’s Term Loan Commitment shall (x) automatically and permanently be reduced on the
Closing Date by the amount of each Term Loan made under this Section 2.1(d) and (y) terminate
immediately and without further action by any Person on the Maturity Date.

               (e)     In no event shall Borrower request, and no Lender shall be required to make,
any Term Loans (whether under Section 2.1(a), Section 2.1(c) or 2.1(d)) in an aggregate principal
amount greater than the amount approved by the Bankruptcy Court pursuant to the Interim Order
or, when applicable, the Final Order.

        2.2.     [Intentionally Reserved].

        2.3.     Existing Letters of Credit and Purchase of Participations Therein.

               (a)    Existing Letters of Credit. Subject to the terms and conditions hereof, the
Existing Letters of Credit shall be deemed to be issued by Issuing Bank under the terms of this
Agreement and shall no longer constitute obligations under the Pre-Petition Credit Documents.
For the avoidance of doubt, in no event shall any Existing Letter of Credit be extended, renewed
(including pursuant to any “evergreen” provisions contained therein) or amended in any manner
whatsoever, unless otherwise agreed in writing by Issuing Bank and the Requisite Lenders.

                 (b)      [Intentionally Reserved.]

                (c)     Responsibility of Issuing Bank With Respect to Requests for Drawings and
Payments. In determining whether to honor any drawing under any Existing Letter of Credit by
the beneficiary thereof, Issuing Bank shall be responsible only to examine the documents delivered
under such Existing Letter of Credit with reasonable care so as to ascertain whether they appear
on their face to be in accordance with the terms and conditions of such Existing Letter of Credit.
As between any Credit Party and Issuing Bank, the Credit Parties assume all risks of the acts and
omissions of, or misuse of the Existing Letters of Credit, by the respective beneficiaries of such
Existing Letters of Credit. In furtherance and not in limitation of the foregoing, Issuing Bank shall
not be responsible for: (i) the form, validity, sufficiency, accuracy, genuineness or legal effect of
any document submitted by any party in connection with the application for and issuance of any
such Existing Letter of Credit, even if it should in fact prove to be in any or all respects invalid,
insufficient, inaccurate, fraudulent or forged; (ii) the validity or sufficiency of any instrument
transferring or assigning or purporting to transfer or assign any such Existing Letter of Credit or
the rights or benefits thereunder or proceeds thereof, in whole or in part, which may prove to be
invalid or ineffective for any reason; (iii) failure of the beneficiary of any such Existing Letter of
Credit to comply fully with any conditions required in order to draw upon such Existing Letter of
Credit; (iv) errors, omissions, interruptions or delays in transmission or delivery of any messages,
by mail, cable, telegraph, telex or otherwise, whether or not they be in cipher; (v) errors in
interpretation of technical terms; (vi) any loss or delay in the transmission or otherwise of any
document required in order to make a drawing under any such Existing Letter of Credit or of the
proceeds thereof; (vii) the misapplication by the beneficiary of any such Existing Letter of Credit

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of the proceeds of any drawing under such Existing Letter of Credit; or (viii) any consequences
arising from causes beyond the control of Issuing Bank, including any Governmental Acts; none
of the above shall affect or impair, or prevent the vesting of, any of Issuing Bank’s rights or powers
hereunder. Without limiting the foregoing and in furtherance thereof, any action taken or omitted
by Issuing Bank under or in connection with the Existing Letters of Credit or any documents and
certificates delivered thereunder, if taken or omitted in good faith, shall not give rise to any liability
on the part of Issuing Bank to any Credit Party.

                (d)     Reimbursement by Borrowers of Amounts Drawn or Paid Under Existing
Letters of Credit. In the event Issuing Bank has determined to honor a drawing under an Existing
Letter of Credit, it shall immediately notify Borrower Representative and Administrative Agent,
and Borrowers shall reimburse Issuing Bank on or before the Business Day immediately following
the date on which such drawing is honored (the “Reimbursement Date”) in an amount in Dollars
and in same day funds equal to the amount of such honored drawing; provided, anything contained
herein to the contrary notwithstanding, (i) unless Borrower Representative shall have notified
Administrative Agent and Issuing Bank prior to 10:00 a.m. (New York City time) on the date such
drawing is honored that Borrowers intend to reimburse Issuing Bank for the amount of such
honored drawing with funds other than the proceeds of Term Loans, Borrowers shall be deemed
to have given a timely Funding Notice to Administrative Agent requesting Lenders to make Term
Loans that are Base Rate Loans on the Reimbursement Date in an amount in Dollars equal to the
amount of such honored drawing, and (ii) Lenders shall, on the Reimbursement Date, make Term
Loans that are Base Rate Loans in the amount of such honored drawing, the proceeds of which
shall be applied directly by Administrative Agent to reimburse Issuing Bank for the amount of
such honored drawing; provided, further, if for any reason proceeds of Term Loans are not received
by Issuing Bank on the Reimbursement Date in an amount equal to the amount of such honored
drawing, Borrowers shall reimburse Issuing Bank, on demand, in an amount in same day funds
equal to the excess of the amount of such honored drawing over the aggregate amount of such
Term Loans, if any, which are so received. Nothing in this Section 2.3(d) shall be deemed to
relieve any Lender from its obligation to make Term Loans on the terms and conditions set forth
herein, and Administrative Agent and Borrowers shall retain any and all rights Borrowers may
have against any Lender resulting from the failure of such Lender to make such Term Loans under
this Section 2.3(d).

                (e)     Lenders’ Purchase of Participations in Existing Letters of Credit. Each
Lender shall be deemed to have purchased, and hereby agrees to irrevocably purchase, from
Issuing Bank a participation in each Existing Letter of Credit and any drawings honored thereunder
in an amount equal to such Lender’s Pro Rata Share (with respect to the Commitments) of the
maximum amount which is or at any time may become available to be drawn thereunder. In the
event that Borrowers shall fail for any reason to reimburse Issuing Bank as provided in Section
2.3(d), Issuing Bank shall promptly notify each Lender having a Commitment of the unreimbursed
amount of such honored drawing and a Term Loan will automatically be deemed requested by the
Credit Parties, and shall be made by each Lender, based on such Lender’s Pro Rata Share of the
Commitments. Each Lender shall thereafter make available to Issuing Bank an amount equal to
its respective Term Loan, in Dollars and in same day funds, at the office of Issuing Bank specified
in such notice, not later than 12:00 p.m. (New York City time) on the first business day (under the
laws of the jurisdiction in which such office of Issuing Bank is located) after the date notified by
Issuing Bank. In the event that any Lender fails to make available to Issuing Bank on such business
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day the amount of such Lender’s Term Loan as provided in this Section 2.3(e), Issuing Bank shall
be entitled to recover such amount on demand from such Lender together with interest thereon for
three (3) Business Days at the rate customarily used by Issuing Bank for the correction of errors
among banks and thereafter at the Base Rate. Nothing in this Section 2.3(e) shall be deemed to
prejudice the right of any Lender having a Commitment to recover from Issuing Bank any amounts
made available by such Lender to Issuing Bank pursuant to this Section 2.3 in the event that it is
determined that the payment with respect to an Existing Letter of Credit in respect of which
payment was made by such Lender constituted bad faith, gross negligence or willful misconduct
on the part of Issuing Bank, as determined by a court of competent jurisdiction in a final, non-
appealable order. In the event Issuing Bank shall have been reimbursed by other Lenders pursuant
to this Section 2.3(e) for all or any portion of any drawing honored by Issuing Bank under an
Existing Letter of Credit, such Issuing Bank shall distribute to each Lender having a Commitment
which has paid all amounts payable by it under this Section 2.3(e) with respect to such honored
drawing such Lender’s Pro Rata Share of all payments subsequently received by Issuing Bank
from Borrowers in reimbursement of such honored drawing when such payments are received.
Any such distribution shall be made to a Lender at its primary address set forth below its name on
Appendix B or at such other address as such Lender may request.

                (f)     Obligations Absolute. The obligation of Borrowers to reimburse Issuing
Bank for drawings honored under the Existing Letters of Credit issued by it and to repay any Term
Loans made by Lenders pursuant to Section 2.3(d) and the obligations of Lenders under Section
2.3(e) shall be unconditional and irrevocable and shall be paid strictly in accordance with the terms
hereof under all circumstances including any of the following circumstances: (i) any lack of
validity or enforceability of any Existing Letter of Credit; (ii) the existence of any claim, set-off,
defense or other right which any Credit Party or any Lender may have at any time against a
beneficiary or any transferee of any Existing Letter of Credit (or any Persons for whom any such
transferee may be acting), Issuing Bank, Lender or any other Person or, in the case of a Lender,
against a Credit Party, whether in connection herewith, the transactions contemplated herein or
any unrelated transaction (including any underlying transaction between any Credit Party or one
of its Subsidiaries and the beneficiary for which any Existing Letter of Credit was procured); (iii)
any draft or other document presented under any Existing Letter of Credit proving to be forged,
fraudulent, invalid or insufficient in any respect or any statement therein being untrue or inaccurate
in any respect; (iv) payment by Issuing Bank under any Existing Letter of Credit against
presentation of a draft or other document which does not substantially comply with the terms of
such Existing Letter of Credit; (v) any adverse change in the business, operations, properties,
assets, condition (financial or otherwise) or prospects of Holdings or any of its Subsidiaries; (vi)
any breach hereof or any other Credit Document by any party thereto; (vii) any other circumstance
or happening whatsoever, whether or not similar to any of the foregoing; or (viii) the fact that a
Default or an Event of Default shall have occurred and be continuing; provided, in each case, that
payment by Issuing Bank under the applicable Existing Letter of Credit shall not have constituted
bad faith, gross negligence or willful misconduct of Issuing Bank under the circumstances in
question, as determined by a court of competent jurisdiction in a final, non-appealable order.

               (g)     Indemnification. Without duplication of any obligation of any Credit Party
under Section 10.2 or 10.3, in addition to amounts payable as provided herein, each Credit Party
hereby agrees to protect, indemnify, pay and save harmless Issuing Bank from and against any and
all claims, demands, liabilities, damages, losses, costs, charges and expenses (including reasonable
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fees, expenses and disbursements of counsel and allocated costs of internal counsel) which Issuing
Bank may incur or be subject to as a consequence, direct or indirect, of (i) the issuance of any
Existing Letter of Credit by Issuing Bank, other than as a result of (A) the bad faith, gross
negligence or willful misconduct of Issuing Bank, as determined by a court of competent
jurisdiction in a final, non-appealable order, or (B) the wrongful dishonor by Issuing Bank of a
proper demand for payment made under any Existing Letter of Credit issued by it, or (ii) the failure
of Issuing Bank to honor a drawing under any such Existing Letter of Credit as a result of any
Governmental Act.

        2.4.     Pro Rata Shares; Availability of Funds.

                (a)    Pro Rata Shares. All Loans shall be made, and all participations required to
be purchased, by the Lenders simultaneously and proportionately to their respective Pro Rata
Shares, it being understood that no Lender shall be responsible for any default by any other Lender
in such other Lender’s obligation to make a Loan requested hereunder or purchase a participation
required hereby nor shall any Commitment of any Lender be increased or decreased as a result of
a default by any other Lender in such other Lender’s obligation to make a Loan requested
hereunder or purchase a participation required hereby other than as set forth in Section 2.24.

                (b)     Availability of Funds. Unless Administrative Agent shall have been
notified by any Lender prior to the applicable Credit Date that such Lender does not intend to make
available to Administrative Agent the amount of such Lender’s Loan requested on such Credit
Date, Administrative Agent may assume that such Lender has made such amount available to
Administrative Agent on such Credit Date and Administrative Agent may, in its sole discretion,
but shall not be obligated to, make available to or on behalf of Borrowers a corresponding amount
on such Credit Date. If such corresponding amount is not in fact made available to Administrative
Agent by such Lender, Administrative Agent shall be entitled to recover such corresponding
amount on demand from such Lender together with interest thereon, for each day from such Credit
Date until the date such amount is paid to Administrative Agent, at the customary rate set by
Administrative Agent for the correction of errors among banks for three (3) Business Days and
thereafter at the Base Rate. If such Lender does not pay such corresponding amount forthwith
upon Administrative Agent’s demand therefor, Administrative Agent shall promptly notify
Borrower Representative and Borrowers shall immediately pay such corresponding amount to
Administrative Agent together with interest thereon, for each day from such Credit Date until the
date such amount is paid to Administrative Agent, at the rate payable hereunder for Base Rate
Loans. Nothing in this Section 2.4(b) shall be deemed to relieve any Lender from its obligation to
fulfill its Commitments hereunder or to prejudice any rights that Borrowers may have against any
Lender as a result of any default by such Lender hereunder.

        2.5.     Use of Proceeds.

                (a)    The Credit Parties shall use the Cash Collateral and the proceeds of the
Term Loans for only the following purposes, in each case, in accordance with (i) the Orders and
(ii) the Budget, including in accordance with Section 6.8(d): (A) to reimburse Issuing Bank with
respect to draws under the Existing Letters of Credit in accordance with Section 2.3; (B) for
working capital and general corporate purposes of the Credit Parties, (C) to pay interest, premiums,
fees and expenses payable hereunder and under the other Credit Documents to the Agents and the
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Lenders, as provided under the Credit Documents and the Orders, (D) to pay restructuring costs
and Professional Fees of the Credit Parties related solely to the Cases, (E) to effectuate the roll-up
of Indebtedness under Section 2.1(d), and (F) to make adequate protection payments as set forth
in the Orders.

             (b)     Notwithstanding anything to the contrary in this Agreement, no proceeds of
the Term Loans, the Cash Collateral or the Carve-Out may be used by any Credit Party in any
manner to:

                       (i)    request authorization to obtain post-petition loans or other financial
        accommodations pursuant to section 364(c) or (d) of the Bankruptcy Code or otherwise,
        other than from any Agent or any Lender, unless the proceeds of such loans or
        accommodations are or will be sufficient, and will be used, to indefeasibly pay in full in
        Cash all Obligations, the Pre-Petition Obligations and the Adequate Protection
        Superpriority Claim (as defined in the Orders);

                        (ii)   pay any expenses, other than the amounts set forth in the Budget
        (subject to the disbursements not prohibited under Section 6.8(d));

                        (iii) object, contest or raise any defense to the validity, perfection,
        priority, extent or enforceability of any amount due under, or the Liens or security interests
        granted under, the Credit Documents or Pre-Petition Credit Documents;

                       (iv)    investigate (other than as set forth in the Orders), initiate, assert, join
        or prosecute any claims or defenses or commence any cause of action against (x) any
        Agent, any Lender or any of their respective Related Parties under or relating to this
        Agreement or any other Credit Document, (y) against the Pre-Petition Agent, Pre-Petition
        Lenders or any of their respective Related Parties under or relating to the Pre-Petition
        Credit Agreement Documents, or (z) against the Pre-Petition Agent, the Pre-Petition
        Lenders or any of their respective Related Parties under or relating to any other loan or
        extensions of credit provided to any of the Credit Parties or their respective Affiliates;

                       (v)     prevent, hinder or delay, whether directly or indirectly, Collateral
        Agent’s assertion or enforcement of its Liens on the Collateral, or its efforts to realize upon
        any Collateral under the Credit Documents or exercise any other rights and remedies under
        the Credit Documents or applicable law;

                     (vi)    other than to the extent authorized by the Bankruptcy Court, pay any
        claim of any creditor in the Cases without the prior written consent of the Requisite
        Lenders; or

                       (vii) use or seek to use Cash Collateral or sell or otherwise dispose of
        Collateral, unless otherwise permitted by the Orders or by this Agreement, without the
        consent of the Requisite Lenders.

              (c)     No portion of the proceeds of any Credit Extension shall be used in any
manner that causes or might cause such Credit Extension or the application of such proceeds to
violate Regulation T, Regulation U or Regulation X of the Board of Governors of the Federal
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Reserve System, as in effect from time to time, or any other regulation thereof or to violate the
Exchange Act.

        2.6.     Evidence of Debt; Register; Notes.

               (a)      Evidence of Debt. Each Lender shall maintain on its internal records an
account or accounts evidencing the Obligations of Borrowers to such Lender, including the
amounts of the Loans made by it and each repayment and prepayment in respect thereof. Any
such recordation shall be conclusive and binding on Borrowers, absent manifest error; provided,
that such Lender’s failure to make any such recordation, or any error in such recordation, shall not
affect any Lender’s Commitments or Borrowers Obligations in respect of any applicable Loans;
provided, further, in the event of any inconsistency between the Register and any Lender’s records,
the recordations in the Register shall govern.

                 (b)    Register. Administrative Agent shall maintain at its Principal Office a
register for the recordation of the names and addresses of Lenders and the Commitments and Loans
of each Lender from time to time (the “Register”). The Register shall be available for inspection
by Borrower Representative or any Lender at any reasonable time and from time to time upon
reasonable prior notice. Administrative Agent shall record in the Register the Commitments and
the Loans, and each repayment or prepayment in respect of the principal amount of the Loans, and
any such recordation shall be conclusive and binding on Borrowers and each Lender, absent
manifest error; provided, failure to make any such recordation, or any error in such recordation,
shall not affect any Lender’s Commitments or Borrowers’ Obligations in respect of any Loan.
Each Borrower hereby designates the entity serving as Administrative Agent to serve as such
Borrower’s agent solely for purposes of maintaining the Register as provided in this Section 2.6(b)
and each Borrower hereby agrees that, to the extent such entity serves in such capacity, the entity
serving as Administrative Agent and its officers, directors, employees, agents and affiliates shall
constitute “Indemnitees.”

               (c)      Notes. If so requested by any Lender by written notice to Borrower
Representative (with a copy to Administrative Agent) at least two (2) Business Days prior to the
Closing Date, or at any time thereafter, Borrowers shall execute and deliver to such Lender (and/or,
if applicable and if so specified in such notice, to any Person who is an assignee of such Lender
pursuant to Section 10.6) on the Closing Date (or, if such notice is delivered after the Closing Date,
promptly after Borrower Representative’s receipt of such notice) a Note or Notes to evidence such
Lender’s Term Loan Commitment and Term Loans.

        2.7.     Interest on Loans.

               (a)     Except as otherwise set forth herein, the Loans shall bear interest on the
unpaid principal amount thereof from the date made through repayment (whether by acceleration
or otherwise) thereof as follows (interest under this Section 2.7(a), the “Current Rate”):

                          (i)      if a Base Rate Loan, at the Base Rate, plus the Applicable Margin;
        or

                     (ii)          if a LIBOR Rate Loan, at the Adjusted LIBOR Rate, plus the
        Applicable Margin.
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       Notwithstanding anything to the contrary contained herein in no event shall (A) the
Adjusted LIBOR Rate be less than 1.00% per annum or (B) the Base Rate be less than 4.00% per
annum.

               (b)    The basis for determining the Current Rate with respect to any Loan, and
the Interest Period with respect to any LIBOR Rate Loan, shall be selected by Borrower
Representative and notified to Administrative Agent and Lenders pursuant to the applicable
Notice. If on any day a Loan is outstanding with respect to which a Notice has not been delivered
to Administrative Agent in accordance with the terms hereof specifying the applicable basis for
determining the Current Rate, then for that day such Loan shall be a Base Rate Loan.

                (c)    In connection with LIBOR Rate Loans there shall be no more than five (5)
Interest Periods outstanding at any time. In the event Borrower Representative fails to specify
between a Base Rate Loan or a LIBOR Rate Loan in the applicable Notice, such Loan (if
outstanding as a LIBOR Rate Loan) will be automatically converted into a Base Rate Loan on the
last day of the then current Interest Period for such Loan (or if outstanding as a Base Rate Loan
will remain as, or (if not then outstanding) will be made as, a Base Rate Loan). As soon as
practicable after 10:00 a.m. (New York City time) on each Interest Rate Determination Date,
Administrative Agent shall determine (which determination shall, absent manifest error, be final,
conclusive and binding upon all parties) the interest rate that shall apply to the LIBOR Rate Loans
for which an interest rate is then being determined for the applicable Interest Period and shall
promptly give notice thereof (in writing or by telephone confirmed in writing) to Borrower
Representative and each Lender.

                (d)    Interest payable at the Current Rate shall be computed on the basis of a 360-
day year, in each case for the actual number of days elapsed in the period during which it accrues.
In computing interest on any Loan, the date of the making of such Loan or the first day of an
Interest Period applicable to such Loan or, with respect to a Base Rate Loan being converted from
a LIBOR Rate Loan, the date of conversion of such LIBOR Rate Loan to such Base Rate Loan, as
the case may be, shall be included, and the date of payment of such Loan or the expiration date of
an Interest Period applicable to such Loan or, with respect to a Base Rate Loan being converted to
a LIBOR Rate Loan, the date of conversion of such Base Rate Loan to such LIBOR Rate Loan, as
the case may be, shall be excluded; provided, if a Loan is repaid on the same day on which it is
made, one (1) day’s interest shall be paid on that Loan.

                (e)    Except as otherwise set forth herein, interest at the Current Rate on each
Loan shall be payable in Cash and in arrears (A) on and to each Interest Payment Date applicable
to that Loan, (B) upon any prepayment of that Loan, whether voluntary or mandatory, to the extent
accrued on the amount being prepaid, and (C) on the Maturity Date.

                 (f)      [Intentionally Reserved]

               (g)    Borrowers agree to pay to Issuing Bank, with respect to drawings honored
under any Existing Letter of Credit, interest on the amount paid by Issuing Bank in respect of each
such honored drawing from the date such drawing is honored to but excluding the date such amount
is reimbursed by or on behalf of Borrowers at a rate equal to (i) for the period from the date such
drawing is honored to but excluding the applicable Reimbursement Date, the rate of interest

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otherwise payable hereunder with respect to Base Rate Loans, and (ii) thereafter, a rate which is
the lesser of (A) 2.00% per annum in excess of the rate of interest otherwise payable hereunder
with respect to Base Rate Loans, and (B) the Highest Lawful Rate.

                (h)     Interest payable pursuant to Section 2.7(g) shall be computed on the basis
of a 360-day year for the actual number of days elapsed in the period during which it accrues, and
shall be payable on demand or, if no demand is made, on the date on which the related drawing
under an Existing Letter of Credit is reimbursed in full. Promptly upon receipt by Issuing Bank
of any payment of interest pursuant to Section 2.7(g), Issuing Bank shall distribute to each Lender,
out of the interest received by Issuing Bank in respect of the period from the date such drawing is
honored to but excluding the date on which Issuing Bank is reimbursed for the amount of such
drawing (including any such reimbursement out of the proceeds of any Loans), the amount that
such Lender would have been entitled to receive in respect of the Letter of Credit Fees that would
have been payable in respect of such Existing Letter of Credit for such period if no drawing had
been honored under such Existing Letter of Credit. In the event Issuing Bank shall have been
reimbursed by Lenders for all or any portion of such honored drawing, Issuing Bank shall distribute
to each Lender which has paid all amounts payable by it under Section 2.3(e) with respect to such
honored drawing such Lender’s Pro Rata Share of any interest received by Issuing Bank in respect
of that portion of such honored drawing so reimbursed by Lenders for the period from the date on
which Issuing Bank was so reimbursed by Lenders to but excluding the date on which such portion
of such honored drawing is reimbursed by Borrowers.

        2.8.     Conversion/Continuation.

              (a)    Subject to Section 2.17 and so long as no Default or Event of Default shall
have occurred and then be continuing, Borrowers shall have the option:

                        (i)     to convert at any time all or any part of any Term Loan equal to
        $1,000,000 and integral multiples of $100,000 in excess of that amount from one Type of
        Loan to another Type of Loan; provided, a LIBOR Rate Loan may only be converted on
        the expiration of the Interest Period applicable to such LIBOR Rate Loan unless Borrowers
        shall pay all amounts due under Section 2.17 in connection with any such conversion; or

                       (ii)   upon the expiration of any Interest Period applicable to any LIBOR
        Rate Loan, to continue all or any portion of such Loan equal to $1,000,000 and integral
        multiples of $100,000 in excess of that amount as a LIBOR Rate Loan.

                 (b)    Borrower Representative shall deliver a Conversion/Continuation Notice to
Administrative Agent no later than 10:00 a.m. (New York City time) at least one (1) Business Day
in advance of the proposed conversion date (in the case of a conversion to a Base Rate Loan) and
at least three (3) Business Days in advance of the proposed Conversion/Continuation Date (in the
case of a conversion to, or a continuation of, a LIBOR Rate Loan). Except as otherwise provided
herein, a Conversion/Continuation Notice for conversion to, or continuation of, any LIBOR Rate
Loans (or telephonic notice in lieu thereof) shall be irrevocable on and after the related Interest
Rate Determination Date, and Borrowers shall be bound to effect a conversion or continuation in
accordance therewith.


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        2.9.   Default Interest. Upon the occurrence of an Event of Default, the principal amount
of all Loans outstanding and, to the extent permitted by applicable law, any interest payments on
the Loans or any fees or other amounts owed hereunder, shall thereafter bear interest payable on
demand at a rate that is 2.0% per annum in excess of the interest rate otherwise payable hereunder
with respect to the applicable Loans (or, in the case of any such fees and other amounts, at a rate
which is 2.0% per annum in excess of the interest rate otherwise payable hereunder for Base Rate
Loans); provided, any LIBOR Rate Loans may be converted to Base Rate Loans at the election of
Administrative Agent at any time after the occurrence of such Event of Default (irrespective of
whether the Interest Period in effect at the time of such conversion has expired) and thereupon
shall become Base Rate Loans and shall thereafter bear interest payable upon demand at a rate
which is 2.0% per annum in excess of the interest rate otherwise payable hereunder for Base Rate
Loans. Payment or acceptance of the increased rates of interest provided for in this Section 2.9 is
not a permitted alternative to timely payment and shall not constitute a waiver of any Event of
Default or otherwise prejudice or limit any rights or remedies of Administrative Agent or any
Lender. For the purposes of clarity, all Letter of Credit Fees shall be increased by 2.0% per annum
at any time the Default Rate is in effect.

        2.10.    Fees.

                 (a)      Borrowers agree to pay to the Lenders:

                       (i)    commitment fees equal to (A) the average of the daily difference
        between (I) the aggregate Commitments then in effect and (II) the Term Loans outstanding
        at such time plus the Letter of Credit Usage at such time; multiplied by (B) 0.50% per
        annum; and

                       (ii)  Letter of Credit Fees equal to 8.00% per annum on the maximum
        aggregate amount of available to be drawn under all Existing Letters of Credit shall be
        payable quarterly in arrears and shared proportionately by the Lenders (including the
        Issuing Bank).

                        (iii) All fees referred to in this Section 2.10(a) shall be paid to
        Administrative Agent as set forth in Section 2.15(a) and, upon receipt, Administrative
        Agent shall promptly distribute to each applicable Lender its Pro Rata Share thereof.
        Further, all fees referred to in this Section 2.10(a) shall be calculated on the basis of a 360-
        day year and the actual number of days elapsed and shall be payable in Cash and (A) in
        respect of the fees payable under Section 2.10(a)(i), monthly in arrears (B) in respect of the
        Letter of Credit Fees payable under Section 2.10(a)(ii), quarterly in arrears, in each case,
        on the last day of such quarter or month, as applicable, commencing on the first such date
        to occur after the Closing Date, and on the Maturity Date.

               (b)    Borrowers agree to pay directly to Issuing Bank for its own account the
following Letter of Credit Fees:

                       (i)     a fronting fee equal to (A) the average aggregate daily maximum
        amount available to be drawn under all Existing Letters of Credit (determined as of the
        close of business on any date of determination), multiplied by (B) 0.25%, per annum; and

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                       (ii)   such documentary and processing charges for any transfer or
        payment of an Existing Letter of Credit as are in accordance with Issuing Bank’s standard
        schedule for such charges and as in effect at the time of such transfer or payment, as the
        case may be.

                (c)      Borrowers agree to pay to the Lenders (i) upon the Closing Date, a
commitment fee equal $3,700, and (ii) upon the Maturity Date, an exit fee equal to $3,700. The
fees referred to in this Section 2.10(c) shall be paid to Administrative Agent as set forth in Section
2.15(a) and, upon receipt, Administrative Agent shall promptly distribute to each applicable
Lender its Pro Rata Share thereof. Further, all fees referred to in this Section 2.10(c) shall be
payable in Cash.

        2.11.    Scheduled Payments.

              (a)    Term Loans. The principal amount of the Term Loans, together with all
other amounts owed hereunder with respect thereto, shall, in any event, be paid in full no later than
the Maturity Date.

                (b)    Existing Letters of Credit. No Existing Letter of Credit shall remain
outstanding after the Maturity Date unless, with the consent of Collateral Agent and Issuing Bank,
Letter of Credit Cash Collateralization has been provided with respect to such outstanding Existing
Letters of Credit.

        2.12.    Voluntary Prepayments/Commitment Reductions.

                 (a)      Voluntary Prepayments.

                          (i)      Any time and from time to time:

                               (A)    with respect to Base Rate Loans, Borrowers may prepay any
                 such Loans on any Business Day in whole or in part, in an aggregate minimum
                 amount of $1,000,000 and integral multiples of $100,000 in excess of that amount;
                 and

                               (B)      with respect to LIBOR Rate Loans, Borrowers may prepay
                 any such Loans on any Business Day in whole or in part (together with any amounts
                 due pursuant to Section 2.17(c)) in an aggregate minimum amount of $1,000,000
                 and integral multiples of $100,000 in excess of that amount;

                          (ii)     all such prepayments shall be made:

                                (A)     upon not less than one (1) Business Day’s prior written or
                 telephonic notice in the case of Base Rate Loans; and

                                (B)     upon not less than three (3) Business Days’ prior written or
                 telephonic notice in the case of LIBOR Rate Loans;



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in each case, given to Administrative Agent by 12:00 p.m. (New York City time) on the date
required and, if given by telephone, promptly confirmed in writing to Administrative Agent (and
Administrative Agent will promptly transmit such telephonic or original notice for Term Loans by
telefacsimile or telephone to each Lender). Upon the giving of any such notice, the principal
amount of the Loans specified in such notice shall become due and payable on the prepayment
date specified therein. Any such voluntary prepayment shall be (x) applied as specified in Section
2.14(a) and (y) accompanied by any amounts due under Section 2.17(c) in connection therewith.

                 (b)      Voluntary Commitment Reductions.

                        (i)    Borrowers may, upon not less than three (3) Business Days’ prior
        written or telephonic notice confirmed in writing to Administrative Agent (which original
        written or telephonic notice Administrative Agent will promptly transmit by telefacsimile
        or telephone to each applicable Lender), at any time and from time to time terminate in
        whole or permanently reduce in part the Commitments in an amount up to the amount by
        which the Commitments exceed the Letter of Credit Usage at the time of such proposed
        termination or reduction; provided, any such partial reduction of the Commitments shall
        be in an aggregate minimum amount of $1,000,000 and integral multiples of $100,000 in
        excess of that amount.

                        (ii)    Borrower Representative’s notice to Administrative Agent shall
        designate the date (which shall be a Business Day) of such termination or reduction and
        the amount of any partial reduction, and such termination or reduction of the Commitments
        shall be effective on the date specified in Borrower Representative’s notice and shall reduce
        the Commitment of each Lender proportionately to its Pro Rata Share thereof.

        2.13.    Mandatory Prepayments/Commitment Reductions.

               (a)     Asset Sales. No later than the first Business Day following the date of
receipt by any Credit Party of any Net Asset Sale Proceeds, (i) the Credit Parties shall first remit
100% of such Net Asset Sale Proceeds to the Pre-Petition Agent for application to the Pre-Petition
Obligations in accordance with the Pre-Petition Credit Agreement until all Pre-Petition Obligations
are paid in full in Cash and (ii) following the payment in full in Cash of the Pre-Petition
Obligations, the Credit Parties shall remit 100% of such Net Asset Sale Proceeds to Administrative
Agent to prepay the Loans and/or permanently reduce the Commitments as set forth in Section
2.14(a). Notwithstanding the foregoing, solely with respect to the Asset Sales permitted under
Section 6.9(e), the Credit Parties may retain Net Asset Sale Proceeds therefrom in an aggregate
amount not to exceed $100,000, to the extent the same is approved by the Bankruptcy Court.

               (b)     Insurance/Condemnation Proceeds. No later than the first Business Day
following the date of receipt by any Credit Party, or Administrative Agent as loss payee, of any
Net Insurance/Condemnation Proceeds, the Credit Parties shall prepay the Loans and/or the
Commitments shall be permanently reduced as set forth in Section 2.14(a) in an aggregate amount
equal to 100% of such Net Insurance/Condemnation Proceeds.

             (c)     Issuance of Equity Securities. On the date of receipt by any Credit Party of
any Cash proceeds from a capital contribution to, or the issuance of any Capital Stock of, such

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Credit Party or any of its Subsidiaries, Borrowers shall prepay the Loans and/or the Commitments
shall be permanently reduced as set forth in Section 2.14(a) in an aggregate amount equal to 100%
of such proceeds, net of underwriting discounts and commissions and other reasonable costs and
expenses associated therewith, in each case, to the extent constituting Valid Expenses, including
reasonable legal fees and expenses.

                (d)    Issuance of Debt. On the date of receipt by any Credit Party or any of its
Subsidiaries of any Cash proceeds from the incurrence of any Indebtedness of any Credit Party or
any of its Subsidiaries (other than with respect to any Indebtedness permitted to be incurred
pursuant to Section 6.1), Borrowers shall prepay the Loans and/or the Commitments shall be
permanently reduced as set forth in Section 2.14(a) in an aggregate amount equal to 100% of such
proceeds, net of underwriting discounts and commissions and other reasonable costs and expenses
associated therewith, in each case, to the extent constituting Valid Expenses, including reasonable
legal fees and expenses.

                 (e)      [Intentionally Reserved.]

                 (f)      [Intentionally Reserved.]

                 (g)      [Intentionally Reserved.]

               (h)    Tax Refunds. No later than the first Business Day following receipt by any
Credit Party or any of its Subsidiaries of any Tax refunds, Borrowers shall prepay Loans and/or
the Commitments shall be reduced as set forth in Section 2.14(a) in the amount of such excess.

                (i)      Prepayment Certificate. Concurrently with any prepayment of the Loans
and/or reduction of the Commitments pursuant to Section 2.12 and Section 2.13, Borrower
Representative shall deliver to Administrative Agent a certificate of an Authorized Officer of
Borrower Representative demonstrating the calculation of the amount of the applicable net
proceeds or other amounts and compensation owing to Lenders. In the event that Borrower
Representative shall subsequently determine that the actual amount received exceeded the amount
set forth in such certificate, Borrowers shall promptly make an additional prepayment of the Loans
and/or the Commitments shall be permanently reduced in an amount equal to such excess, and
Borrower Representative shall concurrently therewith deliver to Administrative Agent a certificate
of an Authorized Officer of Borrower Representative demonstrating the derivation of such excess.

        2.14.    Application of Prepayments/Reductions.

              (a)     Application of Voluntary and Mandatory Prepayments. Any voluntary
prepayments of the Term Loan pursuant to Section 2.12, and any mandatory prepayment of any
Loan pursuant to Section 2.13 shall, in each case, be applied as follows:

                        first, to the payment of all fees and all expenses specified in Section 10.2,
        to the full extent thereof;

                         second, to the payment of any accrued interest (other than Default Rate
        interest), if any;

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                          third, to the payment of any accrued interest at the Default Rate;

                          fourth, to prepay the Term Loans to the full extent thereof;

                       fifth, to provide Letter of Credit Cash Collateralization with respect to the
        Existing Letters of Credit and to permanently reduce the Commitments by the amount of
        such Letter of Credit Cash Collateralization; and

                          sixth, to further permanently reduce the Commitments to the full extent
        thereof; and

                          seventh, to pay any other Obligations then outstanding to the full extent
        thereof.

               (b)    Application of Prepayments of Loans to Base Rate Loans and LIBOR Rate
Loans. Any prepayment of the Loans shall be applied first to Base Rate Loans to the full extent
thereof before application to LIBOR Rate Loans, in each case in a manner which minimizes the
amount of any payments required to be made by Borrower Representative pursuant to Section
2.17(c).

        2.15.    General Provisions Regarding Payments.

                (a)    All payments by Borrowers of principal, interest, fees and other Obligations
shall be made by wire transfer not later than 2:00 p.m. (New York City time) on the date specified
for payment under this Agreement to the account designated by Administrative Agent from time
to time maintained by Administrative Agent or its Affiliates for the account of the Lenders or
Administrative Agent, as the case may be, in Dollars in immediately available funds. Any payment
received after 2:00 p.m. (New York City time) shall be deemed received on the next Business Day.
All payments in respect of the principal amount of any Loan shall be accompanied by payment of
accrued interest on, and any fees and costs required to be paid with respect to, the principal amount
being repaid or prepaid.

               (b)    Administrative Agent shall promptly distribute to each Lender at such
address and/or account as such Lender shall indicate in writing, such Lender’s applicable Pro Rata
Share of all payments and prepayments of principal and interest due hereunder, together with all
other amounts due with respect thereto, including all fees payable with respect thereto, to the extent
received by Administrative Agent.

               (c)     Notwithstanding      the    foregoing   provisions     hereof,  if   any
Conversion/Continuation Notice is withdrawn as to any Affected Lender or if any Affected Lender
makes Base Rate Loans in lieu of its Pro Rata Share of any LIBOR Rate Loans, Administrative
Agent shall give effect thereto in apportioning payments received thereafter.

               (d)    Subject to the provisos set forth in the definition of “Interest Period,”
whenever any payment to be made hereunder shall be stated to be due on a day that is not a
Business Day, such payment shall be made on the next succeeding Business Day and such
extension of time shall be included in the computation of the payment of interest hereunder or of
the commitment fees hereunder.
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                (e)    Administrative Agent shall deem any payment by or on behalf of Borrowers
hereunder that is not made in same day funds prior to 2:00 p.m. (New York City time) to be a non-
conforming payment. Any such payment shall not be deemed to have been received by
Administrative Agent until the later of (i) the time such funds become available funds, and (ii) the
applicable next Business Day. Administrative Agent shall give prompt telephonic notice to
Borrower Representative and each applicable Lender (confirmed in writing) if any payment is non-
conforming. Any non-conforming payment may constitute or become a Default or Event of
Default in accordance with the terms of Section 8.1(a). Interest shall continue to accrue on any
principal as to which a non-conforming payment is made until such funds become available funds
(but in no event less than the period from the date of such payment to the next succeeding
applicable Business Day) at the Default Rate determined pursuant to Section 2.9 from the date
such amount was due and payable until the date such amount is paid in full in Cash.

                (f)    If an Event of Default shall have occurred and not otherwise been waived,
and the Obligations have become due and payable in full in Cash hereunder, whether by
acceleration, maturity or otherwise, all payments or proceeds received by any Agent hereunder or
under any Collateral Document in respect of any of the Obligations, including all proceeds
received by any Agent in respect of any sale, any collection from, or other realization upon all or
any part of the Collateral, shall be applied in full or in part as follows: first, to the payment of all
costs and expenses of such sale, collection or other realization, including reasonable compensation
to each Agent and its agents and counsel, and all other expenses, liabilities and advances made or
incurred by any Agent in connection therewith, and all amounts for which any Agent is entitled to
indemnification hereunder or under any Collateral Document (in its capacity as an Agent and not
as a Lender) and all advances made by any Agent under any Collateral Document for the account
of the applicable Grantor, and to the payment of all costs and expenses paid or incurred by any
Agent in connection with the exercise of any right or remedy hereunder or under any Collateral
Document, all in accordance with the terms hereof or thereof, together with (x) the costs, expenses,
indemnities, fees and premiums owing to Issuing Bank in connection with the Existing Letters of
Credit and (y) the Letter of Credit Cash Collateralization for all outstanding Existing Letters of
Credit (such amounts under the foregoing clauses (x) and (y) to be paid pro rata with other amounts
owing under this clause “first”); second, to the extent of any excess of such proceeds, to the
payment of the principal, accrued and unpaid interest (including interest accrued at the Default
Rate) and fees owing with respect to the Loans, for the ratable benefit of the Lenders; third, to the
extent of any excess of such proceeds, to the payment of all other Obligations for the ratable benefit
of the Lenders; and fourth, to the extent of any excess of such proceeds, to the payment to or upon
the order of such Grantor or to whosoever may be lawfully entitled to receive the same or as a
court of competent jurisdiction may direct.

        2.16. Ratable Sharing. Lenders hereby agree among themselves that, except as
otherwise provided in the Collateral Documents with respect to amounts realized from the exercise
of rights with respect to Liens on the Collateral, if any of them shall, whether by voluntary payment
(other than a voluntary prepayment of Loans made and applied in accordance with the terms
hereof), through the exercise of any right of set-off or banker’s lien, by counterclaim or cross action
or by the enforcement of any right under the Credit Documents or otherwise, or as adequate
protection of a deposit treated as Cash Collateral, receive payment or reduction of a proportion of
the aggregate amount of principal, interest, amounts payable in respect of Existing Letters of
Credit, fees and other amounts then due and owing to such Lender hereunder or under the other
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Credit Documents (collectively, the “Aggregate Amounts Due” to such Lender) which is greater
than the proportion received by any other Lender in respect of the Aggregate Amounts Due to such
other Lender, then the Lender receiving such proportionately greater payment shall (a) notify
Administrative Agent and each other Lender of the receipt of such payment and (b) apply a portion
of such payment to purchase participations (which it shall be deemed to have purchased from each
seller of a participation simultaneously upon the receipt by such seller of its portion of such
payment) in the Aggregate Amounts Due to the other Lenders so that all such recoveries of
Aggregate Amounts Due shall be shared by all Lenders in proportion to the Aggregate Amounts
Due to them; provided, if all or part of such proportionately greater payment received by such
purchasing Lender is thereafter recovered from such Lender upon the bankruptcy or reorganization
of any Credit Party or otherwise (including in the Cases), those purchases shall be rescinded and
the purchase prices paid for such participations shall be returned to such purchasing Lender ratably
to the extent of such recovery, but without interest. Each Credit Party expressly consents to the
foregoing arrangement and agrees that any holder of a participation so purchased may exercise
any and all rights of banker’s lien, set-off or counterclaim with respect to any and all monies owing
by a Credit Party to that holder with respect thereto as fully as if that holder were owed the amount
of the participation held by that holder.

        2.17.    Making or Maintaining LIBOR Rate Loans.

               (a)     Inability to Determine Applicable Interest Rate. In the event that
Administrative Agent shall have determined (which determination shall be final and conclusive
and binding upon all parties hereto), on any Interest Rate Determination Date with respect to any
LIBOR Rate Loans, that by reason of circumstances affecting the London interbank market
adequate and fair means do not exist for ascertaining the interest rate applicable to such LIBOR
Rate Loans on the basis provided for in the definition of “Adjusted LIBOR Rate,” Administrative
Agent shall on such date give notice (by telefacsimile or by telephone confirmed in writing) to
Borrower Representative and each Lender of such determination, whereupon (i) no Loans may be
made as, or continued as or converted to, LIBOR Rate Loans until such time as Administrative
Agent notifies Borrower Representative and Lenders that the circumstances giving rise to such
notice no longer exist, and (ii) any Funding Notice or Conversion/Continuation Notice given by
Borrower Representative with respect to any LIBOR Rate Loan in respect of which such
determination was made shall be deemed to be rescinded by Borrower Representative, or shall be
deemed a Funding Notice or Conversion/Continuation Notice for a Base Rate Loan, at the election
of Borrower Representative.

                (b)    Illegality or Impracticability of LIBOR Rate Loans. In the event that on
any date any Lender shall have determined (which determination shall be final and conclusive and
binding upon all parties hereto but shall be made only after consultation with Borrower
Representative and Administrative Agent) that the making, maintaining or continuation of its
LIBOR Rate Loans (i) has become unlawful as a result of compliance by such Lender in good faith
with any law, treaty, governmental rule, regulation, guideline or order (or would conflict with any
such treaty, governmental rule, regulation, guideline or order not having the force of law even
though the failure to comply therewith would not be unlawful), or (ii) has become impracticable,
as a result of contingencies occurring after the date hereof which materially and adversely affect
the London interbank market or the position of such Lender in that market, then, and in any such
event, such Lender shall be an “Affected Lender” and it shall on that day give notice (by
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telefacsimile or by telephone confirmed in writing) to Borrower Representative and Administrative
Agent of such determination (which notice Administrative Agent shall promptly transmit to each
other Lender). Thereafter, (A) the obligation of the Affected Lender to make or continue Loans
as, or to convert Loans to, LIBOR Rate Loans shall be suspended until such notice shall be
withdrawn by the Affected Lender; (B) to the extent such determination by the Affected Lender
relates to a LIBOR Rate Loan then being requested by Borrower Representative pursuant to a
Funding Notice or a Conversion/Continuation Notice, the Affected Lender shall make such Loan
as (or continue such Loan as or convert such Loan to, as the case may be) a Base Rate Loan; (C) the
Affected Lender’s obligation to maintain its outstanding LIBOR Rate Loans (the “Affected
Loans”) shall be terminated at the earlier to occur of the expiration of the Interest Period then in
effect with respect to the Affected Loans or when required by law; and (D) the Affected Loans
shall automatically convert into Base Rate Loans on the date of such termination. Notwithstanding
the foregoing, to the extent a determination by an Affected Lender as described above relates to a
LIBOR Rate Loan then being requested by Borrower Representative pursuant to a Funding Notice
or a Conversion/Continuation Notice, Borrower Representative shall have the option, subject to
the provisions of Section 2.17(c), to rescind such Funding Notice or Conversion/Continuation
Notice as to all Lenders by giving notice (by telefacsimile or by telephone confirmed in writing)
to Administrative Agent of such rescission on the date on which the Affected Lender gives notice
of its determination as described above (which notice of rescission Administrative Agent shall
promptly transmit to each other Lender). Except as provided in the immediately preceding
sentence, nothing in this Section 2.17(b) shall affect the obligation of any Lender other than an
Affected Lender to make or maintain Loans as, or to convert Loans to, LIBOR Rate Loans in
accordance with the terms hereof.

                 (c)     Compensation for Breakage or Non-Commencement of Interest Periods.
Borrowers shall compensate each Lender, upon written request by such Lender (which request
shall set forth the basis for requesting such amounts), for all reasonable losses, expenses and
liabilities (including any interest paid or calculated to be due and payable by such Lender to lenders
of funds borrowed by it to make or carry its LIBOR Rate Loans and any loss, expense or liability
sustained by such Lender in connection with the liquidation or re-employment of such funds but
excluding loss of anticipated profits) which such Lender may sustain: (i) if for any reason (other
than a default by such Lender) a borrowing of any LIBOR Rate Loan does not occur on a date
specified therefor in a Funding Notice or a telephonic request for borrowing, or a conversion to or
continuation of any LIBOR Rate Loan does not occur on a date specified therefor in a
Conversion/Continuation Notice or a telephonic request for conversion or continuation; (ii) if any
prepayment or other principal payment of, or any conversion of, any of its LIBOR Rate Loans
occurs on any day other than the last day of an Interest Period applicable to that Loan (whether
voluntary, mandatory, automatic, by reason of acceleration, or otherwise); or (iii) if any
prepayment of any of its LIBOR Rate Loans is not made on any date specified in a notice of
prepayment given by Borrower Representative.

              (d)   Booking of LIBOR Rate Loans. Any Lender may make, carry or transfer
LIBOR Rate Loans at, to, or for the account of any of its branch offices or the office of an Affiliate
of such Lender.

              (e)     Assumptions Concerning Funding of LIBOR Rate Loans. Calculation of
all amounts payable to a Lender under this Section 2.17 and under Section 2.18 shall be made as
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though such Lender had actually funded each of its relevant LIBOR Rate Loans through the
purchase of a LIBOR deposit bearing interest at the rate obtained pursuant to clause (a) of the
definition of “Adjusted LIBOR Rate” in an amount equal to the amount of such LIBOR Rate Loan
and having a maturity comparable to the relevant Interest Period and through the transfer of such
LIBOR deposit from an offshore office of such Lender to a domestic office of such Lender in the
United States; provided, however, each Lender may fund each of its LIBOR Rate Loans in any
manner it sees fit and the foregoing assumptions shall be utilized only for the purposes of
calculating amounts payable under this Section 2.17 and under Section 2.18.

                (f)    Dodd-Frank/Basel III. For the avoidance of doubt, this Section 2.17 shall
apply to all requests, rules, guidelines or directives concerning liquidity and capital adequacy
issued by any United States regulatory authority (A) under or in connection with the
implementation of the Dodd-Frank Wall Street Reform and Consumer Protection Act and (B) in
connection with the implementation of the recommendations of the Bank for International
Settlements or the Basel Committee on Banking Regulations and Supervisory Practices (or any
successor or similar authority), regardless of the date adopted, issued, promulgated or implemented
(which determination shall, absent manifest error, be final and conclusive and binding upon all
parties hereto).

        2.18.    Increased Costs; Capital Adequacy.

                (a)     Compensation For Increased Costs and Taxes. Subject to the provisions of
Section 2.19 (which shall be controlling with respect to the matters covered thereby), in the event
that any Lender (which term shall include Issuing Bank for purposes of this Section 2.18(a)) shall
determine (which determination shall, absent manifest error, be final and conclusive and binding
upon all parties hereto) that any law, treaty or governmental rule, regulation or order, or any change
therein or in the interpretation, administration or application thereof (including the introduction of
any new law, treaty or governmental rule, regulation or order), or any determination of a
Governmental Authority, in each case that becomes effective after the date hereof, or compliance
by such Lender with any guideline, request or directive issued or made after the date hereof by any
Governmental Authority (whether or not having the force of law): (i) subjects such Lender (or its
applicable lending office) to any additional Tax (other than any Tax on the overall net income of
such Lender) with respect to this Agreement or any of the other Credit Documents or any of its
obligations hereunder or thereunder or any payments to such Lender (or its applicable lending
office) of principal, interest, fees or any other amount payable hereunder; (ii) imposes, modifies
or holds applicable any reserve (including any marginal, emergency, supplemental, special or other
reserve), special deposit, compulsory loan, FDIC insurance or similar requirement against assets
held by, or deposits or other liabilities in or for the account of, or advances or loans by, or other
credit extended by, or any other acquisition of funds by, any office of such Lender (other than any
such reserve or other requirements with respect to LIBOR Rate Loans that are reflected in the
definition of “Adjusted LIBOR Rate”); or (iii) imposes any other condition (other than with respect
to a Tax matter) on or affecting such Lender (or its applicable lending office) or its obligations
hereunder or the London interbank market; and the result of any of the foregoing is to increase the
cost to such Lender of agreeing to make, making or maintaining Loans hereunder or to reduce any
amount received or receivable by such Lender (or its applicable lending office) with respect
thereto; then, in any such case, Borrowers shall promptly pay to such Lender, upon receipt of the
statement referred to in the next sentence, such additional amount or amounts (in the form of an
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increased rate of, or a different method of calculating, interest or otherwise as such Lender in its
sole discretion shall determine) as may be necessary to compensate such Lender for any such
increased cost or reduction in amounts received or receivable hereunder. Such Lender shall deliver
to Borrower Representative (with a copy to Administrative Agent) a written statement, setting
forth in reasonable detail the basis for calculating the additional amounts owed to such Lender
under this Section 2.18(a), which statement shall be conclusive and binding upon all parties hereto
absent manifest error.

                 (b)    Capital Adequacy Adjustment. In the event that any Lender (which term
shall include Issuing Bank for purposes of this Section 2.18(b)) shall have determined (which
determination shall, absent manifest error, be final and conclusive and binding upon all parties
hereto) that (i) the adoption, effectiveness, phase-in or applicability of any law, rule or regulation
(or any provision thereof) regarding capital adequacy, or any change therein or in the interpretation
or administration thereof by any Governmental Authority charged with the interpretation or
administration thereof, or (ii) compliance by such Lender (or its applicable lending office) or any
company controlling such Lender with any guideline, request or directive regarding capital
adequacy (whether or not having the force of law) of any such Governmental Authority, in each
case after the Closing Date, has or would have the effect of reducing the rate of return on the capital
of such Lender or any company controlling such Lender as a consequence of, or with reference to,
such Lender’s Loans, Commitments or Existing Letters of Credit, or participations therein or other
obligations hereunder with respect to the Loans or Existing Letters of Credit to a level below that
which such Lender or such controlling company could have achieved but for such adoption,
effectiveness, phase-in, applicability, change or compliance (taking into consideration the policies
of such Lender or such controlling company with regard to capital adequacy), then from time to
time, within ten (10) Business Days after receipt by Borrower Representative from such Lender of
the statement referred to in the next sentence, Borrowers shall pay to such Lender such additional
amount or amounts as will compensate such Lender or such controlling company on an after-Tax
basis for such reduction. Such Lender shall deliver to Borrower Representative (with a copy to
Administrative Agent) a written statement, setting forth in reasonable detail the basis for
calculating the additional amounts owed to Lender under this Section 2.18(b), which statement
shall be conclusive and binding upon all parties hereto absent manifest error. For the avoidance
of doubt, clauses (i) and (ii) of this Section 2.18(b) shall apply to all requests, rules, guidelines or
directives concerning liquidity and capital adequacy issued by any United States regulatory
authority (A) under or in connection with the implementation of the Dodd-Frank Wall Street
Reform and Consumer Protection Act and (B) in connection with the implementation of the
recommendations of the Bank for International Settlements or the Basel Committee on Banking
Regulations and Supervisory Practices (or any successor or similar authority), regardless of the
date adopted, issued, promulgated or implemented (which determination shall, absent manifest
error, be final and conclusive and binding upon all parties hereto).

        2.19.    Taxes; Withholding, etc.

               (a)     Payments to Be Free and Clear. All sums payable by any Credit Party
hereunder and under the other Credit Documents shall (except to the extent required by law) be
paid free and clear of, and without any deduction or withholding on account of, any Tax (other
than an Excluded Tax) imposed, levied, collected, withheld or assessed by or within the United
States or any political subdivision in or of the United States or any other jurisdiction from or to
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which a payment is made by or on behalf of any Credit Party or by any federation or organization
of which the United States or any such jurisdiction is a member at the time of payment.

                  (b)     Withholding of Taxes. If any Credit Party or any other Person is required
by law to make any deduction or withholding on account of any such Tax from any sum paid or
payable by any Credit Party to Administrative Agent or any Lender (which term shall include
Issuing Bank for purposes of this Section 2.19(b)) under any of the Credit Documents:
(i) Borrower Representative shall notify Administrative Agent of any such requirement or any
change in any such requirement as soon as Borrower Representative becomes aware of it;
(ii) Borrowers shall pay any such Tax before the date on which penalties attach thereto, such
payment to be made (if the liability to pay is imposed on any Credit Party) for its own account or
(if that liability is imposed on Administrative Agent or such Lender, as the case may be) on behalf
of and in the name of Administrative Agent or such Lender; (iii) except with respect to an Excluded
Tax, the sum payable by such Credit Party in respect of which the relevant deduction, withholding
or payment is required shall be increased to the extent necessary to ensure that, after the making
of that deduction, withholding or payment, Administrative Agent or such Lender, as the case may
be, receives on the due date a net sum equal to what it would have received had no such deduction,
withholding or payment been required or made; and (iv) within thirty (30) days after paying any
sum from which it is required by law to make any deduction or withholding, and within thirty (30)
days after the due date of payment of any Tax which it is required by clause (ii) of this Section
2.19(b) to pay, Borrower Representative shall deliver to Administrative Agent evidence
satisfactory to the other affected parties of such deduction, withholding or payment and of the
remittance thereof to the relevant taxing or other authority; provided, no such additional amount
shall be required to be paid to any Lender under clause (iii) of this Section 2.19(b) except to the
extent that any change after the date hereof (in the case of each Lender listed on the signature pages
hereof on the Closing Date) or after the effective date of the Assignment Agreement pursuant to
which such Lender became a Lender (in the case of each other Lender) in any such requirement
for a deduction, withholding or payment as is mentioned therein shall result in an increase in the
rate of such deduction, withholding or payment from that in effect at the date hereof or at the date
of such Assignment Agreement in respect of payments to such Lender.

                 (c)     Evidence of Exemption From United States Withholding Tax. Each Lender
that is not a United States Person (as such term is defined in Section 7701(a)(30) of the Internal
Revenue Code) for United States federal income Tax purposes (a “Non-US Lender”) shall deliver
to Administrative Agent for transmission to Borrower Representative, on or prior to the Closing
Date (in the case of each Lender listed on the signature pages hereof on the Closing Date) or on or
prior to the date of the Assignment Agreement pursuant to which it becomes a Lender (in the case
of each other Lender), and at such other times as may be necessary in the determination of
Borrower Representative or Administrative Agent (each in the reasonable exercise of its
discretion), (i) two (2) original copies of Internal Revenue Service Form W-8BEN-E or W-8ECI
(or any successor forms), properly completed and duly executed by such Lender, and such other
documentation required under the Internal Revenue Code and reasonably requested by Borrower
Representative to establish that such Lender is not subject to deduction or withholding of United
States federal income Tax with respect to any payments to such Lender of principal, interest, fees
or other amounts payable under any of the Credit Documents, or (ii) if such Lender is not a “bank”
or other Person described in Section 881(c)(3) of the Internal Revenue Code and cannot deliver
Internal Revenue Service Form W-8ECI pursuant to clause (i) of this Section 2.19(c), a Certificate
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Regarding Non-Bank Status together with two (2) original copies of Internal Revenue Service
Form W-8BEN-E (or any successor form), properly completed and duly executed by such Lender,
and such other documentation required under the Internal Revenue Code or reasonably requested
by Borrower Representative to establish that such Lender is not subject to deduction or
withholding of United States federal income Tax with respect to any payments to such Lender of
interest payable under any of the Credit Documents. Each Lender required to deliver any forms,
certificates or other evidence with respect to United States federal income Tax withholding matters
pursuant to this Section 2.19(c) hereby agrees, from time to time after the initial delivery by such
Lender of such forms, certificates or other evidence, whenever a lapse in time or change in
circumstances renders such forms, certificates or other evidence obsolete or inaccurate in any
material respect, that such Lender shall promptly deliver to Administrative Agent for transmission
to Borrower Representative two (2) new original copies of Internal Revenue Service
Form W-8BEN-E or W-8ECI, or a Certificate Regarding Non-Bank Status and two (2) original
copies of Internal Revenue Service Form W-8BEN-E (or any successor form), as the case may be,
properly completed and duly executed by such Lender, and such other documentation required
under the Internal Revenue Code and reasonably requested by Borrower Representative to confirm
or establish that such Lender (or the beneficial owner) is not subject to deduction or withholding
of United States federal income Tax with respect to payments to such Lender under the Credit
Documents, or notify Administrative Agent and Borrower Representative of its inability to deliver
any such forms, certificates or other evidence. Borrowers shall not be required to pay any
additional amount to any Non-US Lender under Section 2.19(b)(iii) if such Lender shall have
failed (I) to deliver the forms, certificates or other evidence referred to in the second sentence of
this Section 2.19(c), or (II) to notify Administrative Agent and Borrower Representative of its
inability to deliver any such forms, certificates or other evidence, as the case may be; provided, if
such Lender shall have satisfied the requirements of the first sentence of this Section 2.19(c) on
the Closing Date or on the date of the Assignment Agreement pursuant to which it became a
Lender, as applicable, nothing in this last sentence of Section 2.19(c) shall relieve Borrowers of
Borrowers’ obligation to pay any additional amounts pursuant this Section 2.19 in the event that,
as a result of any change in any applicable law, treaty or governmental rule, regulation or order, or
any change in the interpretation, administration or application thereof, such Lender is no longer
properly entitled to deliver forms, certificates or other evidence at a subsequent date establishing
the fact that such Lender is not subject to withholding as described herein.

             (d)      Excluded Taxes. Borrowers shall have no obligation to pay any additional
amounts pursuant to this Section 2.19 with respect to Excluded Taxes.

                (e)    Dodd-Frank/Basel III. For the avoidance of doubt, this Section 2.19 shall
apply to all requests, rules, guidelines or directives concerning liquidity and capital adequacy
issued by any United States regulatory authority (A) under or in connection with the
implementation of the Dodd-Frank Wall Street Reform and Consumer Protection Act and (B) in
connection with the implementation of the recommendations of the Bank for International
Settlements or the Basel Committee on Banking Regulations and Supervisory Practices (or any
successor or similar authority), regardless of the date adopted, issued, promulgated or implemented
(which determination shall, absent manifest error, be final and conclusive and binding upon all
parties hereto).


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        2.20. Obligation to Mitigate. Each Lender (which term shall include Issuing Bank for
purposes of this Section 2.20) agrees that, as promptly as practicable after the officer of such
Lender responsible for administering its Loans or Existing Letters of Credit, as the case may be,
becomes aware of the occurrence of an event or the existence of a condition that would cause such
Lender to become an Affected Lender or that would entitle such Lender to receive payments under
Section 2.17, 2.18 or 2.19, it will, to the extent not inconsistent with the internal policies of such
Lender and any applicable legal or regulatory restrictions, use reasonable efforts to (a) make, issue,
fund or maintain its Credit Extensions, including any Affected Loans, through another office of
such Lender, or (b) take such other measures as such Lender may deem reasonable, if as a result
thereof the circumstances which would cause such Lender to be an Affected Lender would cease
to exist or the additional amounts which would otherwise be required to be paid to such Lender
pursuant to Section 2.17, 2.18 or 2.19 would be materially reduced and if, as determined by such
Lender in its sole discretion, the making, issuing, funding or maintaining of such Commitments,
Loans or Existing Letters of Credit through such other office or in accordance with such other
measures, as the case may be, would not otherwise adversely affect such Commitments, Loans or
Existing Letters of Credit or the interests of such Lender; provided, such Lender will not be
obligated to utilize such other office pursuant to this Section 2.20 unless Borrowers agrees to pay
all incremental expenses incurred by such Lender as a result of utilizing such other office as
described above. A certificate as to the amount of any such expenses payable by Borrowers
pursuant to this Section 2.20 (setting forth in reasonable detail the basis for requesting such
amount) submitted by such Lender to Borrower Representative (with a copy to Administrative
Agent) shall be conclusive absent manifest error.

        2.21. Defaulting Lenders. Anything contained herein to the contrary notwithstanding,
in the event that any Lender (a) violates any provision of Section 9.5(c), (b) other than at the
direction or request of any Governmental Authority, defaults in its obligation to fund any Term
Loan or its portion of any unreimbursed payment under Section 2.3(e) (in each case, a “Defaulted
Loan” and the failure to so fund a “Funding Default”); (c) has notified Borrower Representative
or Administrative Agent that it does not intend to comply with its funding obligations or has made
a public statement to that effect with respect to its funding obligations hereunder or under other
agreements generally in which it commits to extend credit; (d) has failed, within three (3) Business
Days after reasonable request by Administrative Agent, to confirm in a manner satisfactory to
Administrative Agent that it will comply with its funding obligations (provided, that such Lender
shall cease to be a Defaulting Lender pursuant to this clause (d) upon receipt of such confirmation
by Administrative Agent); or (e) has, or has a direct or indirect parent company that has, (i) become
the subject of a proceeding under the Bankruptcy Code or any other debtor relief law or (ii) had a
receiver, conservator, trustee, administrator, assignee for the benefit of creditors or similar Person
charged with reorganization or liquidation of its business or a custodian appointed for it (in each
case, a “Defaulting Lender”) then (A) during any Default Period with respect to such Defaulting
Lender, such Defaulting Lender shall be deemed not to be a “Lender” for purposes of voting on
any matters (including the granting of any consents or waivers) with respect to any of the Credit
Documents; (B) to the extent permitted by applicable law, until such time as the Default Excess,
if any, with respect to such Defaulting Lender shall have been reduced to zero, (I) any voluntary
prepayment of the Loans shall, if Administrative Agent so directs at the time of making such
voluntary prepayment, be applied to the Loans of other Lenders as if such Defaulting Lender had
no Loans outstanding and the Term Loan Exposure of such Defaulting Lender were zero, and (II)
any mandatory prepayment of the Loans shall, if Administrative Agent so directs at the time of
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making such mandatory prepayment, be applied to the Loans of other Lenders (but not to the Loans
of such Defaulting Lender) as if such Defaulting Lender had funded all Defaulted Loans of such
Defaulting Lender, it being understood and agreed that Borrowers shall be entitled to retain any
portion of any mandatory prepayment of the Loans that is not paid to such Defaulting Lender
solely as a result of the operation of the provisions of this clause (B); (C) such Defaulting Lender’s
Commitments, Loans and Pro Rata Share of the Letter of Credit Usage shall be excluded for
purposes of calculating the commitment fees payable to Lenders in respect of any day during any
Default Period with respect to such Defaulting Lender, and such Defaulting Lender shall not be
entitled to receive any commitment fee pursuant to Section 2.10 with respect to such Defaulting
Lender’s Commitment in respect of any Default Period with respect to such Defaulting Lender;
and (D) the outstanding Term Loans and Letter of Credit Usage as at any date of determination
shall be calculated as if such Defaulting Lender had funded all Defaulted Loans of such Defaulting
Lender. No Commitment of any Lender shall be increased or otherwise affected, and, except as
otherwise expressly provided in this Section 2.21, performance by the Credit Parties of their
respective obligations hereunder and the other Credit Documents shall not be excused or otherwise
modified as a result of any Funding Default or the operation of this Section 2.21. The rights and
remedies against a Defaulting Lender under this Section 2.21 are in addition to other rights and
remedies which Borrowers may have against such Defaulting Lender with respect to any Funding
Default and which Administrative Agent or any Lender may have against such Defaulting Lender
with respect to any Funding Default or violation of Section 9.5(c).

        2.22. Removal or Replacement of a Lender. Anything contained herein to the contrary
notwithstanding, in the event that: (a) (i) any Lender (an “Increased-Cost Lender”) shall give
notice to Borrower Representative that such Lender is an Affected Lender or that such Lender is
entitled to receive payments under Section 2.18, 2.19 or 2.20, (ii) the circumstances which have
caused such Lender to be an Affected Lender or which entitle such Lender to receive such
payments shall remain in effect, and (iii) such Lender shall fail to withdraw such notice within five
(5) Business Days after Borrower Representative’s request for such withdrawal; or (b) (i) any
Lender shall become a Defaulting Lender, (ii) the Default Period for such Defaulting Lender shall
remain in effect, and (iii) such Defaulting Lender shall fail to cure the default as a result of which
it has become a Defaulting Lender within five (5) Business Days after Borrower Representative’s
request that it cure such default; or (c) in connection with any proposed amendment, modification,
termination, waiver or consent with respect to any of the provisions hereof as contemplated by
Section 10.5, the consent of Administrative Agent and the Requisite Lenders shall have been
obtained but the consent of one or more of such other Lenders (each a “Non-Consenting Lender”)
whose consent is required shall not have been obtained; then, with respect to each such
Increased-Cost Lender, Defaulting Lender or Non-Consenting Lender (the “Terminated
Lender”), Administrative Agent may (and, in the case of an Increased-Cost Lender with respect
to which Borrower Representative has identified a Replacement Lender, Administrative Agent
shall, after receiving written request from Borrower Representative, remove such Increased-Cost
Lender), by giving written notice to Borrower Representative and any Terminated Lender of its
election to do so, elect to cause such Terminated Lender (and such Terminated Lender hereby
irrevocably agrees) to assign its outstanding Loans and its Commitments, if any, in full to one or
more Eligible Assignees (each, a “Replacement Lender”) in accordance with the provisions of
Section 10.6 and Terminated Lender shall pay any fees payable thereunder in connection with such
assignment; provided, (1) on the date of such assignment, the Replacement Lender shall pay to
Terminated Lender an amount equal to the sum of (A) an amount equal to the principal of, and all
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accrued interest on, all outstanding Loans of the Terminated Lender, (B) an amount equal to all
unreimbursed drawings that have been funded by such Terminated Lender, together with all then
unpaid interest with respect thereto at such time and (C) an amount equal to all accrued, but
theretofore unpaid fees owing to such Terminated Lender pursuant to Section 2.10; (2) on the date
of such assignment, Borrowers shall pay any amounts payable to such Terminated Lender pursuant
to Section 2.18 or 2.19; and (3) in the event such Terminated Lender is a Non-Consenting Lender,
each Replacement Lender shall consent, at the time of such assignment, to each matter in respect
of which such Terminated Lender was a Non-Consenting Lender; provided, Administrative Agent
may not make such election with respect to any Terminated Lender that is also an Issuing Bank
unless, prior to the effectiveness of such election, Administrative Agent shall have caused each
outstanding Existing Letter of Credit issued thereby to be cancelled. In the event that the
Terminated Lender fails to execute an Assignment Agreement pursuant to Section 10.6 within five
(5) Business Days after receipt by the Terminated Lender of notice of replacement pursuant to this
Section 2.22 and presentation to such Terminated Lender of an Assignment Agreement evidencing
an assignment pursuant to this Section 2.22, the Terminated Lender shall be deemed to have
executed and delivered such Assignment Agreement, and upon the execution and delivery of
Assignment Agreement by the Replacement Lender and Administrative Agent, shall be effective
for purposes of this Section 2.22 and Section 10.6. Upon the prepayment of all amounts owing to
any Terminated Lender and the termination of such Terminated Lender’s Commitments, if any,
such Terminated Lender shall no longer constitute a “Lender” for purposes hereof; provided, any
rights of such Terminated Lender to indemnification hereunder shall survive as to such Terminated
Lender.

        2.23. Appointment of Borrower Representative. Each Credit Party hereby designates
Holdings as Borrower Representative hereunder to act on its behalf for the purposes of issuing
Notices, giving instructions with respect to the disbursement of the proceeds of the Loans,
selecting interest rate options, giving and receiving all other notices and consents hereunder or
under any of the other Credit Documents and taking all other actions (including in respect of
compliance with covenants and amendments to the Credit Documents) on behalf of any Credit
Party or Credit Parties under the Credit Documents. Borrower Representative hereby accepts such
appointment as Borrower Representative. Each Agent and each Lender may regard any notice or
other communication pursuant to any Credit Document from Borrower Representative as a notice
or communication from all Credit Parties, and may give any notice or communication required or
permitted to be given to any Credit Party or Credit Parties hereunder to Borrower Representative
on behalf of such Credit Party or Credit Parties. Each Credit Party agrees that each notice, election,
representation and warranty, covenant, agreement and undertaking made on its behalf by Borrower
Representative shall be deemed for all purposes to have been made by such Credit Party and shall
be binding upon and enforceable against such Credit Party to the same extent as if the same had
been made directly by such Credit Party.

        2.24. Reallocation. If any Lender is a Defaulting Lender, all or a portion of such
Defaulting Lender’s obligations with respect to Existing Letters of Credit (unless such Lender is
the Issuing Bank) shall, at Administrative Agent’s election at any time or upon Issuing Bank’s
written request delivered to Administrative Agent (in each case, whether before or after the
occurrence of any Default or Event of Default), be reallocated to and assumed by the Lenders that
are not Defaulting Lenders in accordance with their Pro Rata Share (calculated as if the Defaulting
Lender’s Pro Rata Share was reduced to zero and each other Lender’s Pro Rata had been increased
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proportionately); provided, that no such Lender shall be reallocated any such amounts or be
required to fund any amounts that would cause the sum of its outstanding Term Loan Exposure to
exceed its Commitment.

        2.25.    Priority and Liens.

                (a)      Each of the Credit Parties hereby covenants and agrees that upon the entry
of, and subject to, the Interim Order (and, when entered, the Final Order) and subject to the Carve-
Out in all respects, the Obligations:

                        (i)     pursuant to Section 364(c)(1) of the Bankruptcy Code, shall at all
        times constitute an allowed super-priority administrative expense claim in the Cases (the
        “Superpriority Claim”), subject only to the Carve-Out and having priority over any and
        all other administrative expenses, diminution claims and all other priority claims against
        the Credit Parties, now existing or hereafter arising, of any kind whatsoever, including,
        without limitation, all other administrative expenses of the kind specified in sections 503(b)
        and 507(b) of the Bankruptcy Code, and over any and all other administrative expenses or
        other claims arising under sections 105, 326, 327, 328, 30, 331, 365, 503(b), 506(c), 507(a),
        507(b), 726, 1113 or 1114 of the Bankruptcy Code, which super-priority claims in respect
        of the DIP Facility shall rank pari passu with each other;

                         (ii)   pursuant to section 364(c)(2) of the Bankruptcy Code, shall be
        secured by valid, binding, continuing, enforceable, fully perfected First Priority Liens on
        all Collateral to the extent that such Collateral was not subject to Permitted Priority Liens;
        it being agreed that such Collateral shall include claims and causes of action under sections
        502(d), 544, 545, 547, 548, 550 and 553 of the Bankruptcy Code (collectively, “Avoidance
        Actions”) and the proceeds thereof, subject to the entry of the Final Order by the
        Bankruptcy Court;

                        (iii) pursuant to Section 364(d)(l) of the Bankruptcy Code, shall be
        secured by valid, binding, continuing, enforceable, fully perfected First Priority senior
        priming Liens on all Collateral, which Liens shall be senior to the Liens securing the Pre-
        Petition Security Interests and any Liens to which the Pre-Petition Security Interests are
        senior or rank pari passu (the “Primed Liens”), subject, in each case, only to Permitted
        Priority Liens (other than the Primed Liens) and the Carve-Out; and

                        (iv)   pursuant to Section 364(c)(3) of the Bankruptcy Code, shall be
        secured by valid, binding, continuing, enforceable, fully-perfected, junior Liens on all
        Collateral, subject to Permitted Priority Liens (other than the Pre-Petition Security
        Interests) and the Carve-Out.

               (b)    The relative priorities of the Liens described in this Section 2.25 with
respect to the Collateral shall be as set forth in the Orders and the Collateral Documents. In
accordance with the Orders, all of the Liens described in this Section 2.25 shall be effective and
perfected upon entry of the Orders, without the necessity of the execution, recordation or filings
by the Credit Parties of security agreements, control agreements, financing statements or other
similar documents or the possession or control by the Collateral Agent of, or over, any Collateral,

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as set forth in the Orders. For the avoidance of doubt and notwithstanding the foregoing, any
Superpriority Claims and Liens as set forth above or in the Collateral Documents with respect to
Avoidance Actions and the proceeds thereof shall, in each case, be subject to the entry (and terms)
of the Final Order.

SECTION 3. CONDITIONS PRECEDENT

       3.1.   Closing Date. The obligation of each Lender or Issuing Bank, as applicable, to
make a Credit Extension on the Closing Date is subject to the satisfaction, or waiver in accordance
with Section 10.5, of the following conditions on or before the Closing Date:

               (a)     Credit Documents. Administrative Agent shall have received sufficient
copies of each Credit Document, in each case, originally executed and delivered by each applicable
Credit Party and any other applicable Persons for each Lender.

                  (b)    Organizational Documents; Incumbency. Administrative Agent shall have
received (i) sufficient copies of each Organizational Document executed and delivered by each
Credit Party, as applicable, and, to the extent applicable, certified as of a recent date by the
appropriate governmental official, for each Lender, each dated the Closing Date or a recent date
prior thereto; (ii) signature and incumbency certificates of the officers of such Person executing
the Credit Documents to which it is a party; (iii) resolutions of the board of directors (or similar
governing body) of each Credit Party approving and authorizing the execution, delivery and
performance of this Agreement and the other Credit Documents to which it is a party or by which
it or its assets may be bound as of the Closing Date, certified as of the Closing Date by its secretary
or an assistant secretary as being in full force and effect without modification or amendment; and
(iv) a good standing certificate from the applicable Governmental Authority of each Credit Party’s
jurisdiction of incorporation, organization or formation and in each jurisdiction in which it is
qualified as a foreign corporation or other entity to do business (except to the extent that the failure
to be so qualified could not reasonably be expected to have a Material Adverse Effect), each dated
a recent date prior to the Closing Date.

                (c)    Organizational and Capital Structure. The organizational structure and
capital structure of Holdings and its Subsidiaries shall be as set forth on Schedule 4.2.

                (d)     Budget. Administrative Agent shall have received the Budget, together
with a certificate of an Authorized Officer of Borrower Representative certifying that such Budget
presents, in all material respects, on a pro forma basis, the projected financial operations and
disbursements of the Credit Parties for the period specified therein and such forecasts in the view
of the management of the Credit Parties are reasonably achievable based upon reasonable
assumptions and other information available to the Credit Parties as of the Petition Date.

               (e)     First Day Orders. Administrative Agent and Lenders shall have received
reasonably satisfactory evidence of the entry of orders approving all “first day” motions (including
any motions related to Cash management or any critical vendor or supplier motions), which
motions and orders shall, in each case, be in form and substance reasonably satisfactory to the
Requisite Lenders.


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                (f)     Interim Order. (i) The Interim Order shall have been entered by the
Bankruptcy Court, shall be in full force and effect and shall not have been vacated, stayed,
modified or amended in any respect without the prior written consent of the Requisite Lenders,
and (ii) the Credit Parties shall be in compliance with the terms of the Interim Order in all respects.

               (g)     No Litigation. There shall not exist any action, suit, investigation, litigation,
proceeding, hearing or other legal or regulatory developments, pending or threatened in any court
(including the Bankruptcy Court) or before any arbitrator or Governmental Authority, which
matter is not subject to the automatic stay in the Cases and that, in the reasonable opinion of
Administrative Agent, singly or in the aggregate, materially impairs the transactions contemplated
by the Credit Documents.

               (h)     Completion of Proceedings.       All partnership, corporate and other
proceedings taken or to be taken in connection with the transactions contemplated hereby and all
documents incidental thereto not previously found acceptable by Administrative Agent and its
counsel shall be reasonably satisfactory in form and substance to Administrative Agent and its
counsel in all material respects, and Administrative Agent and its counsel shall have received all
such counterpart originals or certified copies of such documents as Administrative Agent may
reasonably request.

                (i)    Real Estate Restructuring Advisor. The Credit Parties shall have engaged
a lease restructuring advisor on terms and conditions, and pursuant to agreements, reasonably
satisfactory to the Requisite Lenders.

                 (j)      [Intentionally Reserved.]

                (k)    Personal Property Collateral. In order to create in favor of Collateral Agent,
for the benefit of Secured Parties, a valid, perfected First Priority security interest in the personal
property Collateral, Collateral Agent shall have received:

                       (i)     evidence satisfactory to Collateral Agent of the compliance by each
        Credit Party with their obligations under the Pledge and Security Agreement and the other
        Collateral Documents (including their obligations to authorize or execute, as the case may
        be, and deliver UCC financing statements, originals of securities, instruments and chattel
        paper and any agreements governing Deposit Accounts or Securities Accounts as provided
        therein);

                        (ii)   duly executed and, as appropriate, notarized Intellectual Property
        Security Agreements, in proper form for filing or recording in all appropriate places in all
        applicable jurisdictions; and

                       (iii) evidence that each Credit Party shall have taken or caused to be
        taken any other action, executed and delivered or caused to be executed and delivered any
        other agreement, document and instrument and made or caused to be made any other filing
        and recording reasonably required by Collateral Agent.

               (l)     Financial Statements.           Lenders shall have received from Holdings the
Historical Financial Statements.
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                (m)    Evidence of Insurance. Collateral Agent shall have received a certificate
from Borrower Representative’s insurance broker or other evidence reasonably satisfactory to it
that all insurance required to be maintained pursuant to Section 5.5 is in full force and effect.

                 (n)      [Intentionally Reserved.]

                (o)    Fees and Expenses. Borrowers shall have paid to Administrative Agent (i)
the fees payable on the Closing Date referred to in Section 2.10, and (ii) all expenses of (A)
Administrative Agent and each Lender and (B) Pre-Petition Agent and each Pre-Petition Lender,
in each case, incurred prior to the Closing Date (including attorneys’ fees).

               (p)   Mortgage Deliverables. Administrative Agent shall have received all
Mortgage Deliverables with respect to all Real Estate Assets of the Credit Parties owned on the
Closing Date, the RT Lodge and the headquarters of the Credit Parties.

               (q)    No Material Adverse Effect. Since the Petition Date, no event,
circumstance or change shall have occurred that has caused or evidences, either in any case or in
the aggregate, a Material Adverse Effect.

               (r)     Bankruptcy Plan. Other than the RSA, the Credit Parties shall not have
executed, entered into or otherwise committed to any plan or restructuring support agreement or
any other agreement or understanding concerning the terms of a chapter 11 plan or other exit
strategy without the prior written consent of Administrative Agent and Lenders.

               (s)      Restructuring Support Agreement. The RSA shall have been executed and
delivered by all parties thereto and shall remain in full force and effect.

        3.2.     Conditions to Each Credit Extension.

              (a)    Conditions Precedent. The obligation of each Lender to make any Credit
Extension on any Credit Date, including the Closing Date, is subject to the satisfaction, or waiver
in accordance with Section 10.5, of the following conditions precedent:

                      (i)    Administrative Agent shall have received a fully-executed and
        delivered Funding Notice (other than to the extent not required by Section 2.3);

                      (ii)   any requested Term Loan under Section 2.1(a) shall not exceed the
        remaining available Commitments and shall be within the Budget;

                        (iii) as of such Credit Date, the representations and warranties contained
        herein and in the other Credit Documents shall be true and correct in all material respects
        on and as of that Credit Date to the same extent as though made on and as of that date
        (unless such representation and warranty is qualified as to materiality or Material Adverse
        Effect, in which case, such representation and warranty shall be true and correct in all
        respects), except to the extent such representations and warranties specifically relate to an
        earlier date, in which case such representations and warranties shall have been true and
        correct in all material respects on and as of such earlier date (unless such representation

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        and warranty is qualified as to materiality or Material Adverse Effect, in which case, such
        representation and warranty shall be true and correct in all respects);

                       (iv)   as of such Credit Date, no event shall have occurred and be
        continuing or would result from the consummation of the applicable Credit Extension that
        would constitute a Default or an Event of Default;

                       (v)    as of such Credit Date, the applicable Order shall remain in effect
        and shall not have been modified or amended without the consent of the Requisite Lenders
        and shall not have been reversed or stayed pending appeal; and

                      (vi)    after giving effect to such Credit Extension (excluding any proceeds
        thereof that will be applied on the same Business Day as such Credit Extension), the
        aggregate Cash and Cash Equivalents of Holdings and its Subsidiaries will not exceed
        $6,000,000.

                (b)    Notices. Any Notice shall be executed by an Authorized Officer of
Borrower Representative in a writing delivered to Administrative Agent. In lieu of delivering a
Notice, Borrower Representative may give Administrative Agent telephonic notice by the required
time of any proposed borrowing, proposed issuance, conversion or continuation, as the case may
be; provided, each such notice shall be promptly confirmed in writing by delivery of the applicable
Notice to Administrative Agent on or before the applicable date of borrowing, proposed issuance,
conversion or continuation. Neither Administrative Agent nor any Lender shall incur any liability
to Borrower Representative or any other Credit Party in acting upon any telephonic notice referred
to above that Administrative Agent believes in good faith to have been given by a duly authorized
officer or other Person authorized on behalf of Borrower Representative or for otherwise acting in
good faith.

SECTION 4.         REPRESENTATIONS AND WARRANTIES

        In order to induce the Agents and Lenders and Issuing Bank to enter into this Agreement
and to make each Credit Extension to be made thereby, each Credit Party represents and warrants
to each Agent and Lender and Issuing Bank, on the Closing Date and on each Credit Date, that the
following statements are true and correct:

        4.1.    Organization; Requisite Power and Authority; Qualification. Each Credit
Party (a) is duly organized, validly existing and in good standing under the laws of its jurisdiction
of organization as identified in Schedule 4.1, (b) subject to the entry of the Interim Order (or the
Final Order, when applicable) by the Bankruptcy Court, has all requisite power and authority to
own and operate its properties, to carry on its business as now conducted and as proposed to be
conducted, to enter into the Credit Documents to which it is a party and to carry out the transactions
contemplated thereby, and (c) is qualified to do business and in good standing in every jurisdiction
where its assets are located and wherever necessary to carry out its business and operations, except
in jurisdictions where the failure to be so qualified or in good standing has not had, and could not
be reasonably expected to have, a Material Adverse Effect.

       4.2. Capital Stock and Ownership. The Capital Stock of each Credit Party has been
duly authorized and validly issued and is fully paid and non-assessable. Except as set forth on
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Schedule 4.2, as of the date hereof, there is no existing option, warrant, call, right, commitment or
other agreement to which any Credit Party or any of its Subsidiaries is a party requiring, and there
is no membership interest or other Capital Stock of any Credit Party outstanding which upon
conversion or exchange would require, the issuance by any Credit Party of any additional
membership interests or other Capital Stock of any Credit Party or other Securities convertible
into, exchangeable for or evidencing the right to subscribe for or purchase, a membership interest
or other Capital Stock of any Credit Party. Schedule 4.2 correctly sets forth the ownership interest
of each Credit Party and its Subsidiaries (including, for the avoidance of doubt, each of the
Maryland Liquor Subsidiaries) as of the Closing Date.

        4.3.    Due Authorization. Subject to the entry of the Interim Order (or the Final Order,
when applicable) by the Bankruptcy Court, the execution, delivery and performance of the Credit
Documents have been duly authorized by all necessary action on the part of each Credit Party that
is a party thereto.

        4.4.    No Conflict. Subject to the entry of the Interim Order (or the Final Order, when
applicable) by the Bankruptcy Court, the execution, delivery and performance by the Credit Parties
of the Credit Documents to which they are parties and the consummation of the transactions
contemplated by the Credit Documents do not and will not (a) violate any provision of any law or
any governmental rule or regulation applicable to any Credit Party, any of the Organizational
Documents of any Credit Party, or any order, judgment or decree of any court or other agency of
government binding on any Credit Party; (b) conflict with, result in a breach of or constitute (with
due notice or lapse of time or both) a default under (i) any Material Contract or (ii) any other
material Contractual Obligation of any Credit Party, in each case under this clause (b), except as
could not be reasonably expected to have a Material Adverse Effect; (c) result in or require the
creation or imposition of any Lien upon any of the properties or assets of any Credit Party (other
than any Liens created under any of the Credit Documents in favor of Collateral Agent, on behalf
of Secured Parties); or (d) require any approval of stockholders, members or partners or any
approval or consent of any Person under any Contractual Obligation of any Credit Party, except
for such approvals or consents which will be obtained on or before the Closing Date and disclosed
in writing to Lenders.

         4.5. Governmental Consents. The execution, delivery and performance by the Credit
Parties of the Credit Documents to which they are parties and the consummation of the transactions
contemplated by the Credit Documents do not and will not require any registration with, consent
or approval of, or notice to, or other action to, with or by, any Governmental Authority, except for
(a) filings and recordings with respect to the Collateral to be made or otherwise delivered to
Collateral Agent for filing and/or recordation as of the Closing Date, and (b) the entry and
continued effectiveness of the Orders.

        4.6.   Binding Obligation. Subject to the entry of the Interim Order (or the Final Order,
when applicable) by the Bankruptcy Court, each Credit Document has been duly executed and
delivered by each Credit Party that is a party thereto and is the legally valid and binding obligation
of such Credit Party, enforceable against such Credit Party in accordance with its respective terms.

       4.7.   Historical Financial Statements. The Historical Financial Statements were
prepared in conformity with GAAP (except as may be indicated in the notes thereto) and fairly
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present, in all material respects, the financial position, on a consolidated basis, of the Persons
described in such financial statements as at the respective dates thereof and the results of operations
and cash flows, on a consolidated basis, of the entities described therein for each of the periods
then ended, subject, in the case of any such unaudited financial statements, to changes resulting
from audit and normal year-end adjustments. As of the Closing Date, neither Holdings nor any of
its Subsidiaries has any contingent liability or liability for Taxes, long-term lease or unusual
forward or long-term commitment that is not reflected in the Historical Financial Statements or
the notes thereto and which in any such case is material in relation to the business, operations,
properties, assets, condition (financial or otherwise) or prospects of Holdings and any of its
Subsidiaries taken as a whole.

        4.8.     [Intentionally Reserved]

       4.9.   No Material Adverse Effect. Since the Petition Date, no event, circumstance or
change has occurred that has caused or evidences, either in any case or in the aggregate, a Material
Adverse Effect.

       4.10. Insurance. Schedule 4.10 sets forth all material insurance coverages maintained
by each Credit Party on the Closing Date, including the names of insurers, policy limits and
deductibles. No Credit Party has received written notice of cancellation or intent not to renew any
of such policies, and there has not occurred, and no Credit Party is aware of any occurrence or the
existence of any condition (other than general industry-wide conditions) such as could reasonably
be expected to cause any of such insurers to cancel any of such insurance coverages, or could be
reasonably likely to materially increase the premiums charged to any Credit Party for coverages
consistent with the scope and amounts of coverages as in effect on the Closing Date.

        4.11. Adverse Proceedings, etc. There are no Adverse Proceedings, individually or in
the aggregate, that could reasonably be expected to have a Material Adverse Effect. Without
otherwise limiting the other provisions hereof, neither Holdings nor any of its Subsidiaries (a) is
in violation of any applicable laws (including Environmental Laws and Food Safety Laws) that,
individually or in the aggregate, could reasonably be expected to have a Material Adverse Effect
or (b) is subject to or in default with respect to any final judgments, writs, injunctions, decrees,
orders, rules or regulations of any court or any federal, state, municipal or other governmental
department, commission, board, bureau, agency or instrumentality, domestic or foreign, that,
individually or in the aggregate, could reasonably be expected to have a Material Adverse Effect.

        4.12. Filing of Tax Returns. Except as otherwise permitted under Section 5.3, (a) all
federal and state Tax returns and reports and (b) all other material Tax returns and reports, in each
case, of each Credit Party and its Subsidiaries required to be filed by any of them have been timely
filed.

        4.13.    Properties.

                 (a)     Title. Each Credit Party and its Subsidiaries has (i) good, sufficient and
legal title to (in the case of fee interests in real property), (ii) valid leasehold interests in (in the
case of leasehold interests in real or personal property), and (iii) good title to (in the case of all
other personal property), all of their respective properties and assets reflected in their respective

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Historical Financial Statements referred to in Section 4.5 and in the most recent financial
statements delivered pursuant to Section 5.1, in each case except for assets disposed of since the
date of such financial statements in the ordinary course of business or as otherwise permitted under
Section 6.9. All such properties and assets are free and clear of Liens, other than Permitted Liens.

                (b)     Real Estate. As of the Closing Date, Schedule 4.13 contains a true, accurate
and complete list of (i) all Real Estate Assets and (ii) all leases, subleases, assignments of leases
or licenses affecting each Real Estate Asset of any Credit Party, regardless of whether such Credit
Party is the landlord, tenant, licensor or licensee (whether directly or as an assignee or successor
in interest) under such lease, sublease, assignment or license.

        4.14. Environmental Matters. Neither Holdings nor any of its Subsidiaries nor any of
their respective Facilities or operations are subject to any outstanding written order, consent decree
or settlement agreement with any Person relating to any Environmental Law, any Environmental
Claim, or any Hazardous Materials Activity that, individually or in the aggregate, could reasonably
be expected to have a Material Adverse Effect. Neither Holdings nor any of its Subsidiaries has
received any letter or request for information under Section 104 of the Comprehensive
Environmental Response, Compensation, and Liability Act (42 U.S.C. § 9604) or any comparable
state law. There are and, to each of Holdings’ and its Subsidiaries’ knowledge, have been, no
conditions, occurrences, or Hazardous Materials Activities which could reasonably be expected to
form the basis of an Environmental Claim against any Credit Party or any of its Subsidiaries that,
individually or in the aggregate, could reasonably be expected to have a Material Adverse Effect.
Neither Holdings nor any of its Subsidiaries and, to such Credit Party’s knowledge, no predecessor
of any Credit Party or any of its Subsidiaries has filed any notice under any Environmental Law
indicating past or present treatment of Hazardous Materials at any Facility, and no Credit Party or
any of its Subsidiaries has any operation that involves the transportation, treatment, storage or
disposal of hazardous waste, as defined under 40 C.F.R. Parts 260-270 or any state equivalent.
Compliance with all current or reasonably foreseeable future requirements pursuant to or under
Environmental Laws could not be reasonably expected to have, individually or in the aggregate, a
Material Adverse Effect. No event or condition has occurred or is occurring with respect to any
Credit Party or any of its Subsidiaries relating to any Environmental Law, any Release of
Hazardous Materials, or any Hazardous Materials Activity which individually or in the aggregate
has had, or could reasonably be expected to have, a Material Adverse Effect.

        4.15. Pre-Petition Credit Documents. The Credit Parties acknowledge and agree (i)
that the Pre-Petition Credit Documents are valid and enforceable and (ii) subject to the terms of
the Orders and the Liens hereunder or any Order, the Replacement Liens, the Carve-Out and the
Permitted Liens, the Pre-Petition Agent for the benefit of the Pre-Petition Lenders has a valid,
enforceable and fully perfected first priority Lien in all of the “Collateral” described under the Pre-
Petition Credit Documents, including Cash Collateral, and all proceeds thereof; provided, that the
representations and warranties contained in this Section 4.15 shall not bind the Committee or any
other party in interest until the expiration of the “Challenge Period” under and as defined in the
Orders.

        4.16.    Material Contracts; Franchise Agreements; Liquor Subsidiary Contracts.



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               (a)     Schedule 4.16(a) contains a true, correct and complete list of all the Material
Contracts in effect on the Closing Date. The Material Contracts described in this Section 4.16,
together with any updates provided pursuant to Section 5.1(n), are in full force and effect and no
defaults currently exist thereunder (other than as described in Schedule 4.16 or in such updates).

               (b)    Schedule 4.16(b) includes a complete and accurate list of each Franchise
Agreement to which any Credit Party is a party, with (i) the street address of each franchised unit
covered by such Franchise Agreement, (ii) the unit number of each such franchised unit, (iii) the
name of the franchisee for each franchised unit, and (iv) the effective date and expiration date of
such Franchise Agreement.

                (c)    Schedule 4.16(c) includes a complete and accurate list of each Liquor
Subsidiary Contract. Each Liquor Subsidiary Contract is in full force and effect and no Credit
Party has any knowledge of any default that has occurred and is continuing thereunder, and each
such agreement constitutes the legally valid and binding obligation of each party thereto,
enforceable against such party in accordance with its terms, except as enforcement may be limited
by bankruptcy, insolvency, reorganization, moratorium or similar laws relating to or limiting
creditors’ rights generally or by equitable principles.

        4.17. Governmental Regulation. Neither Holdings nor any of its Subsidiaries is subject
to regulation under the Public Utility Holding Company Act of 2005, the Federal Power Act or the
Investment Company Act of 1940 or under any other federal or state statute or regulation which
may limit its ability to incur Indebtedness or which may otherwise render all or any portion of the
Obligations unenforceable. Neither Holdings nor any of its Subsidiaries is a “registered
investment company” or a company “controlled” by a “registered investment company” or a
“principal underwriter” of a “registered investment company” as such terms are defined in the
Investment Company Act of 1940.

        4.18. Use of Proceeds; Margin Stock. None of the proceeds of the Loans made to such
Credit Party will be used in a manner other than as expressly set forth in Section 2.5. Neither
Holdings nor any of its Subsidiaries is engaged principally, or as one of its important activities, in
the business of extending credit for the purpose of purchasing or carrying any Margin Stock. No
part of the proceeds of the Loans made to such Credit Party will be used to purchase or carry any
such Margin Stock or to extend credit to others for the purpose of purchasing or carrying any such
Margin Stock or for any purpose that violates, or is inconsistent with, the provisions of
Regulation T, U or X of the Board of Governors of the Federal Reserve System.

         4.19. Employee Matters. No Credit Party nor any of its Subsidiaries is engaged in any
unfair labor practice that could reasonably be expected to have a Material Adverse Effect. There
is (a) no unfair labor practice complaint pending against any Credit Party or any of its Subsidiaries,
or to the knowledge of any Credit Party, threatened against any of them before the National Labor
Relations Board and no grievance or arbitration proceeding arising out of or under any collective
bargaining agreement that is so pending against any Credit Party or any of its Subsidiaries or to
the knowledge of any Credit Party, threatened against any of them, (b) no strike or work stoppage
in existence or threatened involving any Credit Party or any of its Subsidiaries, and (c) to the
knowledge of any Credit Party, no union representation question existing with respect to the
employees of any Credit Party or any of its Subsidiaries and, to the knowledge of any Credit Party,
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no union organization activity that is taking place, except (with respect to any matter specified in
clause (a), (b) or (c) of this Section 4.19, either individually or in the aggregate) such as is not
reasonably likely to have a Material Adverse Effect.

        4.20.    [Intentionally Reserved.]

        4.21. Certain Fees. No broker’s or finder’s fee or commission will be payable with
respect hereto or any of the transactions contemplated hereby.

        4.22.    Chapter 11 Case Matters.

               (a)     (i) The Cases were commenced on the Petition Date in accordance with
applicable law and proper notice thereof has been given, (ii) proper notice for the hearing for the
approval of the Interim Order has been given, and (iii) proper notice for the hearing for the approval
of the Final Order will be (or after the entry of the Final Order, has been) given.

               (b)    After the entry of the Interim Order, and pursuant to and to the extent
permitted in the Interim Order and the Final Order, the Obligations will constitute allowed
administrative expense claims in the Cases having the priority set forth in the Orders.

                 (c)    After the entry of the Interim Order and the execution of the Collateral
Documents, the Obligations will be secured by a valid and perfected, enforceable and unavoidable
first priority, priming Lien with priority over the Liens of the Pre-Petition Agent on all of the
Collateral and the proceeds thereof to the extent provided and as more fully set forth in the Orders
and the Collateral Documents.

               (d)     The Interim Order (with respect to the period prior to entry of the Final
Order) or the Final Order (with respect to the period on or after entry of the Final Order), as the
case may be, is in full force and effect and has not been reversed, terminated, stayed, materially
modified or amended in any manner without the prior written consent of the Requisite Lenders.

               (e)    Notwithstanding the provisions of Section 362 of the Bankruptcy Code,
upon the maturity (whether by acceleration or otherwise) of any of the Obligations, Administrative
Agent and Lenders shall be entitled to immediate payment of such Obligations and to enforce the
remedies provided for hereunder, without further application to or order by the Bankruptcy Court,
subject to and as more fully set forth in the Orders.

        4.23. Budget. The Budget reasonably presents, in all material respects, on a pro forma
basis, the projected financial operations and disbursements of the Credit Parties for the period
specified therein and such projections, in the view of the management of the Credit Parties, are
achievable based upon reasonable assumptions and other information available to the Credit
Parties as of the first day of the applicable period.

       4.24. Compliance with Statutes, etc. Without limiting the specificity of any other
representations and warranties contained herein, each Credit Party and its Subsidiaries is in
compliance with all applicable statutes, regulations and orders of, and all applicable restrictions
imposed by, all Governmental Authorities, in respect of the conduct of its business and the
ownership of its property (including compliance with all applicable (a) Food Safety Laws and (b)
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Environmental Laws with respect to any Real Estate Asset or governing its business and the
requirements of any permits issued under such Environmental Laws with respect to any such Real
Estate Asset or the operations of such Credit Party or any of its Subsidiaries), except such
non-compliance that, individually or in the aggregate, could not reasonably be expected to result
in a Material Adverse Effect.

        4.25. Disclosure. No representation or warranty of any Credit Party contained in any
Credit Document or in any other documents, certificates or written statements furnished to Lenders
by or on behalf of any Credit Party or any of its Subsidiaries for use in connection with the
transactions contemplated hereby contains any untrue statement of a material fact or omits to state
a material fact (known to any Credit Party, in the case of any document not furnished by any of
them) necessary in order to make the statements contained herein or therein not misleading in light
of the circumstances in which the same were made. Any projections and pro forma financial
information contained in such materials are based upon good faith estimates and assumptions
believed by the Credit Parties to be reasonable at the time made, it being recognized by Lenders
that such projections as to future events are not to be viewed as facts and that actual results during
the period or periods covered by any such projections may differ from the projected results. There
are no facts known (or which should upon the reasonable exercise of diligence be known) to any
Credit Party (other than matters of a general economic nature) that, individually or in the aggregate,
could reasonably be expected to result in a Material Adverse Effect and that have not been
disclosed herein or in such other documents, certificates and statements furnished to Lenders for
use in connection with the transactions contemplated hereby.

        4.26.    Sanctions; Anti-Terrorism and Anti-Corruption Laws.

                 (a)    None of the Credit Parties nor any of their Affiliates or, to any Credit Party’s
knowledge, their respective officers, directors, brokers or agents of such Person or Affiliate (i) has
violated any Anti-Terrorism Laws or Sanction, (ii) has engaged in any transaction, investment,
undertaking or activity that conceals the identity, source or destination of the proceeds from any
category of prohibited offenses designed by the Organization for Economic Co-operation and
Development’s Financial Action Task Force on Money Laundering, (iii) is a Person whose name
appears on the list of Specially Designated Nationals and Blocked Persons published by OFAC
(an “OFAC Listed Person”) or is otherwise a Sanctioned Person, (iv) is an agent, department, or
instrumentality of, or is otherwise beneficially owned by, controlled by or acting on behalf of,
directly or indirectly, (A) any OFAC Listed Person or (B) any other Sanctioned Person or
Sanctioned Country, or (v) is otherwise blocked, the subject or target of Sanctions or engaged in
any activity in violation of Sanctions or Anti-Terrorism Laws (each OFAC Listed Person,
Sanctioned Person, Sanctioned Country and each other Person, entity, organization and
government of a country described in clauses (iii), (iv) or (v) of this Section 4.26(a), a “Blocked
Person”). No Credit Party nor any Controlled Entity has been notified that its name appears or
may in the future appear on a list of Persons that engage in investment or other commercial
activities in Iran or any other Sanctioned Country. No part of the proceeds from the Loans made
hereunder constitutes or will constitute funds obtained on behalf of any Blocked Person or will
otherwise be used by Borrowers, directly or indirectly, or lent, contributed or otherwise made
available to any Person (x) in connection with any investment in, or any transactions or dealings
with, any Blocked Person, (y) to fund any activities or business of or with any Sanctioned Person,
or in any Sanctioned Country or (z) otherwise in any manner that would result in a violation of
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Sanctions by any Person (including any Person participating in the Loans, whether as underwriter,
advisor, investor or otherwise).

                (b)     None of the Credit Parties nor any of their Affiliates or, to any Credit Party’s
knowledge, their respective officers, directors, brokers or agents acting or benefiting in any
capacity in connection with the Loans (i) deals in or otherwise engages, or has dealt or otherwise
engaged, in any transaction related to, any property or interests in property blocked pursuant to
any Anti-Terrorism Law or Sanction, (ii) engages in or conspires to, or engaged or conspired to,
engage in any transaction that evades or avoids, or has the purpose of evading or avoiding, or
attempts to violate, any of the prohibitions set forth in any Anti-Terrorism Law or Sanction, (iii)
has been found in violation of, charged with, or convicted under any Anti-Terrorism Law, (iv) to
any Credit Party’s knowledge after making due inquiry, is under investigation by any
Governmental Authority for possible violation of Anti-Terrorism Laws or any Sanctions, (v) has
been assessed civil penalties under any Anti-Terrorism Laws or any Sanctions, or (vi) has had any
of its funds seized or forfeited in an action under any Anti-Terrorism Laws.

                (c)     No Credit Party nor any of its Affiliates (i) has been charged with, or
convicted of bribery or any other anti-corruption related activity under any applicable Anti-
Corruption Laws, (ii) to each Credit Party’s knowledge after making due inquiry, is under
investigation by any Governmental Authority for possible violation of Anti-Corruption Laws, or
(iii) has been assessed civil or criminal penalties under any Anti-Corruption Laws. No part of the
proceeds of the Loans will be used, directly or indirectly, for any payments to any governmental
official or employee, political party, official of a political party, candidate for political office, or
anyone else acting in an official capacity, in order to obtain, retain or direct business or obtain any
improper advantage, in violation of the Anti-Corruption Laws. Each Credit Party, each of its
Subsidiaries and, to their knowledge, each of their respective directors, officers and employees
and agents are in compliance with all Anti-Corruption Laws.

        4.27. Information Security Requirements; Personal Information. No privacy or
information security enforcement action, investigation, litigation or claim (including under the
laws, rules, regulation, directives and governmental requirements set forth in Section 5.12) has
been filed against any Credit Party or any of its Subsidiaries.

        4.28. Food Safety. All products designed, developed, manufactured, prepared,
assembled, packaged, tested, labeled, distributed, marketed or sold by or on behalf of the Credit
Parties that are subject to the jurisdiction of the United States Food and Drug Administration or a
comparable Government Authority have been and are being designed, developed, tested,
manufactured, prepared, assembled, packaged, distributed, labeled, marketed and sold in
compliance in all material respects with all applicable Food Safety Laws, including product
approval or clearance, good manufacturing practices, labeling, advertising and promotion, record-
keeping, adverse event reporting, and have been and are being tested, investigated, designed,
developed, manufactured, prepared, assembled, packaged, labeled, distributed, marketed, and sold
in compliance in all material respects with each applicable Food Safety Law.

         4.29. Intellectual Property. Each Credit Party owns, or is licensed (or authorized) to
use, all Intellectual Property material to the conduct of its business as currently conducted, except
where the consequences, direct or indirect, if any, could not reasonably be expected to have a
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Material Adverse Effect. To the knowledge of each Credit Party, the operation of such Credit
Party’s business and the use of Intellectual Property owned by such Credit Party or licensed by
such Credit Party do not infringe, misappropriate, dilute or otherwise violate the Intellectual
Property rights of any person. No claim or litigation regarding any Intellectual Property owned by
a Credit Party is pending or, to the knowledge of any Credit Party, threatened in writing against
any Credit Party or Subsidiary. The Credit Parties have taken (and caused all their Subsidiaries to
take) all commercially reasonable steps to maintain, enforce and protect the owned Intellectual
Property of the Credit Parties and maintain the Credit Parties’ rights in any licensed Intellectual
Property, in each case, that is material to the conduct of their business as currently conducted.

        4.30. Accounts. Schedule 4.30 sets forth all of the Credit Parties’ Deposit Accounts,
Securities Accounts and Commodities Accounts, in each case, together with the name of the
depositary institution, account number and type of such account or accounts. As used in this
Section 4.30, “Deposit Accounts,” “Securities Accounts” and “Commodities Accounts” shall have
the meaning ascribed thereto in the Pledge and Security Agreement.

SECTION 5.         AFFIRMATIVE COVENANTS

        Each Credit Party covenants and agrees that so long as any Commitment is in effect and
until payment in full in Cash of all Obligations (other than contingent indemnification Obligations
for which no claim has been asserted) and cancellation or expiration of all Existing Letters of
Credit, each Credit Party shall perform, and shall cause each of its Subsidiaries to perform, all
covenants in this Section 5.

      5.1.   Financial Statements and Other Reports. Unless otherwise provided below,
Borrower Representative shall deliver to Administrative Agent and Lenders:

                (a)     Monthly Reports. As soon as available, and in any event within thirty (30)
days after the end of each Fiscal Month (including, for the avoidance of doubt, Fiscal Months
which began prior to the Closing Date), the consolidated balance sheet of Holdings and its
Subsidiaries as at the end of such Fiscal Month and the related consolidated statements of income,
consolidated statements of cash flows of Holdings and its Subsidiaries for such Fiscal Month and
for the period from the beginning of the then current Fiscal Year to the end of such Fiscal Month,
setting forth in each case in comparative form the corresponding figures for the corresponding
periods of the previous Fiscal Year, all in reasonable detail, in Microsoft Excel format, together
with a schedule of reconciliations for any reclassifications with respect to prior Fiscal Months or
periods (and, in connection therewith, copies of any restated financial statements for any impacted
Fiscal Month or period) a Financial Officer Certification and a same store sales report;

                (b)    Quarterly Financial Statements. As soon as available, and in any event
within forty-five (45) days after the end of each Fiscal Quarter of each Fiscal Year (including, for
the avoidance of doubt, the Fiscal Quarter which began prior to the Closing Date, and the fourth
Fiscal Quarter), the consolidated balance sheets of Holdings and its Subsidiaries as at the end of
such Fiscal Quarter and the related consolidated statements of income and cash flows of Holdings
and its Subsidiaries for such Fiscal Quarter and for the period from the beginning of the then
current Fiscal Year to the end of such Fiscal Quarter, setting forth in each case in comparative
form the corresponding figures for the corresponding periods of the previous Fiscal Year, all in

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reasonable detail, in Microsoft Excel format, together with a Financial Officer Certification and
an Operating Report;

                 (c)      [Intentionally Reserved]

               (d)    Compliance Certificate. Together with each delivery of financial
statements of Holdings and its Subsidiaries pursuant to Sections 5.1(a) and 5.1(b), a duly executed
and completed Compliance Certificate;

                (e)     Statements of Reconciliation after Change in Accounting Principles. If, as
a result of any change in accounting principles and policies from those used in the preparation of
the Historical Financial Statements, the consolidated financial statements of each Credit Party and
its Subsidiaries delivered pursuant to Section 5.1(a) or 5.1(b) will differ in any material respect
from the consolidated financial statements that would have been delivered pursuant to such
subdivisions had no such change in accounting principles and policies been made, then, together
with the first delivery of such financial statements after such change, one or more statements of
reconciliation for all such prior financial statements in form and substance reasonably satisfactory
to Administrative Agent;

                 (f)      Notice of Material Events. (i) Promptly upon any officer of any Credit Party
obtaining knowledge (A) of any condition or event that constitutes a Default or an Event of Default
or that notice has been given to Borrower Representative with respect thereto; (B) that any Person
has given any notice to any Credit Party or any of its Subsidiaries or taken any other action with
respect to any event or condition set forth in Section 8.1(b); or (C) of the occurrence of any event
or change that has caused or evidences, either in any case or in the aggregate, a Material Adverse
Effect, a certificate of its Authorized Officers specifying the nature and period of existence of such
condition, event or change, or specifying the notice given and action taken by any such Person and
the nature of such claimed Event of Default, Default, default, event or condition, and what action
the Credit Parties have taken, are taking and propose to take with respect thereto; (ii) at least (A)
three (3) days, in the case of any pleading or motion in connection with which the consent of
Administrative Agent and/or Requisite Lenders is required and (B) one (1) Business Day, in all
other cases, prior to filing (or, if not practicable, as soon as reasonably practicable), copies of all
pleadings and motions (other than “first day” motions and proposed orders, but including (x) the
Bankruptcy Plan and any disclosure statement related thereto (which shall be provided as soon as
practicable in advance of filing) and (y) the pleadings in respect of the DIP Facility, including any
motion, any declarations, any responsive pleadings and the proposed Orders (in each case, which
must be in form, scope and substance reasonably satisfactory to Administrative Agent and which
shall be provided as soon as practicable in advance of filing)) to be filed by or on behalf of any
Credit Party with the Bankruptcy Court in the Cases, which such pleadings shall include
Administrative Agent as a notice party; and (iii) on a timely basis as specified in any Order, copies
of all notices required to be given to all parties specified in such Order, in the manner specified
therefor therein;

               (g)    Notice of Litigation. Promptly upon any officer of any Credit Party
obtaining knowledge of (i) the filing of, or non-frivolous threat of, any Adverse Proceeding not
previously disclosed in writing by the Credit Parties to Lenders, or (ii) any material development
in any Adverse Proceeding that, in the case of either clause (i) or (ii) of this sentence if adversely
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determined, could be reasonably expected to have a Material Adverse Effect, or seeks to enjoin or
otherwise prevent the consummation of, or to recover any damages or obtain relief as a result of,
the transactions contemplated hereby, written notice thereof together with such other information
as may be reasonably available to the Credit Parties to enable Lenders and their counsel to evaluate
such matters;

                (h)     Labor Matters. Each Credit Party shall give Administrative Agent prompt
notice of (a) any unfair labor practice complaint pending against any Credit Party or any of its
Subsidiaries, or to the knowledge of any Credit Party, threatened against any of them before the
National Labor Relations Board and any grievance or arbitration forum proceeding arising out of
or under any collective bargaining agreement that is so pending against any Credit Party or any of
its Subsidiaries or to the knowledge of any Credit Party, threatened against any of them, (b) any
strike or work stoppage in existence or threatened involving any Credit Party or any of its
Subsidiaries, and (c) any union representation question existing with respect to the employees of
any Credit Party or any of its Subsidiaries or any union organization activity that is taking place;

              (i)     Notice of Prepayment Events. Written notice of any Asset Sale, any receipt
of Net Insurance/Condemnation Proceeds, any receipt of proceeds from the issuance of Capital
Stock and any receipt of a Tax Refund.

                (j)    ERISA. (i) Promptly upon becoming aware of the occurrence of or
forthcoming occurrence of any ERISA Event, a written notice specifying the nature thereof, what
action any Credit Party, any of its Subsidiaries or any of their respective ERISA Affiliates has
taken, is taking or proposes to take with respect thereto and, when known, any action taken or
threatened by the Internal Revenue Service, the Department of Labor or the PBGC with respect
thereto; and (ii) with reasonable promptness, copies of (A) each Schedule B (Actuarial
Information) to the annual report (Form 5500 Series) filed by any Credit Party or any of its
Subsidiaries with the United States Department of Labor with respect to each Pension Plan; (B) all
notices received by any Credit Party, any of its Subsidiaries or any of their respective ERISA
Affiliates (if such ERISA Affiliates provides copies of such notice to any Credit Party) from a
Multiemployer Plan sponsor concerning an ERISA Event; and (C) copies of such other documents
or governmental reports or filings relating to any Employee Benefit Plan as Administrative Agent
shall reasonably request;

                (k)     Budget. (i) Before the Petition Date, the Budget (which must be attached
to the Interim Order and the Final Order); (ii) at least once every 4 weeks, an update of the Budget,
which update shall be satisfactory in form and substance to the Requisite Lenders in their
respective sole discretion; (iii) on or before Friday of each week, a consolidated rolling thirteen-
week cash flow forecast for Holdings and its Subsidiaries (together with a comparison of actual
payments to budgeted line items for the prior weekly period and on a cumulative basis since the
Petition Date), in Microsoft Excel format and in form satisfactory to the Requisite Lenders in their
respective sole discretion (the “13-Week Forecast”); (iv) each week (ending on Tuesday), on the
Variance Report Date, a weekly variance report, in a form reasonably satisfactory to the Requisite
Lenders, which variance report will show actual sales, collections and disbursements made by the
Credit Parties in the immediately preceding week, together with a comparison to the sales,
collections and disbursements reflected in the Budget and noting therein all variances, on a line-
item basis, from amounts set forth for such period in the 13-Week Forecast, and including
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explanations for all material variances (such explanations shall include the degree to which the
variance is a permanent variance from the Budget (if known), the cause of the variance and how
the source of such variance is expected to impact the Budget); and (v) each week (ending on
Tuesday), on the Variance Report Date, a detailed summary of same store sales for the prior week
and a detailed Asset Sale pipeline summary, in each case, in substantially the same form as the
reports being provided to Administrative Agent and Lenders prior to the Petition Date;

                (l)    Insurance Report. Upon the reasonable request of Administrative Agent, a
report in form and substance reasonably satisfactory to Administrative Agent outlining all material
insurance coverage maintained as of the date of such report by Holdings and its Subsidiaries and
all material insurance coverage planned to be maintained by Holdings and its Subsidiaries in the
immediately succeeding Fiscal Year;

               (m)     Notice of Change in Board of Directors. With reasonable promptness,
written notice of any change in the board of directors (or similar governing body) or executive
officers of Holdings or RTI;

                (n)     Notice Regarding Material Contracts. Promptly, and in any event within
five (5) days after (i) any Material Contract of any Credit Party or any of its Subsidiaries is
terminated or amended in a manner that is materially adverse to such Credit Party or such
Subsidiary, as the case may be, or (ii) any new Material Contract is entered into, a written statement
describing such event, with copies of such material amendments or new contracts, delivered to
Administrative Agent (to the extent such delivery is permitted by the terms of any such Material
Contract, as the case may be; provided, no such prohibition on delivery shall be effective if it were
bargained for by such Credit Party or its applicable Subsidiary with the intent of avoiding
compliance with this Section 5.1(n)), and an explanation of any actions being taken with respect
thereto;

               (o)      Environmental Reports and Audits. As soon as practicable following
receipt thereof, copies of all environmental audits and reports with respect to environmental
matters at any Facility or which relate to any environmental liabilities of any Credit Party or its
Subsidiaries which, in any such case, individually or in the aggregate, could reasonably be
expected to result in a Material Adverse Effect;

                (p)    Information Regarding Collateral. Borrower Representative shall furnish
to Collateral Agent at least ten (10) Business Days’ prior written notice of any change (i) in any
Credit Party’s corporate name, (ii) in any Credit Party’s identity or corporate structure, or (iii) in
any Credit Party’s Federal Taxpayer Identification Number. Each Credit Party agrees not to effect
or permit any change referred to in the immediately preceding sentence unless all filings have been
made under the UCC or otherwise that are required in order for Collateral Agent to continue at all
times following such change to have a valid, legal and perfected security interest in all the
Collateral and for the Collateral at all times following such change to have a valid, legal and
perfected security interest as contemplated in the Collateral Documents. Borrower Representative
also agrees to promptly notify Collateral Agent if any material portion of the Collateral is damaged
or destroyed;

                 (q)      [Intentionally Reserved]

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                 (r)      [Intentionally Reserved]

                 (s)      [Intentionally Reserved]; and

               (t)    Other Information. Promptly upon their becoming available, copies of such
other information and data with respect to any Credit Party or any of its Subsidiaries as from time
to time may be reasonably requested by Administrative Agent or any Lender (it being understood
and agreed that (i) Administrative Agent and the Lenders shall be authorized to communicate
directly with CR3 Partners, LLC and (ii) Administrative Agent and the Lenders shall be authorized
to communicate directly with FocalPoint Securities, LLC and the lease restructuring advisor
engaged by the Credit Parties in accordance with Section 3.1(i), in each case under this clause (ii),
in accordance with Section 5.14(c)).

       5.2.    Existence. Each Credit Party will, and will cause each of its Subsidiaries to, at all
times preserve and keep in full force and effect its existence and all rights and franchises, licenses
and permits material to its business; provided, no Credit Party or any of its Subsidiaries shall be
required to preserve any such existence, right or franchise, licenses and permits if such Person’s
board of directors (or similar governing body) shall determine that the preservation thereof is no
longer desirable in the conduct of the business of such Person, and that the loss thereof is not
disadvantageous in any material respect to such Person or to Lenders.

        5.3.    Payment of Taxes and Claims. Each Credit Party will, and will cause each of its
Subsidiaries to, pay all Taxes imposed for the period from and after the commencement of the
Cases upon each Credit Party or any of its properties or assets or in respect of any of its income,
businesses or franchises before any penalty or fine accrues thereon, and all claims (including
claims for labor, services, materials and supplies) for sums that have become due and payable and
that by law have or may become a Lien upon any of its properties or assets, prior to the time when
any penalty or fine shall be incurred with respect thereto; provided, no such Tax or claim need be
paid if it is being contested in good faith by appropriate proceedings promptly instituted and
diligently conducted, so long as (a) adequate reserve or other appropriate provision, as shall be
required in conformity with GAAP shall have been made therefor, and (b) in the case of a Tax or
claim which has or may become a Lien against any of the Collateral, such contest proceedings
conclusively operate to stay the sale of any portion of the Collateral to satisfy such Tax or claim.
No Credit Party will, nor will it permit any of its Subsidiaries to, file or consent to the filing of any
consolidated income Tax return with any Person (other than any Credit Party). In addition, the
Credit Parties agree to pay to the relevant Governmental Authority in accordance with applicable
law any current or future stamp or documentary Taxes or any other excise or property Taxes,
charges or similar levies (including mortgage recording Taxes, transfer Taxes and similar fees)
imposed by any Governmental Authority that arise from any payment made hereunder or from the
execution, delivery or registration of, or otherwise with respect to, this Agreement.

       5.4.    Maintenance of Properties. Each Credit Party shall, and shall cause each of its
Subsidiaries to, maintain or cause to be maintained in good repair, working order and condition,
ordinary wear and tear excepted, all material properties used or useful in the business of each
Credit Party and its Subsidiaries and from time to time will make or cause to be made all
appropriate repairs, renewals and replacements thereof, in any case, except with respect to any


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failure to so maintain, repair, renew and replace as could not reasonably be expected to result in a
Material Adverse Effect.

         5.5.     Insurance. The Credit Parties shall maintain or cause to be maintained, with
financially sound and reputable insurers, (a) business interruption insurance, directors and officers
insurance reasonably satisfactory to Administrative Agent and (b) casualty insurance, such public
liability insurance, third party property damage insurance with respect to liabilities, losses or
damage in respect of the assets, properties and businesses of each Credit Party and its Subsidiaries
as may customarily be carried or maintained under similar circumstances by Persons of established
reputation engaged in similar businesses, in each case in such amounts (giving effect to
self-insurance), with such deductibles, covering such risks and otherwise on such terms and
conditions as shall be customary for such Persons and otherwise reasonably satisfactory to
Administrative Agent. Without limiting the generality of the foregoing, each Credit Party shall
maintain or cause to be maintained (i) flood insurance with respect to each Flood Hazard Property
that is located in a community that participates in the National Flood Insurance Program, in each
case in compliance with any applicable regulations of the Board of Governors of the Federal
Reserve System and (ii) replacement value casualty insurance on the Collateral under such policies
of insurance, with such insurance companies, in such amounts, with such deductibles, and covering
such risks as are at all times carried or maintained under similar circumstances by Persons of
established reputation engaged in similar businesses. Each such policy of insurance shall (A) name
Collateral Agent, on behalf of the Lenders, as an additional insured thereunder as its interests may
appear and (B) in the case of each casualty insurance policy, contain a loss payable clause or
endorsement, reasonably satisfactory in form and substance to Collateral Agent, that names
Collateral Agent, on behalf of the Secured Parties, as the loss payee thereunder and provides for
at least thirty (30) days’ prior written notice to Collateral Agent of any modification or cancellation
of such policy.

        5.6. Inspections. Each Credit Party shall, and shall cause each of its Subsidiaries to,
permit any authorized representatives designated by any Agent or any Lender to visit and inspect
any of the properties of any Credit Party and any of its respective Subsidiaries, to inspect, copy
and take extracts from its and their financial and accounting records and other books and records,
to inspect any Collateral, and to discuss its and their affairs, finances and accounts with its and
their officers and independent public accountants, all upon reasonable notice and at such
reasonable times during normal business hours and as often as may reasonably be requested.
Agents and Lenders shall use their commercially reasonable efforts to ensure any such inspection
is conducted in such a manner so as not to interfere unreasonably with the conduct of the business
of the Credit Parties and their Subsidiaries.

        5.7.     Lenders Meetings.

                 (a)   Senior management of the Credit Parties and CR3 Partners, LLC shall
participate in a weekly telephone call with Administrative Agent and Lenders, at such time as may
be agreed to by Borrower Representative, Administrative Agent and the Lenders, to discuss
performance against the Budget, the Credit Parties’ operating results and other matters requested
by Administrative Agent and the Lenders.



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               (b)    FocalPoint Securities, LLC, together with a representative of Borrower
Representative designated by Borrower Representative, shall participate in a weekly telephone call
with Administrative Agent and Lenders, at such time as may be agreed to by Borrower
Representative, Administrative Agent and the Lenders, to discuss the status of asset sales and other
matters requested by Administrative Agent and the Lenders.

               (c)     The lease restructuring advisor engaged by the Credit Parties in accordance
with Section 3.1(i), together with a representative of Borrower Representative designated by
Borrower Representative, shall participate in a weekly telephone call with Administrative Agent
and Lenders, at such time as may be agreed to by Borrower Representative, Administrative Agent
and the Lenders, to discuss the status of lease restructurings and other matters requested by
Administrative Agent and the Lenders.

        5.8.    Compliance with Laws. In addition to the other provisions hereof, and without
limiting the generality of other provisions of this Agreement, each Credit Party and its Subsidiaries
shall comply with all applicable statutes, regulations and orders of, and all applicable restrictions
imposed by, all Governmental Authorities, in respect of the conduct of its business and the
ownership of its property, including compliance with all applicable (a) Environmental Laws with
respect to any Real Estate Asset or governing its business and the requirements of any permits
issued under such Environmental Laws with respect to any such Real Estate Asset or the operations
of such Credit Party or any of its Subsidiaries, (b) Sanctions, (c) Anti-Corruption Laws, (d) Anti-
Terrorism Laws and (e) Food Safety Laws, in the case of clauses (a) through (e) of this sentence,
except to the extent that such non-compliance, individually or in the aggregate, could not
reasonably be expected to result in a Material Adverse Effect.

        5.9.     Environmental.

              (a)    Environmental Disclosure.              Borrower Representative shall deliver to
Administrative Agent and the Lenders:

                       (i)     as soon as practicable following receipt thereof, copies of all
        environmental audits, investigations, analyses and reports of any kind or character, whether
        prepared by personnel of a Credit Party or any of its Subsidiaries or by independent
        consultants, Governmental Authorities or any other Persons, with respect to significant
        environmental matters at any Facility or with respect to any Environmental Claims which,
        in any such case, individually or in the aggregate, could reasonably be expected to result
        in a Material Adverse Effect;

                       (ii)   promptly upon the occurrence thereof, written notice describing in
        reasonable detail (A) any Release required to be reported to any federal, state or local
        governmental or regulatory agency under any applicable Environmental Laws, (B) any
        remedial action taken by any Credit Party or any other Person in response to (I) any
        Hazardous Materials Activities the existence of which has a reasonable possibility of
        resulting in one or more Environmental Claims having, individually or in the aggregate, a
        Material Adverse Effect or (II) any Environmental Claims that, individually or in the
        aggregate, have a reasonable possibility of resulting in a Material Adverse Effect, and
        (C) any Credit Party’s discovery of any occurrence or condition on any real property

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        adjoining or in the vicinity of any Facility that could reasonably be expected to cause such
        Facility or any part thereof to be subject to any material restrictions on the ownership,
        occupancy, transferability or use thereof under any Environmental Laws;

                        (iii) as soon as practicable following the sending or receipt thereof by
        any Credit Party or any of its Subsidiaries, a copy of any and all written communications
        with respect to (A) any Environmental Claims that, individually or in the aggregate, have
        a reasonable possibility of giving rise to a Material Adverse Effect, (B) any Release
        required to be reported to any Governmental Authority, and (C) any request for information
        from any Governmental Authority that suggests such agency is investigating whether any
        Credit Party or any of its Subsidiaries may be potentially responsible for any Hazardous
        Materials Activity;

                       (iv)    prompt written notice describing in reasonable detail (A) any
        proposed acquisition of stock, assets, or property by any Credit Party or any of its
        Subsidiaries that could reasonably be expected to (I) expose any Credit Party or any of its
        Subsidiaries to, or result in, Environmental Claims that could reasonably be expected to
        have, individually or in the aggregate, a Material Adverse Effect or (II) affect the ability of
        any Credit Party or any of its Subsidiaries to maintain in full force and effect all material
        Governmental Authorizations required under any Environmental Laws for their respective
        operations and (B) any proposed action to be taken by any Credit Party or any of its
        Subsidiaries to modify current operations in a manner that could reasonably be expected to
        subject any Credit Party or any of its Subsidiaries to any additional material obligations or
        requirements under any Environmental Laws; and

                       (v)    with reasonable promptness, such other documents and information
        as from time to time may be reasonably requested by Administrative Agent in relation to
        any matters disclosed pursuant to this Section 5.9(a).

                (b)    Hazardous Materials Activities, Etc. Each Credit Party shall promptly take,
and shall cause each of its Subsidiaries promptly to take, any and all actions necessary to (i) cure
any violation of applicable Environmental Laws by such Credit Party or its Subsidiaries that could
reasonably be expected to have, individually or in the aggregate, a Material Adverse Effect and
(ii) make an appropriate response to any Environmental Claim against such Credit Party or any of
its Subsidiaries and discharge any obligations it may have to any Person thereunder where failure
to do so could reasonably be expected to have, individually or in the aggregate, a Material Adverse
Effect.

        5.10. Subsidiaries. In the event that any Person becomes a Subsidiary of any Credit
Party, the applicable Credit Party shall, within ten (10) Business Days after such Person becomes
a Subsidiary, (a) cause such Subsidiary to become a “Borrower” or a “Guarantor” hereunder, in
Administrative Agent’s sole discretion, and a Grantor under the Pledge and Security Agreement
by executing and delivering to Administrative Agent and Collateral Agent a Counterpart
Agreement and (b) take all such actions and execute and deliver, or cause to be executed and
delivered, all other New Subsidiary Deliverables. With respect to each such Subsidiary, Borrower
Representative shall promptly deliver to Administrative Agent written notice setting forth with
respect to such Person (i) the date on which such Person became a Subsidiary of RTI, and (ii) all
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of the data required to be set forth in Schedules 4.1 and 4.2 with respect to all Subsidiaries of RTI;
provided, such written notice shall be deemed to supplement Schedule 4.1 and 4.2 for all purposes
hereof.

        5.11. Additional Real Estate Assets. In the event that any Credit Party acquires, leases
or licenses a Real Estate Asset after the Closing Date, then such Credit Party shall, with respect to
any owned Real Estate Asset, deliver all Mortgage Deliverables to Administrative Agent within
ten (10) Business Days after the acquisition of such Real Estate Asset. In addition to the foregoing,
the Credit Parties shall, at the request of the Requisite Lenders, deliver, from time to time, to
Administrative Agent such appraisals as are required by law or regulation of Real Estate Assets
with respect to which Collateral Agent has been granted a Lien.

        5.12. Information Security Requirements; Personal Information. Each Credit Party
shall comply and shall cause its Subsidiaries to comply, in all material respects, and to the extent
applicable to such Person, with (a) all international, federal, state, provincial and local laws, rules,
regulations, directives and governmental requirements currently in effect and as they become
effective relating in any way to the privacy, confidentiality or security of Personal Information,
including the Gramm-Leach-Bliley Act, 15 U.S.C. §§ 6801-6827, and all regulations
implementing the same; the Health Insurance Portability and Accountability Act of 1996 and all
regulations implementing the same; the Fair Credit Reporting Act, 15 U.S.C. § 1681 et seq., as
amended by the Fair and Accurate Credit Transactions Act, and all regulations implementing each
of the same; the rules and regulations of the National Automated Clearing House Association,
information security breach notification laws (such as Cal. Civ. Code §§ 1798.29, 1798.82 through
1798.84); laws imposing minimum information security requirements (such as Cal. Civ. Code §
1798.81.5 and 201 Mass. Code Reg. 17.00); laws requiring the secure disposal of records
containing certain Personal Information (such as N.Y. Gen. Bus. Law § 399-H); the European
Union Directives governing general data protection (Directive 1995/46/EC) and electronic
commerce (Directive 2002/58/EC); the Canadian Personal Information Protection and Electronic
Documents Act (PIPEDA) and relevant provincial laws and (b) all applicable industry standards
concerning privacy, data protection, confidentiality or information security, including the Payment
Card Industry Data Security Standard, in each case, to the extent such laws, rules, regulations,
directives and governmental requirements and such industry standards apply to it, its property or
its business, in each case of clauses (a) and (b) above, except to the extent that the failure to do so
could not reasonably be expected to have a Material Adverse Effect.

        5.13. Further Assurances. At any time or from time to time upon the request of
Administrative Agent, each Credit Party shall, at its expense, promptly execute, acknowledge and
deliver such further documents and do such other acts and things as Administrative Agent or
Collateral Agent may reasonably request in order to effect fully the purposes of the Credit
Documents, including providing Lenders with any information reasonably requested pursuant to
Section 10.21. In furtherance and not in limitation of the foregoing, each Credit Party shall take
such actions as Administrative Agent or Collateral Agent may reasonably request from time to
time to ensure that the Obligations are guaranteed by the Guarantors and are secured by First
Priority Liens on the Collateral of each Credit Party and all of the outstanding Capital Stock of
RTI and its Subsidiaries.


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      5.14. Miscellaneous Business Covenants.                   Unless otherwise consented to by
Administrative Agent and the Requisite Lenders:

               (a)      Non-Consolidation.       Each Credit Party and its Subsidiaries shall
(i) maintain entity records and books of account separate from those of any other entity which is
an Affiliate of such entity; (ii) not commingle its funds or assets with those of any other entity
which is an Affiliate of such entity (other than another Credit Party); and (iii) provide that its board
of directors (or similar governing body) shall hold all appropriate meetings to authorize and
approve such entity’s actions, which meetings shall be separate from those of other entities that
are not Credit Parties.

              (b)    Cash Management Systems. Each Credit Party and its Subsidiaries shall
establish and maintain Cash management systems reasonably satisfactory to Administrative
Agent, including with respect to the Controlled Accounts for Deposit Accounts other than
Excluded Accounts. For the avoidance of doubt, those Cash management systems implemented
and maintained by RTI and its Subsidiaries as of the Closing Date satisfy this Section 5.14(b) on
the Closing Date.

                 (c)    Communication with Accountants and Other Advisors. Each Credit Party
hereby authorizes Administrative Agent (and each Lender) to communicate with (x) FocalPoint
Securities, LLC, (y) the lease restructuring advisor engaged by the Credit Parties in accordance
with Section 3.1(l), and (z) such Credit Party’s independent certified public accountants and
authorizes and shall instruct those advisors and accountants to communicate (including, in the case
of the accountants, the delivery of audit drafts and letters to management) with Administrative
Agent (and each Lender) information relating to any Credit Party with respect to the business,
results of operations and financial condition of any Credit Party (including the status of asset sales
and lease restructurings, as applicable); provided, however, (i) Administrative Agent (or such
Lender) shall provide Borrower Representative with notice at least five (5) Business Days prior to
first initiating any such communication and (ii) a representative of Borrower Representative
designated by Borrower Representative shall be copied on, privy to, or otherwise included in all
such communications.

                 (d)    Activities of Management. Each member of the senior management team
of each Credit Party shall devote all or substantially all of his or her professional working time,
attention, and energies to the management of the businesses of the Credit Parties; provided, in no
event will this clause (d) apply to any member of the board of directors (or similar governing body)
of a Credit Party who is not also a member of the senior management team of such Credit Party.

               (e)     Contractual Obligations. Each Credit Party and its Subsidiaries shall use
commercially reasonable efforts to (i) perform, observe and fulfill each the obligations, covenants
or conditions contained in any of its Contractual Obligations for the period from and after the
commencement of the Cases, including the Material Contracts and Franchise Agreements, other
than those Contractual Obligations that the Credit Parties are contesting in good faith and (ii)
promptly and diligently exercise each material right it may have in respect of its Contractual
Obligations, including under any Material Contract or Franchise Agreement, at its own expense,
except in each case of clause (i) and (ii) of this sentence, to the extent that such failure would not
reasonably be expected to have a Material Adverse Effect. For the avoidance of doubt, this clause
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(e) is not intended to cover, and shall not relate to, this Agreement and the other Credit Documents
which shall be governed in all instances by the other provisions hereof and thereof.

        5.15.    Bankruptcy Matters; RSA.

              (a)     Minimum Cash Flow. As of the end of each week reflected in the Budget
(Tuesday), beginning with the first full week following the Petition Date, the Credit Parties shall,
on a cumulative basis from the Petition Date, have achieved at least 85.0% of the “Net Operating
Cash Flow” as set forth in the Budget.

                (b)   RSA. Each Credit Party shall comply in a timely manner with its
obligations and responsibilities (i) as a debtor-in-possession under the Bankruptcy Code and any
order of the Bankruptcy Court, as such order may be amended and in effect from time to time, and
(ii) under the RSA.

                (c)    Material Pleadings. The Credit Parties will (i) deliver to Administrative
Agent and the Lenders, as soon as practicable in advance of the filing with the Bankruptcy Court,
but no later than two (2) Business Days prior to distribution, unless impracticable, in which case,
as soon as reasonably practicable prior to filing, copies of all material documents, motions and
pleadings related to the Orders and this Agreement, and (ii) provide Administrative Agent and the
Lenders with a reasonable opportunity to review and comment on all such documents, motions
and pleadings, which documents, motions and pleadings shall, in any event, be reasonably
satisfactory to the Administrative Agent and the Lenders.

         5.16. Compliance Protocols. Each Credit Party shall, and shall cause its Subsidiaries
to, in the ordinary course of business and in consultation with appropriate legal counsel, create,
maintain, implement and update written policies, procedures and guidelines for its employees
(including appropriate training for employees with respect thereto) for its business and operations
and compliance in all material respects with the requirements of all applicable laws, rules,
regulations and orders of any Governmental Authority with respect to compliance with (a) (i) the
laws set forth in Section 5.12 and (ii) Food Safety Laws, and (b) all (i) Sanctions, (ii) Anti-
Corruption Laws and (iii) Anti-Terrorism Laws. For the avoidance of doubt, those policies,
procedures and guidelines implemented and maintained by RTI and its Subsidiaries as of the
Closing Date, in form and substance provided to Administrative Agent and Lenders prior to the
Closing Date, as the same relate to those laws set forth in clause (a) above satisfy this covenant on
the Closing Date.

       5.17. Use of Proceeds. The proceeds of the Loans shall be used in accordance with the
terms of Section 2.5.

SECTION 6.         NEGATIVE COVENANTS

        Each Credit Party covenants and agrees that, so long as any Commitment is in effect and
until payment in full in Cash of all Obligations (other than contingent indemnification Obligations
for which no claim has been asserted) and cancellation or expiration of all Existing Letters of
Credit, such Credit Party shall perform, and shall cause each of its Subsidiaries to perform, all
covenants in this Section 6.

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        6.1.    Indebtedness. No Credit Party shall, nor shall it permit any of its Subsidiaries to,
directly or indirectly, create, incur, assume or guaranty, or otherwise become or remain directly or
indirectly liable with respect to any Indebtedness, except:

                 (a)      the Obligations; and

               (b)   Indebtedness existing on the Closing Date and listed on Schedule 6.1
(including Indebtedness under the Pre-Petition Credit Agreement).

        6.2.    Liens. No Credit Party shall, nor shall it permit any of its Subsidiaries to, directly
or indirectly, create, incur, assume or permit to exist any Lien on or with respect to any property
or asset of any kind (including any document or instrument in respect of goods or accounts
receivable) of any Credit Party or any of its Subsidiaries, whether now owned or hereafter
acquired, or any income or profits therefrom, or file or permit the filing of, or permit to remain in
effect, any financing statement or other similar notice of any Lien with respect to any such
property, asset, income or profits under the UCC of any state or under any similar recording or
notice statute, except:

               (a)    Liens in favor of Collateral Agent for the benefit of Secured Parties granted
pursuant to any Credit Document;

               (b)     Liens existing on the Closing Date and described in Schedule 6.2 (including
Liens securing the Pre-Petition Obligations (including any “adequate protection” replacement
Liens with respect thereto)); and

                 (c)     any of the following Liens arising after the Petition Date in the ordinary
course of business: (i) Liens for Taxes (A) not yet due and payable or (B) if obligations with
respect to such Taxes are being contested in good faith by appropriate proceedings promptly
instituted and diligently conducted so long as (x) the aggregate amount of such Taxes does not
exceed $250,000, or (y) such proceedings are resolved within sixty (60) days after the institution
thereof; (ii) statutory Liens of landlords, banks (and rights of set-off), of carriers, warehousemen,
mechanics, repairmen, workmen and materialmen, and other Liens imposed by law (other than
any such Lien imposed pursuant to Section 401(a)(29) or 412(n) of the Internal Revenue Code or
by ERISA), in each case, (A) incurred in the ordinary course of business (x) for amounts not yet
overdue or (y) for amounts that are overdue and that (in the case of any such amounts overdue for
a period in excess of five (5) Business Days) are being contested in good faith by appropriate
proceedings, so long as such reserves or other appropriate provisions, if any, as shall be required
by GAAP shall have been made for any such contested amounts, or (B) to the extent permitted
under the terms of any applicable Mortgage; (iii) Liens incurred in the ordinary course of business
in connection with workers’ compensation, unemployment insurance and other types of social
security, and other similar obligations (exclusive of obligations for the payment of borrowed
money or other Indebtedness), so long as no foreclosure, sale or similar proceedings have been
commenced with respect to any portion of the Collateral on account thereof; (iv) easements,
rights-of-way, restrictions, encroachments, and other minor defects or irregularities in title, in each
case, which do not and will not interfere in any material respect with the ordinary conduct of the
business of any Credit Party or any of its Subsidiaries; (v) any interest or title of a lessor or
sublessor under any lease of Real Estate Asset permitted hereunder; (vi) any zoning or similar law

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or right reserved to or vested in any governmental office or agency to control or regulate the use
of any real property; and (vii) customary rights of set-off, bankers’ Liens, revocation, refund or
chargeback under deposit agreements or under UCC or common law of banks or other financial
institutions where the Credit Parties deposit in the ordinary course of business.

       6.3.     Equitable Lien. If any Credit Party or any of its Subsidiaries shall create or assume
any Lien upon any of its properties or assets, whether now owned or hereafter acquired, other than
Permitted Liens, it shall make or cause to be made effective provisions whereby the Obligations
will be secured by such Lien equally and ratably with any and all other Indebtedness secured
thereby as long as any such Indebtedness shall be so secured; provided, notwithstanding the
foregoing, this covenant shall not be construed as a consent by the Requisite Lenders to the creation
or assumption of any such Lien not otherwise permitted hereby.

        6.4.   No Further Negative Pledges. Except with respect to (a) specific property
encumbered to secure payment of particular Indebtedness or to be sold pursuant to an executed
agreement with respect to a permitted Asset Sale and (b) restrictions by reason of customary
provisions restricting assignments, subletting or other transfers contained in leases, licenses and
similar agreements entered into in the ordinary course of business (provided, such restrictions are
limited to the property or assets secured by such Liens or the property or assets subject to such
leases, licenses or similar agreements, as the case may be) no Credit Party nor any of its
Subsidiaries shall enter into any agreement prohibiting the creation or assumption of any Lien
upon any of its properties or assets, whether now owned or hereafter acquired.

        6.5.    Restricted Junior Payments. No Credit Party shall, nor shall it permit any of its
Subsidiaries or Affiliates through any manner or means or through any other Person to, directly or
indirectly, declare, order, pay, make or set apart, or agree to declare, order, pay, make or set apart,
any sum for any Restricted Junior Payment, except:

               (a)        payments by Subsidiaries of a Credit Party (other than Holdings) to such
Credit Party; and

                (b)     Restricted Junior Payments in the amounts and during the periods
specifically set forth in the Budget (including, for the avoidance of doubt, payments permitted in
accordance with Section 6.21).

Notwithstanding anything herein to the contrary, no amount shall be permitted to be distributed by
any Credit Party to any Person other than a Credit Party to pay, or otherwise in connection with,
any Tax resulting from the cancellation or discharge of Indebtedness.

        6.6.   Restrictions on Subsidiary Distributions. Except as otherwise permitted under
this Agreement, no Credit Party shall, nor shall it permit any of its Subsidiaries to, create or
otherwise cause or suffer to exist or become effective any consensual encumbrance or restriction
of any kind on the ability of any other Credit Party to (a) pay dividends or make any other
distributions on any of such Credit Party’s Capital Stock owned by a Credit Party, (b) repay or
prepay any Indebtedness owed by such Credit Party to any other Credit Party, (c) make loans or
advances to any other Credit Party, or (d) transfer any of its property or assets to any other Credit
Party other than restrictions (i) in agreements evidencing Capital Leases and purchase money

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Indebtedness permitted by Section 6.1 that impose restrictions on the property so acquired, (ii) by
reason of customary provisions restricting assignments, subletting or other transfers contained in
leases, licenses, joint venture agreements and similar agreements entered into in the ordinary
course of business, and (iii) that are or were created by virtue of any transfer of, agreement to
transfer or option or right with respect to any property, assets or Capital Stock not otherwise
prohibited under this Agreement.

        6.7.    Investments. No Credit Party shall, nor shall it permit any of its Subsidiaries to,
directly or indirectly, make or own any Investment in any Person, including any Joint Venture and
any Foreign Subsidiary, except:

                 (a)      Investments in Cash and Cash Equivalents;

              (b)   equity Investments owned as of the Closing Date in any other Credit Party
and Investments made after the Closing Date in any other Credit Party; and

                 (c)      Investments existing on the Closing Date and described in Schedule 6.7.

Notwithstanding the foregoing, in no event shall any Credit Party make any Investment which
results in or facilitates in any manner any Restricted Junior Payment not otherwise permitted under
the terms of Section 6.5.

        6.8.     Bankruptcy Matters.

               (a)      Certain Payments. Except as permitted in the applicable Order and other
than applications to the Bankruptcy Court for authority to make any such payments upon, and in
connection with, the confirmation of a Bankruptcy Plan, no Credit Party shall, or shall apply to the
Bankruptcy Court for authority to, make any non-ordinary course payments, other than (a) non-
ordinary course payments contemplated by the first day orders (and any related final orders with
respect thereto), (b) the payment of cure amounts in connection with the assumption of contracts
approved by the Bankruptcy Court and approved and consented to by the Requisite Lenders and
(c) other payments in the amounts and during the periods set forth in the Budget.

               (b)     Chapter 11 Claims. Except for the Carve-Out, no Credit Party shall, nor
shall any Credit Party apply to the Bankruptcy Court for authority to, incur, create, assume, suffer
to exist or permit any super-priority claim or Lien which is pari passu with or senior to (a) the
claims of Administrative Agent and Lenders granted pursuant to the Credit Documents or (b) prior
to payment in full of the Pre-Petition Obligations as contemplated by the RSA, the claims of
Pre-Petition Agent and Pre-Petition Lenders granted pursuant to the Orders.

               (c)     Pre-Petition Payments. Without the prior written consent of Administrative
Agent, as directed by the Requisite Lenders, no Credit Party shall, nor shall any Credit Party apply
to the Bankruptcy Court for authority to: (a) make any payment with respect to pre-petition
obligations of any of Credit Parties (other than as permitted by the first-day orders, the Orders or
this Agreement (including with respect to the Pre-Petition Obligations)), (b) amend, modify or
change any agreement or document relating to any pre-petition Indebtedness, or (c) make any
payment on any post-petition Indebtedness outside of such Credit Party’s ordinary course of
business; provided, however, (i) Credit Parties may make the payments specifically contemplated
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in the first-day orders, the Budget or payments in connection with the assumption of any contract
or lease approved by the Bankruptcy Court and consented to by the Requisite Lenders; and
(ii) Credit Parties may apply to the Bankruptcy Court for authority to make any such payments or
changes upon, and in connection with, the confirmation of a Bankruptcy Plan.

              (d)     Maximum Cash Disbursements. The Credit Parties shall not disburse any
amounts in excess of the Budget, subject to the Permitted Variances.

                (e)    Minimum Liquidity. The Credit Parties shall not permit Liquidity to be less
than $1,000,000 at any time. As used herein, “Liquidity” means, as of any date of determination,
an amount equal to (i) the remaining amount available to be drawn by the Credit Parties as of such
date in accordance with Section 2.1(a) plus (ii) the unrestricted Cash of the Credit Parties held as
of such date in Controlled Accounts.

        6.9.    Fundamental Changes; Disposition of Assets; Acquisitions. No Credit Party
shall, nor shall it permit any of its Subsidiaries to, (i) enter into any transaction of merger or
consolidation, or liquidate, wind-up or dissolve itself (or suffer any liquidation or dissolution), or
convey, sell, lease or sublease (as lessor or sublessor), (ii) exchange, transfer or otherwise dispose
of, in one transaction or a series of transactions, all or any part of its business, assets or property
of any kind whatsoever, whether real, personal or mixed and whether tangible or intangible,
whether now owned or hereafter acquired, or (iii) acquire by purchase or otherwise (other than
purchases or other acquisitions of inventory, materials and equipment and Consolidated Capital
Expenditures in the ordinary course of business to the extent otherwise made in accordance with
the Budget) the business, property or fixed assets of, or Capital Stock or other evidence of
beneficial ownership of, any Person or any division or line of business or other business unit of
any Person, except:

                 (a)      sales or other dispositions of assets that do not constitute Asset Sales;

                 (b)      Investments made in accordance with Section 6.7;

               (c)     to the extent approved by the Bankruptcy Court, Asset Sales with respect to
certain Real Estate Assets of the Credit Parties for which a binding purchase or sale agreement has
been executed by the applicable Credit Party prior to the Closing Date but which Asset Sales are
consummated after the Closing Date and prior to November 10, 2020, in any case, solely in
accordance with the terms and conditions of those agreements set forth on Schedule 6.9(c) (without
further amendment by the parties thereto); provided, the Net Asset Sale Proceeds thereof are
applied by the Credit Parties in accordance with Section 2.13(a);

                (d)      Asset Sales of certain fee-owned Real Estate Assets which are approved by
the Bankruptcy Court, as long as (i) the Net Asset Sale Proceeds from any such Asset Sale are
100% Cash or Cash Equivalents, (ii) the purchaser in any such Asset Sale is not an Affiliate of any
Credit Party, (iii) the terms of any such Asset Sale shall (A) be arms-length, including “as-is” or
similar limited representations from the seller Credit Party, and (B) not impose any material
residual obligations on the seller Credit Party (contingent or otherwise) other than customary
indemnification obligations, (iv) the Cash purchase price for such Real Estate Asset shall equal or
exceed (I) 75.0% of the “Hilco BOV” set forth on Schedule 6.9(d) with respect to such Real Estate

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Asset or (II) 95.0% of the “Hilco BOV” set forth on Schedule 6.9(d) with respect to all such Real
Estate Assets in the aggregate, and (v) the Net Asset Sale Proceeds of any such Asset Sale are
applied by the Credit Parties in accordance with Section 2.13(a);

                (e)     certain Asset Sales by the Credit Parties of assets other than Real Estate
Assets which are approved by the Bankruptcy Court, as long as either (i) (A) Administrative Agent
shall have provided its prior approval to any such Asset Sale (which approval may be via email)
and (B) the Net Asset Sale Proceeds thereof are applied by the Credit Parties in accordance with
Section 2.13(a) or (ii) solely to the extent the Net Asset Sale Proceeds from any such Asset Sale
are less than $25,000, each of the following conditions is satisfied: (A) the Net Asset Sale Proceeds
from such Asset Sale are 100% Cash or Cash Equivalents, (B) the purchaser in any such Asset
Sale is not an Affiliate of any Credit Party, (C) the terms of any such Asset Sale shall (I) be arms-
length, including “as is” or similar limited representations from the seller Credit Party, (II) not
impose any material residual obligations on the seller Credit Party (contingent or otherwise) other
than customary indemnification obligations, and (III) be for at least the fair market value of the
applicable asset(s) as determined in the good faith judgement of the seller Credit Party in light of
the facts and circumstances at the time of such Asset Sale, and (E) the Net Asset Sale Proceeds
thereof are applied by the Credit Parties in accordance with Section 2.13(a);

               (f)     an Asset Sale of the RT Lodge to the extent approved by the Bankruptcy
Court, as long as (i) such Asset Sale does not occur in any event prior to October 9, 2020, (ii)
GSSLG has not elected to receive the Lodge Consideration (as defined in the RSA) in accordance
with the RSA, (iii) the Net Asset Sale Proceeds from any such Asset Sale are 100% Cash or Cash
Equivalents, (iv) the purchaser in any such Asset Sale is not an Affiliate of any Credit Party, (v)
the terms of any such Asset Sale shall (A) be arms-length, including “as-is” or similar limited
representations from the seller Credit Party, and (B) not impose any material residual obligations
on the seller Credit Party (contingent or otherwise) other than customary indemnification
obligations, (vi) the Cash purchase price for such Real Estate Asset shall equal or exceed the
amount set forth on Schedule 6.9(f), and (vii) the Net Asset Sale Proceeds of any such Asset Sale
are applied by the Credit Parties in accordance with Section 2.13(a); and

              (g)     other Asset Sales which are approved by both the Bankruptcy Court and the
Requisite Lenders, in their reasonable discretion, in any case, as long as the Net Asset Sale
Proceeds thereof are applied by the Credit Parties in accordance with Section 2.13(a).

        Subject to compliance with Section 2.13, and at the sole cost and expense of the Credit
Parties, promptly upon the written request of Borrower Representative, Collateral Agent shall
deliver to the applicable Credit Party, such documents and instruments reasonably necessary to
release any Liens securing the interests of the Secured Parties that have attached to any Collateral
that has been sold in compliance with this Section 6.9, including the termination of any Mortgage
encumbering the Collateral so sold in compliance with this Section 6.9. For the avoidance of doubt
and notwithstanding the foregoing, no Credit Party shall assign any purchase option or similar
right arising under any lease or similar agreement, in any case, without the prior written consent
of the Requisite Lenders.

        6.10. Disposal of Subsidiary Interests. No Credit Party shall, nor shall it permit any of
its Subsidiaries to, (a) directly or indirectly sell, assign, pledge or otherwise encumber or dispose
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of any Capital Stock of any of its Subsidiaries, except to qualify directors if required by applicable
law, or as required under applicable law to permit such Credit Party to secure a liquor license; or
(b) permit any of its Subsidiaries directly or indirectly to sell, assign, pledge or otherwise encumber
or dispose of any Capital Stock of any of its Subsidiaries, except to another Credit Party (subject
to the restrictions on such disposition otherwise imposed hereunder), or to qualify directors if
required by applicable law, or as required under applicable law to permit such Credit Party to
secure a liquor license.

        6.11. Sales and Lease-Backs. No Credit Party shall, nor shall it permit any of its
Subsidiaries to, directly or indirectly, become or remain liable as lessee or as a guarantor or other
surety with respect to any lease of any property (whether real, personal or mixed), whether now
owned or hereafter acquired, which such Credit Party (a) has sold or transferred or is to sell or to
transfer to any other Person (other than another Credit Party) or (b) intends to use for substantially
the same purpose as any other property which has been or is to be sold or transferred by such
Credit Party to any Person (other than another Credit Party) in connection with such lease.

        6.12. Transactions with Shareholders and Affiliates. No Credit Party shall, nor shall
it permit any of its Subsidiaries to, directly or indirectly, enter into or permit to exist any transaction
(including the purchase, sale, lease or exchange of any property or the rendering of any service)
with any holder of 5% or more of any class of Capital Stock of any Credit Party or any of its
Subsidiaries (or any Affiliate of such holder) or with any Affiliate of any Credit Party or of any
such holder; provided, however, the Credit Parties and their Subsidiaries may enter into or permit
to exist any such transaction if both (a) Administrative Agent and the Requisite Lenders in their
reasonable discretion have consented thereto in writing prior to the consummation thereof, and (b)
the terms of such transaction are not less favorable to such Credit Party or that Subsidiary, as the
case may be, than those that might be obtained at the time from a Person who is not such a holder
or Affiliate; provided, further, the foregoing restrictions shall not apply to (i) subject to compliance
by Holdings with Section 6.14(a) hereof, any transaction between the Credit Parties; (ii) reasonable
and customary fees paid to members of the board of directors (or similar governing body), officers
and members of senior management of the Credit Parties in the amounts and during the periods
specifically set forth in the Budget; and (iii) transactions existing on the Closing Date and
described in Schedule 6.12. Borrower Representative shall disclose in writing each transaction
with any holder of 5% or more of any class of Capital Stock of any Credit Party or any of its
Subsidiaries or with any Affiliate of Holdings or of any such holder to Administrative Agent.

       6.13. Conduct of Business; Foreign Subsidiaries. No Credit Party shall, nor shall it
permit any of its Subsidiaries to, engage in any business other than owning, operating and
franchising Ruby Tuesday restaurants, offering virtual restaurant fulfillment services, operating
the RT Lodge and other business activities reasonably related thereto. No Credit Party shall create
or acquire any Foreign Subsidiary.

        6.14.    Permitted Activities of Holdings and the Wicomico County Subsidiaries.

               (a)    Holdings shall not (i) incur, directly or indirectly, any Indebtedness or any
other obligations or liability whatsoever other than the Obligations and any Indebtedness of
Holdings permitted under Section 6.1(b)); (ii) create or suffer to exist any Lien upon any property
or assets now owned or hereafter acquired by it other than (A) the Liens created under the
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Collateral Documents to which it is a party and (B) Permitted Liens applicable to Holdings;
(iii) engage in any business or activity or own any assets other than (A) holding 100% of the
Capital Stock of RTI; (B) performing its obligations and activities incidental thereto under the
Credit Documents and the RSA; and (C) making Restricted Junior Payments and Investments to
the extent permitted by this Agreement; (iv) consolidate with or merge with or into, or convey,
transfer or lease all or substantially all its assets to, any Person; (v) sell or otherwise dispose of any
Capital Stock of any of its Subsidiaries; (vi) create or acquire any Subsidiary or make or own any
Investment in any Person other than RTI; or (vii) fail to hold itself out to the public as a legal entity
separate and distinct from all other Persons. In addition, Holdings shall not create, store or locate
at its office located at 4170 Ashford Dunwoody Road, Suite 390, Atlanta, Georgia 30319 any
material books and records relating to Holdings and its Subsidiaries and their respective businesses
which are not otherwise accessible (whether electronically or as a result of duplicates being located
at an applicable location) from a location owned or leased by RTI or one of its Subsidiaries.

                (b)       Each of the Wicomico County Subsidiaries shall not, and RTI shall not
permit either of the Wicomico County Subsidiaries to, (i) incur, directly or indirectly, any
Indebtedness or any other obligation or liability whatsoever other than any Indebtedness existing
under its Liquor Subsidiary Contracts; (ii) create or suffer to exist any Lien upon any property or
assets now owned or hereafter acquired by it other than Liens disclosed to Administrative Agent
on Schedule 6.2; (iii) engage in any business or activity or own any assets other than holding a
Maryland liquor license in accordance with applicable law and performing such Wicomico County
Subsidiary’s obligations and activities incidental thereto and to the extent not inconsistent with the
applicable Liquor Subsidiary Contracts; (iv) consolidate with or merge with or into, or convey,
transfer or lease all or substantially all its assets to, any Person; (v) sell or otherwise dispose of any
Capital Stock of any of its Subsidiaries; (vi) create or acquire any Subsidiary or make or own any
Investment in any Person; or (vii) fail to hold itself out to the public as a legal entity separate and
distinct from all other Persons.

       6.15. Fiscal Year. No Credit Party shall, nor shall it permit any of its Subsidiaries to
change its Fiscal Year-end from the first Tuesday ended closest to June 1 of each year.

        6.16. Deposit Accounts. No Credit Party shall establish or maintain a Deposit Account
or a securities account that is not a Controlled Account and no Credit Party shall deposit funds in
a Deposit Account or a securities account which is not a Controlled Account, in each case, except
to the extent permitted, an Excluded Account. No Credit Party shall (a) grant any other Person
(other than another Credit Party) Automated Clearing House (ACH) or similar debit rights to any
Controlled Account other than in connection with any lease agreements constituting Sale
Leaseback Transaction Documents (as defined in the Pre-Petition Credit Agreement), (b) allow
any Credit Card Processor (as defined in the Pre-Petition Credit Agreement) to transfer money
owing to any Credit Party or its Subsidiaries to any account that is not a Controlled Account, or
(c) during the continuation of an Event of Default, if requested by Collateral Agent, fail to promptly
(but no later than the Business Day following such request by Collateral Agent) instruct any Credit
Card Processor to transfer money owing to the Credit Parties or their Subsidiaries to an account
designated by Collateral Agent. In furtherance of the foregoing, in the event any applicable
Excluded Account at any time contains funds in excess of the limits set forth in clause (c) of the
definition of the term “Excluded Account”, the Credit Parties shall promptly (and in any event

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within three (3) Business Days of the date that such limits are exceeded) transfer all such excess
amounts to a Controlled Account.

        6.17. Amendments to Organizational Agreements, Material Contracts and Liquor
Subsidiary Contracts. No Credit Party shall (a) amend or permit any amendments to any Credit
Party’s or the Wicomico County Subsidiaries’ Organizational Documents, (b) amend or permit
any amendments to, or terminate or waive any provision of, any Material Contract or Liquor
Subsidiary Contract, or (c) amend, provide a consent under, subordinate, waive any term of, agree
to forbear with respect to or otherwise alter in any manner whatsoever that certain Promissory
Note, dated December 21, 2017, owing by SFI to RTI, in any case, without the prior written
consent of Administrative Agent. No Credit Party shall amend or permit any amendments to, or
agree to terminate, terminate, agree to waive or waive any provision of, any loan document or
other agreement evidencing any CARES Act Indebtedness (as defined in the Pre-Petition Credit
Agreement) without the prior written consent of Administrative Agent, except that any Credit
Party may at any time seek forgiveness of any of the CARES Act Indebtedness. In addition, no
Credit Party shall take any action of any kind whatsoever to in any manner limit those matters
requiring the affirmative vote of at least one independent director of RTI on the Petition Date.

        6.18. Prepayments of Certain Indebtedness. No Credit Party shall, nor shall it permit
any of its Affiliates to, directly or indirectly, prepay, redeem, purchase, defease, exchange or
repurchase any (i) Permitted Debt (other than amounts owing under the Credit Documents), or (ii)
any obligation owing under a lease, other than solely in the amounts and during the periods
specifically set forth in the Budget, and no Credit Party shall amend or modify any of the terms of
any Permitted Debt or Permitted Liens without the prior written consent of Administrative Agent.

       6.19. Compliance With Anti-Terrorism Laws, Anti-Corruption Laws and
Sanctions. No Credit Party shall, nor shall it permit any of its Affiliates to:

                (a)    (i) violate any Anti-Terrorism Laws or Anti-Corruption Laws, (ii) engage
in any transaction, investment, undertaking or activity that conceals the identity, source or
destination of the proceeds from any category of prohibited offenses designated by the
Organization for Economic Co-operation and Development’s Financial Action Task Force on
Money Laundering, (iii) become (including by virtue of being owned or controlled by a Blocked
Person), own or control a Blocked Person or any other Sanctioned Person or (iv) knowingly permit
any of their respective Affiliates to violate these laws or engage in these actions;

                (b)    use, directly or indirectly, the proceeds of the Loans, or lend, contribute or
otherwise make available such proceeds to any Person, (x) to fund any activities or business of or
with any Sanctioned Person or Sanctioned Country, or (y) in any other manner that would result
in a violation of Sanctions or any Anti-Terrorism Laws or Anti-Corruption Laws by any Person
(including any Person participating in the Loans, whether as underwriter, advisor, investor, or
otherwise); or

                (c)     (i) deal in, or otherwise engage in any transaction related to, any property
or interests in property blocked pursuant to any Anti-Terrorism Law or Sanctions, or (ii) engage
in or conspire to engage in any transaction that evades or avoids, or has the purpose of evading or


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avoiding, or attempt to violate, any of the prohibitions set forth in any Anti-Terrorism Law or
Sanctions, or (iii) knowingly permit any of their respective Affiliates to do any of the foregoing.

        6.20.    Capital Stock. No Credit Party shall issue any Capital Stock.

       6.21. Board Fees. No Credit Party shall pay any board fees or expenses (or similar fees
or amounts to Persons serving in a similar role for any Credit Party), other than board of director
fees and expenses paid to each director of RTI not to exceed (a) $27,500 per director in any
calendar month or (b) $137,500 for all directors of RTI in any calendar month.

SECTION 7.         GUARANTY

        7.1.   Guaranty of the Obligations. Subject to the provisions of Section 7.2, Guarantors
jointly and severally hereby irrevocably and unconditionally guaranty to Administrative Agent for
the ratable benefit of the Beneficiaries the due and punctual payment in full in Cash of all
Obligations when the same shall become due, whether at stated maturity, by required prepayment,
declaration, acceleration, demand or otherwise (collectively, the “Guaranteed Obligations”).

        7.2.    Contribution by Guarantors. All Guarantors desire to allocate among themselves
(collectively, the “Contributing Guarantors”), in a fair and equitable manner, their obligations
arising under this Guaranty. Accordingly, in the event any payment or distribution is made on any
date by a Guarantor (a “Funding Guarantor”) under this Guaranty such that its Aggregate
Payments exceeds its Fair Share as of such date, such Funding Guarantor shall be entitled to a
contribution from each of the other Contributing Guarantors in an amount sufficient to cause each
Contributing Guarantor’s Aggregate Payments to equal its Fair Share as of such date. “Fair
Share” means, with respect to a Contributing Guarantor as of any date of determination, an amount
equal to (a) the ratio of (i) the Fair Share Contribution Amount with respect to such Contributing
Guarantor, to (ii) the aggregate of the Fair Share Contribution Amounts with respect to all
Contributing Guarantors; multiplied by (b) the aggregate amount paid or distributed on or before
such date by all Funding Guarantors under this Guaranty in respect of the obligations Guaranteed.
“Fair Share Contribution Amount” means, with respect to a Contributing Guarantor as of any
date of determination, the maximum aggregate amount of the obligations of such Contributing
Guarantor under this Guaranty that would not render its obligations hereunder subject to avoidance
as a fraudulent transfer or conveyance under Section 548 of Title 11 of the United States Code or
any comparable applicable provisions of state law; provided, solely for purposes of calculating the
“Fair Share Contribution Amount” with respect to any Contributing Guarantor for purposes of
this Section 7.2, any assets or liabilities of such Contributing Guarantor arising by virtue of any
rights to subrogation, reimbursement or indemnification or any rights to or obligations of
contribution hereunder shall not be considered as assets or liabilities of such Contributing
Guarantor. “Aggregate Payments” means, with respect to a Contributing Guarantor as of any
date of determination, an amount equal to (I) the aggregate amount of all payments and
distributions made on or before such date by such Contributing Guarantor in respect of this
Guaranty (including in respect of this Section 7.2), minus (II) the aggregate amount of all
payments received on or before such date by such Contributing Guarantor from the other
Contributing Guarantors as contributions under this Section 7.2. The amounts payable as
contributions hereunder shall be determined as of the date on which the related payment or
distribution is made by the applicable Funding Guarantor. The allocation among Contributing
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Guarantors of their obligations as set forth in this Section 7.2 shall not be construed in any way to
limit the liability of any Contributing Guarantor hereunder. Each Guarantor is a third party
beneficiary to the contribution agreement set forth in this Section 7.2.

        7.3.    Payment by Guarantors. Subject to Section 7.2, Guarantors hereby jointly and
severally agree, in furtherance of the foregoing and not in limitation of any other right which any
Beneficiary may have at law or in equity against any Guarantor by virtue hereof, that upon the
failure of Borrowers to pay any of the Guaranteed Obligations when and as the same shall become
due, whether at stated maturity, by required prepayment, declaration, acceleration, demand or
otherwise, Guarantors shall upon demand pay, or cause to be paid, in Cash, to Administrative
Agent for the ratable benefit of Beneficiaries, an amount equal to the sum of the unpaid principal
amount of all Guaranteed Obligations then due as aforesaid, accrued and unpaid interest on such
Guaranteed Obligations and all other Guaranteed Obligations then owed to Beneficiaries as
aforesaid.

        7.4.   Liability of Guarantors Absolute. Each Guarantor agrees that its obligations
hereunder are irrevocable, absolute, independent and unconditional and shall not be affected by
any circumstance which constitutes a legal or equitable discharge of a guarantor or surety other
than payment in full in Cash of the Guaranteed Obligations (other than contingent indemnification
Obligations for which no claim has been made). In furtherance of the foregoing and without
limiting the generality thereof, each Guarantor agrees as follows:

              (a)     this Guaranty is a guaranty of payment when due and not of collectability.
This Guaranty is a primary obligation of each Guarantor and not merely a contract of surety;

              (b)     Administrative Agent may enforce this Guaranty upon the occurrence of an
Event of Default notwithstanding the existence of any dispute between any Borrower and any
Beneficiary with respect to the existence of such Event of Default;

               (c)    the obligations of each Guarantor hereunder are independent of the
obligations of Borrowers and the obligations of any other guarantor (including any other
Guarantor) of the obligations of Borrowers, and a separate action or actions may be brought and
prosecuted against such Guarantor whether or not any action is brought against Borrowers or any
of such other guarantors and whether or not Borrowers are joined in any such action or actions;

               (d)     payment by any Guarantor of a portion, but not all, of the Guaranteed
Obligations shall in no way limit, affect, modify or abridge any Guarantor’s liability for any
portion of the Guaranteed Obligations which has not been paid. Without limiting the generality
of the foregoing, if Administrative Agent is awarded a judgment in any suit brought to enforce any
Guarantor’s covenant to pay a portion of the Guaranteed Obligations, such judgment shall not be
deemed to release such Guarantor from its covenant to pay the portion of the Guaranteed
Obligations that is not the subject of such suit, and such judgment shall not, except to the extent
satisfied by such Guarantor, limit, affect, modify or abridge any other Guarantor’s liability
hereunder in respect of the Guaranteed Obligations;

             (e)    any Beneficiary, upon such terms as it deems appropriate, without notice or
demand and without affecting the validity or enforceability hereof or giving rise to any reduction,

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limitation, impairment, discharge or termination of any Guarantor’s liability hereunder, from time
to time may (i) renew, extend, accelerate, increase the rate of interest on, or otherwise change the
time, place, manner or terms of payment of the Guaranteed Obligations; (ii) settle, compromise,
release or discharge, or accept or refuse any offer of performance with respect to, or substitutions
for, the Guaranteed Obligations or any agreement relating thereto and/or subordinate the payment
of the same to the payment of any other obligations; (iii) request and accept other guaranties of the
Guaranteed Obligations and take and hold security for the payment hereof or the Guaranteed
Obligations; (iv) release, surrender, exchange, substitute, compromise, settle, rescind, waive, alter,
subordinate or modify, with or without consideration, any security for payment of the Guaranteed
Obligations, any other guaranties of the Guaranteed Obligations, or any other obligation of any
Person (including any other Guarantor) with respect to the Guaranteed Obligations; (v) enforce
and apply any security now or hereafter held by or for the benefit of such Beneficiary in respect
hereof or the Guaranteed Obligations and direct the order or manner of sale thereof, or exercise
any other right or remedy that such Beneficiary may have against any such security, in each case
as such Beneficiary in its sole discretion may determine consistent herewith and any applicable
security agreement, including foreclosure on any such security pursuant to one or more judicial or
nonjudicial sales, whether or not every aspect of any such sale is commercially reasonable, and
even though such action operates to impair or extinguish any right of reimbursement or
subrogation or other right or remedy of any Guarantor against Borrowers or any security for the
Guaranteed Obligations; and (vi) exercise any other rights available to it under the Credit
Documents; and

                 (f)    this Guaranty and the obligations of Guarantors hereunder shall be valid and
enforceable and shall not be subject to any reduction, limitation, impairment, discharge or
termination for any reason (other than payment in full in Cash of the Guaranteed Obligations (other
than contingent indemnification Obligations for which no claim has been made)), including the
occurrence of any of the following, whether or not any Guarantor shall have had notice or
knowledge of any of them: (i) any failure or omission to assert or enforce, or agreement or election
not to assert or enforce, or the stay or enjoining, by order of court, by operation of law or otherwise,
of the exercise or enforcement of, any claim or demand or any right, power or remedy (whether
arising under the Credit Documents, at law, in equity or otherwise) with respect to the Guaranteed
Obligations or any agreement relating thereto, or with respect to any other guaranty of or security
for the payment of the Guaranteed Obligations; (ii) any rescission, waiver, amendment or
modification of, or any consent to departure from, any of the terms or provisions (including
provisions relating to events of default) hereof, any of the other Credit Documents or any
agreement or instrument executed pursuant thereto, or of any other guaranty or security for the
Guaranteed Obligations, in each case whether or not in accordance with the terms hereof or such
Credit Document or any agreement relating to such other guaranty or security; (iii) the Guaranteed
Obligations, or any agreement relating thereto, at any time being found to be illegal, invalid or
unenforceable in any respect; (iv) the application of payments received from any source (other
than payments received pursuant to the other Credit Documents or from the proceeds of any
security for the Guaranteed Obligations, except to the extent such security also serves as collateral
for indebtedness other than the Guaranteed Obligations) to the payment of indebtedness other than
the Guaranteed Obligations, even though any Beneficiary might have elected to apply such
payment to any part or all of the Guaranteed Obligations; (v) any Beneficiary’s consent to the
change, reorganization or termination of the corporate structure or existence of any Credit Party
or any of its Subsidiaries and to any corresponding restructuring of the Guaranteed Obligations;
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(vi) any failure to perfect or continue perfection of a security interest in any collateral which
secures any of the Guaranteed Obligations; (vii) any defenses, set-offs or counterclaims which
Borrowers may allege or assert against any Beneficiary in respect of the Guaranteed Obligations,
including failure of consideration, breach of warranty, payment, statute of frauds, statute of
limitations, accord and satisfaction and usury; and (viii) any other act or thing or omission, or delay
to do any other act or thing, which may or might in any manner or to any extent vary the risk of
any Guarantor as an obligor in respect of the Guaranteed Obligations.

         7.5.    Waivers by Guarantors. Each Guarantor hereby waives, for the benefit of
Beneficiaries: (a) any right to require any Beneficiary, as a condition of payment or performance
by such Guarantor, to (i) proceed against Borrowers, any other guarantor (including any other
Guarantor) of the Guaranteed Obligations or any other Person, (ii) proceed against or exhaust any
security held from Borrowers, any such other guarantor or any other Person, (iii) proceed against
or have resort to any balance of any Deposit Account or securities account or credit on the books
of any Beneficiary in favor of Borrowers or any other Person, or (iv) pursue any other remedy in
the power of any Beneficiary whatsoever; (b) any defense arising by reason of the incapacity, lack
of authority or any disability or other defense of Borrowers or any other Guarantor, including any
defense based on or arising out of the lack of validity or the unenforceability of the Guaranteed
Obligations or any agreement or instrument relating thereto or by reason of the cessation of the
liability of Borrowers or any other Guarantor from any cause other than payment in full in Cash
of the Guaranteed Obligations; (c) any defense based upon any statute or rule of law which
provides that the obligation of a surety must be neither larger in amount nor in other respects more
burdensome than that of the principal; (d) any defense based upon any Beneficiary’s errors or
omissions in the administration of the Guaranteed Obligations, except behavior which amounts to
bad faith; (e) (i) any principles or provisions of law, statutory or otherwise, which are or might be
in conflict with the terms hereof and any legal or equitable discharge of such Guarantor’s
obligations hereunder, (ii) the benefit of any statute of limitations affecting such Guarantor’s
liability hereunder or the enforcement hereof, (iii) any rights to set-offs, recoupments and
counterclaims, and (iv) promptness, diligence and any requirement that any Beneficiary protect,
secure, perfect or insure any security interest or lien or any property subject thereto; (f) notices,
demands, presentments, protests, notices of protest, notices of dishonor and notices of any action
or inaction, including acceptance hereof, notices of default hereunder or any agreement or
instrument related thereto, notices of any renewal, extension or modification of the Guaranteed
Obligations or any agreement related thereto, notices of any extension of credit to any Borrower
and notices of any of the matters referred to in Section 7.4 and any right to consent to any thereof;
and (g) any defenses or benefits that may be derived from or afforded by law which limit the
liability of or exonerate guarantors or sureties, or which may conflict with the terms hereof.

        7.6.    Guarantors’ Rights of Subrogation, Contribution, etc. Until the Guaranteed
Obligations (other than contingent indemnification Obligations for which no claim has been made)
shall have been indefeasibly paid in full in Cash and the Commitments shall have terminated and
all Existing Letters of Credit shall have expired or been cancelled, each Guarantor hereby waives
any claim, right or remedy, direct or indirect, that such Guarantor now has or may hereafter have
against any Borrower or any other Guarantor or any of its assets in connection with this Guaranty
or the performance by such Guarantor of its obligations hereunder, in each case whether such
claim, right or remedy arises in equity, under contract, by statute, under common law or otherwise
and including (a) any right of subrogation, reimbursement or indemnification that such Guarantor
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now has or may hereafter have against any Borrower with respect to the Guaranteed Obligations,
(b) any right to enforce, or to participate in, any claim, right or remedy that any Beneficiary now
has or may hereafter have against any Borrower, and (c) any benefit of, and any right to participate
in, any Collateral or security now or hereafter held by any Beneficiary. In addition, until the
Guaranteed Obligations (other than contingent indemnification Obligations for which no claim has
been made) shall have been indefeasibly paid in full in Cash and the Commitments shall have
terminated and all Existing Letters of Credit shall have expired or been cancelled, each Guarantor
shall withhold exercise of any right of contribution such Guarantor may have against any other
guarantor (including any other Guarantor) of the Guaranteed Obligations, including any such right
of contribution as contemplated by Section 7.2. Each Guarantor further agrees that, to the extent
the waiver or agreement to withhold the exercise of its rights of subrogation, reimbursement,
indemnification and contribution as set forth herein is found by a court of competent jurisdiction
to be void or voidable for any reason, any rights of subrogation, reimbursement or indemnification
such Guarantor may have against Borrowers or against any collateral or security, and any rights of
contribution such Guarantor may have against any such other guarantor, shall be junior and
subordinate to any rights any Beneficiary may have against Borrowers, to all right, title and interest
any Beneficiary may have in any such collateral or security, and to any right any Beneficiary may
have against such other guarantor. If any amount shall be paid to any Guarantor on account of any
such subrogation, reimbursement, indemnification or contribution rights at any time when all
Guaranteed Obligations shall not have been finally and indefeasibly paid in full in Cash (other than
contingent indemnification Obligations for which no claim has been made), such amount shall be
held in trust for Administrative Agent on behalf of Beneficiaries and shall forthwith be paid over
to Administrative Agent for the benefit of Beneficiaries to be credited and applied against the
Guaranteed Obligations, whether matured or unmatured, in accordance with the terms hereof.

        7.7.   Subordination of Other Obligations. Any Indebtedness of Borrowers or any
Guarantor now or hereafter held by any Guarantor (the “Obligee Guarantor”) is hereby
subordinated in right of payment to the Guaranteed Obligations, and any such indebtedness
collected or received by the Obligee Guarantor after an Event of Default has occurred and is
continuing shall be held in trust for Administrative Agent on behalf of Beneficiaries and shall
forthwith be paid over to Administrative Agent for the benefit of Beneficiaries to be credited and
applied against the Guaranteed Obligations but without affecting, impairing or limiting in any
manner the liability of the Obligee Guarantor under any other provision hereof.

        7.8.     Continuing Guaranty. This Guaranty is a continuing guaranty and shall remain
in effect until all of the Guaranteed Obligations (other than contingent indemnification Obligations
for which no claim has been made) shall have been indefeasibly paid in full in Cash and the
Commitments shall have terminated and all Existing Letters of Credit shall have expired or been
cancelled. Each Guarantor hereby irrevocably waives any right to revoke this Guaranty as to future
transactions giving rise to any Guaranteed Obligations.

        7.9.   Authority of any Credit Party. It is not necessary for any Beneficiary to inquire
into the capacity or powers of any Credit Party or the officers, directors or agents acting or
purporting to act on behalf of any of them.

      7.10. Financial Condition of Borrowers. Any Credit Extension may be made to
Borrowers or continued from time to time without notice to or authorization from any Guarantor
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regardless of the financial or other condition of Borrowers at the time of any such grant or
continuation, as the case may be. No Beneficiary shall have any obligation to disclose or discuss
with any Guarantor its assessment, or any Guarantor’s assessment, of the financial condition of
Borrowers. Each Guarantor has adequate means to obtain information from Borrowers on a
continuing basis concerning the financial condition of Borrowers and their ability to perform its
obligations under the Credit Documents, and each Guarantor assumes the responsibility for being
and keeping informed of the financial condition of Borrowers and of all circumstances bearing
upon the risk of nonpayment of the Guaranteed Obligations. Each Guarantor hereby waives and
relinquishes any duty on the part of any Beneficiary to disclose any matter, fact or thing relating
to the business, operations or conditions of Borrowers now known or hereafter known by any
Beneficiary.

        7.11.    Bankruptcy, etc.

               (a)    The obligations of Guarantors hereunder shall not be reduced, limited,
impaired, discharged, deferred, suspended or terminated by any case or proceeding, voluntary or
involuntary, involving the bankruptcy, insolvency, receivership, reorganization, liquidation or
arrangement of any Borrower or any other Guarantor or by any defense which any Borrower or
any other Guarantor may have by reason of the order, decree or decision of any court or
administrative body resulting from any such proceeding.

                (b)    Each Guarantor acknowledges and agrees that any interest on any portion
of the Guaranteed Obligations which accrues after the commencement of any case or proceeding
referred to in Section 7.11(a) (or, if interest on any portion of the Guaranteed Obligations ceases
to accrue by operation of law by reason of the commencement of such case or proceeding, such
interest as would have accrued on such portion of the Guaranteed Obligations if such case or
proceeding had not been commenced) shall be included in the Guaranteed Obligations because it
is the intention of Guarantors and Beneficiaries that the Guaranteed Obligations which are
guaranteed by Guarantors pursuant hereto should be determined without regard to any rule of law
or order which may relieve Borrowers of any portion of such Guaranteed Obligations. Guarantors
shall permit any trustee in bankruptcy, receiver, debtor in possession, assignee for the benefit of
creditors or similar Person to pay Administrative Agent, or allow the claim of Administrative
Agent in respect of, any such interest accruing after the date on which such case or proceeding is
commenced.

                (c)     In the event that all or any portion of the Guaranteed Obligations are paid
by Borrowers, the obligations of Guarantors hereunder shall continue and remain in full force and
effect or be reinstated, as the case may be, in the event that all or any part of such payment(s) are
rescinded or recovered directly or indirectly from any Beneficiary as a preference, fraudulent
transfer or otherwise, and any such payments which are so rescinded or recovered shall constitute
Guaranteed Obligations for all purposes hereunder.

        7.12. Discharge of Guaranty Upon Sale of Guarantor. If all of the Capital Stock of
any Guarantor or any of its successors in interest hereunder shall be sold or otherwise disposed of
(including by merger or consolidation) in accordance with the terms and conditions hereof, the
Guaranty of such Guarantor or such successor in interest, as the case may be, hereunder shall


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automatically be discharged and released without any further action by any Beneficiary or any
other Person effective as of the time of such Asset Sale.

        7.13. Keepwell. Each Qualified ECP Guarantor hereby jointly and severally absolutely,
unconditionally and irrevocably undertakes to provide such funds or other support as may be
needed from time to time by each other Credit Party to honor all of its obligations under this
Guaranty in respect of Swap Obligations; provided, however, each Qualified ECP Guarantor shall
only be liable under this Section 7.13 for the maximum amount of such liability that can be hereby
incurred without rendering its obligations under this Section 7.13, or otherwise under this
Guaranty, voidable under applicable law relating to fraudulent conveyance or fraudulent transfer,
and not for any greater amount. The obligations of each Qualified ECP Guarantor under this
Section 7.13 shall remain in full force and effect until payment in full in Cash of all Obligations
(other than contingent indemnification Obligations for which no claim has been made). Each
Qualified ECP Guarantor intends that this Section 7.13 constitute, and this Section 7.13 shall be
deemed to constitute, a “keepwell, support, or other agreement” for the benefit of each other Credit
Party for all purposes of Section a(18)(A)(v)(II) of the Commodity Exchange Act.

SECTION 8.         EVENTS OF DEFAULT

         8.1.    Events of Default. If any one or more of the following conditions or events shall
occur:

               (a)     Failure to Make Payments When Due. Failure by any Credit Party to pay
(i) when due the principal of any Loan whether at stated maturity, by acceleration or otherwise; (ii)
when due any installment of principal of any Loan, by notice of voluntary prepayment, by
mandatory prepayment or otherwise; (iii) within three (3) Business Days of when due, any interest
on any Loan or any fee or any premium or other amount due hereunder; or (iv) any amount payable
to Issuing Bank in reimbursement of any drawing under an Existing Letter of Credit.

                 (b)    Default in Other Agreements. (i) Other than any such failure in existence
on the Petition Date, failure of any Credit Party or any of its Subsidiaries to pay when due any
principal of or interest on or any other amount, including any payment in settlement, payable in
respect of one or more items of Indebtedness (other than Indebtedness referred to in Section 8.1(a)
and the Pre-Petition Obligations) in an individual principal amount of $500,000 or more or with
an aggregate principal amount of $1,500,000 or more, in any case, beyond the grace period, if any,
provided therefor; or (ii) other than any such breach or default in existence on the Petition Date,
breach or default by any Credit Party or any of its Subsidiaries with respect to any other material
term of (A) one or more items of Indebtedness in the individual or aggregate principal amounts
referred to in clause (i) of this Section 8.1(b), or (B) any loan agreement, mortgage, indenture or
other agreement relating to such item or items of Indebtedness, in each case beyond the grace
period, if any, provided therefor, if the effect of such breach or default is to cause, or to permit the
holder or holders of that Indebtedness (or a trustee on behalf of such holder or holders), with or
without the passage of time, to cause, that Indebtedness to become or be declared due and payable
(or subject to a compulsory repurchase or other redemption) prior to its stated maturity or the stated
maturity of any underlying obligation, as the case may be; or



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                (c)    Breach of Certain Covenants. Failure of any Credit Party to perform or
comply with any term or condition contained in (i) Section 2.5 (Use of Proceeds), Section 5.1(k)
(Financial Statements and Other Reports), Section 5.2 (Existence), Section 5.4 (Maintenance of
Properties), Section 5.5 (Insurance), Section 5.6 (Inspections), Section 5.7 (Lenders Meetings),
Section 5.8 (Compliance with Laws), Section 5.14(b) (Cash Management Systems), Section 5.15
(Bankruptcy Matters; RSA) or Section 6; or (ii) Section 5.1 (Financial Statements and Other
Reports) (other than Section 5.1(k)) or Section 5.3 (Payment of Taxes and Claims), Section 5.10
(Subsidiaries), Section 5.11 (Additional Real Estate Assets), and such Default under this clause
(ii) continues for seven (7) Business Days or more; or

               (d)      Breach of Representations, etc. Any representation, warranty, certification
or other statement made or deemed made by any Credit Party in any Credit Document or in any
statement or certificate (including any document delivered pursuant to Section 5.1(k)) at any time
given by any Credit Party or any of its Subsidiaries in writing pursuant hereto or thereto or in
connection herewith or therewith shall be false in any material respect as of the date made or
deemed made; or

               (e)     Other Defaults Under Credit Documents. Any Credit Party shall default in
the performance of or compliance with any term contained herein or any of the other Credit
Documents, other than any such term referred to in any other Section of this Section 8.1, and such
default shall not have been remedied or waived within thirty (30) days after the earlier of (i) an
officer of such Credit Party becoming aware of such default, or (ii) receipt by Borrower
Representative of notice from Administrative Agent or any Lender of such default; or

                 (f)      Bankruptcy Matters.

                      (i)     Dismissal. (A) Any of the Cases shall be dismissed or converted to
        a case under Chapter 7 of the Bankruptcy Code, (B) a trustee under Chapter 11 of the
        Bankruptcy Code shall be appointed in any of the Cases, or (C) an examiner having
        enlarged powers relating to the operation of the business of any Borrower or any Guarantor
        (beyond those set forth under Section 1106(a)(3) and (4) of the Bankruptcy Code) under
        Section 1106(b) of the Bankruptcy Code shall be appointed; or

                        (ii)   Interim Order or Final Order Stayed. (A) An order of a court of
        competent jurisdiction shall be entered staying or rescinding the Interim Order or the Final
        Order; (B) an order of a court of competent jurisdiction shall be entered amending,
        supplementing or otherwise modifying the Interim Order without the written consent of the
        Requisite Lenders, or the Final Order without the written consent of the Requisite Lenders;
        (C) until such time as the Pre-Petition Obligations are paid in full as contemplated by the
        RSA, without the written consent of the Requisite Lenders under the Pre-Petition Credit
        Agreement, the Pre-Petition Lenders’ Cash Collateral shall be used in a manner
        inconsistent with the orders authorizing use of Cash Collateral or (except as provided in
        the Final Order) an order of a court of competent jurisdiction authorizes the use of Cash
        Collateral without the written consent of the Requisite Lenders; or (D) an order of a court
        of competent jurisdiction shall be entered terminating the use of the Pre-Petition Lenders’
        Cash Collateral; or


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                       (iii) Bankruptcy Plan. The filing by any Credit Party of any plan of
        reorganization, or a pleading seeking approval of plan of reorganization, other than a
        Bankruptcy Plan, or the termination of the Credit Parties’ “exclusive period” under Section
        1121 of the Bankruptcy Code for the filing of a plan of reorganization; or

                        (iv)    Challenge of Certain Claims. Any attempt by any Credit Party to
        obtain, or if any other party in interest obtains, an order of the Bankruptcy Court or other
        judgment, and the effect of such order or judgment is to, invalidate, reduce or otherwise
        impair Administrative Agent’s, Pre-Petition Agent’s, Pre-Petition Lenders’, or Lenders’
        claims, or to subject Lenders’ or Pre-Petition Lenders’ collateral to any surcharge pursuant
        to Sections 506(c), 552(b), or 105(a) of the Bankruptcy Code, or an order is entered by the
        Bankruptcy Court avoiding or requiring disgorgement by Administrative Agent, Collateral
        Agent, Pre-Petition Agent, Pre-Petition Lenders or Lenders of any amounts paid pursuant
        to the Credit Documents or the Pre-Petition Credit Documents; or

                       (v)     Substitution of Collateral. Any Credit Party shall apply for an order
        substituting any assets for all or any portion of the Collateral; or

                       (vi)    Unauthorized Payments. Any payment on, or application for
        authority to pay, any pre-petition claim owing to terminated employees, bond claims,
        principal under the Pre-Petition Credit Documents, and lease rejection damages, other than
        those required to be paid with the DIP Facility pursuant to the terms of the DIP Facility,
        without the Requisite Lenders’ prior written consent; or

                        (vii) Unpermitted Payment. Any Credit Party shall make any payments
        of Pre-Petition Indebtedness other than (i) as permitted under the Interim Order and/or the
        Final Order (as applicable), (ii) as permitted by any of the orders entered by the Bankruptcy
        Court on or about the Petition Date and in the approximate amounts reflected on the
        Budget, (iii) as otherwise permitted in this Agreement, or (iv) in connection with the
        assumption of any contract or lease approved by the Bankruptcy Court and consented to
        by the Requisite Lenders, or any Credit Party shall pay, or agree to pay, any breakup,
        termination or similar fee, unless otherwise consented to by the Requisite Lenders; or

                      (viii) Relief from Stay. An order shall be entered granting relief from the
        automatic stay permitting foreclosure of any assets of any Credit Party in excess of
        $250,000 in the aggregate, unless such relief is sought by Administrative Agent or any
        Lender; or

                       (ix)   Material Adverse Effect. There shall occur any event after the
        Petition Date which results in a Material Adverse Effect; or

                        (x)     Delay. The entry of the Final Order shall not have occurred within
        thirty (30) days after the Petition Date; or

                        (xi)   Certain Motions. Except for the Carve-Out, any Credit Party shall
        file any pleading seeking, or otherwise consenting to, (i) the invalidation, subordination or
        otherwise challenging the Liens and super-priority claim status granted to secure the
        Obligations hereunder or the Pre-Petition Obligations, or (ii) any relief under Sections
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        506(c), 552(b), or 105(a) of the Bankruptcy Code with respect to any assets which secure
        the Pre-Petition Obligations or an order shall be entered by the Bankruptcy Court
        invalidating or subordinating the Liens or the super-priority claim status of the Obligations
        hereunder; or

                       (xii) Final Determination. The Bankruptcy Court or any other court
        having jurisdiction over the Credit Parties makes a final determination with respect to any
        motion or proceeding brought by any Person which results in the impairment of the rights
        of Administrative Agent or Lenders under any of the Credit Documents; or

                        (xiii) Adequate Protection. The payment of, or granting adequate
        protection to, any Person, other than as expressly set forth in the Orders and the Budget; or

                      (xiv) Venue. An order shall have been entered by the Bankruptcy Court
        providing for a change in venue with respect to the Cases without the approval of the
        Requisite Lenders and Administrative Agent; or

                        (xv) RSA; Milestones. (A) A default or breach of any type occurs, in any
        case, beyond the grace period, if any, provided therefor, under the RSA; (B) the Credit
        Parties fail to satisfy any Milestone (as set forth on Schedule 8.1) for any reason
        whatsoever; (C) any of the Credit Parties shall enter into an agreement for, or shall file (or
        support or fail to file responding materials opposing a motion by a third party seeking any
        such relief within the time frame provided for the filing of such response or objection by
        the respective court) a motion seeking, or the Bankruptcy Court shall enter, an order
        authorizing, a sale of all or substantially all of such Credit Party’s assets unless such sale
        (x) provides for cash consideration at closing that is sufficient to pay all Obligations and
        Pre-Petition Obligations in Cash in full on the closing date of such sale and (y) is consistent
        with the RSA; or (D) the RSA is terminated for any reason whatsoever (other than a
        termination under Section 11.2(d) of the RSA); or

                (g)    Advisors. (i) FocalPoint Securities, LLC shall cease to be engaged by the
Credit Parties in the capacity, and pursuant to the terms, consistent with the RSA (including as a
result of the Bankruptcy Court failing to timely enter an order approving such engagement), (ii)
CR3 Partners, LLC shall cease to be engaged by the Credit Parties in the capacity, and pursuant to
terms, engaged by the Credit Parties prior to the Petition Date (including as a result of the
Bankruptcy Court failing to timely enter an order approving such engagement), or (iii) the lease
restructuring advisor engaged by the Credit Parties in accordance with Section 3.1(i) shall cease
to be engaged by the Credit Parties in the capacity, and pursuant to terms, engaged by the Credit
Parties prior to the Petition Date (including as a result of the Bankruptcy Court failing to timely
enter an order approving such engagement); or

               (h)     Judgments and Attachments. Any money judgment, writ or warrant of
attachment or similar process involving an amount in excess of $1,000,000 individually and in the
aggregate (in either case to the extent not adequately covered by insurance as to which a solvent
and unaffiliated insurance company has acknowledged coverage) shall be entered or filed against
any Credit Party or any of its Subsidiaries or any of their respective assets and shall remain


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undischarged, unvacated, unbonded or unstayed for a period of sixty (60) days (or in any event
later than five (5) days prior to the date of any proposed sale thereunder); or

               (i)    Dissolution. Any order, judgment or decree shall be entered against any
Credit Party decreeing the dissolution or split up of such Credit Party and such order shall remain
undischarged or unstayed for a period in excess of thirty (30) days; or

                 (j)      [Intentionally Reserved]; or

                 (k)      Change of Control. A Change of Control shall occur; or

                (l)     Guaranties, Collateral Documents and other Credit Documents. At any time
after the execution and delivery thereof, (i) the Guaranty for any reason, other than the satisfaction
in full in Cash of all Obligations, shall cease to be in full force and effect (other than in accordance
with its terms) or shall be declared to be null and void or any Guarantor shall repudiate its
obligations thereunder; (ii) this Agreement or any Collateral Document ceases to be in full force
and effect (other than by reason of a release of Collateral in accordance with the terms hereof or
thereof or the satisfaction in full in Cash of the Obligations in accordance with the terms hereof)
or shall be declared null and void, or Collateral Agent shall not have or shall cease to have a valid
and perfected Lien in any Collateral purported to be covered by the Collateral Documents with the
priority required by the relevant Collateral Document, in each case for any reason other than solely
the failure of Collateral Agent or any Secured Party to take any action within its sole control; or
(iii) any Credit Party shall contest the validity or enforceability of any Credit Document in writing
or deny in writing that it has any further liability, including with respect to future advances by
Lenders, under any Credit Document to which it is a party;

THEN, subject to any limitations imposed by the Orders, Administrative Agent may, and at the
request of (or with the consent of) the Requisite Lenders shall, upon notice to Borrower
Representative, in any case, without further order of or application to the Bankruptcy Court, (A)
the Commitments, if any, of each Lender having such Commitments shall immediately terminate;
(B) each of the following shall immediately become due and payable, in each case without
presentment, demand, protest or other requirements of any kind, all of which are hereby expressly
waived by each Credit Party: (w) the unpaid principal amount of and accrued interest on the Loans,
(x) an amount equal to the maximum amount that may at any time be drawn under all Existing
Letters of Credit then outstanding (regardless of whether any beneficiary under any such Existing
Letter of Credit shall have presented, or shall be entitled at such time to present, the drafts or other
documents or certificates required to draw under such Existing Letters of Credit), and (y) all other
Obligations; provided, the foregoing shall not affect in any way the obligations of Lenders under
Section 2.3(e); (C) Administrative Agent may cause Collateral Agent to enforce any and all Liens
and security interests created pursuant to Collateral Documents; and (D) Administrative Agent
(including at the request of Issuing Bank) shall direct Borrowers to provide (and Borrowers hereby
agree upon receipt of such notice, or upon the occurrence of any Event of Default specified in
Sections Error! Reference source not found. to provide) to Administrative Agent Letter of Credit
Cash Collateralization, to be held as security for Borrowers’ reimbursement Obligations in respect
of the Existing Letters of Credit then outstanding under arrangements acceptable to Administrative
Agent and Issuing Bank. Additionally the Administrative Agent may, and at the request of (or
with the consent of) the Requisite Lenders shall, take any other action or exercise any other right
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or remedy of any Agent or any Lenders under any of the Credit Documents, the Orders or
applicable law.

        8.2.     [Intentionally Reserved]

        8.3.     Cooperation of Credit Parties.

               (a)     Subject to the terms of the Orders, if an Event of Default shall have occurred
and be continuing, each Credit Party shall, and, if applicable, shall cause each of its Subsidiaries
to, take any action which the Agents may reasonably request in the exercise of their rights and
remedies under any Credit Document in order to transfer or assign any Collateral to Collateral
Agent for the benefit of the Secured Parties or to such one or more third parties as Collateral Agent
may designate, or to any combination of the foregoing.

                (b)     Subject to the terms of the Orders, to enforce the provisions of this
Section 8.3, the Agents are empowered to seek from any Governmental Authority, to the extent
required, consent to or approval of any involuntary transfer of control of any entity whose
Collateral is subject to any Credit Document for the purpose of seeking a bona fide purchaser to
whom control ultimately will be transferred. Each Credit Party agrees to, and, if applicable, shall
cause each of its Subsidiaries to agree to, cooperate with any such purchaser and with the Agents
in the preparation, execution and filing of any forms and providing any information that may be
necessary or helpful in obtaining the consent of any Governmental Authority to the assignment to
such purchaser of the Collateral.

               (c)     Without limiting the obligations of any Credit Party hereunder in any
respect, subject to the terms of the Orders, each Credit Party further agrees that if an Event of
Default shall have occurred and be continuing, it, or any of its Subsidiaries, should fail or refuse
for any reason whatsoever, including any refusal to execute and file any completed application
necessary or appropriate to obtain any consent from any Governmental Authority necessary or
appropriate for the exercise of any right of any Agent hereunder, then such application may be
executed and filed on such Credit Party’s behalf by the clerk of any court of competent jurisdiction
without notice to such Credit Party pursuant to court order.

SECTION 9.         AGENTS

        9.1. Appointment of Agents. GSSLG is hereby appointed Administrative Agent and
Collateral Agent hereunder and under the other Credit Documents and each Lender hereby
authorizes GSSLG, in such capacity, to act as its agent in accordance with the terms hereof and
the other Credit Documents. Each Agent hereby agrees to act upon the express conditions
contained herein and the other Credit Documents, as applicable. The provisions of this Section 9
are solely for the benefit of the Agents and Lenders and no Credit Party shall have any rights as a
third party beneficiary of any of the provisions thereof. In performing its functions and duties
hereunder, each Agent shall act solely as an agent of Lenders and does not assume and shall not
be deemed to have assumed any obligation towards or relationship of agency or trust with or for
any Credit Party or any of its Subsidiaries.

       9.2.   Powers and Duties. Each Lender irrevocably authorizes each Agent to take such
action on such Lender’s behalf and to exercise such powers, rights and remedies hereunder and
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under the other Credit Documents as are specifically delegated or granted to such Agent by the
terms hereof and thereof, together with such powers, rights and remedies as are reasonably
incidental thereto. Each Agent shall have only those duties and responsibilities that are expressly
specified herein and the other Credit Documents. Each Agent may exercise such powers, rights
and remedies and perform such duties by or through its agents or employees. No Agent shall have,
by reason hereof or any of the other Credit Documents, a fiduciary relationship in respect of any
Secured Party; and nothing herein or any of the other Credit Documents, expressed or implied, is
intended to or shall be so construed as to impose upon any Agent any obligations in respect hereof
or any of the other Credit Documents except as expressly set forth herein or therein.

        9.3.     General Immunity.

                (a)     No Responsibility for Certain Matters. No Agent shall be responsible to
any Secured Party for the execution, effectiveness, genuineness, validity, enforceability,
collectability or sufficiency hereof or any other Credit Document or for any representations,
warranties, recitals or statements made herein or therein or made in any written or oral statements
or in any financial or other statements, instruments, reports or certificates or any other documents
furnished or made by any Agent to any other Secured Party or by or on behalf of any Credit Party
to any Agent or any other Secured Party in connection with the Credit Documents and the
transactions contemplated thereby or for the financial condition or business affairs of any Credit
Party or any other Person liable for the payment of any Obligations, nor shall any Agent be required
to ascertain or inquire as to the performance or observance of any of the terms, conditions,
provisions, covenants or agreements contained in any of the Credit Documents or as to the use of
the proceeds of the Loans or as to the existence or possible existence of any Event of Default or
Default or to make any disclosures with respect to the foregoing. Anything contained herein to
the contrary notwithstanding, Administrative Agent shall not have any liability arising from
confirmations of the amount of outstanding Loans, Letter of Credit Usage or the component
amounts thereof.

                (b)      Exculpatory Provisions. No Agent nor any of its officers, partners,
directors, employees or agents shall be liable to any Secured Party for any action taken or omitted
by any Agent under or in connection with any of the Credit Documents except to the extent caused
by such Agent’s gross negligence or willful misconduct, as determined by a court of competent
jurisdiction in a final, non-appealable order. Each Agent shall be entitled to refrain from any act
or the taking of any action (including the failure to take an action) in connection herewith or any
of the other Credit Documents or from the exercise of any power, discretion or authority vested in
it hereunder or thereunder unless and until such Agent shall have received instructions in respect
thereof from the Requisite Lenders (or such other Lenders as may be required to give such
instructions under Section 10.5) and, upon receipt of such instructions from the Requisite Lenders
(or such other Lenders, as the case may be), such Agent shall be entitled to act or (where so
instructed) refrain from acting, or to exercise such power, discretion or authority, in accordance
with such instructions. Without prejudice to the generality of the foregoing, (i) each Agent shall
be entitled to rely, and shall be fully protected in relying, upon any communication, instrument or
document believed by it to be genuine and correct and to have been signed or sent by the proper
Person or Persons, and shall be entitled to rely and shall be protected in relying on opinions and
judgments of attorneys (who may be attorneys for a Credit Party and its Subsidiaries), accountants,
experts and other professional advisors selected by it; and (ii) no Secured Party shall have any
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right of action whatsoever against any Agent as a result of such Agent acting or (where so
instructed) refraining from acting hereunder or any of the other Credit Documents in accordance
with the instructions of the Requisite Lenders (or such other Lenders as may be required to give
such instructions under Section 10.5).

        9.4.    Agents Entitled to Act as Lender. The agency hereby created shall in no way
impair or affect any of the rights and powers of, or impose any duties or obligations upon, any
Agent in its individual capacity as a Lender hereunder. With respect to its participation in the
Loans and the Existing Letters of Credit, each Agent shall have the same rights and powers
hereunder as any other Lender and may exercise the same as if it were not performing the duties
and functions delegated to it hereunder, and the term “Lender” shall, unless the context clearly
otherwise indicates, include each Agent in its individual capacity. Any Agent and its Affiliates
may accept deposits from, lend money to, own securities of, and generally engage in any kind of
banking, trust, financial advisory or other business with any Credit Party or any of its Affiliates as
if it were not performing the duties specified herein, and may accept fees and other consideration
from the Credit Parties for services in connection herewith and otherwise without having to
account for the same to Lenders. All parties hereto hereby (a) acknowledge that GSSLG, TCW
and/or their Affiliates and Related Funds may also invest in, and/or own Capital Stock and
Securities of, the Credit Parties and their respective Affiliates and (b) waive any conflict arising
therefrom.

        9.5.     Lenders’ Representations, Warranties and Acknowledgment.

                (a)      Each Lender represents and warrants that it has made its own independent
investigation of the financial condition and affairs of Holdings and its Subsidiaries in connection
with Credit Extensions hereunder and that it has made and shall continue to make its own appraisal
of the creditworthiness of Holdings and its Subsidiaries. No Agent shall have any duty or
responsibility, either initially or on a continuing basis, to make any such investigation or any such
appraisal on behalf of Lenders or to provide any Lender with any credit or other information with
respect thereto, whether coming into its possession before the making of the Loans or at any time
or times thereafter, and no Agent shall have any responsibility with respect to the accuracy of or
the completeness of any information provided to Lenders.

              (b)     Each Lender, by delivering its signature page to this Agreement, shall be
deemed to have acknowledged receipt of, and consented to and approved, each Credit Document
and each other document required to be approved by any Agent, the Requisite Lenders, Issuing
Bank or Lenders, as applicable on the Closing Date.

                (c)     Each Lender (i) represents and warrants that as of the Closing Date neither
such Lender nor its Affiliates or Related Funds owns or controls, or owns or controls any Person
owning or controlling, any trade debt or Indebtedness of any Credit Party other than the
Obligations or any Capital Stock of any Credit Party, other than in the case of GSSLG and TCW
and their Affiliates and Related Funds, pursuant to the Warrants, and (ii) covenants and agrees that
from and after the Closing Date neither such Lender nor its Affiliates and Related Funds shall
purchase any trade debt or Indebtedness of any Credit Party other than the Obligations or Capital
Stock described in clause (i) of this Section 9.5(c) without the prior written consent of
Administrative Agent.
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         9.6.    Right to Indemnity. Each Lender (including, for purposes of this Section 9.6,
Issuing Bank), in proportion to its Pro Rata Share, severally agrees to indemnify each Agent, their
Affiliates and their respective officers, partners, directors, trustees, employees and agents of each
Agent (each, an “Indemnitee Agent Party”), to the extent that such Indemnitee Agent Party shall
not have been reimbursed by any Credit Party, for and against any and all liabilities, obligations,
losses, damages, penalties, actions, judgments, suits, costs, reasonable and documented expenses
(including counsel fees and disbursements) or disbursements of any kind or nature whatsoever
which may be imposed on, incurred by or asserted against such Indemnitee Agent Party in
exercising its powers, rights and remedies or performing its duties hereunder or under the other
Credit Documents or otherwise in its capacity as such Indemnitee Agent Party in any way relating
to or arising out of this Agreement or the other Credit Documents, IN ALL CASES, WHETHER
OR NOT CAUSED BY OR ARISING, IN WHOLE OR IN PART, OUT OF THE
COMPARATIVE, CONTRIBUTORY, OR SOLE NEGLIGENCE OF SUCH
INDEMNITEE AGENT PARTY; provided, no Lender shall be liable for any portion of such
liabilities, obligations, losses, damages, penalties, actions, judgments, suits, costs, expenses or
disbursements resulting from such Indemnitee Agent Party’s gross negligence or willful
misconduct, as determined by a court of competent jurisdiction in a final, non-appealable order.
If any indemnity furnished to any Indemnitee Agent Party for any purpose shall, in the opinion of
such Indemnitee Agent Party, be insufficient or become impaired, such Indemnitee Agent Party
may call for additional indemnity and cease, or not commence, to do the acts indemnified against
until such additional indemnity is furnished; provided, in no event shall this sentence require any
Lender to indemnify any Indemnitee Agent Party against any liability, obligation, loss, damage,
penalty, action, judgment, suit, cost, expense or disbursement in excess of such Lender’s Pro Rata
Share thereof; provided, further, this sentence shall not be deemed to require any Lender to
indemnify any Indemnitee Agent Party against any liability, obligation, loss, damage, penalty,
action, judgment, suit, cost, expense or disbursement described in the proviso in the immediately
preceding sentence.

        9.7.     Successor Administrative Agent and Collateral Agent.

                 (a)    Administrative Agent and Collateral Agent may resign at any time by giving
at least thirty (30) days’ prior written notice thereof to the Lenders and Borrower Representative.
Upon any such notice of resignation, the Requisite Lenders shall have the right, upon five (5)
Business Days’ notice to Borrower Representative, to appoint a successor Administrative Agent
and Collateral Agent; provided, in no event will any Agent be a Defaulting Lender. Upon the
acceptance of any appointment as Administrative Agent and Collateral Agent hereunder by a
successor Administrative Agent and Collateral Agent, that successor Administrative Agent and
Collateral Agent shall thereupon succeed to and become vested with all the rights, powers,
privileges and duties of the retiring Administrative Agent and Collateral Agent and the retiring
Administrative Agent and Collateral Agent shall promptly (i) transfer to such successor
Administrative Agent and Collateral Agent all sums, Securities and other items of Collateral held
under the Collateral Documents, together with all records and other documents necessary or
appropriate in connection with the performance of the duties of the successor Administrative Agent
and Collateral Agent under the Credit Documents, and (ii) execute and deliver to such successor
Administrative Agent and Collateral Agent such amendments to financing statements, and take
such other actions, as may be necessary or appropriate in connection with the assignment to such
successor Administrative Agent and Collateral Agent of the security interests created under the
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Collateral Documents, whereupon such retiring Administrative Agent and Collateral Agent shall
be discharged from its duties and obligations hereunder. After any retiring Administrative Agent’s
and Collateral Agent’s resignation hereunder as Administrative Agent and Collateral Agent, the
provisions of this Section 9 shall inure to its benefit as to any actions taken or omitted to be taken
by it while it was Administrative Agent and Collateral Agent hereunder.

               (b)     Notwithstanding anything herein to the contrary, any Agent may assign its
rights and duties as such to an Affiliate of GSSLG without the prior written consent of, or prior
written notice to, any Credit Party or the Lenders; provided, the Credit Parties and the Lenders
may deem and treat such assigning Agent as such for all purposes hereof, unless and until such
assigning Agent provides written notice to Borrower Representative and the Lenders of such
assignment. Upon such assignment such Affiliate shall succeed to and become vested with all
rights, powers, privileges and duties as the applicable Agent hereunder and under the other Credit
Documents.

        9.8.     Collateral Documents and Guaranty.

                (a)   Agents under Collateral Documents and Guaranty. Each Lender hereby
further authorizes Administrative Agent or Collateral Agent, as applicable, on behalf of and for
the benefit of the Lenders, to be the agent for and representative of Lenders with respect to the
Guaranty, the Collateral and the Collateral Documents. Subject to Section 10.5, without further
written consent or authorization from Lenders, Administrative Agent or Collateral Agent, as
applicable may execute any documents or instruments necessary to (i) release any Lien
encumbering any item of Collateral that is the subject of a sale or other disposition of assets
permitted hereby or to which the Requisite Lenders (or such other Lenders as may be required to
give such consent under Section 10.5) have otherwise consented, or (ii) release any Guarantor
from the Guaranty pursuant to Section 7.12 or with respect to which the Requisite Lenders (or
such other Lenders as may be required to give such consent under Section 10.5) have otherwise
consented.

               (b)      Right to Realize on Collateral and Enforce Guaranty. Anything contained
in any of the Credit Documents to the contrary notwithstanding, the Credit Parties, Administrative
Agent, Collateral Agent and each Lender hereby agree that (i) no Lender shall have any right
individually to realize upon any of the Collateral or to enforce the Guaranty, it being understood
and agreed that all powers, rights and remedies hereunder may be exercised solely by
Administrative Agent, on behalf of the Secured Parties in accordance with the terms hereof and all
powers, rights and remedies under the Collateral Documents may be exercised solely by Collateral
Agent, and (ii) in the event of a foreclosure by Collateral Agent on any of the Collateral pursuant
to a public or private sale, Collateral Agent or any Lender may be the purchaser of any or all of
such Collateral at any such sale and Collateral Agent, as agent for and representative of Secured
Parties (but not any Lender or Lenders in its or their respective individual capacities unless the
Requisite Lenders shall otherwise agree in writing) shall be entitled, for the purpose of bidding
and making settlement or payment of the purchase price for all or any portion of the Collateral
sold at any such public sale, to use and apply any of the Obligations as a credit on account of the
purchase price for any collateral payable by Collateral Agent at such sale.



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         9.9.   Certain Agreements of Pre-Petition Agent. GSSLG, for purposes of this Section
9.9 in its capacity as Pre-Petition Agent, hereby agrees for the benefit of Administrative Agent and
Collateral Agent to hold that part of the Collateral that is in its possession or control (or in the
possession or control of its agents or bailees) to the extent that possession or control thereof is
taken to perfect a Lien thereon under the UCC as bailee for Collateral Agent (such bailment being
intended, among other things, to satisfy the requirements of Sections 8-106(d)(3), 8-301(a)(2) and
9-313(c) of the UCC), including, for the avoidance of doubt, all Controlled Accounts and all
certificated Capital Stock and instruments. With respect to any Controlled Accounts, GSSLG, as
Pre-Petition Agent, shall give directions to the applicable financial institutions under its
agreements with such financial institutions at the request of Collateral Agent.

SECTION 10. MISCELLANEOUS

        10.1.    Notices.

                 (a)     Notices Generally. Unless otherwise specifically provided herein, any
notice or other communication herein required or permitted to be given to a Credit Party or Agent,
shall be sent to such Person’s mailing address, telefacsimile number and/or email address(es) (if
approved in accordance with the terms hereof) as provided on Appendix B or in the other relevant
Credit Document, and in the case of Issuing Bank or any Lender, the mailing address as indicated
on Appendix B or otherwise indicated by Administrative Agent and Borrower Representative in
writing. Each notice hereunder shall be in writing and may be personally served or sent by
facsimile (excluding any notices to any Agent or any Affiliate of Agent that is a Lender in its
capacity as such), United States mail or courier service or email (if approved in accordance with
the terms hereof) and shall be deemed to have been given when (i) delivered in person or by courier
service and signed for against receipt thereof, (ii) upon receipt of facsimile, (iii) three (3) Business
Days after depositing it in the United States mail with postage prepaid and properly addressed, or
(iv) as set forth in clause (b)(i) of this Section 10.1 with respect to notices approved in accordance
with the terms hereof to be sent by email; provided, (x) no notice to any Agent in its capacity as
such shall be effective until received by such Agent and (y) any notice sent to any Agent by email
shall also be sent by United States mail or courier service in accordance with the foregoing;
provided, further, any such notice or other communication shall, at the request of Administrative
Agent, be provided to any sub-agent appointed pursuant to Section 9 as designated by
Administrative Agent from time to time. Any party hereto may change its address (including
telefacsimile, email address (if approved in accordance with the terms hereof) or telephone
number) for notices and other communications hereunder by notice to each of Administrative
Agent and Borrower Representative. At any time a single Person shall be acting as Administrative
Agent and Collateral Agent, any notice or communication that shall have been delivered by
Borrower Representative to Administrative Agent or to Collateral Agent, as the case may be, shall
also be deemed to have been delivered to Collateral Agent and Administrative Agent, respectively.

                 (b)      Electronic Communications.

                     (i)     Notices and other communications to any Agent, Issuing Bank,
        Lender or Credit Party hereunder may be delivered or furnished by email pursuant to
        procedures approved by Administrative Agent in its sole discretion (each such email
        communication approved by Administrative Agent, an “Approved Electronic
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        Communication”); provided, that, notwithstanding the foregoing, in no event will notices
        by email be effective to any Agent, Issuing Bank or Lender, or pursuant to Section 2, if
        any such Person has notified Administrative Agent that it is incapable of receiving notices
        under such Section 2 by email. Any Agent may, in its sole discretion, agree to accept
        notices and other communications to it hereunder by email pursuant to procedures
        approved by it; provided, that approval of such procedures may be limited to particular
        notices or communications. In the case of any notices by email permitted in accordance
        with this Agreement, unless Administrative Agent otherwise prescribes, any notices and
        other communications permitted to be sent to an email address shall be delivered during
        normal business hours and deemed received upon the sender’s receipt of an
        acknowledgment from the intended recipient (such as by the “return receipt requested”
        function, as available, return email or other written acknowledgment, but excluding any
        automatic reply to such email), except that, if such notice or other communication is not
        sent prior to noon, local time at the location of the recipient, then such notice or
        communication shall be deemed not to have been received until the opening of business on
        the next Business Day for the recipient, at the earliest.

                       (ii)   Each Credit Party understands that the distribution of material
        through an electronic medium is not necessarily secure and that there are confidentiality
        and other risks associated with such distribution and agrees and assumes the risks
        associated with such electronic distribution, except to the extent caused by the bad faith,
        willful misconduct or gross negligence of Administrative Agent, as determined by a final,
        non-appealable judgment of a court of competent jurisdiction.

                       (iii) Each Credit Party, each Lender, Issuing Bank and each Agent agrees
        that Administrative Agent may, but shall not be obligated to, store any Approved Electronic
        Communications in accordance with Administrative Agent’s customary document
        retention procedures and policies.

                       (iv)   Any notice of Default or Event of Default may be provided by
        telephone if confirmed promptly thereafter by delivery of written notice thereof.

        10.2. Expenses. The Credit Parties agree to pay promptly (without further order of or
application to the Bankruptcy Court) (a) all Administrative Agent’s actual and reasonable costs
and expenses of preparation of the Credit Documents and any consents, amendments, waivers or
other modifications thereto; (b) all the reasonable fees, expenses and disbursements of counsel to
Agents and Lenders (including, for purposes of this Section 10.2, Issuing Bank) in connection with
the negotiation, preparation, execution and administration of the Credit Documents and any
consents, amendments, waivers or other modifications thereto and any other documents or matters
requested by any Credit Party; (c) all the actual costs and reasonable expenses of creating and
perfecting Liens in favor of Collateral Agent, for the benefit of Secured Parties, including filing
and recording fees, expenses and Taxes, stamp or documentary Taxes, search fees, title insurance
premiums and reasonable fees, expenses and disbursements of counsel to each Agent and of
counsel providing any opinions that any Agent or the Requisite Lenders may request in respect of
the Collateral or the Liens created pursuant to the Collateral Documents; (d) all Administrative
Agent’s actual costs and reasonable fees, expenses for, and disbursements of any of Administrative
Agent’s, auditors, accountants, consultants or appraisers whether internal or external, and all
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reasonable attorneys’ fees (including allocated costs of internal counsel and expenses and
disbursements of outside counsel) incurred by Administrative Agent; (e) all the actual costs and
reasonable expenses (including the reasonable fees, expenses and disbursements of any appraisers,
consultants, advisors and agents employed or retained by Collateral Agent and its counsel) in
connection with the custody or preservation of any of the Collateral; (f) all other actual and
reasonable costs and expenses incurred by each Agent and Lender in connection with the
syndication of the Loans and Commitments and the negotiation, preparation and execution of the
Credit Documents and any consents, amendments, waivers or other modifications thereto and the
transactions contemplated thereby; and (g) after the occurrence of a Default or an Event of Default,
all costs and expenses, including reasonable attorneys’ fees (including allocated costs of internal
counsel) and costs of settlement, incurred by any Agent and Lenders in enforcing any Obligations
of or in collecting any payments due from any Credit Party hereunder or under the other Credit
Documents by reason of such Default or Event of Default (including in connection with the sale
of, collection from, or other realization upon any of the Collateral or the enforcement of the
Guaranty) or in connection with any refinancing or restructuring of the credit arrangements
provided hereunder in the nature of a “work-out” or pursuant to any insolvency or bankruptcy
cases or proceedings (including the Cases). For the avoidance of doubt and notwithstanding the
foregoing, the Credit Parties shall not be charged for, and shall have no obligation to reimburse,
any fees and expenses of Administrative Agent or any Lender incurred directly in connection with
the “Governance Documents” and the “Exit Financing Documents” (as each such term is defined
in the RSA), including any exhibits, schedules, amendments, modifications, supplements and
appendices related thereto; provided, the foregoing exclusion is not intended to, and shall not in
any manner, limit the customary expense reimbursement provisions to be included in the “Exit
Financing Documents” themselves.

        10.3.    Indemnity.

                 (a)      In addition to the payment of expenses pursuant to Section 10.2, whether or
not the transactions contemplated hereby shall be consummated, each Credit Party agrees to defend
(subject to Indemnitees’ selection of counsel), indemnify, pay and hold harmless, each Agent and
Lender (including, for purposes of this Section 10.3, Issuing Bank), their Affiliates and their
respective officers, partners, directors, trustees, employees and agents of each Agent and each
Lender (each, an “Indemnitee”), from and against any and all Indemnified Liabilities, IN ALL
CASES, WHETHER OR NOT CAUSED BY OR ARISING, IN WHOLE OR IN PART,
OUT OF THE COMPARATIVE, CONTRIBUTORY, OR SOLE NEGLIGENCE OF SUCH
INDEMNITEE; provided, no Credit Party shall have any obligation to any Indemnitee hereunder
with respect to any Indemnified Liabilities to the extent such Indemnified Liabilities arise from
the bad faith, gross negligence or willful misconduct, as determined by a court of competent
jurisdiction in a final, non-appealable order, of that Indemnitee. To the extent that the undertakings
to defend, indemnify, pay and hold harmless set forth in this Section 10.3 may be unenforceable
in whole or in part because they are violative of any law or public policy, the applicable Credit
Party shall contribute the maximum portion that it is permitted to pay and satisfy under applicable
law to the payment and satisfaction of all Indemnified Liabilities incurred by Indemnitees or any
of them. In the event that an Indemnitee becomes involved in any capacity in any action,
proceeding or investigation brought by or against any Person relating to or arising out of any
related matter and whether or not the transactions contemplated hereby shall be consummated,
each Credit Party agrees that on demand it will reimburse such Indemnitee for its legal and other
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expenses (including the cost of any investigation and preparation therefor) incurred in connection
therewith.

                 (b)    To the extent permitted by applicable law, no Credit Party shall assert, and
each Credit Party hereby waives, any claim against the Agents and the other Secured Parties and
their respective Affiliates, directors, employees, attorneys or agents, on any theory of liability, for
special, indirect, consequential or punitive damages (as opposed to direct or actual damages)
(whether or not the claim therefor is based on contract, tort or duty imposed by any applicable
legal requirement) arising out of, in connection with, as a result of, or in any way related to, this
Agreement or any Credit Document or any agreement or instrument contemplated hereby or
thereby or referred to herein or therein, the transactions contemplated hereby or thereby, any Loan
or the use of the proceeds thereof or any act or omission or event occurring in connection therewith,
and each Credit Party hereby waives, releases and agrees not to sue upon any such claim or any
such damages, whether or not accrued and whether or not known or suspected to exist in its favor.

        10.4. Set-Off. In addition to any rights now or hereafter granted under applicable law
and not by way of limitation of any such rights, upon the occurrence of any Event of Default each
Lender, Issuing Bank and their respective Affiliates are hereby authorized by each Credit Party at
any time or from time to time subject to the consent of Administrative Agent (such consent not to
be unreasonably withheld or delayed), without notice to any Credit Party or to any other Person
(other than Administrative Agent), any such notice being hereby expressly waived, to set off and
to appropriate and to apply any and all deposits (general or special, including Indebtedness
evidenced by certificates of deposit, whether matured or unmatured, but not including trust
accounts (in whatever currency)) and any other Indebtedness at any time held or owing by such
Lender to or for the credit or the account of any Credit Party (in whatever currency) against and
on account of the obligations and liabilities of any Credit Party to such Lender or Issuing Bank
hereunder, the Existing Letters of Credit and participations therein and under the other Credit
Documents, including all claims of any nature or description arising out of or connected hereto,
the Existing Letters of Credit and participations therein or with any other Credit Document,
irrespective of whether or not (a) such Lender shall have made any demand hereunder, (b) the
principal of or the interest on the Loans or any amounts in respect of the Existing Letters of Credit
or any other amounts due hereunder shall have become due and payable pursuant to Section 2 and
although such obligations and liabilities, or any of them, may be contingent or unmatured or (c)
such obligation or liability is owed to a branch or office of such Lender or Issuing Bank different
from the branch or office holding such deposit or obligation or such Indebtedness.

        10.5.    Amendments and Waivers.

               (a)    Requisite Lenders’ Consent. Subject to Sections 10.5(b) and 10.5(c), no
amendment, modification, termination or waiver of any provision of the Credit Documents, or
consent to any departure by any Credit Party therefrom, shall in any event be effective without the
written concurrence of Administrative Agent and the Requisite Lenders.

               (b)    Affected Lenders’ Consent. Without the written consent of each Lender
(other than a Defaulting Lender) that would be affected thereby, no amendment, modification,
termination, or consent shall be effective if the effect thereof would:


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                          (i)      extend the Maturity Date;

                          (ii)     waive, reduce or postpone any scheduled repayment (but not
        prepayment);

                          (iii)    extend the stated expiration date of any Existing Letter of Credit;

                       (iv)    reduce the rate of interest on any Loan (other than any waiver of any
        increase in the interest rate applicable to any Loan pursuant to Section 2.9) or any fee
        payable hereunder;

                          (v)      extend the time for payment of any such interest or fees;

                        (vi)   reduce the principal amount of any Loan or any reimbursement
        obligation in respect of any Existing Letter of Credit;

                       (vii) amend, modify, terminate or waive any provision of Section 2.14(a),
        this Section 10.5(b) or Section 10.5(c);

                       (viii) amend the definition of “Requisite Lenders” or “Pro Rata Share”;
        provided, with the consent of Administrative Agent and the Requisite Lenders, additional
        Credit Extensions may be included in the determination of “Requisite Lenders” or “Pro
        Rata Share” on substantially the same basis as the Term Loan Commitments and the Term
        Loans are included on the Closing Date;

                       (ix)    release all or substantially all of the Collateral or all or substantially
        all of the Guarantors from the Guaranty, in each case, except as expressly provided in the
        Credit Documents; or

                        (x)     consent to the assignment or transfer by any Credit Party of any of
        its rights and obligations under any Credit Document.

               (c)     Other Consents. No amendment, modification, termination or waiver of
any provision of the Credit Documents, or consent to any departure by any Credit Party therefrom,
shall:

                        (i)    increase any Commitment of any Lender over the amount thereof
        then in effect without the consent of such Lender; provided, no amendment, modification
        or waiver of any condition precedent, covenant, Default or Event of Default shall constitute
        an increase in any Commitment of any Lender;

                         (ii)   amend, modify, terminate or waive any portion of (A) Section 2.3,
        (B) to the extent any such modification, waiver, consent or termination would be adverse
        to Issuing Bank, Section 2.5, Section 2.15(f), Section 2.16, Section 4.18, Section 4.26 or
        Section 5.20, or (C) any other provisions pertaining to the Issuing Bank or any rights or
        duties of the Issuing Bank, in any case, without the written consent of Administrative Agent
        and Issuing Bank; or


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                       (iii) amend, modify, terminate or waive any provision of Section 9 as the
        same applies to any Agent, or any other provision hereof as the same applies to the rights
        or obligations of any Agent, in each case without the consent of such Agent.

                (d)     Execution of Amendments, etc. Administrative Agent may, but shall have
no obligation to, with the concurrence of any Lender, execute amendments, modifications, waivers
or consents on behalf of such Lender. Any waiver or consent shall be effective only in the specific
instance and for the specific purpose for which it was given. No notice to or demand on any Credit
Party in any case shall entitle any Credit Party to any other or further notice or demand in similar
or other circumstances. Any amendment, modification, termination, waiver or consent effected in
accordance with this Section 10.5 shall be binding upon each Lender at the time outstanding, each
future Lender and, if signed by a Credit Party, on such Credit Party.

        10.6.    Successors and Assigns; Participations.

                (a)    Generally. This Agreement shall be binding upon the parties hereto and
their respective successors and assigns and shall inure to the benefit of the parties hereto and the
successors and assigns of Lenders. No Credit Party’s rights or obligations hereunder nor any
interest therein may be assigned or delegated by any Credit Party without the prior written consent
of all Lenders. Nothing in this Agreement, expressed or implied, shall be construed to confer upon
any Person (other than the parties hereto, Indemnitee Agent Parties under Section 9.6, Indemnitees
under Section 10.3, their respective successors and assigns permitted hereby and, to the extent
expressly contemplated hereby, Affiliates of each of the Agents and Lenders) any legal or equitable
right, remedy or claim under or by reason of this Agreement.

                (b)     Register. The Credit Parties, Administrative Agent and Lenders shall deem
and treat the Persons listed as Lenders in the Register as the holders and owners of the
corresponding Commitments and Loans listed therein for all purposes hereof, and no assignment
or transfer of any such Commitment or Loan shall be effective, in each case, unless and until an
Assignment Agreement effecting the assignment or transfer thereof shall have been delivered to
and accepted by Administrative Agent and recorded in the Register as provided in Section 10.6(e).
Prior to such recordation, all amounts owed with respect to the applicable Commitment or Loan
shall be owed to the Lender listed in the Register as the owner thereof, and any request, authority
or consent of any Person who, at the time of making such request or giving such authority or
consent, is listed in the Register as a Lender shall be conclusive and binding on any subsequent
holder, assignee or transferee of the corresponding Commitments or Loans.

                (c)     Right to Assign. Each Lender shall have the right at any time to sell, assign
or transfer all or a portion of its rights and obligations under this Agreement, including all or a
portion of its Commitment or Loans owing to it or other Obligations (provided, however, each
such assignment shall be of a uniform, and not varying, percentage of all rights and obligations
under and in respect of any Loan and any related Commitments):

                       (i)     to any Person meeting the criteria of clause (a) of the definition of
        the term of “Eligible Assignee” upon the giving of notice to Administrative Agent; and



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                        (ii)   to any Person otherwise constituting an Eligible Assignee with the
        consent of (x) Administrative Agent and the Requisite Lenders (in any case, not to be
        unreasonably withheld, conditioned or delayed), and (y) Issuing Bank (not to be
        unreasonably withheld, conditioned or delayed); provided, each such assignment pursuant
        to this Section 10.6(c)(ii) shall be in an aggregate amount of not less than $1,000,000 (or
        such lesser amount as may be agreed to by Administrative Agent (not to be unreasonably
        withheld, conditioned or delayed) or as shall constitute the aggregate amount of the
        Commitments and Term Loans of the assigning Lender) with respect to the assignment of
        the Commitments and Term Loans.

                 (d)    Mechanics. The assigning Lender and the assignee thereof shall execute
and deliver to Administrative Agent an Assignment Agreement, together with such forms,
certificates or other evidence, if any, with respect to United States federal income Tax withholding
matters as the assignee under such Assignment Agreement may be required to deliver to
Administrative Agent pursuant to Section 2.19(c).

              (e)    Notice of Assignment. Upon its receipt and acceptance of a duly executed
and completed Assignment Agreement, any forms, certificates or other evidence required by this
Agreement in connection therewith, Administrative Agent shall record the information contained
in such Assignment Agreement in the Register, shall give prompt notice thereof to Borrower
Representative and shall maintain a copy of such Assignment Agreement.

                 (f)    Representations and Warranties of Assignee. Each Lender, upon execution
and delivery hereof or upon executing and delivering an Assignment Agreement, as the case may
be, represents and warrants as of the Closing Date or as of the applicable Effective Date (as defined
in the applicable Assignment Agreement) that (i) it is an Eligible Assignee or Defaulting Lender;
(ii) it has experience and expertise in the making of or investing in commitments or loans such as
the applicable Commitments or Loans, as the case may be; (iii) it will make or invest in, as the
case may be, its Commitments or Loans for its own account in the ordinary course of its business
and without a view to distribution of such Commitments or Loans within the meaning of the
Securities Act or the Exchange Act or other federal securities laws (it being understood that,
subject to the provisions of this Section 10.6, the disposition of such Commitments or Loans or
any interests therein shall at all times remain within its exclusive control); and (iv) such Lender
does not own or control, or own or control any Person owning or controlling, any trade debt or
Indebtedness of any Credit Party other than the Obligations or any Capital Stock of any Credit
Party other than, in the case of GSSLG, TCW and their Affiliates and Related Funds, pursuant to
the Warrants.

               (g)      Effect of Assignment. Subject to the terms and conditions of this
Section 10.6, as of the “Effective Date” specified in the applicable Assignment Agreement: (i) the
assignee thereunder shall have the rights and obligations of a “Lender” hereunder to the extent
such rights and obligations hereunder have been assigned to it pursuant to such Assignment
Agreement and shall thereafter be a party hereto and a “Lender” for all purposes hereof; (ii) the
assigning Lender thereunder shall, to the extent that rights and obligations hereunder have been
assigned thereby pursuant to such Assignment Agreement, relinquish its rights (other than any
rights which survive the termination hereof under Section 10.8) and be released from its
obligations hereunder (and, in the case of an Assignment Agreement covering all or the remaining
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portion of an assigning Lender’s rights and obligations hereunder, such Lender shall cease to be a
party hereto; provided, anything contained in any of the Credit Documents to the contrary
notwithstanding, (x) Issuing Bank shall continue to have all rights and obligations thereof with
respect to such Existing Letters of Credit until the cancellation or expiration of such Existing
Letters of Credit and the reimbursement of any amounts drawn thereunder, and (y) such assigning
Lender shall continue to be entitled to the benefit of all indemnities hereunder as specified herein
with respect to matters arising out of the prior involvement of such assigning Lender as a Lender
hereunder); (iii) the Commitments shall be modified to reflect the Commitment of such assignee
and any Commitment of such assigning Lender, if any; and (iv) if any such assignment occurs
after the issuance of any Note hereunder, the assigning Lender shall, upon the effectiveness of
such assignment or as promptly thereafter as practicable, surrender its applicable Notes to
Administrative Agent for cancellation, and thereupon Borrowers shall issue and deliver new Notes,
if so requested by the assignee and/or assigning Lender, to such assignee and/or to such assigning
Lender, with appropriate insertions, to reflect the new Commitments and/or outstanding Loans of
the assignee and/or the assigning Lender.

                 (h)     Participations. Each Lender shall have the right at any time to sell one or
more participations to any Person (other than any Defaulting Lender or any Credit Party, any of
its Subsidiaries or any of its Affiliates) in all or any part of its Commitments, Loans or in any other
Obligation. The holder of any such participation, other than an Affiliate of the Lender granting
such participation, shall not be entitled to require such Lender to take or omit to take any action
hereunder except with respect to any amendment, modification or waiver that would (i) extend the
final scheduled Maturity Date of any Loan or Existing Letter of Credit in which such participant
is participating, or reduce the rate or extend the time of payment of interest or fees thereon (except
in connection with a waiver of applicability of any post-default increase in interest rates) or reduce
the principal amount thereof, or increase the amount of the participant’s participation over the
amount thereof then in effect (it being understood that a waiver of any Default or Event of Default
or of a mandatory reduction in the Commitment shall not constitute a change in the terms of such
participation, and that an increase in any Commitment or Loan shall be permitted without the
consent of any participant if the participant’s participation is not increased as a result thereof);
(ii) consent to the assignment or transfer by any Credit Party of any of its rights and obligations
under this Agreement; or (iii) release all or substantially all of the Collateral under the Collateral
Documents or all or substantially all of the Guarantors from the Guaranty (in each case, except as
expressly provided in the Credit Documents) supporting the Loans hereunder in which such
participant is participating. Each Credit Party agrees that each participant shall be entitled to the
benefits of Sections 2.17(c), 2.18 and 2.19 to the same extent as if it were a Lender and had
acquired its interest by assignment pursuant to clause (c) of this Section 10.6; provided, (A) a
participant shall not be entitled to receive any greater payment under Section 2.18 or 2.19 than the
applicable Lender would have been entitled to receive with respect to the participation sold to such
participant, unless the sale of the participation to such participant is made with Borrower
Representative’s prior written consent, and (B) a participant that would be a Non-US Lender if it
were a Lender shall not be entitled to the benefits of Section 2.19 unless Borrower Representative
is notified of the participation sold to such participant and such participant agrees, for the benefit
of the Credit Parties, to comply with Section 2.19 as though it were a Lender. To the extent
permitted by law, each participant also shall be entitled to the benefits of Section 10.4 as though it
were a Lender, provided such Participant agrees to be subject to Section 2.16 as though it were a
Lender. Any Lender that sells a participation hereunder shall, acting solely for this purpose as an
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agent of the Credit Parties, maintain a register on which it enters the name and address of each
participant and the principal and corresponding interest amount of each participant’s interest in the
Loans, Commitments or other Obligations (the “Participant Register”); provided, no Lender
shall be required to disclose or share the information contained in such Participant Register with
any Credit Party or any other Person, except as required (x) by law or (y) to satisfy the
requirements of Treasury Regulation 5f.103-1(c). The entries in the Participant Register shall be
conclusive in the absence of manifest error.

                (i)     Certain Other Assignments. In addition to any other assignment permitted
pursuant to this Section 10.6, any Lender may assign, pledge and/or grant a security interest in, all
or any portion of its Loans, the other Obligations owed by or to such Lender, and its Notes, if any,
to secure obligations of such Lender, including any Federal Reserve Bank as collateral security
pursuant to Regulation A of the Board of Governors of the Federal Reserve System, as in effect
from time to time, and any operating circular issued by such Federal Reserve Bank; provided, no
Lender, as between the Credit Parties and such Lender, shall be relieved of any of its obligations
hereunder as a result of any such assignment and pledge; provided, further, in no event shall the
applicable Federal Reserve Bank, pledgee or trustee be considered to be a “Lender” or be entitled
to require the assigning Lender to take or omit to take any action hereunder.

        10.7. Independence of Covenants. All covenants hereunder shall be given independent
effect so that if a particular action or condition is not permitted by any of such covenants, the fact
that it would be permitted by an exception to, or would otherwise be within the limitations of,
another covenant shall not avoid the occurrence of a Default or an Event of Default if such action
is taken or condition exists.

       10.8. Survival of Representations, Warranties and Agreements. All representations,
warranties and agreements made herein shall survive the execution and delivery hereof and the
making of any Credit Extension. Notwithstanding anything herein or implied by law to the
contrary, the agreements of each Credit Party set forth in Section 2.17(c) (Compensation for
Breakage or Non-Commencement of Interest Periods), Section 2.18 (Increased Costs; Capital
Adequacy), Section 2.19 (Taxes; Withholding, etc.), Section 10.2 (Expenses), Section 10.3
(Indemnity), Section 10.4 (Set-Off) and Section 10.10 (Marshalling; Payments Set Aside) and the
agreements of Lenders set forth in Section 2.16 (Ratable Sharing), Section 9.3(b) (Exculpatory
Provisions) and Section 9.6 (Right to Indemnity) shall survive the payment of the Loans, the
cancellation or expiration of the Existing Letters of Credit and the reimbursement of any amounts
drawn thereunder, and the termination hereof.

        10.9. No Waiver; Remedies Cumulative. No failure or delay on the part of any Agent
or any Lender in the exercise of any power, right or privilege hereunder or under any other Credit
Document shall impair such power, right or privilege or be construed to be a waiver of any default
or acquiescence therein, nor shall any single or partial exercise of any such power, right or privilege
preclude other or further exercise thereof or of any other power, right or privilege. The rights,
powers and remedies given to each Agent and each Lender hereby are cumulative and shall be in
addition to and independent of all rights, powers and remedies existing by virtue of any statute or
rule of law or in any of the other Credit Documents. Any forbearance or failure to exercise, and
any delay in exercising, any right, power or remedy hereunder shall not impair any such right,

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power or remedy or be construed to be a waiver thereof, nor shall it preclude the further exercise
of any such right, power or remedy.

        10.10. Marshalling; Payments Set Aside. Neither any Agent nor any Lender shall be
under any obligation to marshal any assets in favor of any Credit Party or any other Person or
against or in payment of any or all of the Obligations. To the extent that any Credit Party makes
a payment or payments to Administrative Agent, Issuing Bank or the Lenders (or to Administrative
Agent, on behalf of the Lenders or Issuing Bank), or Administrative Agent, Collateral Agent,
Issuing Bank or Lenders enforce any security interests or exercise their rights of setoff, and such
payment or payments or the proceeds of such enforcement or setoff or any part thereof are
subsequently invalidated, declared to be fraudulent or preferential, set aside and/or required to be
repaid to a trustee, receiver or any other party under any bankruptcy law, any other state or federal
law, common law or any equitable cause, then, to the extent of such recovery, the obligation or
part thereof originally intended to be satisfied, and all Liens, rights and remedies therefor or related
thereto, shall be revived and continued in full force and effect as if such payment or payments had
not been made or such enforcement or setoff had not occurred.

        10.11. Severability. In case any provision in or obligation hereunder or any other Credit
Document shall be invalid, illegal or unenforceable in any jurisdiction, the validity, legality and
enforceability of the remaining provisions or obligations, or of such provision or obligation in any
other jurisdiction, shall not in any way be affected or impaired thereby.

        10.12. Obligations Several; Actions in Concert. The obligations of the Lenders
hereunder are several and no Lender (or Agent) shall be responsible for the obligations or
Commitment of any other Lender hereunder. Nothing contained herein or in any other Credit
Document, and no action taken by the Lenders pursuant hereto or thereto, shall be deemed to
constitute the Lenders as a partnership, an association, a joint venture or any other kind of entity.
Anything in this Agreement or any other Credit Document to the contrary notwithstanding, each
Lender hereby agrees with each other Lender that no Lender shall take any action to protect or
enforce its rights arising out of this Agreement or any Note or otherwise with respect to the
Obligations without first obtaining the prior written consent of Administrative Agent or the
Requisite Lenders (as applicable), it being the intent of the Lenders that any such action to protect
or enforce rights under this Agreement and any Note or otherwise with respect to the Obligations
shall be taken in concert and at the direction or with the consent of Administrative Agent or the
Requisite Lenders (as applicable).

       10.13. Headings. Section headings herein are included herein for convenience of
reference only and shall not constitute a part hereof for any other purpose or be given any
substantive effect.

     10.14. APPLICABLE LAW. THIS AGREEMENT AND THE RIGHTS AND
OBLIGATIONS OF THE PARTIES HEREUNDER SHALL BE GOVERNED BY, AND
SHALL BE CONSTRUED AND ENFORCED IN ACCORDANCE WITH, THE LAWS OF
THE STATE OF NEW YORK WITHOUT REGARD TO CONFLICT OF LAWS
PRINCIPLES (OTHER THAN SECTIONS 5-1401 AND 5-1402 OF THE NEW YORK
GENERAL OBLIGATIONS LAW) THEREOF.


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        10.15. CONSENT TO JURISDICTION.

           (a) EACH CREDIT PARTY HEREBY CONSENTS AND AGREES
THAT THE BANKRUPTCY COURT SHALL HAVE EXCLUSIVE JURISDICTION TO
HEAR AND DETERMINE ANY CLAIMS OR DISPUTES AMONG THE CREDIT
PARTIES, AGENTS AND LENDERS PERTAINING TO THIS AGREEMENT, THE
OTHER CREDIT DOCUMENTS OR TO ANY MATTERS ARISING OUT OF OR
RELATING TO THIS AGREEMENT OR THE OTHER CREDIT DOCUMENTS:
PROVIDED, THAT EACH AGENT, EACH LENDER AND EACH CREDIT PARTY
ACKNOWLEDGE THAT ANY APPEALS FROM THE BANKRUPTCY COURT MAY
HAVE TO BE HEARD BY A COURT OTHER THAN THE BANKRUPTCY COURT;
PROVIDED, FURTHER, THAT NOTHING IN THIS AGREEMENT SHALL BE
DEEMED OR OPERATE TO PRECLUDE ANY AGENT FROM BRINGING SUIT OR
TAKING OTHER LEGAL ACTION IN ANY OTHER JURISDICTION TO REALIZE ON
THE COLLATERAL OR ANY OTHER SECURITY FOR THE OBLIGATIONS, OR TO
ENFORCE A JUDGMENT OR OTHER COURT ORDER IN FAVOR OF ANY AGENT.
EACH PARTY HERETO EXPRESSLY SUBMITS AND CONSENTS IN ADVANCE TO
SUCH JURISDICTION IN ANY ACTION OR SUIT COMMENCED IN ANY SUCH
COURT, AND EACH PARTY HERETO HEREBY WAIVES ANY OBJECTION THAT
SUCH PARTY MAY HAVE BASED UPON LACK OF PERSONAL JURISDICTION,
IMPROPER VENUE OR FORUM NON CONVENIENS AND HEREBY CONSENTS TO
THE GRANTING OF SUCH LEGAL OR EQUITABLE RELIEF AS IS DEEMED
APPROPRIATE BY SUCH COURT. FOR THE AVOIDANCE OF DOUBT, EACH OF
THE CREDIT PARTIES, LENDERS AND AGENTS HEREBY ACKNOWLEDGE THE
JURISDICTION AND CONSTITUTIONAL AUTHORITY OF THE BANKRUPTCY
COURT TO ENTER FINAL ORDERS IN CONNECTION WITH ANY DISPUTES OR
ISSUES OF INTERPRETATION THAT MAY ARISE UNDER OR IN CONNECTION
WITH THIS AGREEMENT OR THE OTHER CREDIT DOCUMENTS, AND
EXPLICITLY CONSENT TO THE ENTRY OF A FINAL ORDER BY SUCH
BANKRUPTCY COURT IN RELATION THERETO.

          (b)   EACH CREDIT PARTY HEREBY AGREES THAT PROCESS MAY
BE SERVED ON IT BY CERTIFIED MAIL, RETURN RECEIPT REQUESTED, TO THE
ADDRESSES PERTAINING TO IT AS SPECIFIED IN SECTION 10.1(b). ANY AND ALL
SERVICE OF PROCESS AND ANY OTHER NOTICE IN ANY SUCH ACTION, SUIT OR
PROCEEDING SHALL BE EFFECTIVE AGAINST ANY CREDIT PARTY IF GIVEN BY
REGISTERED OR CERTIFIED MAIL, RETURN RECEIPT REQUESTED, OR BY ANY
OTHER MEANS OR MAIL WHICH REQUIRES A SIGNED RECEIPT, POSTAGE
PREPAID, MAILED AS PROVIDED ABOVE. IN THE EVENT ANY CREDIT PARTY
SHALL NOT MAINTAIN AN OFFICE IN NEW YORK CITY, SUCH CREDIT PARTY
SHALL PROMPTLY APPOINT AND MAINTAIN AN AGENT QUALIFIED TO ACT AS
AN AGENT FOR SERVICE OF PROCESS WITH RESPECT TO THE COURTS
SPECIFIED IN THIS SECTION 10.15, AND ACCEPTABLE TO THE
ADMINISTRATIVE AGENT, AS EACH CREDIT PARTY’S AUTHORIZED AGENT TO
ACCEPT AND ACKNOWLEDGE ON EACH CREDIT PARTY’S BEHALF SERVICE OF
ANY AND ALL PROCESS WHICH MAY BE SERVED IN ANY SUCH ACTION, SUIT
OR PROCEEDING.
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       10.16. WAIVER OF JURY TRIAL. EACH OF THE PARTIES HERETO HEREBY
AGREES TO WAIVE ITS RESPECTIVE RIGHTS TO A JURY TRIAL OF ANY CLAIM
OR CAUSE OF ACTION BASED UPON OR ARISING HEREUNDER OR UNDER ANY
OF THE OTHER CREDIT DOCUMENTS OR ANY DEALINGS BETWEEN THEM
RELATING TO THE SUBJECT MATTER OF THIS LOAN TRANSACTION OR THE
LENDER/BORROWER RELATIONSHIP THAT IS BEING ESTABLISHED. THE
SCOPE OF THIS WAIVER IS INTENDED TO BE ALL-ENCOMPASSING OF ANY AND
ALL DISPUTES THAT MAY BE FILED IN ANY COURT AND THAT RELATE TO THE
SUBJECT MATTER OF THIS TRANSACTION, INCLUDING CONTRACT CLAIMS,
TORT CLAIMS, BREACH OF DUTY CLAIMS AND ALL OTHER COMMON LAW AND
STATUTORY CLAIMS. EACH PARTY HERETO ACKNOWLEDGES THAT THIS
WAIVER IS A MATERIAL INDUCEMENT TO ENTER INTO A BUSINESS
RELATIONSHIP, THAT EACH HAS ALREADY RELIED ON THIS WAIVER IN
ENTERING INTO THIS AGREEMENT, AND THAT EACH WILL CONTINUE TO
RELY ON THIS WAIVER IN ITS RELATED FUTURE DEALINGS. EACH PARTY
HERETO FURTHER WARRANTS AND REPRESENTS THAT IT HAS REVIEWED
THIS WAIVER WITH ITS LEGAL COUNSEL AND THAT IT KNOWINGLY AND
VOLUNTARILY WAIVES ITS JURY TRIAL RIGHTS FOLLOWING CONSULTATION
WITH LEGAL COUNSEL. THIS WAIVER IS IRREVOCABLE, MEANING THAT IT
MAY NOT BE MODIFIED EITHER ORALLY OR IN WRITING (OTHER THAN BY A
MUTUAL WRITTEN WAIVER SPECIFICALLY REFERRING TO THIS SECTION
10.16 AND EXECUTED BY EACH OF THE PARTIES HERETO), AND THIS WAIVER
SHALL APPLY TO ANY SUBSEQUENT AMENDMENTS, RENEWALS,
SUPPLEMENTS OR MODIFICATIONS HERETO OR ANY OF THE OTHER CREDIT
DOCUMENTS OR TO ANY OTHER DOCUMENTS OR AGREEMENTS RELATING TO
THE LOANS MADE HEREUNDER. IN THE EVENT OF LITIGATION, THIS
AGREEMENT MAY BE FILED AS A WRITTEN CONSENT TO A TRIAL BY THE
COURT.

        10.17. Confidentiality. Each Agent and each Lender shall hold all non-public
information regarding the Credit Parties obtained by such Agent or such Lender in connection with
this Agreement in accordance with such Agent’s and such Lender’s customary procedures for
handling confidential information of such nature (but no less than commercially reasonable care),
it being understood and agreed by the Credit Parties that, in any event, Administrative Agent may
disclose such information to the Lenders and each Agent and each Lender may make disclosures
of such information (a) to Affiliates of such Lender or such Agent and to their respective officers,
directors, members, partners, employees, legal counsel, independent auditors and other agents,
experts and advisors (and to other Persons authorized by a Lender or Agent to organize, present or
disseminate such information in connection with disclosures otherwise made in accordance with
this Section 10.17); (b) as reasonably required by any potential or prospective Eligible Assignee
or participant in connection with the contemplated assignment, transfer or participation of any
Loans or any participations therein or by any direct or indirect contractual counterparties (or the
professional advisors thereto) to any swap or derivative transaction relating to Borrower and its
obligations; (c) to any rating agency on a confidential basis when required by it; (d) to any Lender’s
financing sources; (e) in connection with the exercise of any remedies hereunder or under any
other Credit Document or any suit, action or proceeding relating to the Credit Documents or the
enforcement of rights thereunder; (f) disclosures made pursuant to the order of any court or
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administrative agency or in any pending legal or administrative proceeding, or otherwise as
required by applicable law or compulsory legal process (in which case such Person agrees to
inform Borrower Representative promptly thereof to the extent not prohibited by law); (g)
disclosures made upon the request or demand of any regulatory or quasi-regulatory authority
purporting to have jurisdiction over such Person or any of its Affiliates; and (h) disclosures with
the consent of Borrower Representative; provided, in the case of clauses (b), (d) and (h) of this
sentence, the recipients of such confidential information are advised of and agree to be bound by
either the provisions of this Section 10.17 or any other provisions at least as restrictive as this
Section 10.17. Notwithstanding anything to the contrary set forth herein, any Person required to
maintain the confidentiality of information as provided in this Section 10.17 shall be considered
to have complied with its obligation to do so if such Person has exercised the same degree of care
to maintain the confidentiality of such information as such Person would accord to its own
confidential information, but no less than commercially reasonable care. Notwithstanding the
foregoing, on or after the Closing Date, Administrative Agent may, at its own expense issue news
releases and publish “tombstone” advertisements and other announcements relating to this
transaction in newspapers, trade journals and other appropriate media (which may include use of
logos of one or more of the Credit Parties) (collectively, “Trade Announcements”). No Lender
or Credit Party (or any of its Affiliates) shall issue any Trade Announcement except (i) disclosures
required by applicable law, regulation, legal process or the rules of the Securities and Exchange
Commission or (ii) with the prior approval of Administrative Agent. Furthermore, the Credit
Parties and the Lenders shall not, without the prior written consent of GSSLG, in each instance,
(A) use in advertising, publicity, or otherwise the name of Goldman Sachs & Co. LLC, any Lender
or any of their respective Affiliates, or any partner or employee of Goldman Sachs & Co. LLC,
any Lender or any of their respective Affiliates, or (B) represent that any product or any service
provided has been approved or endorsed by Goldman Sachs & Co. LLC, any Lender, or any of
their respective Affiliates.

        10.18. Usury Savings Clause. Notwithstanding any other provision herein, the aggregate
interest rate charged or agreed to be paid with respect to any of the Obligations, including all
charges or fees in connection therewith deemed in the nature of interest under applicable law shall
not exceed the Highest Lawful Rate. If the rate of interest (determined without regard to the
immediately preceding sentence) under this Agreement at any time exceeds the Highest Lawful
Rate, the outstanding amount of the Loans made hereunder shall bear interest at the Highest Lawful
Rate until the total amount of interest due hereunder equals the amount of interest which would
have been due hereunder if the stated rates of interest set forth in this Agreement had at all times
been in effect. In addition, if when the Loans made hereunder are repaid in full in Cash the total
interest due hereunder (taking into account the increase provided for above) is less than the total
amount of interest which would have been due hereunder if the stated rates of interest set forth in
this Agreement had at all times been in effect, then to the extent permitted by law, Borrowers shall
pay to Administrative Agent an amount equal to the difference between the amount of interest paid
and the amount of interest which would have been paid if the Highest Lawful Rate had at all times
been in effect. Notwithstanding the foregoing, it is the intention of Lenders and Borrowers to
conform strictly to any applicable usury laws. Accordingly, if any Lender contracts for, charges,
or receives any consideration which constitutes interest in excess of the Highest Lawful Rate, then
any such excess shall be cancelled automatically and, if previously paid, shall at such Lender’s
option be applied to the outstanding amount of the Loans made hereunder or be refunded to
Borrowers. In determining whether the interest contracted for, charged, or received by
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Administrative Agent or a Lender exceeds the Highest Lawful Rate, such Person may, to the extent
permitted by applicable law, (a) characterize any payment that is not principal as an expense, fee,
or premium rather than interest, (b) exclude voluntary prepayments and the effects thereof, and
(c) amortize, prorate, allocate, and spread in equal or unequal parts the total amount of interest,
throughout the contemplated term of the Obligations hereunder.

        10.19. Counterparts. This Agreement and the other Credit Documents may be executed
in any number of counterparts (any of which may be delivered by email or other electronic
transmission), each of which when so executed and delivered shall be deemed an original, but all
such counterparts together shall constitute but one and the same instrument. Any party delivering
an executed counterpart of this Agreement or any other Credit Document via email or other
electronic transmission shall, upon the request by Administrative Agent, also deliver a manually
executed original to Administrative Agent or its counsel, but the failure to do so does not affect
the validity, enforceability or binding effect of this Agreement or any other Credit Document.

        10.20. Effectiveness. This Agreement shall become effective upon the execution of a
counterpart hereof by each of the parties hereto and receipt by Borrower Representative and
Administrative Agent of written or telephonic notification of such execution and authorization of
delivery thereof. The provisions of this Agreement and the other Credit Documents set forth the
entire agreement and understanding between the parties as to the subject matter hereof and thereof
and supersede all prior agreements, oral or written, and all other communications between the
parties relating to the subject matter hereof and thereof.

         10.21. Patriot Act. Each Lender and Administrative Agent (for itself and not on behalf
of any Lender) hereby notifies the Credit Parties that pursuant to the requirements of the Patriot
Act, it is required to obtain, verify and record information that identifies the Credit Parties, which
information includes the name and address of the Credit Parties and other information that will
allow such Lender or Administrative Agent, as applicable, to identify the Credit Parties in
accordance with the Patriot Act.

       10.22. Priority and Liens. Each Borrower and each Guarantor hereby covenants,
represents and warrants that the Obligations of Borrowers and Guarantors hereunder and under the
other Credit Documents shall at all times be perfected and secured as set forth in the applicable
Order.

        10.23. No Discharge; Survival of Claims. Each Borrower and each Guarantor agrees
that to the extent its Obligations hereunder are not satisfied in full, (a) its Obligations arising
hereunder shall not be discharged by the entry of a confirmation order (and each Borrower and
each Guarantor, pursuant to Section 1141(d)(4) of the Bankruptcy Code, hereby waives any such
discharge) and (b) the super-priority claim granted to Administrative Agent and Lenders pursuant
to the Orders and described in Section 10.22 and the Liens granted to Administrative Agent and
Lenders pursuant to the Orders and described in Section 10.22 shall not be affected in any manner
by the entry of a confirmation order.




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SECTION 11.               CROSS-GUARANTY OF BORROWERS

         11.1. Cross-Guaranty. Each Borrower hereby agrees that such Borrower is jointly and
severally liable for, and hereby absolutely and unconditionally guarantees to Administrative Agent
for the ratable benefit of the Beneficiaries, the full and prompt payment (whether at stated maturity,
by acceleration or otherwise) and performance of, all Obligations owed or hereafter owing to
Agents and Lenders by each other Credit Party. Each Borrower agrees that its guaranty obligation
hereunder is a continuing guaranty of payment and performance and not of collection, that its
obligations under this Section 11 shall not be discharged until payment and performance, in full in
Cash, of the Obligations (other than contingent indemnification Obligations for which no claim
has been made) has occurred, and that its obligations under this Section 11 shall be absolute and
unconditional, irrespective of, and unaffected by:

              (a)    the genuineness, validity, regularity, enforceability or any future
amendment of, or change in, this Agreement, any other Credit Document or any other agreement,
document or instrument to which any Credit Party is or may become a party;

               (b)     the absence of any action to enforce this Agreement (including this
Section 11) or any other Credit Document, or the waiver or consent by any Agent or any Lender
with respect to any of the provisions hereof or thereof;

               (c)     the existence, value or condition of, or failure to perfect its Lien against,
any security for the Obligations or any action, or the absence of any action, by any Beneficiary in
respect thereof (including the release of any such security);

                 (d)      the insolvency of any Credit Party or any other Person; or

               (e)     any other action or circumstances that might otherwise constitute a legal or
equitable discharge or defense of a surety or guarantor.

Each Borrower shall be regarded, and shall be in the same position, as principal debtor with respect
to the Obligations guaranteed hereunder.

        11.2. Waivers by Borrowers. Each Borrower expressly waives all rights it may have
now or in the future under any statute, at common law, at law, in equity or otherwise, to compel
any Beneficiary to marshal assets or to proceed in respect of the Obligations guaranteed hereunder
against any other Credit Party, any other party or against any security for the payment and
performance of the Obligations before proceeding against, or as a condition to proceeding against,
such Borrower. Borrowers and the Beneficiaries agree that the foregoing waivers are of the
essence of the transaction contemplated by this Agreement and the other Credit Documents and
that, but for the provisions of this Section 11 and such waivers, the Beneficiaries would decline to
enter into this Agreement.

        11.3. Benefit of Guaranty. Each Borrower agrees that the provisions of this Section 11
are for the benefit of the Beneficiaries and their respective successors, transferees, endorsees and
assigns, and nothing herein contained shall impair, as between any other Borrower and the
Beneficiaries, the obligations of such other Borrower under the Credit Documents.

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         11.4. Waiver of Subrogation, Etc. Notwithstanding anything to the contrary in this
Agreement or in any other Credit Document, and except as set forth in Section 11.7, each Borrower
hereby expressly and irrevocably waives any and all rights at law or in equity to subrogation,
reimbursement, exoneration, contribution, indemnification or set off and any and all defenses
available to a surety, guarantor or accommodation co-obligor until the Obligations (other than
contingent indemnification Obligations for which no claim has been made) are indefeasibly paid
in full in Cash. Each Borrower acknowledges and agrees that this waiver is intended to benefit the
Beneficiaries and shall not limit or otherwise affect such Borrower’s liability hereunder or the
enforceability of this Section 11.4, and that the Beneficiaries and their respective successors and
assigns are intended third party beneficiaries of the waivers and agreements set forth in this Section
11.4.

         11.5. Election of Remedies. If any Beneficiary may, under applicable law, proceed to
realize its benefits under any of the Credit Documents giving such Beneficiary a Lien upon any
Collateral, whether owned by any Borrower or by any other Person, either by judicial foreclosure
or by non-judicial sale or enforcement, any Agent or any Lender may, at its sole option, determine
which of its remedies or rights it may pursue without affecting any of its rights and remedies under
this Section 11. If, in the exercise of any of its rights and remedies, any Beneficiary shall forfeit
any of its rights or remedies (including its right to enter a deficiency judgment against any
Borrower or any other Person), whether because of any applicable laws pertaining to “election of
remedies” or the like, each Borrower hereby consents to such action by any Beneficiary and waives
any claim based upon such action, even if such action by any Beneficiary shall result in a full or
partial loss of any rights of subrogation that each Borrower might otherwise have had but for such
action by any Beneficiary. Any election of remedies that results in the denial or impairment of the
right of any Beneficiary to seek a deficiency judgment against any Borrower shall not impair any
other Borrower’s obligation to pay the full amount of the Obligations. In the event any Agent shall
bid at any foreclosure or trustee’s sale or at any private sale permitted by law or the Credit
Documents, such Agent may bid all or less than the amount of the Obligations and the amount of
such bid need not be paid by such Agent but shall be credited against the Obligations. The amount
of the successful bid at any such sale, whether an Agent or any other party is the successful bidder,
shall be conclusively deemed to be the fair market value of the Collateral and the difference
between such bid amount and the remaining balance of the Obligations shall be conclusively
deemed to be the amount of the Obligations guaranteed under this Section 11, notwithstanding that
any present or future law or court decision or ruling may have the effect of reducing the amount
of any deficiency claim to which any Beneficiary might otherwise be entitled but for such bidding
at any such sale.

        11.6. Limitation. Notwithstanding any provision herein contained to the contrary, each
Borrower’s liability under this Section 11 (which liability is in any event in addition to amounts
for which such Borrower is primarily liable under this Agreement) shall be limited to an amount
not to exceed as of any date of determination the lesser of:

              (a)    the net amount of all Loans advanced or transferred to any other Credit Party
under this Agreement and then re-loaned or otherwise transferred to, or for the benefit of, such
Borrower; and


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               (b)    the amount that could be claimed by the Beneficiaries from such Borrower
under this Section 11 without rendering such claim voidable or avoidable under Section 548 of
Chapter 11 of the Bankruptcy Code or under any applicable state Uniform Fraudulent Transfer
Act, Uniform Fraudulent Conveyance Act or similar statute or common law after taking into
account, among other things, such Borrower’s right of contribution and indemnification from each
other Borrower under Section 11.7.

        11.7.    Contribution with Respect to Guaranty Obligations.

                (a)    To the extent that any Borrower shall make a payment under this Section 11
of all or any of the Obligations (other than Loans made to such Borrower for which it is primarily
liable) (a “Guarantor Payment”) that, taking into account all other Guarantor Payments then
previously or concurrently made by any other Borrower, exceeds the amount that such Borrower
would otherwise have paid if each Borrower had paid the aggregate Obligations satisfied by such
Guarantor Payment in the same proportion that such Borrower’s “Allocable Amount” (as defined
below) (as determined immediately prior to such Guarantor Payment) bore to the aggregate
Allocable Amounts of each of Borrowers as determined immediately prior to the making of such
Guarantor Payment, then, following indefeasible payment in full in Cash of the Obligations (other
than contingent indemnification Obligations for which no claim has been made) and termination
of the Commitments, such Borrower shall be entitled to receive contribution and indemnification
payments from, and be reimbursed by, each other Borrower for the amount of such excess, pro
rata based upon their respective Allocable Amounts in effect immediately prior to such Guarantor
Payment.

               (b)    As of any date of determination, the “Allocable Amount” of any Borrower
shall be equal to the maximum amount of the claim that could then be recovered from such
Borrower under this Section 11 without rendering such claim voidable or avoidable under Section
548 of Chapter 11 of the Bankruptcy Code or under any applicable state Uniform Fraudulent
Transfer Act, Uniform Fraudulent Conveyance Act or similar statute or common law.

                 (c)    This Section 11.7 is intended only to define the relative rights of Borrowers
and nothing set forth in this Section 11.7 is intended to or shall impair the obligations of Borrowers,
jointly and severally, to pay any amounts as and when the same shall become due and payable in
accordance with the terms of this Agreement. Nothing contained in this Section 11.7 shall limit
the liability of any Borrower to pay the Loans made directly or indirectly to such Borrower and
accrued interest, fees and expenses with respect thereto for which such Borrower shall be primarily
liable.

              (d)     The parties hereto acknowledge that the rights of contribution and
indemnification hereunder shall constitute assets of Borrowers to which such contribution and
indemnification is owing.

               (e)     The rights of the indemnifying Borrowers against other Credit Parties under
this Section 11.7 shall be exercisable upon the full and indefeasible payment of the Obligations
and the termination of the Commitments.



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        11.8. Liability Cumulative. The liability of Borrowers under this Section 11 is in
addition to and shall be cumulative with all liabilities of each Borrower to the Beneficiaries under
this Agreement and the other Credit Documents to which such Borrower is a party or in respect of
any Obligations or obligation of the other Borrower, without any limitation as to amount, unless
the instrument or agreement evidencing or creating such other liability specifically provides to the
contrary.

       11.9. DIP Order Controls. In the event of any inconsistency between the provisions of
the Orders and this Agreement, the provisions of the Orders shall govern.




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          IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly executed and delivered
by their respective officers thereunto duly authorized as of the date first written above.

 RUBY TUESDAY, INC.,                                     OTHER BORROWERS CONTINUED:
 as a Borrower
                                                         RT DENVER FRANCHISE, L.P.
                                                         RT DETROIT FRANCHISE, LLC
 By:                                                     RT DISTRIBUTING, LLC
 Name:    Aziz Hashim                                    RT FINANCE, LLC
 Title:   President                                      RT FL GIFT CARDS, INC.
                                                         RT FLORIDA EQUITY, LLC
 RTI HOLDING COMPANY, LLC,                               RT FRANCHISE ACQUISITION, LLC
 as a Guarantor and Borrower Representative              RT INDIANAPOLIS FRANCHISE, LLC
                                                         RT JONESBORO CLUB
 By:      NRD Capital Management II, LLC,                RT KCMO FRANCHISE, LLC
          its Manager                                    RT KENTUCKY RESTAURANT HOLDINGS, LLC
                                                         RT LAS VEGAS FRANCHISE, LLC
                                                         RT LONG ISLAND FRANCHISE, LLC
 By:                                                     RT MICHIANA FRANCHISE, LLC
 Name:    Aziz Hashim                                    RT MICHIGAN FRANCHISE, LLC
 Title:   Managing Member                                RT MINNEAPOLIS FRANCHISE, LLC
                                                         RT MINNEAPOLIS HOLDINGS, LLC
 OTHER BORROWERS:                                        RT NEW ENGLAND FRANCHISE, LLC
                                                         RT NEW HAMPSHIRE RESTAURANT HOLDINGS, LLC
 RUBY TUESDAY OF ALLEGANY COUNTY, INC.                   RT NEW YORK FRANCHISE, LLC
 RUBY TUESDAY OF COLUMBIA, INC.                          RT OMAHA FRANCHISE, LLC
 RUBY TUESDAY OF FREDERICK, INC.                         RT OMAHA HOLDINGS, LLC
 RUBY TUESDAY OF LINTHICUM, INC.                         RT ONE PERCENT HOLDINGS II, LLC
 RUBY TUESDAY OF MARLEY STATION, INC.                    RT ONE PERCENT HOLDINGS, LLC
 RUBY TUESDAY OF POCOMOKE CITY, INC.                     RT ORLANDO FRANCHISE, L.P.
 RT OF CARROLL COUNTY, LLC                               RT RESTAURANT SERVICES, LLC
 RT OF MARYLAND, LLC                                     RT SOUTH FLORIDA FRANCHISE, L.P.
                                                         RT SOUTHWEST FRANCHISE, LLC
                                                         RT ST. LOUIS FRANCHISE, LLC
 By:                                                     RT TAMPA FRANCHISE, L.P.
 Name:    Aziz Hashim                                    RT WEST PALM BEACH FRANCHISE, L.P.
 Title:   Credit and Loan Officer                        RT WESTERN MISSOURI FRANCHISE, LLC
                                                         RTBD, LLC
                                                         RTT TEXAS, INC.
                                                         RTTA, LP
                                                         RTTT, LLC
                                                         RUBY TUESDAY OF BRYANT, INC.
                                                         RUBY TUESDAY OF RUSSELLVILLE, INC.
                                                         RUBY TUESDAY, LLC


                                                         By:
                                                         Name:    Aziz Hashim
                                                         Title:   President




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                                                  GOLDMAN SACHS SPECIALTY LENDING
                                                  GROUP, L.P., as Administrative Agent, Collateral
                                                  Agent and Lender


                                                  By:
                                                  Name:
                                                  Title:


                                                  GOLDMAN SACHS BANK USA,
                                                  as Issuing Bank


                                                  By:
                                                  Name:
                                                  Title:




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                                                  TCW DIRECT LENDING LLC,
                                                  as a Lender

                                                  By:      TCW Asset Management Company, LLC,
                                                           its Investment Advisor


                                                  By:
                                                  Name:
                                                  Title:


                                                  TCW SKYLINE LENDING, L.P.,
                                                  as a Lender

                                                  By:      TCW Asset Management Company, LLC,
                                                           its Investment Advisor


                                                  By:
                                                  Name:
                                                  Title:


                                                  TCW BRAZOS FUND LLC,
                                                  as a Lender

                                                  By:      TCW Asset Management Company, LLC,
                                                           its Investment Advisor


                                                  By:
                                                  Name:
                                                  Title:




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                                                                         APPENDIX A TO
                                                       CREDIT AND GUARANTY AGREEMENT

                                        Term Loan Commitments


              Lender                        Term Loan Commitment           Pro Rata Share

   Goldman Sachs Specialty
                                                $9,250,000.00                  50.00%
    Lending Holdings, Inc.

  TCW Direct Lending LLC                        $6,771,000.00                  36.60%

    TCW Skyline Lending,
                                                $1,147,000.00                  6.20%
           L.P.

    TCW Brazos Fund LLC                         $1,332,000.00                  7.20%

                Total                           $18,500,000.00                100.00%




                                                 Appendix A
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                                                                         APPENDIX B TO
                                                       CREDIT AND GUARANTY AGREEMENT

                                              Notice Addresses

RTI HOLDING COMPANY, LLC,
as Borrower Representative

        RTI Holding Company, LLC
        4170 Ashford Dunwoody Road, Suite 390
        Atlanta, Georgia 30319
        Attention: Aziz Hashim
        Email: ahashim@nrdcapital.com

in each case, with a copy to:

        Pachulski Stang Ziehl & Jones LLP
        10100 Santa Monica Blvd., 13th Floor
        Los Angeles, CA 90067
        Attention: Richard M. Pachulski
        Email: rpachulski@pszjlaw.com

        and

        Cheng Cohen LLC
        363 West Erie Street, Suite 500
        Chicago, Illinois 60654
        Attention: Amy Cheng
        Email: amy.cheng@chengcohen.com




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GOLDMAN SACHS SPECIALTY LENDING GROUP, L.P.,
as Administrative Agent, Collateral Agent and a Lender

Principal Office:

        Goldman Sachs Specialty Lending Group, L.P.
        2001 Ross Avenue, Suite 2800
        Dallas, Texas 75201
        Attention: Ruby Tuesday Account Manager
        Email: gs-slg-notices@gs.com

in each case, with a copy (which shall not constitute notice) to:

        Hunton & Williams LLP
        Bank of America Plaza, Suite 4100
        600 Peachtree Street, N.E.
        Atlanta, Georgia 30308-2216
        Attention: Greta T. Griffith, Esq.
        Telecopier: (404) 888-4190




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GOLDMAN SACHS BANK USA,
as Issuing Bank

Principal office:

        Goldman Sachs Bank USA
        2001 Ross Avenue, Suite 2800
        Dallas, Texas 75201
        Attention: Ruby Tuesday Account Manager
        Email: gs-slg-notices@gs.com

in each case, with a copy (which shall not constitute notice) to:

        Hunton & Williams LLP
        Bank of America Plaza, Suite 4100
        600 Peachtree Street, N.E.
        Atlanta, Georgia 30308-2216
        Attention: Greta T. Griffith, Esq.
        Telecopier: (404) 888-4190




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TCW DIRECT LENDING LLC
TCW SKYLINE LENDING, L.P.
TCW BRAZOS FUND LLC,
each as a Lender


        TCW Direct Lending LLC
        200 Clarendon Street, 51st Floor
        Boston, Massachusetts 02116
        Attention: Ruby Tuesday Account Manager
        Email:      Michael.Anello@tcw.com

        with a copy (which shall not constitute notice) to:

        Paul Hastings LLP
        515 South Flower Street, 25th Floor
        Los Angeles, CA 90071
        Attention: Justin Rawlins
        E-mail: justinrawlins@paulhastings.com




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                                                   Schedule 8.1

                                                       Milestones

The Credit Parties shall implement the Restructuring Transactions (as defined in the RSA) in
accordance with the DIP Milestones (as defined in the RSA) which shall include the following:

Plan Milestones

    a) No later than three (3) Business Days after Petition Date, the Credit Parties shall file the
       Bankruptcy Plan and any disclosure statement related thereto (the “Disclosure
       Statement”) in form and substance reasonably acceptable to the Lenders.

    b) No later than forty-five (45) days after Petition Date, the Disclosure Statement shall be
       approved by the Bankruptcy Court, with a voting deadline that is no later than thirty (30)
       days after such approval.

    c) No later than (i) one hundred five (105) days after the Petition Date, or (ii) one hundred
       twenty (120) days after the Petition Date in the event that a Topping Bid is selected at any
       auction, the Bankruptcy Plan shall be confirmed (such date described in the foregoing
       clauses (i) and (ii), the “Outside Date”), and

    d) No later than thirty (30) days after confirmation of the Bankruptcy Plan, the Bankruptcy
       Plan shall become effective (the “Effective Date”); provided, that the Agents and Lenders
       will consider in good faith any reasonable request by the Credit Parties for an extension of
       such time.

Sale Milestones

    a) Not later than three (3) Business Days after the Petition Date, file an application to retain
       FocalPoint as investment banker to:

             a. assist the Credit Parties in evaluating, structuring, negotiating and implementing
                the terms (including pricing) and conditions of any proposed transaction, including
                any proposed section 363 sale or chapter 11 plan (each, a “Transaction” and each,
                other than the Bankruptcy Plan, an “Alternative Transaction”);

             b. assist the Credit Parties in preparing, revising, or updating marketing materials;

             c. prepare, revise, or update a list or lists of potential purchasers;

             d. contact potential purchasers to solicit their interest in any Transaction and to
                provide them with the confidential information memorandum under a confidential
                disclosure agreement;

             e. compile and disseminate due diligence materials to prospective purchasers and
                maintain a secure data vault for review of due diligence materials;
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             f. participate in due diligence visits, meetings and consultations between the Credit
                Parties and interested potential purchasers, and coordinate and track distribution of
                all information related to a Transaction with such parties;

             g. assist the Credit Parties with evaluating offers, indications of interest, negotiating
                agreements and definitive contracts; and

             h. attend auctions and, to the extent required, provide affidavits in support, in the
                Bankruptcy Court with respect to any matters in connection with or arising out of
                the foregoing.

    b) Not later than thirty (30) days after the Petition Date, obtain an order approving FocalPoint
       as investment banker.

    c) The Credit Parties shall, no later than three (3) days after the Petition Date, file a motion to
       approve the procedures governing the sale and marketing process for the sale of the Credit
       Parties’ assets (the “Bidding Procedures”) to be heard on shortened time fourteen (14)
       days later, which motion shall in form and substance be acceptable to the Lenders.

    d) No later than twenty (20) days after Petition Date, the Bankruptcy Court shall have entered
       an order approving the Bidding Procedures, which order shall in form and substance be
       reasonably acceptable to the Lenders.

    e) No earlier than sixty (60) days and no later than one hundred five (105) days after the
       Petition Date, the Credit Parties shall hold an auction, if a Topping Bid is received by the
       Credit Parties.

    f) (i) No later than three (3) days after the auction, the Topping Bid, if any, selected at the
       auction shall be approved by the Bankruptcy Court, and (ii) no later than sixty (60) days
       after the Bankruptcy Court approves such Topping Bid, the sale will close and the proceeds
       of such sale shall be used to pay the Lenders and the Pre-Petition Lenders until such time
       as they are paid in full in Cash.




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                                    EXHIBIT B

                                     BUDGET

                                    [see attached]




[AM_ACTIVE 402640889_19]
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DIP Budget
(US $ in 000s)
                                                        Petition        Post          Post          Post          Post          Post          Post          Post          Post          Post          Post          Post          Post          Post          Post          Post
Actual / Forecast -->                                     Fcst          Fcst          Fcst          Fcst          Fcst          Fcst          Fcst          Fcst          Fcst          Fcst          Fcst          Fcst          Fcst          Fcst          Fcst          Fcst          Fcst
Week Number -->                                            1             2             3             4             5             6             7             8             9             10            11            12            13            14            15            16         16-Week
Period Ending -->                                        P5 W1         P5 W2         P5 W3         P5 W4         P6 W1         P6 W2         P6 W3         P6 W4         P7 W1         P7 W2         P7 W3         P7 W4         P7 W5         P8 W1         P8 W2         P8 W3         Total
Week Starting Date -->                                  10/07/20      10/14/20      10/21/20      10/28/20      11/04/20      11/11/20      11/18/20      11/25/20      12/02/20      12/09/20      12/16/20      12/23/20      12/30/20      01/06/21      01/13/21      01/20/21      10/07/20
Week Ending Date -->                                    10/13/20      10/20/20      10/27/20      11/03/20      11/10/20      11/17/20      11/24/20      12/01/20      12/08/20      12/15/20      12/22/20      12/29/20      01/05/21      01/12/21      01/19/21      01/26/21      01/26/21
Operating Receipts
 Restaurant operations                                  $   5,017     $   4,963     $   4,957     $   4,956     $   5,029     $    5,037    $    5,038    $    5,039    $    5,111    $    5,120    $    5,121    $    5,121    $    5,121    $    5,194    $    5,203    $    5,204    $ 81,231
 Other                                                         37            39            42            69            41             42            43            67            42            42            42            42            72            47           219           118       1,005
Total Operating Receipts                                    5,054         5,003         4,999         5,025         5,070          5,079         5,081         5,105         5,153         5,162         5,164         5,164         5,193         5,241         5,421         5,322        82,236

Operating Disbursements
 COGS Vendors (PFG & Fintech)                               (1,821)       (1,697)       (1,683)       (1,681)       (1,683)       (1,701)       (1,705)       (1,705)       (1,704)       (1,723)       (1,727)       (1,726)       (1,725)       (1,730)       (1,754)       (1,758)       (27,524)
 Total Payroll                                              (2,335)       (2,221)       (2,152)       (2,211)       (2,150)       (2,178)       (2,231)       (2,246)       (2,186)       (2,208)       (2,261)       (2,213)       (2,271)       (2,212)       (2,242)       (2,296)       (35,613)
 Service Channel                                              (300)         (300)         (300)         (300)         (300)         (300)         (300)         (300)         (300)         (300)         (300)         (300)         (300)         (300)         (300)         (300)        (4,800)
 Sales Tax                                                    (175)       (1,401)          (88)          (88)         (102)       (1,636)         (205)         (102)          (81)       (1,300)         (162)          (81)          (83)       (1,321)         (165)          (83)        (7,073)
 Utilities                                                       -             -          (350)         (350)         (350)         (350)         (350)         (350)         (350)         (350)         (350)         (350)         (350)         (350)         (350)         (350)        (4,900)
 Rent                                                            -             -             -           (50)            -             -             -           (50)            -             -             -             -        (2,736)            -             -             -         (2,836)
 Property Tax                                                    -             -           (12)         (164)          (51)          (28)         (326)          (48)          (63)          (11)         (396)         (449)         (509)           (2)         (198)         (143)        (2,399)
 IT                                                           (210)          (53)          (48)          (84)         (111)          (30)           (6)         (169)          (46)          (53)           (6)          (91)          (84)          (69)          (30)         (123)        (1,211)
 Ordinary course prof service                                  (68)         (277)          (58)         (140)          (62)         (252)          (58)         (175)          (33)         (281)          (58)         (175)          (33)          (79)         (235)         (110)        (2,097)
 Insurance                                                     (27)           (5)          (53)          (33)          (73)           (7)           (5)          (81)          (73)         (143)           (5)           (5)          (81)          (73)           (7)           (5)          (677)
 Marketing                                                       -          (115)          (65)         (340)         (250)         (250)         (250)         (250)         (250)         (250)         (250)         (250)         (250)         (250)         (250)         (250)        (3,520)
 Other                                                        (189)         (195)          (95)         (298)          (95)         (195)          (95)         (298)          (95)         (362)          (95)         (160)         (283)          (95)         (195)          (95)        (2,839)
Total Operating Disbursements                               (5,126)       (6,264)       (4,904)       (5,738)       (5,228)       (6,928)       (5,532)       (5,773)       (5,182)       (6,980)       (5,611)       (5,800)       (8,704)       (6,482)       (5,725)       (5,513)       (95,488)

Net Operating Cash Flow                                        (71)       (1,262)          95          (713)         (158)        (1,849)         (450)         (668)          (28)       (1,818)         (447)         (637)       (3,511)       (1,241)         (304)         (191)       (13,252)

Restructuring
 Restructuring Professional Fees Escrow                       (259)        (209)         (233)         (300)         (365)          (228)         (221)         (276)         (351)         (221)         (221)         (269)         (592)         (156)         (211)         (156)        (4,271)
 Secured Lender Professional Fees                             (115)        (115)         (115)         (115)         (115)          (115)          (70)          (70)          (70)          (70)          (30)          (30)          (30)          (30)          (25)          (25)        (1,140)
 US Trustee Fees                                                 -            -             -             -             -              -             -             -             -             -             -             -             -          (250)            -           (83)          (333)
 Utility deposit                                                 -            -             -          (511)            -              -             -             -             -             -             -             -             -             -             -             -           (511)
 Adequate Protection (pre-petition debt)                         -            -             -          (199)            -              -             -          (265)            -             -             -             -          (322)            -             -             -           (786)
 Secured Lender Professional Fees (pre-petition)            (1,277)           -             -             -             -              -             -             -             -             -             -             -             -             -             -             -         (1,277)
 DIP Loan Interest and Fees                                      -            -             -           (86)            -              -             -          (127)            -             -             -             -          (166)            -             -             -           (378)
Total Restructuring                                         (1,651)        (324)         (348)        (1,211)        (480)          (343)         (291)         (738)         (421)         (291)         (251)         (299)       (1,109)         (436)         (236)         (265)        (8,697)

Net Cash Flow Before Other Trust / Estate                   (1,723)       (1,586)        (253)        (1,924)        (638)        (2,192)         (742)       (1,406)         (449)       (2,109)         (698)         (936)       (4,621)       (1,677)         (540)         (456)       (21,949)

Other Trust / Estate Receipts & (Disbursements)
  Deferred Comp Plan                                             -             -             -             -             -             -         5,290             -             -             -             -             -             -             -             -             -         5,290
  COLI Trust from ESP/MRP Plans                                  -             -             -             -             -        22,631             -             -             -             -             -             -             -             -             -             -        22,631
  Asset sales                                                    -             -             -             -             -             -             -             -         1,520             -             -             -             -             -             -             -         1,520
  Paydown from asset sales                                       -             -             -             -             -             -             -             -        (1,520)            -             -             -             -             -             -             -        (1,520)
Total Other Trust / Estate Receipts & (Disbursements)            -             -             -             -             -        22,631         5,290             -             -             -             -             -             -             -             -             -        27,921

Net Cash Flow                                           $   (1,723) $ (1,586) $          (253) $ (1,924) $           (638) $ 20,439         $    4,548    $ (1,406) $         (449) $ (2,109) $           (698) $       (936) $ (4,621) $ (1,677) $               (540) $       (456)   $    5,972

Liquidity Summary
Beginning Cash [non-escrow]                             $    5,410 $ 6,687 $            5,101 $ 4,848 $             6,424 $ 5,786           $ 26,225      $ 30,774 $ 29,368 $ 28,918 $ 26,809 $ 26,111 $ 25,175 $ 20,555 $ 18,877 $ 18,337                                              $    5,410
  Net Cash Flow                                             (1,723)  (1,586)             (253)  (1,924)              (638)  20,439             4,548        (1,406)    (449)  (2,109)    (698)    (936)  (4,621)  (1,677)    (540)    (456)                                                  5,972
  DIP Advances / (Paydowns)                                  3,000        -                 -    3,500                  -        -                 -             -        -        -        -        -        -        -        -        -                                                   6,500
Ending Cash [non-escrow]                                    6,687         5,101         4,848         6,424         5,786         26,225        30,774        29,368        28,918        26,809        26,111        25,175        20,555        18,877        18,337        17,882        17,882
  Restructuring Professionals Escrow                          259           469           702         1,002         1,187          1,080         1,301         1,577         1,798         1,267         1,488         1,757         1,969         1,417         1,629         1,785         1,785
  Utility Deposit Escrow                                        -             -             -           511           511            511           511           511           511           511           511           511           511           511           511           511           511
Ending Cash + Escrowed Cash                             $   6,946     $   5,570     $   5,549     $   7,937     $   7,484     $ 27,816      $ 32,586      $ 31,456      $ 31,228      $ 28,587      $ 28,110      $ 27,443      $ 23,035      $ 20,806      $ 20,477      $ 20,178      $ 20,178

DIP Facility Summary
Beginning DIP Balance                                   $       -     $ 12,571      $ 12,571      $ 12,571      $ 18,071      $ 18,071      $ 18,071      $ 18,071      $ 18,071      $ 18,071      $ 18,071      $ 18,071      $ 18,071      $ 18,071      $ 18,071      $ 18,071      $        -
+ Advances                                                  3,000            -             -         3,500             -             -             -             -             -             -             -             -             -             -             -             -           6,500
+ Pre-Petition LC Roll-up                                   9,571            -             -             -             -             -             -             -             -             -             -             -             -             -             -             -           9,571
+ Pre-Petition Roll-Up                                          -            -             -         2,000             -             -             -             -             -             -             -             -             -             -             -             -           2,000
Ending DIP Balance                                      $ 12,571      $ 12,571      $ 12,571      $ 18,071      $ 18,071      $ 18,071      $ 18,071      $ 18,071      $ 18,071      $ 18,071      $ 18,071      $ 18,071      $ 18,071      $ 18,071      $ 18,071      $ 18,071      $ 18,071
Ruby Tuesday, Inc.                                                    Case 20-12456-JTD                                Doc 51-1                  Filed 10/08/20                    Page 197 of 197
DIP Budget - Professional Fees Schedule
(US $ in 000s)
                                                     Petition      Post        Post        Post         Post         Post         Post         Post          Post         Post         Post         Post         Post         Post         Post         Post
Actual / Forecast -->                                  Fcst        Fcst        Fcst        Fcst         Fcst         Fcst         Fcst         Fcst          Fcst         Fcst         Fcst         Fcst         Fcst         Fcst         Fcst         Fcst         Fcst
Week Number -->                                          1           2           3           4            5            6            7            8             9           10           11           12           13           14           15           16        16-Week
Period Ending -->                                     P5 W1       P5 W2       P5 W3       P5 W4        P6 W1        P6 W2        P6 W3        P6 W4         P7 W1        P7 W2        P7 W3        P7 W4        P7 W5        P8 W1        P8 W2        P8 W3         Total
Week Starting Date -->                               10/07/20    10/14/20    10/21/20    10/28/20     11/04/20     11/11/20     11/18/20     11/25/20      12/02/20     12/09/20     12/16/20     12/23/20     12/30/20     01/06/21     01/13/21     01/20/21     10/07/20
Week Ending Date -->                                 10/13/20    10/20/20    10/27/20    11/03/20     11/10/20     11/17/20     11/24/20     12/01/20      12/08/20     12/15/20     12/22/20     12/29/20     01/05/21     01/12/21     01/19/21     01/26/21     01/26/21
Restructuring Professional Fees Escrow
 Debtor
   Debtor Counsel                                        (133)       (133)       (133)        (133)        (133)        (133)        (133)         (133)        (133)        (133)        (133)        (133)        (133)        (133)        (133)        (133)       (2,133)
   Debtor FA                                              (76)        (76)        (70)         (67)         (57)         (50)         (43)          (43)         (43)         (43)         (43)         (36)         (33)         (13)         (13)         (13)         (717)
   Investment Banker                                        -           -           -            -          (55)           -            -             -          (55)           -            -            -          (55)           -            -            -          (165)
   Valuation Expert                                         -           -           -            -            -            -            -             -            -            -            -            -         (250)           -            -            -          (250)
   Lease Advisor                                          (50)          -           -            -          (75)           -            -             -          (75)           -            -            -          (75)           -            -            -          (275)
   Noticing & Claims Agent Fees                             -           -           -          (55)           -            -            -           (55)           -            -            -          (55)           -            -          (55)           -          (220)
  Total Debtor                                           (259)       (209)       (203)        (255)        (320)        (183)        (176)         (231)        (306)        (176)        (176)        (224)        (547)        (146)        (201)        (146)       (3,761)

  UCC
   UCC Counsel                                              -           -         (30)         (30)         (30)         (30)         (30)          (30)         (30)         (30)         (30)         (30)         (30)         (10)         (10)         (10)        (360)
   UCC FA                                                   -           -           -          (15)         (15)         (15)         (15)          (15)         (15)         (15)         (15)         (15)         (15)           -            -            -         (150)
  Total UCC                                                 -           -         (30)         (45)         (45)         (45)         (45)          (45)         (45)         (45)         (45)         (45)         (45)         (10)         (10)         (10)        (510)

Total Restructuring Professional Fees Escrow             (259)       (209)       (233)        (300)        (365)        (228)        (221)         (276)        (351)        (221)        (221)        (269)        (592)        (156)        (211)        (156)       (4,271)


Restructuring Professional Fees ("RPF") Escrow Balance Summary
Beginning RPF Balance                             $       - $         259    $    469    $    702     $   1,002 $      1,187 $      1,080    $    1,301    $   1,577 $      1,798 $      1,267    $   1,488    $   1,757 $      1,969 $      1,417    $   1,629    $        -
+ Escrowed Fees                                         259           209         233         300           365          228          221           276          351          221          221          269          592          156          211          156         4,271
- Cash Disbursements                                      -             -           -           -          (180)        (335)           -             -         (130)        (753)           -            -         (380)        (708)           -            -        (2,486)
Ending RPF Balance                                   $    259    $    469    $    702    $   1,002    $   1,187    $   1,080    $   1,301    $    1,577    $   1,798    $   1,267    $   1,488    $   1,757    $   1,969    $   1,417    $   1,629    $   1,785    $   1,785


Secured Lender Professional Fees (not part of RPF)
   Secured Lender Counsel                                 (75)        (75)        (75)         (75)         (75)         (75)         (30)          (30)         (30)         (30)         (30)         (30)         (30)         (30)         (25)         (25)        (740)
   Secured Lender FA                                      (40)        (40)        (40)         (40)         (40)         (40)         (40)          (40)         (40)         (40)           -            -            -            -            -            -         (400)
Total Secured Lender Professional Fees                   (115)       (115)       (115)        (115)        (115)        (115)         (70)          (70)         (70)         (70)         (30)         (30)         (30)         (30)         (25)         (25)       (1,140)
